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                                                NO. 21-2151


                United States Court of Appeals
                                                  for the

                                    Fourth Circuit

                                          SHAWN CURRAN,


                                                                            Plaintiff-Appellant,


                                                   – v. –


                           AXON ENTERPRISE, INC.; RICHARD NELSON,


                                                                        Defendants-Appellees.
                                   _____________________________
                  ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA AT NORFOLK IN CASE NO.
                     2:19-CV-00617-RGD-LRL, HONORABLE ROBERT G. DOUMAR,
                                SENIOR U.S. DISTRICT COURT JUDGE


                                     JOINT APPENDIX
                            Volume 2 of 3 (Pages JA-445 to JA-1038)

             BRIAN N. CASEY                            M. SCOTT BUCCI
             TAYLORWALKER P.C.                         ELLIOTT M. BUCKNER
             1206 Laskin Road, Suite 100               JEFFREY N. STEDMAN
             Virginia Beach, Virginia 23451            BREIT CANTOR GRANA BUCKNER
             (757) 625-7300                            7130 Glen Forest Drive, Suite 400
                                                       Richmond, Virginia 23226
             Attorneys for Defendant-Appellee          (804) 644-1400
               Richard Nelson
                                                       Attorneys for Plaintiff-Appellant
USCA4 Appeal: 21-2151     Doc: 18-2         Filed: 12/21/2021   Pg: 2 of 600



             JAMES A. CALES III
             FURNISS, DAVIS, RASHKIND
               AND SAUNDERS, P.C.
             6160 Kempsville Circle, Suite 341B
             P.O. Box 1252
             Norfolk, Virginia 23541
             (757) 461-7100
                    – and –
             PAMELA B. PETERSEN
             AXON ENTERPRISE, INC.
             17800 North 85th Street
             Scottsdale, Arizona 85255
             (623) 326-6016

             Attorneys for Defendant-Appellee Axon
               Enterprise, Inc.
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                              Exhibit 2




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                                                                                      Page 1
                                          IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                              (NORFOLK DIVISION)
                        --------------------------------X
                        SHAWN CURRAN,                                 )
                                                                      )
                                            Plaintiff,                ) Case No.
                                                                      )
                        v.                                            ) 2:19-cv-617
                                                                      )
                        AXON ENTERPRISE, INC. et al.,                 )
                                                                      )
                                            Defendants.               )
                        --------------------------------X


                                    REMOTE VIDEOTAPED DEPOSITION OF
                                            SHAWN MICHAEL CURRAN
                                 Monday, June 22, 2020; 10:13 a.m. EST




                        Job No.:         593253
                        Pgs.      1 - 310
                        Reported by:        Cindy L. Sebo, RMR, CRR, RPR, CSR,
                        CCR, CLR, RSA, Remote Counsel Reporter,
                        LiveDeposition Authorized Reporter
                                            MAGNA LEGAL SERVICES
                                                  (866) 624-6221
                                                  www.MagnaLS.com




                                         MAGNA.      LEGAL SERVICES


                                                   JA-446
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                                                                                   Page 2
                 1                                Remote Videotaped Deposition

                 2      of SHAWN MICHAEL CURRAN taken by Counsel for

                 3      Defendant Axon Enterprise Inc., before Cindy L.

                 4      Sebo, Registered Merit Court Reporter, Certified

                 5      Real-Time Reporter, Registered Professional

                 6      Reporter, Certified Shorthand Reporter, Certified

                 7      Court Reporter, Certified LiveNote Reporter,

                 8      Real-Time Systems Administrator, Remote Counsel

                 9      Reporter, LiveDeposition Authorized Reporter and

                10      Notary Public, beginning at approximately

                11      10:13 a.m. EST, when were present on behalf of the

                12      respective parties:

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                                                                                   Page 3
                 1                     A P P E A R A N C E S:

                 2             (All via Zoom Video Communications)

                 3      Attorney for Plaintiff:

                 4              BREIT CANTOR GRANA BUCKNER

                 5              M. SCOTT BUCCI, ESQUIRE

                 6              ELLIOTT M. BUCKNER, ESQUIRE

                 7              7130 Glen Forest Drive, Suite 400

                 8              Richmond, Virginia 23226

                 9              804.888.9501

                10              sbucci@breitcantor.com

                11              ebuckner@breitcantor.com

                12

                13      Attorney for Defendant Axon Enterprise, Inc.:

                14              AXON ENTERPRISE, INC.

                15              AMY L. NGUYEN, ESQUIRE

                16              PETER BROWN, ESQUIRE

                17              17800 N. 85th Street

                18              Scottsdale, Arizona 85255

                19              623.326.6016

                20              amynguyen@axon.com

                21              peterbrown@axon.com

                22




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                                                                                   Page 4
                 1            A P P E A R A N C E S (Continued):

                 2

                 3      Attorney for Defendant Richard Nelson:

                 4              TAYLORWALKER PC

                 5              BRIAN N. CASEY, ESQUIRE

                 6              1206 Laskin Road, Suite 100

                 7              Virginia Beach, Virginia 23451

                 8              757.625.7300

                 9              bcasey@taylorwalkerlaw.com

                10

                11      ALSO PRESENT:

                12           KENDRA DOBSON, Videographer

                13

                14

                15

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                 4       EXAMINATION BY                                              PAGE
                 5            Ms. Nguyen                                              18
                 6            Mr. Casey                                              280
                 7            Mr. Bucci                                              301
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                 9                         INDEX TO EXHIBITS
                10                               -    -   -
                11        (Exhibits Attached to the Original Transcript.)
                12      DEPOSITION
                        EXHIBIT NUMBER     DESCRIPTION                               PAGE
                13
                              1            Training History, Shawn M.
                14
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                15
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                 3                               -    -   -

                 4      DEPOSITION

                        EXHIBIT NUMBER     DESCRIPTION                               PAGE

                 5

                 6            2            TASER International Training

                 7                         Material License Agreement, User

                 8                         Course, Slides 1, 2, 32, 74

                 9                         and 75, Bates stamped

                10                         AXON_CURRAN000711 through

                11                         AXON_CURRAN000712,

                12                         AXON_CURRAN000746,

                13                         AXON_CURRAN000789 through

                14                         AXON_CURRAN000790                          66

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                16            3            Product Warnings — Law

                17                         Enforcement, Bates stamped

                18                         AXON_CURRAN001952 through

                19                         AXON_CURRAN001955                          71

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                 4      DEPOSITION

                        EXHIBIT NUMBER     DESCRIPTION                               PAGE

                 5

                 6            4            TASER International Training

                 7                         Material License Agreement,

                 8                         Slides 1, 10, 11, 123 and 124,

                 9                         Bates stamped AXONCURRAN_000939,

                10                         AXONCURRAN_000948 through

                11                         AXONCURRAN_000949,

                12                         AXONCURRAN_001065 through

                13                         AXONCURRAN_001066                          82

                14

                15            5            Number 5, Product Warnings:

                16                         Law Enforcement                            89

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                18            6            TASER X26 User Certification

                19                         Test, Bates stamped

                20                         AXON_CURRAN0000481 through

                21                         AXON_CURRAN0000487                         97

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                 4      DEPOSITION

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                 5

                 6            7            TASER International Training

                 7                         Material License Agreement,

                 8                         Slides 1, 6, 7, 99 through 101,

                 9                         Bates stamped AXON_CURRAN001189,

                10                         AXON_CURRAN001194 through

                11                         AXON_CURRAN001194,

                12                         AXON_CURRAN001291 through

                13                         AXON_CURRAN001293                          93

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                15            8            TASER Important ECD Product

                16                         Safety and Health Information,

                17                         Bates stamped AXON_CURRAN001960

                18                         through AXON_CURRAN001965                  99

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                4       DEPOSITION

                        EXHIBIT NUMBER     DESCRIPTION                              PAGE

                5

                6             9            TASER User Certification

                7                          Course, User Course, Slides

                8                          1, 7, 8, 120, Bates stamped

                9                          AXON_CURRAN001372,

               10                          AXON_CURRAN001378 through

               11                          AXON_CURRAN001379,

               12                          AXON_CURRAN0001491                       106

               13

               14             10           ECD Warnings, Instructions,

               15                          and Information: Law Enforcement,

               16                          Important ECD Product Safety and

               17                          Health Information, Bates stamped

               18                          AXON_CURRAN001966 through

               19                          AXON_CURRAN001973                        109

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                4       DEPOSITION

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                6             11           User Certification Course, User

                7                          Course, Slides 1, 7, 8, 107,

                8                          108, 117, Bates stamped

                9                          AXON_CURRAN001566,

               10                          AXON_CURRAN001572 through

               11                          AXON_CURRAN001573,

               12                          AXON_CURRAN001672 through

               13                          AXON_CURRAN001673,

               14                          AXON_CURRAN001682                        112

               15

               16             12           Handheld ECD Warnings,

               17                          Instructions, and Information:

               18                          Law Enforcement, Important ECD

               19                          Product Safety and Health

               20                          Information Bates stamped

               21                          AXON_CURRAN0001972 through

               22                          AXON_CURRAN0001979                       115




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                4       DEPOSITION

                        EXHIBIT NUMBER     DESCRIPTION                              PAGE

                5

                6             13           User Certification Course, User

                7                          Course, Slides 1, 7 through 8,

                8                          121 through 122 and 131, Bates

                9                          stamped AXON_CURRAN001753,

               10                          AXON_CURRAN001759,

               11                          AXON_CURRAN001760,

               12                          AXON_CURRAN001873 through

               13                          AXON_CURRAN001874,

               14                          AXON_CURRAN001883                        118

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               16             14           Certification Test,

               17                          AXON_CURRAN000514 through

               18                          AXON_CURRAN000517                        121

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                4       DEPOSITION

                        EXHIBIT NUMBER     DESCRIPTION                              PAGE

                5

                6             15           Annual CEW User Update, Slides

                7                          1, 2, 23, Bates stamped

                8                          AXON_CURRAN000675 through

                9                          AXON_CURRAN000676,

               10                          AXON_CURRAN000698                        125

               11

               12             16           Warnings, Instructions, and

               13                          Information: Law Enforcement,

               14                          Important Safety and Health

               15                          Information, Bates stamped

               16                          AXON_CURRAN000078 through

               17                          AXON_CURRAN000085                        131

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                4       DEPOSITION

                        EXHIBIT NUMBER     DESCRIPTION                              PAGE

                5

                6             17           Annual Conducted Electrical

                7                          Weapon (CEW) User Update, Bates

                8                          stamped AXON_CURRAN000040,

                9                          AXON_CURRAN000042 through

               10                          AXON_CURRAN000044,

               11                          AXON_CURRAN000047,

               12                          AXON_CURRAN000061,

               13                          AXON_CURRAN000071                        142

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               15             18           Online Modules, Bates stamped

               16                          AXON_CURRAN000119 through

               17                          AXON_CURRAN000135                        160

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               19             19           Version 20, New Instructor

               20                          Certification Online Modules,

               21                          Bates stamped AXON_CURRAN000108

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                4       DEPOSITION

                        EXHIBIT NUMBER     DESCRIPTION                              PAGE

                5

                6             20           Instructor and User, Warnings,

                7                          Risks and Release Agreement,

                8                          Bates stamped      AXON_CURRAN00037

                9                          through AXON_CURRAN00038                 170

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               11             21           In-House Instructor Course,

               12                          Instructor Certification Course,

               13                          Slides 1, 6, 13, 239 and 240,

               14                          Bates stamped AXON_CURRAN000039          192

               15

               16             22           Photos of Training, Bates stamped

               17                          AXON_CURRAN000104,

               18                          AXON_CURRAN000154 through

               19                          AXON_CURRAN000157                        211

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                4       DEPOSITION

                        EXHIBIT NUMBER     DESCRIPTION                              PAGE

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                6             23           Inter-Office Memorandum, Bates

                7                          stamped AXON_CURRAN000147 through

                8                          AXON_CURRAN000153                        225

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               10             24           Employer's Accident Report,

               11                          Bates stamped AXON_CURRAN000100

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               13

               14             26           Damages Summary, Bates stamped

               15                          AXON_CURRAN000136 through

               16                          AXON_CURRAN000137                        266

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               18             27           Inter-Office Memorandum, Bates

               19                          stamped AXON_CURRAN000462                266

               20

               21             *** Deposition Exhibit 25 was not marked.

               22




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                                                                                 Page 16
                1                       S T I P U L A T I O N S

                2

                3                     IT IS HEREBY STIPULATED AND AGREED

                4       by and between counsel no party to the litigation

                5       will object to the remote deposition on the grounds

                6       that the certified stenographer may not have the

                7       legal authority to swear in the witness.

                8

                9                     FURTHER STIPULATED AND AGREED

               10       that in lieu of the oath administered in person,

               11       the witness declares the testimony in this matter

               12       under the penalty of perjury.

               13

               14                     FURTHER STIPULATED AND AGREED

               15       that the certified stenographer is not physically

               16       present in the deposition room and will be

               17       reporting this deposition remotely.

               18

               19                     FURTHER STIPULATED AND AGREED

               20       all parties and their counsel consent to this

               21       arrangement and waive any objections to this manner

               22       of reporting.




                                      MAGNA.   LEGAL SERVICES


                                             JA-461
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                                                                                 Page 17
                1                       P R O C E E D I N G S

                2

                3                         Remote Deposition

                4             Monday, June 22, 2020; 10:13 a.m. EST

                5

                6                     THE VIDEOGRAPHER:        We are now on

                7            the record.

                8                     This begins Media Number 1 in the

                9            deposition of Shawn Curran in the matter

               10            of Shawn Curran versus Axon Enterprise,

               11            Inc., in the United States District Court

               12            for the Eastern District of Virginia.

               13                     Today is Monday, June 22nd, 2020,

               14            and the time is 10:13 a.m.         This

               15            deposition is being taken completely by

               16            remote at the request of Axon Enterprises

               17            Corporation, Inc.

               18                     The videographer is Kendra Dobson,

               19            and the court reporter is Cindy Sebo,

               20            both of Magna Legal Services.

               21                     Counsel will be noted on the

               22            stenographic record.




                                     MAGNA.   LEGAL SERVICES


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                                                                                 Page 18
                1                     Will the court reporter please

                2            swear in the witness?

                3                                -   -   -

                4                        SHAWN MICHAEL CURRAN,

                5            after having been first duly sworn, was

                6                 examined and testified as follows:

                7                                -   -   -

                8                     CERTIFIED STENOGRAPHER:        The

                9            witness is sworn.

               10                     MS. NGUYEN:     Thank you.

               11                                -   -   -

               12             EXAMINATION BY COUNSEL FOR DEFENDANT

               13                       AXON ENTERPRISE, INC.

               14                                -   -   -

               15       BY MS. NGUYEN:

               16            Q.       Good morning, Mr. Curran.

               17            A.       Good morning.

               18            Q.       So this will be a rather unique

               19       deposition given that we are doing it via Zoom.

               20       So we'll go over some standard deposition rules,

               21       but, certainly, if we have any problems with

               22       communication at any point, let me know if or if




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                                                                                 Page 19
                1       I am interrupting you at any point, please let me

                2       know, because there is a little bit of a delay.

                3                     So if we try to just give each other

                4       a pause before we answer, I think we'll be okay

                5       going forward.

                6                     Okay?

                7            A.       Okay.

                8            Q.       Can you please state your full name?

                9            A.       Shawn Michael Curran.

               10            Q.       And, Mr. Curran, have you gone by any

               11       other names or nicknames?

               12            A.       No, ma'am.

               13            Q.       What about at the Virginia Beach

               14       Police Department?      Did your colleagues there use

               15       any nicknames for you?

               16            A.       One guy called me Hollywood, but that

               17       wasn't all the time; it was only when I saw him.

               18            Q.       Okay.    Have you ever sat for a

               19       deposition before?

               20            A.       No, not --

               21            Q.       As -- excuse me?

               22            A.       -- not that I can recall, no.




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                                                                                 Page 20
                1            Q.        Okay.    As an officer, I'm sure that

                2       you had been -- sat for many interviews; is that

                3       right?

                4            A.        Yes, ma'am.

                5            Q.        Okay.    So a deposition is somewhat

                6       similar to that but more formal.         Obviously, we

                7       have a court reporter present, and this is also

                8       being videotaped so we can use it later on at

                9       trial.

               10                     There are also some rules that I'll

               11       go over briefly.       Number one is just to make

               12       sure that you answer verbally even though I can

               13       see you.     If you're shaking your head, we still

               14       need to get, you know, an affirmative answer for

               15       you so that way the court reporter can get --

               16       get down everything that you're saying.

               17                     Okay?

               18            A.       Okay.

               19            Q.       The next one is to -- there's going

               20       to be objections made from time to time,

               21       hopefully not too many.         But unless your attorney

               22       tells you, instructs you not to answer a




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                                                                                 Page 21
                1       question, please go ahead and allow for the

                2       objection and then go ahead and give your answer.

                3                       Okay?

                4               A.      Okay.

                5               Q.      And if there's anything that you

                6       don't understand at any point that I may ask --

                7       and sometimes I don't ask the most concise or

                8       clear questions, but let me know and I'll try to

                9       rephrase.

               10                      If you do answer a question, I'm

               11       going to go ahead and assume that you understood

               12       that question.

               13                      Fair enough?

               14            A.        Yes, ma'am.

               15            Q.        And, also, we are going to be taking

               16       breaks.      So if at any point you need a break when

               17       the attorneys haven't already called for a break,

               18       please let me know.        We can take one.

               19                      My only request is that if there's a

               20       question pending, go ahead and answer that

               21       question, and then we can take a break after

               22       that.




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                                                                                 Page 22
                1                      Okay?

                2            A.        Um-hum.     Yes, ma'am.

                3            Q.        Mr. Curran, are you currently on any

                4       medications that would impair your ability to

                5       tell the truth today?

                6            A.        No.

                7            Q.        Are you currently on any medications

                8       that would impair your ability to recall events

                9       from back in December of 2017, when this incident

               10       occurred?

               11            A.       No.

               12            Q.       Now, let me just introduce myself

               13       briefly.     My name is Amy Nguyen, and I am counsel

               14       for Axon; I'm in-house counsel for the company.

               15       And this is the only opportunity that I get to

               16       ask you questions and speak with you prior to

               17       your trial in this case.

               18                     Do you understand that?

               19            A.       Yes, ma'am.

               20            Q.       Okay.     And I'm going to be obviously

               21       asking you questions about your claims, but,

               22       also, the questions that I ask may become




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                                                                                 Page 23
                1       personal in nature --

                2            A.       Um-hum.

                3            Q.       -- and it's not my intention to

                4       embarrass you or to, you know, do a deep dive

                5       into your personal life but only to the extent

                6       that it relates to -- to your claims.

                7                     Do you understand that?

                8            A.       Yes, ma'am.

                9            Q.       Okay.     What did you do to prepare for

               10       your deposition today?

               11            A.       Well -- okay.      Spoke with my

               12       counsel --

               13            Q.       Okay.

               14            A.       -- reviewed some of my notes, ironed

               15       my shirt and -- how -- how -- pretty much that's

               16       basically about it.

               17            Q.       Okay.    And when you say you spoke

               18       with your attorney, without getting into the

               19       content of those conversations because those are

               20       privileged, can you tell me if you met with your

               21       attorney, either in person or a phone conference?

               22            A.       I did talk to him on the phone, yes.




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                                                                                 Page 24
                1            Q.        And how many times did you speak with

                2       him on the phone to prepare for your deposition?

                3                      MR. BUCCI:    I'll object to that.

                4            We're not getting into that.          That's

                5            attorney-client privilege.

                6                      I instruct the witness not to

                7            answer.

                8                      CERTIFIED STENOGRAPHER:        Excuse

                9            me, Counsel, you are very, very faint.

               10                     MR. BUCCI:     I object to that.

               11            That's -- getting into the number of

               12            times I talk with my client is

               13            attorney-client privilege.

               14                     And I instructed the witness not

               15            to answer.

               16                     MS. NGUYEN:     Okay.    So you're

               17            saying that even though I'm not asking

               18            for the content but simply the number of

               19            times you've spoken with him is

               20            privileged, not the communication itself?

               21                     MR. BUCCI:     Yes.

               22




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                                                                                 Page 25
                1       BY MS. NGUYEN:

                2            Q.       Mr. Curran, without telling me the

                3       number of times or the content, can you tell me

                4       how long that you spoke with your counsel,

                5       approximately, in preparation for the deposition?

                6                     MR. BUCCI:       Same objection.

                7                     Do not answer.

                8       BY MS. NGUYEN:

                9                     Mr. Curran, you have been instructed

               10       by your attorney not to answer those prior two

               11       questions about both the number of times you've

               12       spoken with him as well as the duration.

               13                     Are you going to follow your

               14       attorney's advice?

               15            A.       Yes.

               16            Q.       You said that you reviewed some

               17       notes, Mr. Curran.

               18                     What notes did you review?

               19            A.       Interoffice memo from the department;

               20       the video of the incident; right now just

               21       training record.      And that was all I did.

               22            Q.       Okay.    The interoffice memo -- is




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                                                                                  Page 26
                1       that the one that was drafted by Captain Jones?

                2            A.       No; the one that I drafted.

                3            Q.       And when did you draft that memo?

                4            A.       I'll have to check the date.

                5                     It says March 7th, 2018.

                6            Q.       And we're going to be referring to

                7       what's called "Bates numbers" in the --

                8       typically, they're printed in the lower right

                9       corner of documents that have been disclosed in

               10       this case.

               11                     Can you tell me if that has a Bates

               12       number on it?

               13            A.       I -- excuse me.        I have to find it.

               14                     THE WITNESS:     This is my own

               15            stuff.

               16                     MR. BUCCI:     Yeah.     Just answer the

               17            question.

               18                     THE WITNESS:     Okay.

               19                     On mine, no, it does not.

               20                     MS. NGUYEN:     Scott, has that been

               21            disclosed in the case?

               22                     MR. BUCCI:     Yes.    I e-mailed it to




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                                                                                 Page 27
                1            you and Brian along with some medical

                2            records.

                3                     MS. NGUYEN:     Do you happen to have

                4            a Bates number?

                5                     MR. BUCCI:     It was not Bates

                6            numbered; it's just something that I

                7            have.

                8                     Give me one second.

                9                     MS. NGUYEN:     While you're looking

               10            for that, Scott, I'll continue on.

               11       BY MS. NGUYEN:

               12            Q.       Mr. Curran, you mentioned that you

               13       also reviewed a video.

               14                     Is that the surveillance video of

               15       the training that occurred in December of 2017?

               16            A.       Yes, ma'am.

               17            Q.       And then you also mentioned a

               18       training record.

               19                     Can you provide more detail on what

               20       training record that is?

               21            A.       Just the printed-out record of my

               22       training history in the -- with the department.




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                                                                                     Page 28
                1             Q.      When you say "the department," are

                2       you referring to the Virginia Beach Police

                3       Department?

                4             A.      Yes, ma'am.

                5             Q.      Any other documents that you

                6       reviewed?

                7             A.      No, ma'am.

                8             Q.      Mr. Curran, where are you currently

                9        living?

               10             A.        At

               11             .

               12             Q.        And how long have you lived at that

               13       residence?

               14             A.      I believe since 2012.

               15             Q.      And prior to that, did you live in

               16        any other cities, or was it also Virginia Beach

               17        before 2012?

               18             A.      Before 2012 was Virginia Beach also.

               19             Q.      Did you -- most -- can you say most

               20        of your adult life, have you lived in

               21        Virginia Beach, or have you --

               22             A.      Oh.       No, ma'am.       Prior to the 2300




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                                                                                 Page 29
                1       address, I lived in a different house in

                2       Virginia Beach; prior to that, I lived in an

                3       apartment in Virginia Beach; prior to that, I

                4       lived up towards my parents' house, which was

                5       Langhorne, Pennsylvania.

                6                     I spent most of my adult life until

                7       about 25 years old up in that area, just north

                8       of Philadelphia.

                9            Q.       Okay.    And you said your parents

               10       still live in that area?

               11            A.       Yes, ma'am.

               12            Q.       And what is your current age,

               13       Mr. Curran?

               14            A.       Forty-five.

               15            Q.       I want to go into your education a

               16       little bit.

               17                     First, what is the highest grade

               18       that you have completed?

               19            A.       I have my associate's from

               20       Saint Louis University.

               21            Q.       And when was that obtained?

               22            A.       I believe 2014 or 2015.        I'm not




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                                                                                 Page 30
                1       quite sure.

                2            Q.       Any other prior -- excuse me --

                3       college education?

                4            A.       No, ma'am.

                5            Q.       And then what about high school?

                6       What high school did you graduate from?

                7            A.       I went to Pennsbury in Fairless

                8       Hills, Pennsylvania.

                9            Q.       Do you have any other specialized

               10       training or education, certifications other than

               11       those that you received at Virginia Beach?

               12            A.       No, ma'am.

               13            Q.       Mr. Curran, are you currently

               14       employed?

               15            A.       No, ma'am.

               16            Q.       And you were last employed at

               17       Virginia Beach Police Department?

               18            A.       Yes, ma'am.

               19            Q.       And what was the date of your last

               20       employment there?

               21            A.       December 1st, 2018.

               22            Q.       And in reviewing the records, it




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                                                                                 Page 31
                1       looks like you started there in 1999; is that

                2       correct?

                3            A.       Yes, ma'am.

                4            Q.       What was the position that you had

                5       when you started?

                6            A.       Well, first, it was police recruit,

                7       and then, once I graduated, it was police

                8       officer.

                9            Q.       So no other law enforcement

               10       experience prior to joining Virginia Beach?

               11            A.       I went through the Montgomery County

               12       Police Academy in, I'd say, '98, maybe, but that

               13       doesn't count because I put myself through it.

               14       No department hired me at that time, kind of like

               15       a college -- trade school thing.

               16            Q.       I'm sorry.       What year did you say

               17       that was?

               18            A.       Maybe 2000 -- 2000 -- I'm sorry --

               19       maybe 2007 -- I'm sorry -- 1997, '98 -- I'm not

               20       positive on that.

               21            Q.       Okay.    And so when you were hired on

               22       by Virginia Beach Police Department, even though




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                                                                                 Page 32
                1       you had already gone through a police academy,

                2       they did not recognize that and they wanted you

                3       to go through the academy again; is that correct?

                4            A.        Yes, ma'am.     Different states,

                5       so . . .

                6            Q.        What academy did you go through for

                7       Virginia Beach?

                8            A.        The Virginia Beach Police Academy.

                9            Q.        Were you actually hired on prior to

               10       joining the academy?

               11            A.       Yes, ma'am.

               12            Q.       You said that you started as police

               13       recruit.     Once you graduated, you were officer.

               14                     Can you just briefly walk me through

               15       the positions that you held while at the

               16       Virginia Beach Police Department?

               17            A.       Sure.    In the first, I was on uniform

               18       patrol, and then I went to the oceanfront for a

               19       couple of years during the summer, still

               20       basically uniform patrol.        And then, from there,

               21       I went to community policing in the First

               22       Precinct.




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                                                                                 Page 33
                1                     And then, from there, I went to the

                2       special weapons and tactics team for

                3       approximately -- I was there for about 12 years,

                4       I believe -- I'm sorry, not 12 years -- probably

                5       about 11.

                6                     Right about 10 years into the SWAT

                7       team, I took the job as a defensive tactics

                8       coordinator but still did double duty as a SWAT

                9       team member at the time until -- I believe it

               10       was 2006 or '7.     And then I stopped responding

               11       to SWAT call-outs and just did the defensive

               12       tactics coordinator position.

               13            Q.       And that's the position you held

               14       until the employment ended on December 1, 2018?

               15            A.       Yes, ma'am.

               16            Q.       Uniform patrol -- how long were you

               17       in uniform patrol before you went to the

               18       community policing position?

               19            A.       I think -- I believe about three

               20       years, maybe four.

               21            Q.       Okay.    And can you tell me what the

               22       community policing position entails?




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                                                                                 Page 34
                1            A.       Policing the communities, the --

                2       certain neighborhoods that had a majority or

                3       spike in crime or activity.

                4            Q.       So how is that different than a

                5       regular patrol officer out in the community?

                6            A.       Regular patrol officer primarily

                7       responds to calls for service and traffic

                8       summonses.    Community policing doesn't primarily

                9       respond to calls for service unless needed.

               10       Community policing focuses on problem

               11       neighborhoods or gets tasked with adjunct

               12       assignments, like possible residential

               13       burglaries, where you would just patrol that

               14       immediate area where they've had a numerous

               15       amount of burglaries or things like that.

               16            Q.       And how long did you hold that

               17       position?

               18            A.       I believe I was only there for about

               19       a year, maybe a little bit more.

               20            Q.       And that's when you went into special

               21       weapons and tactics?

               22            A.       Yes, ma'am.




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                                                                                 Page 35
                1            Q.        You said that you were in that

                2       position for approximately -- I think you said 11

                3       to 12 years?

                4            A.        I believe so, around there, yes,

                5       ma'am.

                6            Q.        Of those positions that you've

                7       listed, which ones would include you serving in a

                8       supervisory role where you would supervise other

                9       officers?

               10            A.       Well, during those positions, I

               11       was -- are you talking about supervising on the

               12       street, or can you explain "supervising"?

               13            Q.       Either way.     Anytime you're either

               14       supervising or managing other officers within the

               15       department.

               16            A.       Well, at that time, when I was in

               17       community policing, I was also a defensive

               18       tactics instructor and a general instructor.            So

               19       I would say from the community policing part all

               20       the way including SWAT and defense tactics

               21       coordinator, I would manage other officers.

               22            Q.       And that would be the officers that




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                                                                                 Page 36
                1       would obviously come into your training courses,

                2       correct?

                3            A.       Not only that but also if there

                4       was -- also on the SWAT team during tactical

                5       situations.

                6            Q.       So during those tactical situations,

                7       would you then be considered a lead officer on

                8       the scene, and so they would have to, you know,

                9       listen to you -- look to you for commands and

               10       instructions?

               11            A.       Yes, ma'am.

               12                     I was for -- I believe about six out

               13       of the 11 years, I was assistant team leader on

               14       the SWAT team.     And then when we had a break of

               15       sergeants, I was tasked with taking the role of

               16       being in charge.

               17                     Obviously, there was no bump up in

               18       title; it was just a duty assigned.

               19            Q.       So you never had the title of

               20       sergeant; is that correct?

               21            A.       No, ma'am.

               22            Q.       "No" meaning that is -- you did not




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                                                                                 Page 37
                1       have the --

                2            A.       I did not have the title of sergeant.

                3            Q.       Okay.    Thank you.

                4                     Can you tell me what the defensive

                5       tactics/less lethal coordinator entails?

                6            A.       Okay.    The jobs they had -- I had on

                7       that was setting up all defensive tactics academy

                8       training; setting up all detectives department

                9       training; developing the training for the Academy

               10       and the department; responding to use-of-force

               11       boards as a subject matter expert in defensive

               12       tactics; trying out new gear in the rooms and

               13       going to different schools to develop advanced

               14       training in officer self-defense and

               15       deescalation.

               16            Q.       And would you categorize, at the

               17       Virginia Beach Police Department, the TASER

               18       Conducted Energy Weapon, which I will refer to

               19       for short as "CEW" -- is that something that's

               20       familiar to you?

               21            A.       Yes, ma'am.

               22            Q.       Okay.    So when I say "CEW," you'll




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                                                                                 Page 38
                1       know that I'm referring to the TASER Conducted

                2       Energy Weapon?

                3            A.       Yes, ma'am.

                4            Q.       Would you include that in the

                5       defensive tactics/less lethal coordinator

                6       umbrella?

                7            A.       No, ma'am.       That's a separate

                8       position.

                9            Q.       Okay.    And was the TASER CEW

               10       considered to be a less -- less lethal

               11       use-of-force device at the Virginia Beach Police

               12       Department?

               13            A.       I believe so.

               14            Q.       So before joining Virginia Beach in

               15       1999, you mentioned that you attended an academy

               16       in Montgomery County.

               17                     Is there any prior employment before

               18       joining Virginia Beach?

               19            A.       Yes.    I was the loss prevention

               20       manager at Kohl's department stores.

               21            Q.       Okay.    And how long did you do that?

               22            A.       Two or three years.       That's a




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                                                                                 Page 39
                1       guesstimate.

                2               Q.     Okay.     Any other prior employment?

                3               A.     Prior to that, I worked as loss

                4       prevention at a department store called Boscov's

                5       in Philadelphia and in Bensalem.          And prior to

                6       that, I believe I was a security officer at the

                7       Lynnhaven Mall.        And prior to that, I worked at a

                8       clothing store for sports inside the Lynnhaven

                9       Mall.

               10                     As far as any employment before

               11       that, I can't recall.        It could have been a gas

               12       station for a little bit.

               13            Q.       Okay.     As a security officer, did you

               14       carry any use-of-force tools?

               15            A.       No, ma'am.

               16            Q.       That would include the TASER CEW,

               17       correct?     You did not carry that?

               18            A.       In 1993, no, ma'am.

               19            Q.       Mr. Curran, are you currently single

               20       or married?

               21            A.       I am single, and I have a girlfriend.

               22            Q.       And what is your girlfriend's name?




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                                                                                 Page 40
                1            A.        Stephanie Felps.

                2            Q.        What's the last name?

                3            A.        Felps, F-E-L-P-S.

                4            Q.        And how long have you been dating?

                5            A.        Over two years.

                6            Q.        Are you currently residing together

                7       or separately?

                8            A.        Together.

                9            Q.        And how long have you been residing

               10       together?

               11            A.       About a year and nine months -- about

               12       that, maybe.

               13            Q.       And so were you dating her at the

               14       time of this incident in December of 2017?

               15            A.       Yes.   We just started dating about

               16       three months prior, I believe.

               17            Q.       Mr. Curran, do you have any children?

               18            A.       Yes, ma'am.     One.

               19            Q.       How old?

               20            A.       He [sic] is 7.

               21            Q.       And does he reside with you?

               22            A.       She -- her mother and I have joint




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                                             JA-485
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                                                                                 Page 41
                1       custody.

                2               Q.    She?    I'm sorry.      I thought you said

                3       "he."

                4               A.    No; she.    I have a little girl.

                5               Q.    And I'm sorry.         You -- you were going

                6       to tell me about the living arrangements.

                7               A.    Yes.    Her mother and I have joint

                8       custody; we split time equally.

                9               Q.    And do you have any siblings?

               10            A.       Yes, I have one sister.

               11            Q.       And where does she live?

               12            A.       She lives in Wilmington, Delaware.

               13            Q.       And do you speak with her often?

               14            A.       Yes, ma'am.

               15            Q.       And you mentioned that your parents

               16       still live in Pennsylvania?

               17            A.       Yes, ma'am.

               18            Q.       Okay.    I'm going to go into your

               19       training in a little bit more detail with the

               20       Virginia Police Department.

               21                     So can you tell me when you started

               22       and ended the academy there?




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                                                                                 Page 42
                1               A.     I believe I started in August '99,

                2       and my first day on the street was December 31st,

                3       1999, Y2K.

                4               Q.     And did Virginia Beach require any

                5       additional training other than the Academy to go

                6       out into the street?

                7               A.     Not that I'm aware of, no, ma'am.

                8               Q.     And were you in field training at the

                9       time?     Did they have a field training program

               10       back in 2000?

               11            A.       Yes, ma'am.

               12            Q.       And how long was that?

               13            A.       I believe it was about three months,

               14       maybe three and a half, I believe.

               15            Q.       And were you able to graduate from

               16       that on time, or was that extended for any

               17       reason?

               18            A.       On time.    On time.

               19            Q.       Now, the -- at the academy, is it

               20       fair to say that that would be the first time

               21       that you received some use-of-force training?

               22            A.       Yes, ma'am.




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                                                                                 Page 43
                1            Q.       And then subsequent to that, in

                2       reviewing your training matrix, which we will go

                3       over, it looks like you received periodic

                4       training in various use of force and tactics?

                5            A.       Yes, ma'am.

                6            Q.       And that includes all this stuff --

                7       some of them here -- defensive tactics?

                8            A.       Yes, ma'am.

                9            Q.       Close quarter combat?

               10            A.       Yes, ma'am.

               11            Q.       OC spray?

               12            A.       Yep.

               13            Q.       Batons?

               14            A.       Yes.

               15            Q.       Firearms?

               16            A.       Yes.

               17            Q.       Sniper training?

               18            A.       Yes.

               19            Q.       SWAT?

               20            A.       Yes.

               21            Q.       And on SWAT training, is that where

               22       you would have -- I -- I noticed reference to




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                                                                                   Page 44
                1       40-millimeter single shot launcher, 40-millimeter

                2       multishot launcher.

                3                     Is that the training in which you

                4       would use those devices, the SWAT training?

                5            A.       What, the 40-millimeter?

                6            Q.       Correct.

                7            A.       Yes.

                8            Q.       And so would it be fair to say that

                9       all of that training would also include practical

               10       training?

               11            A.       Can you define "practical"?            What do

               12       you mean by "practical"?

               13            Q.       So I -- I kind of divide them up.

               14       You know, we'll get into the TASER CEW training,

               15       but they kind of have a classroom portion of that

               16       training where you're reviewing material,

               17       obtaining information, then a practical portion

               18       where you're actually learning how to use the

               19       device, handling the device, learning how to

               20       deploy them --

               21            A.       Yes.

               22            Q.       -- so that's how I separate it in my




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                                                                                 Page 45
                1       mind.

                2                     Does that make sense to you?

                3               A.    Yes, ma'am.

                4               Q.    Okay.    And so practical training on

                5       those items that I just listed -- would you have

                6       received practical training on how to use those

                7       devices?

                8               A.    Yes, ma'am.

                9               Q.    And so you would have handled all of

               10       those devices -- for example, the baton, the OC

               11       spray, all the firearms -- you would have handled

               12       those yourself, correct?

               13            A.       Yes, ma'am.

               14            Q.       And in doing those in the practical

               15       training portions, you also would have received

               16       safety instructions, correct?

               17            A.       Yes, ma'am.

               18            Q.       And did you also receive safety

               19       equipment, if needed, during that practical

               20       training?

               21            A.       Safety equipment?         Can you --

               22            Q.       Yeah.    For -- for example, if there's




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                                                                                 Page 46
                1       eyeglasses, for example -- when deploying some of

                2       the firearms, did you wear protective eye gear?

                3            A.       Okay.    Yes, either supplied or you

                4       had it on your person yourself.

                5            Q.       Do you agree that when conducting

                6       practical training, that it is important to

                7       call -- to follow safety protocols?

                8            A.       Yes.

                9            Q.       Do you agree that when conducting

               10       practical training, it's also important to wear

               11       safety equipment, if recommended?

               12            A.       Yes.

               13            Q.       Okay.    We're going to go into what I

               14       have marked as Exhibit 1.          And this is your

               15       training matrix.

               16                                -     -   -

               17                     (Deposition Exhibit Number 1,

               18                      Training History, Shawn M. Curran,

               19                      Bates stamped AXON_CURRAN000527

               20                      through AXON_CURRAN000551, marked

               21                      for identification, as of this

               22




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                                                                                  Page 47
                1                      date.)

                2                                 -   -   -

                3                      MS. NGUYEN:     Scott, the

                4            Bates range on this is AXON_CURRAN527

                5            through -551.

                6                      THE WITNESS:       It's right here?

                7            Okay.

                8                      Oh, I see it.      Okay.

                9                      MR. BUCCI:     I'm getting a stapler

               10            so we can start -- so, Amy, just FYI --

               11            so if you're going subsequently through

               12            the exhibits, it should be easier, but

               13            they're all just in one big stack right

               14            here.    But the first part of it he's --

               15            he's got in front of him.

               16                     MS. NGUYEN:      And did you receive

               17            the index yet?       I believe it was e-mailed

               18            to you.

               19                     MR. BUCCI:      I -- hold on.      Let me

               20            check.

               21                     THE VIDEOGRAPHER:          Are we waiting

               22            on the record?




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                                                                                 Page 48
                1                      MS. NGUYEN:     No.   We can move

                2            forward.    I just want to make sure that

                3            he has the exhibit in front of him.

                4       BY MS. NGUYEN:

                5            Q.        Mr. Curran, do you have Exhibit 1 in

                6       front of you?

                7                      MR. BUCCI:     He's got the exhibit

                8            in front of me.       So it's -- hold on one

                9            second.     So it's -- what number is it

               10            through?

               11                     MS. NGUYEN:     AXON_CURRAN527

               12            through -551.

               13                     THE WITNESS:      Okay.

               14                     MR. BUCCI:      He's got it.

               15                     MS. NGUYEN:     Thank you.

               16       BY MS. NGUYEN:

               17            Q.       And, Mr. Curran, I don't believe

               18       we've made this clear on the record that although

               19       the rest of the attorneys are appearing remotely,

               20       you are actually present in person with your

               21       attorney, Mr. Bucci; is that correct?

               22            A.       Yes.




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                                                                                 Page 49
                1                     MR. BUCCI:       Six feet away.

                2       BY MS. NGUYEN:

                3            Q.       Okay.    So I'm going to direct you

                4       to -- if you look at Exhibit 1, down at the lower

                5       right-hand corner is the Bates numbers, where it

                6       says AXON_CURRAN.

                7                     Do you see that?

                8            A.       Yes, ma'am.

                9            Q.       Okay.    And I'm going to refer to

               10       those pretty often throughout the deposition just

               11       to make sure that we are literally all on the

               12       same page.

               13                     So right now, I'm going to direct

               14       you to Page 546 of those Bates numbers.

               15                     And just let me know when you're

               16       there.

               17            A.       I'm there.

               18            Q.       Okay.    So on this page, it has a list

               19       of -- it looks like the title is F41s.

               20                     Can you tell me what that means?

               21            A.       I have no idea, ma'am.

               22            Q.       Okay.    It -- it looks to be starting




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                                                                                 Page 50
                1       in April of 2005 down at the bottom -- that's the

                2       oldest one in mobile tactics -- and then all the

                3       way up to the most recent, which was October of

                4       2017.     But it appears that most of them are

                5       instructor training.

                6                      Would you agree with that?

                7               A.     It would say that they're instructor

                8       research, yes, ma'am.

                9               Q.     Well, down at the bottom, it doesn't

               10       say research; it actually says -- indicates new

               11       instructor training, correct?

               12            A.       At -- if you look at 2005, 5 -- 5/3,

               13       General Instructor School --

               14            Q.       Correct.

               15            A.       -- and the same thing right above

               16       that, Defensive Tactics Instructor School, yes,

               17       that is brand-new-instructor-status class.

               18            Q.       Okay.    And so it appears to me that

               19       this -- this out year -- the instructor or --

               20       either initial instructor or recertification for

               21       your instructor positions; is that correct?

               22            A.       It would appear so, yes.




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                                                                                 Page 51
                1            Q.       Okay.    And going to the -- to the

                2       first one, which would have been the first one

                3       you received, where it indicates you were an

                4       instructor was back in -- on May 3rd, 2005 as a

                5       general -- you went to general instructor school.

                6                     Do you see that?

                7            A.       Yes, ma'am.

                8            Q.       And what does general instructor

                9       school entail?

               10            A.       That allows you to teach classes,

               11       like if you would need to give a CPR class after

               12       you become CPR certified, or you could teach a

               13       report-writing class, things of that nature.

               14            Q.       So CPR, report writing.

               15                     Anything else that you would be able

               16       to instruct with that general instructor

               17       certification?

               18            A.       Yes, there's a ton of things.          I

               19       couldn't possibly name them all, but, like,

               20       ethics, if you were tasked with that -- I'm

               21       trying to think of what else is in the

               22       training -- accident diagrams, if you were tasked




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                                                                                 Page 52
                1       with that -- bay -- the basic police stuff.

                2            Q.       Okay.    So did that get into use of

                3       force at all?

                4            A.       No, ma'am.

                5            Q.       And did you maintain that general

                6       instructor certification throughout your

                7       employment with Virginia Beach?

                8            A.       Yes, ma'am.

                9            Q.       The next one it looks like you

               10       received was on May 31st of 2005, and it says,

               11       Defensive Tactics Instructor School?

               12            A.       Yes, ma'am.

               13            Q.       What did that training entail?

               14            A.       That allows you to teach the

               15       Academy -- or the department the -- the maneuvers

               16       or pressure points, joint manipulations, the

               17       curriculum of the Virginia Beach Police

               18       Department in the areas of defensive tactics.

               19            Q.       So does defensive tactics at Virginia

               20       Beach -- would that only include hands-on use of

               21       force, or does it also include use-of-force

               22       tools?




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                                                                                 Page 53
                1            A.       It would include the only

                2       use-of-force tools it -- actually, the defensive

                3       tactic instructor, you could only teach just

                4       hands-on until you received certifications.

                5            Q.       Okay.    So no use-of-force tools?

                6            A.       No.

                7            Q.       And then you let me know what that

                8       allows you to teach.

                9                     What about the actual training,

               10       though, to become an instructor?

               11                     Do you recall how long it was?

               12            A.       I -- possibly about 40 hours or 50

               13       hours.    I'm not positive.

               14            Q.       And would that have involved both

               15       classroom work as well as the --

               16                     CERTIFIED STENOGRAPHER:        Excuse

               17            me, Counsel.      You lost connection there.

               18                     MS. NGUYEN:      Oh, okay.

               19                     Can you hear me?

               20                     THE WITNESS:      Yes, I can now.

               21                     CERTIFIED STENOGRAPHER:        I can

               22            now, too.




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                                                                                 Page 54
                1                     MS. NGUYEN:      Okay.

                2       BY MS. NGUYEN:

                3            Q.       My question --

                4                     MS. NGUYEN:      Thank you.

                5       BY MS. NGUYEN:

                6            Q.       My question was, Did that training

                7       include both a classroom as well as a practical

                8       portion?

                9            A.       Yes, ma'am.

               10            Q.       Was it divided up evenly, or was

               11       there more of one than the other?

               12            A.       There's more practical than

               13       classroom.

               14            Q.       And did you actually teach --

               15       starting from your instructor certification in

               16       May of 2005, did you actually teach defensive

               17       tactics pretty consistently throughout your

               18       employment at Virginia Beach?

               19            A.       Yes, I would say so.

               20            Q.       Okay.    Referring back to Exhibit 1,

               21       there's another one for firearms instructor

               22       school.




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                                                                                 Page 55
                1                     Do you see that?

                2            A.       Yes, ma'am.

                3            Q.       Is that another certification that

                4       you received?

                5            A.       Yes, ma'am.

                6            Q.       And that -- that training -- do you

                7       recall how long and what that training entailed?

                8            A.       That training -- I -- 40 to 60

                9       hours -- I'm not positive exactly the amount of

               10       hours.    It incorporated classroom portion and

               11       shooting portions.

               12            Q.       And that -- what kind of courses does

               13       that allow you to teach?       Only firearms, or does

               14       it allow you to go into other training?

               15            A.       Just your basic firearms.

               16            Q.       Basic firearms.

               17                     What about your -- the specialized

               18       firearms that you would -- that you referred to

               19       earlier in SWAT?

               20            A.       No.   The -- that -- the basic fire --

               21       firearms instructor would be just your basic

               22       weapons that the department might have, your




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                                                                                   Page 56
                1       handgun -- at the time, it was just your handgun

                2       or a shotgun.

                3               Q.    Okay.    And did you teach those

                4       courses on a regular basis during your

                5       employment?

                6               A.    Not to the department, no.         At that

                7       time, I was just transferred to the SWAT team, so

                8       I was -- did most of my training on the -- most

                9       of my teaching on the SWAT team -- to the SWAT

               10       team.

               11            Q.       And did you ever become certified as

               12       an instructor to teach more of the specialized

               13       firearms?

               14            A.       Yes.    I was instructor in teaching

               15       carbine and sniper rifles.

               16            Q.       And do you recall -- do you see that

               17       anywhere on Exhibit 1 on Page 546?

               18            A.       No, ma'am.

               19            Q.       Do you recall when you would have

               20       received that certification?

               21            A.       The exact dates, no.       I would have to

               22       look through my training record, if I could even




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                                                                                 Page 57
                1       find it.

                2             Q.      What's an approximate time frame?

                3             A.      Well, I think I went through sniper

                4       school in 2007.       And you don't teach right out

                5       the gate, so maybe about a -- maybe about

                6       two years later, I was teaching the sniper rifle.

                7                     And then the carbine or other

                8       specialized weapons just comes with training,

                9       the more you train on it.        There's no -- I'm not

               10       quite sure there's a certification letter for

               11       it.

               12             Q.      Okay.    Mr. Curran, do you agree that

               13       defensive tactics and firearms training

               14       involves -- involves risk of injury?

               15             A.      Yes.

               16             Q.      In fact, would you agree that all

               17       use-of-force practical training involves risk of

               18       injury?

               19             A.      Yes.

               20             Q.      And that you need to implement safety

               21       protocols to reduce that risk of injury?

               22             A.      Yes, ma'am.




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                                                                                 Page 58
                1            Q.       And as an instructor for Virginia

                2       Beach in these areas, would you agree that

                3       participants in these practical use-of-force

                4       trainings are expected to follow those training

                5       protocols and use safety equipment?

                6            A.       Yes, when specified, they are.

                7            Q.       And that that would be a reasonable

                8       expectation of an instructor is that the

                9       participants do follow those protocols?

               10            A.       Yes.

               11            Q.       Would you also agree that as a

               12       use-of-force instructor, that you can't be

               13       expected to watch every participant at all times?

               14            A.       No.

               15            Q.       You disagree with that?

               16            A.       Yes.

               17            Q.       And so you believe that instructors

               18       should watch every participant at all times?

               19            A.       Depending on the size of the class.

               20            Q.       Okay.    So let me know what -- at what

               21       point do you think that an instructor is no

               22       longer expected to watch every participant at all




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                                                                                 Page 59
                1       times?

                2            A.       When you're dealing with a large

                3       amount of people, it's impossible to watch

                4       everyone; but when you're dealing with a small

                5       group of individuals, you are, as the instructor,

                6       expected to watch everyone.

                7            Q.       Okay.    And what do you consider to be

                8       a small group of people?       Where is that cutoff

                9       for you?

               10            A.       About one to three.

               11            Q.       Okay.    So one to three people -- you

               12       would say that the instructor needs to watch all

               13       participants at all times --

               14            A.       Yes.

               15            Q.       -- at least that's the expectation?

               16            A.       That would be the expectation, but it

               17       also depends on the type of training you're

               18       doing.

               19            Q.       Okay.    And then over three people --

               20       so four or more -- you would say that, there, the

               21       instructor is not expected to watch all

               22       participants at all times?




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                                                                                 Page 60
                1            A.       That one instructor, no.        They would

                2       have to facilitate other instructors' help.

                3            Q.       You will agree, Mr. Curran, that

                4       regardless of how many safety -- safety protocols

                5       or how much safety equipment is used, that

                6       injuries can still occur during practical

                7       training on use of force?

                8            A.       Yes.

                9            Q.       But sometimes it's just not something

               10       that can be avoided?

               11            A.       I wouldn't say every single time, no.

               12            Q.       No.    And I didn't -- my question was,

               13       Sometimes it's something that cannot be avoided,

               14       correct?

               15            A.       Possibly.

               16            Q.       I'm going to discuss more

               17       specifically now your TASER CEW certifications.

               18                     Going to Exhibit 1 -- and this

               19       exhibit -- just keep it handy because

               20       we're going -- this is your training matrix, so

               21       I'm going to go and reference it quite often

               22       throughout your deposition.




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                                                                                 Page 61
                1                     Okay?

                2                     I'm going to refer you to Page 541.

                3                     And before we actually go through

                4       this specifically, can -- is it fair to say that

                5       you would not have handled a TASER -- TASER CEW

                6       before joining the Virginia Police Department?

                7            A.       Correct.

                8            Q.       Okay.    And according to this exhibit,

                9       at least as far as I could tell, the earliest

               10       TASER CEW certification that I can see occurred

               11       on October 31, 2007.      And that's on Page 541.

               12                     Do you see that?

               13            A.       Yes, ma'am.

               14            Q.       But here, it says, TASER

               15       recertification.      But I wasn't able to find a

               16       certification prior to that date.

               17                     Do you recall when you were first

               18       certified on the TASER CEW?

               19                     And feel free to look at the prior

               20       dates.    This -- this training matrix here goes

               21       back to when you joined the department.

               22            A.       It would have to be sometime, I




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                                                                                 Page 62
                1       believe --

                2            Q.       It looks like it goes back to

                3       Page 541.

                4            A.       -- I would have to say it would

                5       probably be somewhere around 2005 or 2006, while

                6       on the SWAT team.

                7            Q.       Okay.    And if you can then just take

                8       a look at those years.         So it looks like they

                9       appear on Pages 542, 543 and 544.

               10                     Do you see anything on there that

               11       would indicate a TASER CEW certification?

               12                     Most -- the ones that I located --

               13       I'll just tell you they actually say, you know,

               14       TASER certification or recertification.

               15                     But I'm wondering whether it could

               16       have been lumped into any other training that

               17       you received during that time frame and perhaps

               18       not culled out specifically.

               19            A.       I couldn't tell you, to be honest.

               20       The --

               21            Q.       Okay.

               22            A.       -- person who did the training was




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                                                                                 Page 63
                1       required at the time in the SWAT team to fill out

                2       the paper.    So they could have lumped it together

                3       with other training at the time or that day.

                4            Q.       Okay.    But as you sit here today, you

                5       have an independent recollection of first being

                6       certified on the TASER CEW either in 2005 or

                7       2006; is that correct?

                8            A.       I believe so, yes.        I'm not positive.

                9            Q.       And am I correct in assuming that you

               10       would not have handled a TASER CEW until you

               11       actually received that certification?

               12            A.       Correct.

               13            Q.       So going back to Page 541, that TASER

               14       certification that I referenced of October 31,

               15       2007 -- do you see that?

               16            A.       Okay.

               17            Q.       Now, here, it says it's a

               18       recertification.      And if you go over to the

               19       fourth column, that reflects the number of hours

               20       that was in that training.

               21            A.       Yes, ma'am.

               22            Q.       And it says, Four hours.




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                                                                                 Page 64
                1                      Does that sound consistent with your

                2       recollection of the TASER recertification?

                3            A.        I believe -- in 2007, I don't have a

                4       recollection, but according to what it would be,

                5       I would assume that would be correct.

                6            Q.        And would that have been on the

                7       model -- the X26?

                8            A.        I can't tell you exactly which model

                9       it was.   I'm not positive on which one it was.

               10            Q.       Okay.    So you don't know -- you

               11       aren't familiar with what model you were first

               12       certified in at Virginia Beach?

               13            A.       The actual number -- it was the

               14       smaller one.    So whatever the department had at

               15       the time, that's the one we trained on.

               16            Q.       Okay.    And that would have been a

               17       single-shot device, correct?

               18            A.       Yes, ma'am.

               19            Q.       Now, at the time, was there -- how --

               20       do you recall how many TASER CEW instructors you

               21       had at the department?

               22            A.       Oh, I had -- I have no idea.




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                                                                                 Page 65
                1            Q.       Okay.    Do you recall if your

                2       instructor was with Virginia Beach or from some

                3       other agency?

                4            A.       It was with Virginia Beach.

                5            Q.       Do you recall any of the instructor

                6       names for the TASER CEW instruction you received?

                7            A.       I can only speculate who it was on

                8       the -- on -- on the training due to the people on

                9       the SWAT team.    I don't recall exactly who

               10       trained me.    It may have been --

               11            Q.       Who do you think it may have been?

               12            A.       Johnny Mitchell, and possibly

               13       Steve Ferrara, but that's a guess.

               14            Q.       And are they both still -- with the

               15       department still, to your knowledge?

               16            A.       I believe Steve is.       I'm not quite

               17       sure in what capacity Johnny would be.

               18                     MS. NGUYEN:      Now we're going to go

               19            to Exhibit 2, AXON_CURRAN711 through

               20            -790.

               21

               22




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                                                                                 Page 66
                1                                -   -   -

                2                     (Deposition Exhibit Number 2, TASER

                3                      International Training Material

                4                      License Agreement, User Course,

                5                      Slides 1, 2, 32, 74 and 75, Bates

                6                      stamped AXON_CURRAN000711 through

                7                      AXON_CURRAN000712,

                8                      AXON_CURRAN000746,

                9                      AXON_CURRAN000789 through

               10                      AXON_CURRAN000790, marked for

               11                      identification, as of this date.)

               12                                -   -   -

               13       BY MS. NGUYEN:

               14            Q.       Do you have that in front of you,

               15       Mr. Curran?

               16            A.       Yes, ma'am.

               17            Q.       Now, if we can just go to Page 2 of

               18       that document, which is Bates 712.          And this one

               19       says, TASER X26, Electronic Control Device User

               20       Course, Version 13.0, Released May 1, 2006.

               21                     And I will tell you, Mr. Curran,

               22       that this was the -- you're aware that TASER,




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                                                                                 Page 67
                1       now Axon, would update their training materials

                2       periodically, correct?

                3            A.       I was never a TASER instructor, so

                4       I'm not quite sure what TASER sends out or does.

                5            Q.       I understand that, but you went

                6       through multiple TASER certifications and

                7       recertifications, correct?

                8            A.       Yes, ma'am.

                9            Q.       And during that time, did you learn

               10       that TASER releases recommended training

               11       materials?

               12            A.       I'm sure -- I'm sure they probably --

               13       I was told that, yes, ma'am.

               14            Q.       Okay.    And during that time, would

               15       you also have learned that they update those

               16       training materials periodically?

               17            A.       If it was different than the previous

               18       training, I would just assume that they updated.

               19       I don't believe ever recalling someone said they

               20       updated something.

               21            Q.       Okay.    And so I'll tell you that

               22       Exhibit 2 reflects training released May 1st,




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                                                                                 Page 68
                1       2006, which still would have been, in fact,

                2       during this training in October 31, 2007.

                3                     Okay?

                4               A.    Okay.

                5               Q.    Okay.    So with that understanding, do

                6       you recall that during the CEW training that you

                7       went through, that you would review training

                8       materials in the form of a PowerPoint deck?

                9               A.    Yes, ma'am.

               10            Q.       And the instructor would go through

               11       that PowerPoint with you?

               12            A.       Yes, ma'am.

               13            Q.       And so that would -- would that be --

               14       be --

               15                     MR. BUCCI:       Did we lose her?

               16                     CERTIFIED STENOGRAPHER:        We

               17            lost -- yes, we lost her connection.

               18       BY MS. NGUYEN:

               19            Q.       -- be, to your understanding, the

               20       classroom portion of the training?

               21                     (Connectivity issues.)

               22                     CERTIFIED STENOGRAPHER:        Counsel,




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                                                                                 Page 69
                1            you -- you cut out in the middle of your

                2            question --

                3                     MS. NGUYEN:     I'm going to try it

                4            again.

                5                     CERTIFIED STENOGRAPHER:        -- we

                6            might have to start your whole question.

                7            Sorry.

                8                     MS. NGUYEN:     That's okay.     Thanks

                9            for letting me know.        It seems like it

               10            cuts out periodically.

               11       BY MS. NGUYEN:

               12            Q.       Can you hear me okay now, Mr. Curran?

               13            A.       Yes, ma'am.

               14            Q.       And when you reviewed the PowerPoint

               15       materials in your training, would you consider

               16       that to be the classroom portion?

               17            A.       Yes, ma'am.

               18            Q.       And then there was also the practical

               19       portion, where you actually handled the devices,

               20       correct?

               21            A.       Yes, ma'am.

               22            Q.       And during the classroom portion of




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                                                                                 Page 70
                1       this particular training -- I'm going to take you

                2       to Page 746.

                3                      And on Page 746, this slide is

                4       included, which says, Are TASER Devices

                5       Risk-Free?     And the answer is No.

                6                      Would you agree with that statement

                7       based upon your training, Mr. Curran?

                8            A.        Yes.

                9            Q.        There's also a warning where you're

               10       told that TASER devices can cause injury,

               11       correct?

               12            A.       Yes.

               13            Q.       And it also states, At this time,

               14       review all TASER warnings contained in the

               15       instructor manual.

               16                     Do you see that?

               17            A.       Yes.

               18            Q.       And in the notes, it says,

               19       Instructors shall copy all the TASER warnings and

               20       hand them out to all user course students for

               21       their review prior to proceeding with the course.

               22                     Do you see that?




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                                                                                  Page 71
                1            A.       I do see that, yes.

                2                     MS. NGUYEN:          And Exhibit 3 is

                3            Warnings, AXON_CURRAN1952 through -1955.

                4                                 -    -     -

                5                     (Deposition Exhibit Number 3,

                6                      Product Warnings — Law Enforcement,

                7                      Bates stamped AXON_CURRAN001952

                8                      through AXON_CURRAN001955, marked

                9                      for identification, as of this

               10                      date.)

               11                                 -    -    -

               12                     THE WITNESS:         Do you have a page

               13            number on that?       Because mine just jumps.

               14                     MR. BUCCI:       Here, I'll -- I'll

               15            assist him.

               16                     Here.

               17                     Is it the one, Amy, that starts

               18            1952?

               19                     THE WITNESS:         Which one -- does it

               20            start at --

               21                     MS. NGUYEN:       Yeah, 1952 through

               22            1955.




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                                                                                 Page 72
                1                     THE WITNESS:       Okay.

                2                     MR. BUCCI:       Yeah, if you would,

                3            Amy, just tell us what -- what the Bates

                4            numbers are -- you know, what to what,

                5            and then we can staple them, and it will

                6            probably be a little easier to go

                7            through.

                8                     THE WITNESS:       Got it.

                9       BY MS. NGUYEN:

               10            Q.       Okay.    So these warnings -- you see

               11       the date at the bottom, March 1st, 2007?

               12            A.       Yes.

               13            Q.       These would have been in effect

               14       during that October 2007 training.

               15                     And I want to go to Page 2 of those

               16       warnings.

               17            A.       Okay.

               18            Q.       Mr. Curran, do you recall reviewing

               19       warnings during your TASER CEW courses?

               20            A.       The 2007 -- I can't say I recall

               21       something from 13 years ago.

               22            Q.       Well -- and I know.        That's why my




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                                                                                      Page 73
                1       question was a little bit more general.              I'm --

                2       I'm sure you aren't going to remember specific

                3       warnings at a specific training date --

                4            A.       Yes, ma'am.

                5            Q.       -- but I'm saying, generally

                6       speaking, when you went to your TASER

                7       certification, where you reviewed warnings --

                8            A.       Yes, I'm sure.

                9            Q.       -- at that time.

               10            A.       I believe so, yes.

               11                     THE WITNESS:       I think we lost her.

               12                     Oh, there she is.

               13       BY MS. NGUYEN:

               14            Q.       Okay.    And this warning on Page 2 --

               15       can -- can you repeat that?

               16            A.       I'm sorry.       You cut out.

               17                     Which warning?

               18            Q.       So it's Exhibit 3.        This is the 2007

               19       warnings.

               20            A.       Okay.

               21            Q.       Okay.    And on Page 2 of those

               22       warnings.




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                                                                                 Page 74
                1            A.       Okay.

                2            Q.       And it says, Deployment Warnings.

                3                     Do you see that, the big heading?

                4            A.       Yes, ma'am.

                5            Q.       And then going down to the third

                6       subheading, it says, Avoid Sensitive Areas?

                7            A.       Yes, ma'am.

                8            Q.       And it says, Significant injury can

                9       occur from TASER device deployment into sensitive

               10       areas of the body, such as the eyes, throat or

               11       genitals — avoid intentionally targeting these

               12       areas without justification.

               13                     Do you see that?

               14            A.       Yes, ma'am.

               15            Q.       And that's something that was

               16       included in the warnings provided during

               17       training, correct?

               18            A.       I can't say definitely, like I said

               19       earlier, that that was provided on that training;

               20       but according to your paperwork, it should have

               21       been in there.    But I can't -- it's 13 years ago.

               22            Q.       Right.    And as you sit here today, do




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                                                                                 Page 75
                1       you have any reason to believe that the

                2       instructor would have ignored that slide and not

                3       provided you with the warnings?

                4            A.       No, ma'am.

                5            Q.       Going to Page 3 of those warnings,

                6       which is Bates Number 1954.

                7                     About halfway down on that page, it

                8       states, Permanent Vision Loss.

                9                     Do you see that heading?

               10            A.       Yes, ma'am.

               11            Q.       It states, If a TASER probe becomes

               12       embedded in an eye, it could result in permanent

               13       loss of vision.

               14                     Do you see that?

               15            A.       Yes, ma'am.

               16            Q.       Okay.    And we're going to go back to

               17       Exhibit 2, which is the PowerPoint slide.

               18                     So we went over this slide with

               19       the -- where it mentions the warnings, and so

               20       we'll turn to the next page, which is Bates 789.

               21                     Just let me know when you're there.

               22                     MR. BUCCI:       One sec here.   Let




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                                                                                     Page 76
                1            me -- Amy, I'm going to help him out real

                2            quick here.

                3                      THE WITNESS:       Is it in there?

                4                      MR. BUCCI:       Okay.

                5                      THE WITNESS:       Okay.    Got it.

                6       BY MS. NGUYEN:

                7            Q.        Okay.    Are you on Page 789?

                8            A.        Yes, ma'am.

                9            Q.        Okay.    So this was another slide that

               10       was included in that classroom portion of the

               11       training.     And this slide shows a photo of a

               12       probe impacting an eye.

               13                     Do you see that?

               14            A.       Yes, ma'am.

               15            Q.       And this photo -- I'll tell you

               16       now -- was included in many of the PowerPoint

               17       presentations.

               18                     Do you recall seeing this photo,

               19       Mr. Curran?

               20            A.       I recall seeing a photo of a TASER in

               21       an eye.     I don't recall this exact photo.            It

               22       could be one -- or it could have been the one,




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                                                                                 Page 77
                1       but the exact photo -- I -- I can't recall if

                2       this was the exact photo, but I do remember

                3       seeing something depicting what is shown right

                4       here.

                5               Q.    Okay.    And so you recall, prior to

                6       your training incident in December of 2017, being

                7       shown a photo of an individual having a probe --

                8       a TASER probe in his eye, correct?

                9               A.    Yes.

               10            Q.       Okay.    We can set aside Exhibit 2.

               11                     And then there is the prac- -- we

               12       went over the PowerPoint, a few of those slides,

               13       and then there -- you went into the practical

               14       portion of -- of training, correct?

               15            A.       You said "practical portion" -- you

               16       broke up, but if that's what you said, yes, we

               17       would go from classroom to practical, normally.

               18            Q.       Okay.    And in those -- the practical

               19       portion of the training, that's where you would

               20       actually hand her -- handle a TASER CEW, correct?

               21            A.       I missed the first --

               22            Q.       Are you having trouble hearing me




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                                              JA-522
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                                                                                 Page 78
                1       again?

                2                     CERTIFIED STENOGRAPHER:          Do you

                3            want to go off the record?          We can solve

                4            this.

                5                     MR. BUCCI:      Sure.    Let's solve it.

                6                     THE VIDEOGRAPHER:        Okay.    We are

                7            off the record at 11:19 a.m.

                8                                -    -   -

                9                     (Whereupon, a recess was taken from

               10                      11:19 a.m. EST to 11:33 a.m. EST.)

               11                                -    -   -

               12                     THE VIDEOGRAPHER:        We're back on

               13            the record at 11:33 a.m.

               14       BY MS. NGUYEN:

               15            Q.       Mr. Curran, where we left off, we

               16       were discussing the practical portion of your

               17       2007 TASER CEW training.

               18                     In that practical portion, you would

               19       actually handle the CEW devices, correct?

               20            A.       Yes.

               21            Q.       And you would learn how the device

               22       worked, turn it on, turn it off, load the




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                                                                                 Page 79
                1       cartridge, unload the cartridges, correct?

                2            A.       Yes, ma'am.

                3            Q.       And you would also actually deploy

                4       the CEWs at that time; is that also true?

                5            A.       Yes, we would deploy them at a static

                6       target.

                7            Q.       Okay.    And when you deployed them at

                8       a static target, the cartridges that we're using

                9       also would deploy the probes, correct?

               10            A.       Yes.

               11            Q.       And did you have an opportunity at

               12       that time to see the probes?

               13            A.       Yes.

               14            Q.       And did you actually remove them from

               15       the target?

               16            A.       No.    We would shoot the static

               17       target, and you would leave them.

               18            Q.       Okay.    And during that training, were

               19       you -- were you also able to observe that the

               20       probe has a sharp end?

               21            A.       Yes.

               22            Q.       And did you understand that it's




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                                                                                   Page 80
                1       designed that way to penetrate skin of the

                2       subject so it can actually make contact and

                3       deliver the current to the subject?

                4              A.     Yes, skin or the clothing, yes.

                5              Q.     And you also learned that the probes,

                6       because they are sharp, can cause injury,

                7       correct?

                8              A.     Yes.

                9              Q.     And that includes if it's shot to the

               10       eye?

               11              A.     Yes.

               12              Q.     Going back to Exhibit 1 of your

               13       training matrix.     And I'm going to refer you to

               14       Page 538.

               15                     Just let me know when you're there

               16       because I can't see you when you have the

               17       exhibit in front of you.

               18              A.     I was just taking a break for a

               19       second.

               20              Q.     No.    You're fine.       Let me know when

               21       you're ready.

               22              A.     I'm ready.      Go ahead.




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                                                                                 Page 81
                1            Q.       Okay.    It's Bates 538.       And about the

                2       seventh entry down, it says, TASER Users Group —

                3       TASER Recertification on May 13th, 2009.

                4                     Do you see that?

                5            A.       Yes.

                6            Q.       And that would have been the

                7       recertification on the same model that you had,

                8       correct?

                9            A.       I believe so.      I can't -- I -- I

               10       can't tell you exactly what model it was, but --

               11       I would just assume, but I'm not positive.

               12            Q.       Well -- and I understand that you

               13       didn't know the number of the model, but what I'm

               14       asking is, if you do a recertification, it has to

               15       be on the same model, right, versus if you were

               16       to get trained in a new model?          You would have to

               17       do a whole initial certification again, not the

               18       recertification.

               19                     Does that make sense?

               20            A.       It does make sense, yes.

               21            Q.       And is that your understanding?

               22            A.       Is that -- yes.        I would just assume




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                                              JA-526
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                                                                                   Page 82
                1       that I did a recert on that same model.

                2            Q.       Okay.

                3                     MS. NGUYEN:          And we're going to go

                4            to, now, Exhibit Number 4, which is

                5            AXONCURRAN_939 --

                6                     THE WITNESS:          There you go.

                7                     MS. NGUYEN:          -- and the last page

                8            of that one is 1066.            It's just a

                9            three-page exhibit.

               10                                -     -    -

               11                     (Deposition Exhibit Number 4, TASER

               12                      International Training Material

               13                      License Agreement, Slides 1, 10,

               14                      11, 123 and 124, Bates stamped

               15                      AXONCURRAN_000939,

               16                      AXONCURRAN_000948 through

               17                      AXONCURRAN_000949,

               18                      AXONCURRAN_001065 through

               19                      AXONCURRAN_001066, marked for

               20                      identification, as of this date.)

               21                                -     -    -

               22                     MR. BUCCI:       That's Number 4?




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                                                                                 Page 83
                1                     MS. NGUYEN:      Correct.

                2                     MR. BUCCI:       All right.

                3                     THE WITNESS:       Got it.

                4       BY MS. NGUYEN:

                5            Q.       Okay.    And going to the second page,

                6       which is AXON_CURRAN948?

                7            A.       Okay.

                8            Q.       And here in the bottom right corner,

                9       you see it says, Version 14.2.          Then it has

               10       August of 2008 --

               11            A.       Okay.

               12            Q.       -- do you see that?

               13                     And I will let you know that this

               14       would be the one in effect at the time of your

               15       training in May of -- of 2009.          So we'll start

               16       with that assumption.

               17                     Fair enough?

               18            A.       Okay.

               19            Q.       And this slide goes into safety

               20       rules.

               21                     Do you recall learning in your

               22       recertification about a -- TASER CEW safety?




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                                                                                  Page 84
                1            A.       I'm sure there was one.        Offhand, I

                2       can't say that I did, but I'm sure there was one,

                3       because there normally is one with any type of

                4       TASER training; there's always safety.

                5            Q.       Okay.    And this particular slide

                6       states, No live firearms will be brought into the

                7       training area.

                8                     Do you see that?

                9            A.       Yes.

               10            Q.       And in that -- was that, in fact,

               11       something that you were instructed and recall

               12       being instructed during your TASER CEW training?

               13            A.       I can only assume it was.        You're --

               14       again, you're asking me to recall it from 2009,

               15       so I can't tell you exactly that that's the

               16       verbiage he used, but I would assume that was

               17       given, and it was still not --

               18            Q.       My -- my question was just more

               19       general.

               20                     Is that something that you learned

               21       during your TASER CEW training is that they do

               22       not allow firearms in the training area?




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                                                                                 Page 85
                1            A.       Yes, ma'am.

                2                     Okay.

                3            Q.       Okay.    The next bullet point is, All

                4       activity will stop when any student or instructor

                5       calls "Stop action."

                6                     Do you see that?

                7            A.       Yes, ma'am.

                8            Q.       And then the next bullet point

                9       states, Every participant is a safety officer.

               10       All unsafe conditions will be immediately brought

               11       to the attention of the instructor.          If an unsafe

               12       condition occurs or is noticed during an

               13       exercise, the student or instructor observing the

               14       unsafe condition shall call "Stop action."

               15                     Do you see that?

               16            A.       Yes, ma'am.

               17            Q.       And is that something you generally

               18       recall learning during your TASER CEW training,

               19       that if anyone saw anything unsafe, that they

               20       were to call stop action?

               21            A.       It probably was, but I'm not -- like

               22       I said, I'm not 100 percent definite, but I would




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                                              JA-530
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                                                                                 Page 86
                1       assume it would.

                2            Q.       Okay.    And you don't have any reason

                3       to believe that this particular slide was not

                4       included in your training in 2009, correct?

                5            A.       I don't have any reason to believe

                6       that it isn't -- it wasn't.

                7            Q.       Okay.    Going to the next page, which

                8       is Bates Number 949 of Exhibit 4.

                9                     This is the same slide that we

               10       reviewed previously in the 2007 materials, and

               11       here, it again talks about the risk of TASER

               12       devices causing injury.

               13                     Do you see that?

               14            A.       Yes.

               15            Q.       And then, again, it says, At this

               16       time, review all TASER warnings contained in the

               17       instructor manual.

               18                     And the notes indicate the

               19       instructors shall copy all the most current

               20       TASER warnings and hand them out to the course

               21       students.

               22                     Do you see that?




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                                                                                 Page 87
                1            A.       Yes.

                2            Q.       And then the next page, Bates 1065,

                3       talks about effective target zones.

                4                     Do you recall learning about target

                5       zones in your TASER CEW training?

                6            A.       Yes, ma'am.

                7            Q.       All right.      And here, this slide

                8       states, Do not aim at head/throat unless the

                9       situation dictates a higher level of injury risk

               10       is justified.

               11                     And then down in the notes, it says,

               12       in capital letters, DO NOT AIM AT THE

               13       HEAD/THROAT UNLESS SITUATION DICTATES A HIGHER

               14       LEVEL OF INJURY RISK IS JUSTIFIED.          Hits in

               15       these areas are effective, but probes in the

               16       eyes and throat can cause serious injuries.

               17                     Do you see that?

               18            A.       Yes, ma'am.

               19            Q.       And then on the next page, Bates 1066

               20       of Exhibit 4, it has that same slide that we saw

               21       previously in the 2007 materials with an

               22       individual -- a photo of an individual with a




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                                                                                 Page 88
                1       probe in his eye, correct?

                2            A.       Yes.

                3                     MS. NGUYEN:      And then, next, we

                4            are going to go to the warnings for the

                5            2009 training, and that is Exhibit 5.

                6                     MR. BUCCI:      What -- what is --

                7            what documents are contained within

                8            Exhibit 5?      I think --

                9                     MS. NGUYEN:      It's the 2000 --

               10            there's a date at the bottom, 2008

               11            warnings --

               12                     MR. BUCCI:      April 28th --

               13                     MS. NGUYEN:     -- and --

               14                     MR. BUCCI:      -- 2008?

               15                     MS. NGUYEN:     April 28th, 2008,

               16            correct.

               17                     -- and it should just be two

               18            pages, front and back, or four pages

               19            total.

               20                     MR. BUCCI:      Four pages total.

               21                     Hold on one second.

               22




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                                                                                  Page 89
                1                                -     -   -

                2                     (Deposition Exhibit Number 5,

                3                      Product Warnings:           Law Enforcement,

                4                      marked for identification, as of

                5                      this date.)

                6                                -     -   -

                7                     THE WITNESS:         Okay.

                8       BY MS. NGUYEN:

                9            Q.       Okay.    So, Mr. Curran, you have

               10       Exhibit 5 in front of you, correct?

               11            A.       Yes.

               12            Q.       Okay.    So I'm going to refer you to

               13       the third page of that exhibit.

               14                     And about halfway down, we again see

               15       that same statement about permanent vision loss.

               16                     Do you see that?

               17            A.       Yes, ma'am.

               18            Q.       And it states, If a TASER probe

               19       strikes or becomes embedded in, or in close

               20       proximity to, an eye, it could result in serious

               21       injury, including permanent loss of vision.

               22                     Do you see that?




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                                                                                 Page 90
                1            A.       Yes.

                2            Q.       And then two paragraphs below that,

                3       it says, Penetration Injury.

                4                     Do you see that?

                5            A.       Yes.

                6            Q.       And there, it says, TASER probes have

                7       small dart points which may cause penetration

                8       injury to blood vessels, arteries, internal

                9       organs (including lung [pneumothorax]), bone and

               10       nerves.   The probe and/or the dart point (which

               11       may detach), could puncture or become embedded in

               12       a bone or organ, which may require immediate

               13       medical attention, surgical removal and/or may

               14       result in scarring, infection and/or other

               15       serious injury.

               16                     Do you see that?

               17            A.       Yes, ma'am.

               18            Q.       And then, Mr. Curran, for that 2009

               19       CEW training, you also would have gone through

               20       the same practical portion that we discussed with

               21       regard to the 2007 training, correct?

               22            A.       The static training?       Is that what




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                                                                                 Page 91
                1       you're talking about?      Shooting at a paper

                2       target?

                3            Q.       Correct.     So deploying cartridges to

                4       the target.

                5            A.       Normally, that's standard for the

                6       recerts that I've been through, so I can just

                7       assume that we did that also.

                8            Q.       Okay.    You don't have any reason to

                9       believe you wouldn't have done it for the 2009

               10       certification, correct?

               11            A.       No, ma'am.

               12            Q.       And, in fact, did your agency require

               13       you to complete the TASER CEW recertification to

               14       continue to handle a -- a CEW?

               15            A.       Yes.

               16            Q.       Okay.    And do you know whether or not

               17       that included the -- Axon's recommendation -- or

               18       TASER at the time -- recommendation that you

               19       deploy at least two cartridges during every

               20       recertification?

               21            A.       I do remember every recert that we

               22       did that; we did -- we did deploy two cartridges.




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                                                                                  Page 92
                1            Q.       And that would be a minimum,

                2       correct --

                3            A.       Correct.

                4            Q.       -- so it's possible you could have

                5       deployed more?

                6            A.       I believe it was -- we could've, but

                7       I believe the standard was two per person.           It

                8       was a shoot, reload, shoot, so, yeah.

                9            Q.       Okay.

               10                     Okay.    Going back to Exhibit 1.

               11       This is your training matrix.

               12                     And I'll refer you to -- this time,

               13       it's a 2010 training, and it is located on

               14       Bates 536.

               15            A.       Okay.

               16            Q.       Let me know when you're there.

               17            A.       I'm here.

               18            Q.       Okay.    So this one is about

               19       three-fourths of the way down on the page.           It

               20       says, TASER User Recertification, and the date of

               21       it is 3/16/2010.

               22                     Do you see that?




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                                                                                    Page 93
                1            A.       Yes, ma'am.

                2            Q.       And so, again, since this one's a

                3       recertification, we can assume it would have been

                4       on the same model that you had previously, right?

                5            A.       Yes, ma'am.

                6            Q.       Okay.    And then for the classroom

                7       portion, I'm going to show you Exhibit 7, with

                8       your counsel's assistance.             It is Bates Number

                9       AXON_CURRAN1189, and it ends with 1293.

               10                                -     -   -

               11                     (Deposition Exhibit Number 7, TASER

               12                      International Training Material

               13                      License Agreement, Slides 1, 6, 7,

               14                      99 through 101, Bates stamped

               15                      AXON_CURRAN001189,

               16                      AXON_CURRAN001194 through

               17                      AXON_CURRAN001194,

               18                      AXON_CURRAN001291, through

               19                      AXON_CURRAN001293, marked for

               20                      identification, as of this date.)

               21                                -     -   -

               22                     MR. BUCCI:       One second.




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                                                                                 Page 94
                1                     1189 to 12 what?

                2                     MS. NGUYEN:      1293.

                3                     MR. BUCCI:       All right.

                4                     That's Number what?

                5                     MS. NGUYEN:      Seven.

                6                     THE WITNESS:       Okay.    I have it.

                7       BY MS. NGUYEN:

                8            Q.       Now, this one -- in the lower

                9       right-hand corner on that first page, you can see

               10       this is Version 16, and the effective date is

               11       November 2009.

               12                     Do you see that?

               13            A.       Yes, ma'am.

               14            Q.       So I will again tell you this would

               15       have been in effect during your training on

               16       March 16th, 2010.

               17                     Can we proceed with that assumption?

               18            A.       One would assume, yes, ma'am.

               19            Q.       Okay.    And on the second page,

               20       Mr. Curran, Bates Number 1194, we see the same

               21       slide with the safety rules.

               22            A.       Yes.




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                                                                                 Page 95
                1            Q.       Again, it talks about no live

                2       firearms will be brought into the training area

                3       and the fact that any -- anybody present during

                4       the training can call stop action.

                5                     Do you see that?

                6            A.       Yes, ma'am.

                7            Q.       Any reason to believe that that would

                8       not have been included in your 2010 training?

                9            A.       No, ma'am.

               10            Q.       Okay.    And then the next page is

               11       Bates 1195, which, again, is the warning, which

               12       talks about TASER devices can cause injury, as

               13       well as the warnings being passed out to the

               14       participants.

               15                     Do you see that?

               16            A.       Yes, ma'am.

               17            Q.       And then on the next page,

               18       Bates 1291, we see the same slide we reviewed

               19       previously, talking about effective target zones

               20       and, in particular, do not aim at sensitive

               21       areas, and the probes in the eyes and throat can

               22       cause serious injury.




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                                                                                 Page 96
                1                     Do you see that?

                2            A.       Yes, ma'am.

                3            Q.       And then the next page, which is

                4       1292, has a warning.       It says, Do not aim at

                5       head/throat unless situation dictates a higher

                6       level of injury risk is justified.         Probes

                7       deployed into the eyes or throat can cause

                8       serious injuries.

                9                     Do you see that?

               10            A.       Yes, ma'am.

               11            Q.       And any reason to believe that that

               12       was not shown to you during your 2010 training?

               13            A.       No, ma'am.

               14            Q.       And then the last page, Bates 1293 --

               15       it shows that photo we've seen a couple times now

               16       of an individual with a probe to the eye.

               17                     Do you see that?

               18            A.       Yes, ma'am.

               19            Q.       Okay.

               20                     MS. NGUYEN:      Exhibit 6 is going to

               21            be a test and checklist, and it is

               22            Bates AXON_CURRAN481 through -487.




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                                                                                 Page 97
                1                                -   -   -

                2                     (Deposition Exhibit Number 6, TASER

                3                      X26 User Certification Test, Bates

                4                      stamped AXON_CURRAN0000481 through

                5                      AXON_CURRAN0000487, marked for

                6                      identification, as of this date.)

                7                                -   -   -

                8                     MR. BUCCI:     Give me a second to

                9            find it here.

               10                     MS. NGUYEN:     Sure.

               11                     MR. BUCCI:     One second, Amy.

               12                     Give me a second.

               13                     MS. NGUYEN:     No problem.

               14                     MR. BUCCI:     Hey, Amy, it looks to

               15            me -- yeah, what you guys sent us -- I'm

               16            looking at -- so the -- the document is

               17            labeled correctly, so, in other words,

               18            what you sent me says -- the label is

               19            Exhibit 6, X26 Test and Checklist, but

               20            what the document is is not that -- not

               21            that; it is the same -- it's just another

               22            one of the product warning and law




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                                                                                 Page 98
                1            enforcement important health and safety

                2            information.

                3                      So I don't know that I have that.

                4                      Brian, did -- did you get

                5            something different than I did, by any

                6            chance?

                7                      MR. CASEY:    No.     I've got what you

                8            have.     I agree with you.

                9                      MR. BUCCI:    Yeah.     It's the -- the

               10            title of the document is what you're

               11            looking for, but the actual substance of

               12            the document is -- is something else.

               13            It's just another one of these, you know,

               14            things that let us know that TASERs are

               15            dangerous.

               16                     MS. NGUYEN:     Okay.    So --

               17                     MR. BUCCI:     If you can --

               18                     MS. NGUYEN:     -- so I will, number

               19            one, move to strike comments that were

               20            just made about the TASERs being

               21            dangerous in your summation of the

               22            exhibits that we've gone over.




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                                                                                   Page 99
                 1                    But number two, Scott, I'll just

                 2           move on.     And I've just sent an e-mail

                 3           over to Kelly, and we'll come back to

                 4           that exhibit.      So hopefully we'll get it

                 5           soon.

                 6                    MR. BUCCI:      Okay.

                 7                    MS. NGUYEN:         Okay.    So let's move

                 8           on to the next exhibit, which is

                 9           Exhibit 8.     And this is going to be the

                10           warnings for 2009.        The date of them is

                11           September 30th, 2009, and the Bates is

                12           AXON_CURRAN1960 through 1965.

                13                               -    -    -

                14                    (Deposition Exhibit Number 8, TASER

                15                     Important ECD Product Safety and

                16                     Health Information, Bates stamped

                17                     AXON_CURRAN001960 through

                18                     AXON_CURRAN001965, marked for

                19                     identification, as of this date.)

                20                               -    -    -

                21                    MR. BUCCI:      We have the same

                22           issue.    It's another -- and, Brian,




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                                                                                  Page 100
                 1           correct me if -- if what I'm looking at

                 2           is different, but the title of this one

                 3           is TASER Important ECD Product Safety and

                 4           Health Information, and it's not Bates

                 5           labeled.

                 6                    Is that what you got, Brian?

                 7                    MS. NGUYEN:      Yeah, it -- so is

                 8           this one the one that you have that is

                 9           the -- the first headline?           The date on

                10           the bottom should be September 30th,

                11           2009.

                12                    MR. BUCCI:      Okay, yes.     I'm sorry.

                13           That's it.

                14                    MS. NGUYEN:     Okay.

                15                    MR. BUCCI:      Is that right?

                16                    MS. NGUYEN:     Yep, the -- that's

                17           those.    And if there -- a total of six

                18           pages.

                19                    MR. BUCCI:      Okay.     And this is

                20           going to be Exhibit Number 8?

                21                    MS. NGUYEN:     Correct.

                22                    THE WITNESS:      Got it.




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                                                                                Page 101
                 1      BY MS. NGUYEN:

                 2           Q.        Okay.    And on Exhibit Number 8, these

                 3      warnings were in effect September 30th, 2009, and

                 4      so would have applied to your March 2010

                 5      training.

                 6                     And if I can have you turn to Page 4

                 7      of 6 --

                 8           A.        Okay.

                 9           Q.        -- and at the top of Page 4, it says,

                10      Warning:     Probe or Electrode Injury or Infection

                11      Hazard.

                12                     Do you see that?

                13           A.        Yes.

                14           Q.        Okay.    It said ECD -- now back then,

                15      ECD -- it was referred to as "electronic control

                16      device," which is now CEW.

                17                     Is that your understanding,

                18      Mr. Curran?

                19           A.        Yes, ma'am.

                20           Q.        Okay.    So we're talking about the

                21      same devices, right?

                22           A.        Yes, ma'am.




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                                                                                 Page 102
                 1           Q.        It says, ECD use may cause a mark,

                 2      burn, scar, penetration, other skin or tissue

                 3      damage or infection.        Provide first aid and

                 4      medical care as needed.

                 5                     Do you see that?

                 6           A.        I'm sorry.     Can you repeat that?

                 7      Something popped up and blocked the whole screen.

                 8      I just had to close it.

                 9                     Can you --

                10           Q.        Sure, no problem.

                11                     The first portion where it says,

                12      Warning:     Probe or Electrode Injury or Infection

                13      Hazard --

                14           A.        Yes, I see that part.

                15           Q.        -- hazard -- it states, Use may cause

                16      a mark, burn, scar, penetration, other skin or

                17      tissue damage or infection.          Provide first aid

                18      and medical care as needed --

                19           A.        Yes --

                20           Q.        -- correct?

                21           A.        -- yes.

                22           Q.        And then, under Penetration Injury,




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                                                                                Page 103
                 1      it has the same warning that we've reviewed in

                 2      previous warnings, where the probe has a small

                 3      dart point which may cause a penetration injury.

                 4                    You see that there?

                 5           A.       Yes.

                 6           Q.       Okay.    And then the next paragraph

                 7      talks about penetration injury care, where it

                 8      states, Injury due to penetration of the probe or

                 9      dart point into a blood vessel, organ, nerve or

                10      bone may require medical attention.

                11                    Do you see that?

                12           A.       Yes.

                13           Q.       Okay.    And then down below, you see

                14      the box -- the paragraph just above the box.            It

                15      talks about Untethered Discharge Probe.

                16                    Do you see that?

                17           A.       Yes.

                18           Q.       And it states, In probe deployment,

                19      it is possible that a discharged probe that does

                20      not impact a subject or target may become

                21      untethered from the wire and travel a significant

                22      distance.    A loose, untethered probe can cause




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                                                                                Page 104
                 1      serious injury.

                 2                    Do you see that?

                 3           A.       Yes.

                 4           Q.       And, Mr. Curran, this incident that

                 5      occurred in December of 2017 where a probe struck

                 6      you in the eye, which we will talk about more

                 7      later -- but do you believe that it was an

                 8      untethered discharged probe situation?

                 9           A.       I have -- I have no idea.

                10           Q.       Okay.    So you don't know whether the

                11      probe actually was untethered from -- broke off

                12      from the wire or not?

                13           A.       I have no idea.

                14           Q.       Okay.    In the box below, where it

                15      says, Warning, in orange -- you see that?

                16           A.       Yes.

                17           Q.       And it states, Eye Injury Hazard.           If

                18      a TASER probe, electrode or electrical discharge

                19      contacts or comes into close proximity to an eye,

                20      it could result in serious injury, including

                21      permanent vision loss.

                22                    Do you see that?




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                                                                                Page 105
                 1           A.       Yes.

                 2           Q.       Any reason to believe that these

                 3      warnings were not included in your March 2010

                 4      training?

                 5           A.       No.

                 6           Q.       And, again, in that 2010 training,

                 7      you also would have done the practical portion of

                 8      that certification, correct?

                 9           A.       Should have, yes.

                10           Q.       I know at some point that scenarios

                11      were introduced into the practical training.

                12                    Do you recall about when that was?

                13           A.       I have no idea.

                14           Q.       Okay.    Going back to Exhibit 1, we're

                15      going to review your next training, which is on

                16      Page 5 -- Bates 534.

                17           A.       I got it.

                18                    Okay.

                19           Q.       And this one is also about

                20      three-fourths of the page down, where it says,

                21      TASER User Recertification, April 12th, 2011.

                22                    Do you see that?




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                                                                                  Page 106
                 1           A.       Yep.

                 2           Q.       And, again, we can assume that it --

                 3      because it states Recertification, it would have

                 4      been on that same model that you had, correct?

                 5           A.       Yes.

                 6                    MS. NGUYEN:         And for the classroom

                 7           portion, we're going to look at

                 8           Exhibit 9, which is Bates 1379 through

                 9           1491.    And it's four pages.

                10                               -    -    -

                11                    (Deposition Exhibit Number 9, TASER

                12                     User Certification Course, User

                13                     Course, Slides 1, 7, 8, 120, Bates

                14                     stamped AXON_CURRAN001372,

                15                     AXON_CURRAN001378 through

                16                     AXON_CURRAN001379,

                17                     AXON_CURRAN0001491, marked for

                18                     identification, as of this date.)

                19                               -    -    -

                20                    MR. BUCCI:      One second.

                21                    THE WITNESS:        Got it.

                22




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                                                                                Page 107
                 1      BY MS. NGUYEN:

                 2           Q.       Okay.    And this one -- both in the

                 3      middle and at the bottom left, it states,

                 4      Version 17, Released May 2010.

                 5                    Do you see that?

                 6           A.       Yes.

                 7           Q.       And so I will tell you that this

                 8      would have been in effect during your training in

                 9      April of 2011.

                10                    Can we proceed on that agreement?

                11           A.       Yes.

                12           Q.       And on Page Bates 1378, we see the

                13      same slide with regard to the safety rules.

                14                    Do you see that?

                15           A.       Yep.

                16           Q.       No live firearms as well as anybody

                17      can call stop action, correct?

                18           A.       Correct.

                19           Q.       And I'm just going to go quickly

                20      through these since they appear to be duplicates

                21      from prior training.

                22                    Would you agree with that?




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                                                                                Page 108
                 1           A.       Yes.

                 2           Q.       So the next one has the warning about

                 3      the possibility of CEWs causing injury and also

                 4      to review the warnings, correct?

                 5           A.       Yep.

                 6           Q.       And then the last page there,

                 7      Bates 1491, that shows the same photo talking

                 8      about eye injury hazards of an individual with a

                 9      probe in the eye, correct?

                10           A.       Correct.

                11           Q.       So at this point, is it fair to say

                12      that that photo was shown frequently during your

                13      training?

                14           A.       Yes.

                15                    MS. NGUYEN:     And we're going to go

                16           to the warnings that were in effect

                17           during that training, which is

                18           Exhibit 10.

                19                    And this one, Scott, is dated

                20           May 1st, 2010.

                21                    Thank you.

                22




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                                                                                Page 109
                 1                               -     -   -

                 2                    (Deposition Exhibit Number 10, ECD

                 3                     Warnings, Instructions, and

                 4                     Information: Law Enforcement,

                 5                     Important ECD Product Safety and

                 6                     Health Information, Bates stamped

                 7                     AXON_CURRAN001966 through

                 8                     AXON_CURRAN001973, marked for

                 9                     identification, as of this date.)

                10                               -     -   -

                11      BY MS. NGUYEN:

                12           Q.       And on this one, I'll direct you to

                13      Page 3.

                14           A.       Okay.

                15           Q.       Okay.    And on Page 3, about

                16      three-fourths of the way down in that orange --

                17      after the orange warning box, it says, Eye Injury

                18      Hazard.

                19                    Do you see that?

                20           A.       Yes.

                21           Q.       And here, we have the same warning as

                22      we saw previously, which states, If a TASER




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                                                                                Page 110
                 1      probe, electrode or electrical discharge contacts

                 2      or comes into close proximity to an eye, it could

                 3      result in serious injury, including permanent

                 4      vision loss, correct?

                 5           A.        Yes.

                 6           Q.        And then on Page 506, we see the same

                 7      warnings, the first one about probe or electrode

                 8      injury or infection hazard.

                 9                     Do you see that?

                10           A.       Yes.

                11           Q.       And then also the same warnings with

                12      regard to penetration injury and penetration

                13      injury care.

                14                    You see that?

                15           A.       Yes.

                16           Q.       And those would have been warnings

                17      that you would have received during your

                18      April 2011 training, correct?

                19           A.       They should be, yes.

                20           Q.       Okay.    So we can put Exhibit 10 away.

                21                    Now we're going to go back to

                22      Exhibit 1, your training matrix.




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                                                                                  Page 111
                 1                    And on Page 532 is going to be your

                 2      next CEW training.       And there's two that appear

                 3      on this page.     I'll go over the first one, which

                 4      was in June 19 of 2012.

                 5                    Do you see that?

                 6           A.       Okay.     Yes.

                 7           Q.       Almost -- almost halfway down the

                 8      page, it says, TASER User Recertification --

                 9           A.       Um-hum.

                10           Q.       -- and then there's also X2 TASER

                11      Training, August 1, 2012.

                12                    Do you see that?

                13           A.       Yes.

                14           Q.       Okay.    So we'll start with the first

                15      one, the user recertification.

                16                    Since that was before the X2, we

                17      know that it was -- would have been on your

                18      previous model, correct?

                19           A.       Yes, ma'am.

                20                    MS. NGUYEN:      Okay.     And Exhibit 11

                21           is the classroom portion.           That's going

                22           to be Bates 1566 through 15 -- excuse




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                                                                                 Page 112
                 1           me -- 1682.

                 2                    MR. BUCCI:      You said that was 11,

                 3           Amy?

                 4                    MS. NGUYEN:         Yeah, July 2011 is

                 5           the date.

                 6                    MR. BUCCI:      I'm sorry.      Was it

                 7           Exhibit 11 or 12?        I can't remember.

                 8                    MS. NGUYEN:         Oh.   Exhibit 11.

                 9                               -    -     -

                10                    (Deposition Exhibit Number 11, User

                11                     Certification Course, User Course,

                12                     Slides 1, 7, 8, 107, 108, 117,

                13                     Bates stamped AXON_CURRAN001566,

                14                     AXON_CURRAN001572 through

                15                     AXON_CURRAN001573,

                16                     AXON_CURRAN001672 through

                17                     AXON_CURRAN001673,

                18                     AXON_CURRAN001682, marked for

                19                     identification, as of this date.)

                20                               -    -    -

                21                    THE WITNESS:        Got it.

                22




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                                                                                Page 113
                 1      BY MS. NGUYEN:

                 2           Q.       Okay.    And this one says, User

                 3      Certification Course, TASER X26, Version 18,

                 4      Released July 2011.

                 5                    You see that?

                 6           A.       Yes.

                 7           Q.       So this one would have been in effect

                 8      during your June 2012 training.

                 9                    And we're going to go to Bates

                10      AXON_CURRAN1572, and we see the slide with the

                11      safety rules discussing no live firearms as well

                12      as any student's ability to call stop action if

                13      they see something unsafe.

                14                    Do you agree with that?

                15           A.       Yes.

                16           Q.       Okay.    And on Bates 1573, we have the

                17      same warning indicating CEWs can cause injury.

                18                    Do you see that?

                19           A.       Yes.

                20           Q.       And also that at this time, students

                21      are to review the warnings, and the instructor is

                22      to pass those out, correct?




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                                                                                Page 114
                 1           A.       Yes.

                 2           Q.       Okay.     And then on the next page,

                 3      it's Bates 1672.       Here is a photo of -- of probes

                 4      actually penetrating the fingers of an

                 5      individual.

                 6                    Do you see that?

                 7           A.       Yes.

                 8           Q.       Do you recall seeing this photo in

                 9      any of your TASER CEW training courses?

                10           A.       I -- yes, I'm sure there's an injury

                11      photo in there.       This exact one, I'm not

                12      positive, but I'm sure there was an injury photo

                13      somewhere.

                14           Q.       Okay.     But it was certainly known to

                15      you at the time that probes can cause penetration

                16      injuries such as these depicted in the photo,

                17      correct?

                18           A.       Yes.

                19           Q.       Okay.     And then Bates 1673 shows an

                20      X-ray photo of the probes in the hand.

                21                    Do you see that?

                22           A.       Yes.




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                                                                                Page 115
                 1           Q.       And then the last one, Bates 1682,

                 2      shows the same photo we've seen now several times

                 3      with an individual with the probe in the eye.

                 4                    Do you see that?

                 5           A.       Yes.

                 6           Q.       And that was also something known to

                 7      you at the time, that if a probe penetrates the

                 8      eye, that it can cause serious or permanent

                 9      injury, correct?

                10           A.       Yes.

                11                    MS. NGUYEN:      Okay.    We can put

                12           Exhibit 11 away, and we'll go to the

                13           next, which is Exhibit 12.

                14                    And these are warnings dated

                15           November 30th, 2011.         And these should be

                16           eight pages.

                17                               -    -   -

                18                    (Deposition Exhibit Number 12,

                19                     Handheld ECD Warnings,

                20                     Instructions, and Information: Law

                21                     Enforcement, Important ECD Product

                22                     Safety and Health Information Bates




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                                                                                 Page 116
                 1                     stamped AXON_CURRAN0001972 through

                 2                     AXON_CURRAN0001979, marked for

                 3                     identification, as of this date.)

                 4                               -     -   -

                 5                    MR. BUCCI:       Got it.

                 6                    THE WITNESS:         Thank you.

                 7                    MS. NGUYEN:       Thank you.

                 8      BY MS. NGUYEN:

                 9           Q.       Okay.    So these warnings were in

                10      effect during your June 2012 training.             And I'm

                11      going to direct you to -- it's Page 5.

                12                    At the bottom of Page 5, there is an

                13      orange warning symbol which states, Eye Injury

                14      Hazard.

                15                    Do you see that?

                16           A.       Yes, ma'am.

                17           Q.       And you would agree that that's the

                18      same warning letting you know that a probe can

                19      penetrate the eye and, if it does, it could

                20      result in serious injury, including permanent

                21      vision loss, correct?

                22           A.       Yes.




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                                                                                Page 117
                 1           Q.        And then on the next page, we have

                 2      Page 6 of 8.     And we have the same warnings there

                 3      with regard to penetration injury and penetration

                 4      injury care.

                 5                     Do you agree with that?

                 6           A.        Yes.

                 7           Q.        Okay.    And so we previously discussed

                 8      that in August -- on August 1st, 2012, your

                 9      training records indicate that you had X2

                10      training on that date.

                11                    Would you agree with that?

                12           A.       That's what it says, yes.

                13           Q.       And the X2, Mr. Curran -- is it your

                14      understanding that that is -- was a newer model

                15      of a TASER CEW at the time?

                16           A.       Yes, ma'am.

                17           Q.       And the main difference between that

                18      and your previous model was the fact that the X2

                19      has a -- is a two-shot device, whereas your

                20      previous device is a single-shot device, correct?

                21           A.       Correct.

                22           Q.       And so that August 1st, 2012 training




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                                               JA-562
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                                                                                    Page 118
                 1      would have been your initial full training on the

                 2      X2 model; is that right?

                 3           A.       It should have been, yes.

                 4           Q.       Okay.    And is that consistent with

                 5      your recollection about when you received the

                 6      newer two-shot device?

                 7           A.       I believe so, yes.

                 8                    MS. NGUYEN:          Okay.    If we can go

                 9           to Exhibit 13.      And this is going to be

                10           Bates 1753, and the last Bates is 1883.

                11           And it's titled Version 18, July 2011.

                12                               -     -    -

                13                    (Deposition Exhibit Number 13,

                14                     User Certification Course, User

                15                     Course, Slides 1, 7 through 8,

                16                     121 through 122 and 131, Bates

                17                     stamped AXON_CURRAN001753,

                18                     AXON_CURRAN001759,

                19                     AXON_CURRAN001760,

                20                     AXON_CURRAN001873 through

                21                     AXON_CURRAN001874,

                22                     AXON_CURRAN001883, marked for




                                     MAGNA.    LEGAL SERVICES


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                                                                                     Page 119
                 1                     identification, as of this date.)

                 2                                -    -    -

                 3                    MR. BUCCI:       So that was 13?       Which

                 4           number is it --

                 5                    MS. NGUYEN:       Yes.

                 6                    MR. BUCCI:       -- 13?

                 7                    THE WITNESS:         Thirteen.    You were

                 8           on 12 last.

                 9                    MR. BUCCI:       Okay.     All right.

                10                    THE WITNESS:         Thanks.

                11                    Got it.

                12      BY MS. NGUYEN:

                13           Q.       Okay.     Mr. Curran, the first page of

                14      Exhibit 13 -- it says, This is the User

                15      Certification Course for TASER X2, Electronic

                16      Control Device, Version 18, Released July 2011.

                17                    Do you see that?

                18           A.       Yes, ma'am.

                19           Q.       And so the -- the initial

                20      certification for your X2 would have followed the

                21      same format in that you would have had a

                22      classroom portion as well as a practical portion,




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                                                                                Page 120
                 1      correct?

                 2           A.       Correct.

                 3           Q.       And if we can go to the second page

                 4      of that exhibit.

                 5                    We see the same slide that we've

                 6      discussed previously with regard to safety

                 7      rules; is that correct?

                 8           A.       Yes.

                 9           Q.       And so even though you're dealing

                10      with a new model, you're still -- you still have

                11      the same safety rules in place, as outlined in

                12      this slide, correct?

                13           A.       Yes, ma'am.

                14           Q.       Okay.    And then on the next page of

                15      the exhibit, it goes over the warning that CEWs

                16      can cause injury and to review the TASER

                17      warnings, correct?

                18           A.       Yes.

                19           Q.       And then on the next two pages, we

                20      see the -- the same slide depicting the

                21      penetration injuries from the probe to the hand,

                22      correct?




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                                                                                    Page 121
                 1           A.       Yes.

                 2           Q.       And then the last page of Exhibit 13

                 3      shows the photo with the individual that has the

                 4      probe in the eye, correct?

                 5           A.       Yes, ma'am.

                 6           Q.       So is it fair to say that even though

                 7      you were switching over to a new model, that it

                 8      still had the probes and it still created the

                 9      same risk with regard to probe injuries?                Is that

                10      your understanding?

                11           A.       Yes, ma'am.

                12           Q.       Okay.

                13                    MS. NGUYEN:       And Exhibit 14 is the

                14           next exhibit.      And the Bates numbers on

                15           this is AXON_CURRAN514 through 517.

                16                               -     -   -

                17                    (Deposition Exhibit Number 14,

                18                     Certification Test,

                19                     AXON_CURRAN000514 through

                20                     AXON_CURRAN000517, marked for

                21                     identification, as of this date.)

                22                               -     -   -




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                                                                                Page 122
                 1                     THE WITNESS:    Okay.

                 2      BY MS. NGUYEN:

                 3           Q.        Mr. Curran, do you recall that for

                 4      each TASER CEW certification you completed, that

                 5      you not only had to attend the classroom and

                 6      practical portion, but you also had to take and

                 7      pass a test?

                 8           A.        Yes.   I believe on -- when you switch

                 9      to a new model, you have to taken a written test.

                10           Q.       Okay.    And so this one is Version 18,

                11      TASER X2 Certification Test.

                12                    Do you see that?

                13           A.       Yes, ma'am.

                14           Q.       And you agree that it has your name

                15      printed there, Shawn Curran?

                16           A.       Yes, ma'am.

                17           Q.       And is that your handwriting,

                18      Mr. Curran?

                19           A.       Unfortunately, yes.

                20           Q.       Okay.    And the date of this is

                21      August 1st, 2012, correct?

                22           A.       Yes, ma'am.




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                                                                                Page 123
                 1           Q.        And here, it shows that you were

                 2      asked -- let's see -- 10, like, multiple choice

                 3      questions, and then in the last page of that

                 4      exhibit, you also had to identify the various

                 5      parts of the CEW, correct?

                 6           A.        Yes, ma'am.

                 7           Q.        And you received 100 percent on that

                 8      test, correct?

                 9           A.        Yes, ma'am.

                10           Q.       And with regard to the practical

                11      portion, were you aware also when you completed

                12      that, that the instructor had to certify that you

                13      successfully completed all requirements of the

                14      practical portion, including the two-cartridge

                15      deployment?

                16           A.       Yes, ma'am.

                17           Q.       And do you agree, on the X2 training,

                18      if you deployed more than two cartridges -- or

                19      was it still the -- the minimum-of-two-cartridge

                20      requirement?

                21           A.       I don't recall the exact number of

                22      cartridges, but I know it's a minimum of two.             So




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                                                                                Page 124
                 1      I'm sure I had to deploy at least two.

                 2           Q.       Okay.    And that's for both

                 3      certifications as well as recertifications,

                 4      correct?

                 5           A.       I believe so.

                 6           Q.       Okay.    So going back to your training

                 7      matrix on Page 30, we'll go to your next

                 8      training -- or excuse me -- Page 530.

                 9                    And about three-fourths of the way

                10      down, it states, X2 TASER User Recertification,

                11      with the date of July 24th, 2013.

                12                    Do you see that?

                13           A.       Yes, ma'am.

                14           Q.       And let me ask you, Do you know, when

                15      you're certified on a device, how often you have

                16      to do the recertification?

                17           A.       I believe -- it depends on the device

                18      or what the -- each company suggests.           I believe

                19      it's normally a standard of two years, though.

                20      But that all depends on the device.

                21           Q.       Okay.    So, to your knowledge, it's

                22      two years but depending upon the device?




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                                                                                Page 125
                 1           A.       I'm not quite sure, but -- I know the

                 2      TASER was two years.          I know, like, in ASP is two

                 3      years and the same thing with OC, it's --

                 4           Q.       Oh, I see what you're saying --

                 5           A.       Yeah.

                 6           Q.       -- my question was more specific just

                 7      to TASER CEWs --

                 8           A.       Uh-huh.

                 9           Q.       -- so with regard to those devices,

                10      what was your agency policy as to how often you

                11      needed to be recertified?

                12           A.       I believe it was two years.

                13           Q.       Okay.

                14                    MS. NGUYEN:       So this training that

                15           took place on July 24th of 2013, for the

                16           classroom portion, we are going to look

                17           at Exhibit 15.       And the title of that is

                18           Annual CEW User Update.

                19                                -    -   -

                20                    (Deposition Exhibit Number 15,

                21                     Annual CEW User Update, Slides 1,

                22                     2, 23, Bates stamped




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                                                                                 Page 126
                 1                     AXON_CURRAN000675 through

                 2                     AXON_CURRAN000676,

                 3                     AXON_CURRAN000698, marked for

                 4                     identification, as of this date.)

                 5                               -     -    -

                 6                    MS. NGUYEN:       And it's three

                 7           pages --

                 8                    MR. BUCCI:       Got it.

                 9                    MS. NGUYEN:       -- Bates 675 is the

                10           starting number.

                11                    MR. BUCCI:       Okay.

                12                    THE WITNESS:         Got it.

                13      BY MS. NGUYEN:

                14           Q.       Okay.    On this document, it shows

                15      Annual CEW User Update, Version 19, April 2013.

                16                    Now, do you recall there being --

                17      once you're certified on a device, only having

                18      to do an annual update, as opposed to a full

                19      recertification?

                20           A.       I -- I -- to be honest, I don't

                21      recall.

                22           Q.       Okay.    Who -- who was it at your




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                                                                                Page 127
                 1      agency, if you know of anybody specific, who

                 2      would have said, Hey, Officer Curran, you're due

                 3      for your recertification on your TASER CEW?

                 4           A.       That would have been the individual

                 5      in charge of training -- not in charge of

                 6      training but in charge of book -- bookkeeping of

                 7      the training --

                 8           Q.       Okay.

                 9           A.       -- and I think, back then, it would

                10      have been Charlotte Wolf.        She did firearms, but

                11      I'm not positive she did the other training also.

                12           Q.       Okay.     And so is this something that

                13      they would have tracked for you and let you know

                14      when you're due for recertification, or is it

                15      something that you had to track on your own and

                16      let them know, I'm due for recertification?

                17           A.       No.     There's a program that they do

                18      that I believe that person, like Charlotte,

                19      would -- has it tracked for you --

                20           Q.       Okay.

                21           A.       -- and then they let you know when

                22      they schedule your in-service.           You don't -- you




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                                                                                Page 128
                 1      don't pick a date of your in-service or your

                 2      recert; they just coordinate with the person

                 3      doing the recert, and that's the instructor, and

                 4      then you just -- you get assigned a date.

                 5           Q.       So you just were provided a date, and

                 6      then it's up to you to attend and complete the

                 7      training --

                 8           A.       Yes, ma'am.

                 9           Q.       -- is that right?

                10                    Okay.

                11           A.       Yes.

                12           Q.       On Page 2 of Exhibit 15, this slide

                13      talks about annual certification requirements.

                14      And it says that This recertification is

                15      recommended annually.

                16                    Do you recall anything about that,

                17      Mr. Curran, the fact that the -- at the time,

                18      TASER recommended that there be annual

                19      recertification?

                20           A.       I don't recall any of that.         I wasn't

                21      involved with the teaching of the TASERs.

                22           Q.       Okay.    It states -- the first bullet




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                                                                                Page 129
                 1      point -- Each agency must determine the content

                 2      of each continuing and update training, and

                 3      TASER's minimum requirements for annual user

                 4      certificate -- recertification include: Review of

                 5      this entire presentation, including notes, Review

                 6      of current law enforcement warnings and Firing

                 7      two cartridges.

                 8                    Was that your understanding,

                 9      Mr. Curran, of your recertification requirements

                10      in 2013?

                11           A.       I can't be honest to tell you that I

                12      recall this as my understanding of the

                13      requirements.

                14                    I don't recall that --

                15           Q.       Okay.

                16           A.       -- I'm a --

                17           Q.       Do you know, though, that you needed

                18      to attend the classroom portion where the

                19      presentation was shown?        Correct?

                20           A.       Yes.

                21           Q.       And you also needed to review the law

                22      enforcement warnings, correct?




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                                                                                Page 130
                 1           A.       That's something they would do at the

                 2      class.

                 3           Q.       Correct.    That was always part of the

                 4      class -- the classroom portion?

                 5           A.       That would have been, yes, ma'am.

                 6           Q.       Okay.    And then you -- also during

                 7      the practical portion, you always deployed at

                 8      least two cartridges?

                 9           A.       Normally, yes, we would --

                10           Q.       Okay.

                11           A.       -- as far as I recall.

                12           Q.       Was there any particular occasion

                13      where you recalled not deploying a minimum of two

                14      cartridges?

                15           A.       I don't.    I -- off the top of my

                16      head, no, I cannot.

                17           Q.       Okay.    So going to the next page,

                18      which is Bates 698, if you would go there.

                19                    This slide talks about targeting,

                20      and it states, Avoid intentionally targeting the

                21      CEW on sensitive areas of the body, such as

                22      head, throat, breast, chest or area of the




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                                                                                Page 131
                 1      heart, genitals or known preexisting injury

                 2      areas without justification.

                 3                    And then if you go down to the

                 4      notes, it says essentially the same thing there.

                 5                    Do you see that?

                 6           A.       Yes.

                 7           Q.       And on that page, it says, Refer to

                 8      Sensitive Body Part Hazard warnings.

                 9                    Do you see that?

                10           A.       Yes.

                11                    MS. NGUYEN:      And if we can go to

                12           Exhibit 16, which are those warnings.

                13           And the date on these is March 1st, 2013.

                14           And these are going to be eight pages.

                15                               -    -   -

                16                    (Deposition Exhibit Number 16,

                17                     Warnings, Instructions, and

                18                     Information: Law Enforcement,

                19                     Important Safety and Health

                20                     Information, Bates stamped

                21                     AXON_CURRAN000078 through

                22                     AXON_CURRAN000085, marked for




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                                                                                Page 132
                 1                     identification, as of this date.)

                 2                               -     -   -

                 3                    THE WITNESS:         Okay.   I got it.

                 4      BY MS. NGUYEN:

                 5           Q.       And we'll go to Page 4 of Exhibit 16.

                 6           A.       Okay.

                 7           Q.       And in the box there in the middle of

                 8      the page, it has the orange warning sign, which

                 9      states, Eye Injury Hazard.

                10                    Do you see that?

                11           A.       Yes.

                12           Q.       And you agree that that's the same

                13      warning that we've seen previously, stating that

                14      a probe can result in serious injury, including

                15      permanent vision loss?

                16                    Do you see that?

                17           A.       Yes, ma'am.

                18           Q.       And then, also, we see in that box,

                19      Probe or Electrode Injury, Puncture, Scarring or

                20      Infection Hazard, Warning, as well as the

                21      percentage injury warning.

                22                    Correct?




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                                                                                Page 133
                 1           A.       Yes.

                 2           Q.       And then down at Number 1, it says,

                 3      Provide medical care as needed.

                 4                    Do you see that?

                 5           A.       Yes.

                 6           Q.       The second sentence there states, A

                 7      probe, dart point or barb embedded in a sensitive

                 8      area, such as the eye, genitals, breast, neck,

                 9      throat or vascular structure may cause serious

                10      injury and require medical care.

                11                    Do you see that?

                12           A.       Yes.

                13           Q.       And is that something that you knew

                14      at the time of your training on July 24th, 2013?

                15           A.       Yes.

                16           Q.       And on Page 6 of 8, again, in the box

                17      with the orange warning, we see a warning

                18      relating to probe recoil or ricochet.

                19                    Do you see that?

                20           A.       Um-hum.

                21           Q.       And if we go to that -- the next

                22      paragraph, it states, Always be sure your target




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                                                                                Page 134
                 1      is within range.       Wear protective eyewear when

                 2      deploying any CEW in training or for practice.

                 3      Be sure practice targets have a firm backing that

                 4      will allow the probes to stick and not bounce off

                 5      and strike an unintended person, animal or

                 6      object, or continue through the backing and

                 7      strike objects behind the target.

                 8                    Do you see that warning?

                 9              A.    Yes.

                10           Q.       And in this instance, Mr. Curran,

                11      with regard to the incident that took place in

                12      December of 2017, do you know if the probe

                13      ricocheted either off the individual Sim Suit or

                14      off the mat before it struck you?

                15           A.       I don't know if it ricocheted.          I was

                16      told it didn't, and I was told it did, but I do

                17      not know.

                18           Q.       Okay.     So is it fair to say that you

                19      did not see the probe before it actually struck

                20      you in the eye?

                21           A.       No.     I -- my eyes don't move that

                22      fast.




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                                                                                Page 135
                 1              Q.     I don't think any -- most

                 2      people's don't --

                 3              A.     I don't think anybody's eyes can move

                 4      that fast.

                 5              Q.     Okay.    We're going to move on from

                 6      Exhibit 16.

                 7                     MR. BUCCI:       Amy, I don't want to

                 8              interrupt you, but I believe I've got the

                 9              corrected Exhibit 6, the X23 User

                10           Certification Test.

                11                    Do you want -- want to cover that

                12           first or -- I'll just let you know that I

                13           have it -- I have it now.

                14                    MS. NGUYEN:       Great.    Let me pull

                15           that up.

                16                    MR. BUCCI:        Got it?   It's the --

                17           (indicating).

                18                    MS. NGUYEN:       Yep.

                19      BY MS. NGUYEN:

                20           Q.       So we will go back to Exhibit 6.          And

                21      this is Version 14.2, X26 User Certification

                22      Test.    And the Bates number I have is




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                                                                                Page 136
                 1      AXON_CURRAN481.

                 2           A.       Got it.

                 3           Q.       Okay.     And, Mr. Curran, is that your

                 4      handwriting on there?

                 5           A.       Yes, it is.

                 6           Q.       Okay.     And, again, this exhibit shows

                 7      another test that you took relating to the X26.

                 8                    Does that refresh your recollection

                 9      as to what model you were certified on prior to

                10      the X2?

                11           A.       Yes, ma'am.

                12           Q.       Okay.    So we are in agreement that it

                13      was the X26 model?

                14           A.       Yes, ma'am.

                15           Q.       Okay.    And there are -- if you go

                16      through those pages, it looks like there are --

                17      let's see -- 25 multiple choice questions.

                18                    And then, after that, you identify

                19      the parts of the X26 CEW, correct?

                20           A.       Yes.

                21           Q.       Okay.    And then the last part is what

                22      we had discussed where they verify all the




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                                                                                Page 137
                 1      requirements for the practical portion --

                 2           A.       Okay.

                 3           Q.       -- training, and that's on Bates 486.

                 4                    Do you see that?

                 5           A.       Yes.

                 6           Q.       And so I just want to briefly go over

                 7      these practical portions and those requirements.

                 8      The first one is Demonstration of proper

                 9      firing -- excuse me -- finger positions for

                10      aiming and firing.

                11                    Correct?

                12           A.       Yes, ma'am.

                13           Q.       Reload TASER device five times in

                14      15 seconds.    (Watch finger position, disqualify

                15      for fingers in front of blast doors).

                16                    Do you see that?

                17           A.       Yes, ma'am.

                18           Q.       And the blast doors is -- to make

                19      sure we have the same understanding, that's where

                20      the probes actually come out, correct?

                21           A.       Yes, ma'am.

                22           Q.       All right.       Next requirement:




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                                                                                    Page 138
                 1      Officer can control unit adequately when

                 2      commanded "Arm — Spark — Safe" at random.

                 3                    Correct?

                 4           A.       Yes, ma'am.

                 5           Q.       The next one: Officer can remove and

                 6      reinstall battery correctly.

                 7                    Correct?

                 8           A.       Yep.

                 9           Q.       And then the last one: Draw TASER

                10      device (select the unit most likely to be used in

                11      the field) hit target at 8 feet, reload, hit

                12      second target at 12 feet with laser site.             And

                13      there's a time limit of 10 seconds.

                14                    Is that correct?

                15           A.       Yes, ma'am.

                16           Q.       And this document indicates that you

                17      completed both the exam portion as well as the

                18      practical portion successfully, right?

                19           A.       Yes, ma'am.

                20           Q.       And, in fact, received 100 percent on

                21      both, correct?

                22           A.       Yes, ma'am.




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                                                                                Page 139
                 1           Q.       And here, the certifying officer is

                 2      Johnny Mitchell.

                 3                    That's the individual that you

                 4      mentioned before, right?

                 5           A.       Yes, ma'am.

                 6           Q.       So he was actually employed by

                 7      Virginia Beach Police Department and would have

                 8      been your instructor for that particular

                 9      training, right?

                10           A.       Yes, ma'am.

                11           Q.       And this is referring to the training

                12      that took place on May 13th of 2009?

                13           A.       Yes.

                14           Q.       And then the last page of that

                15      exhibit shows the practical portion and, again,

                16      the instructor indicating that you performed each

                17      of the requirements at an acceptable level,

                18      correct?

                19           A.       Yes.

                20           Q.       And then the -- the last two

                21      requirements there that weren't mentioned on the

                22      previous page is Scenario Number 1 and




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                                                                                Page 140
                 1      Scenario Number 2, the first one dealing with the

                 2      unknown disorder, asking what type of force is

                 3      needed, and the second one dealing with a

                 4      suspicious person.

                 5                    Do you see that?

                 6           A.       Yes, ma'am.

                 7           Q.       So based upon this document, is it

                 8      fair to say that you would have not only deployed

                 9      cartridges but also had gone through these two

                10      scenarios that the instructor put together?

                11           A.       Yes, we deployed them at a target and

                12      then went through the two -- and then, after

                13      that, different -- break and then go through the

                14      scenarios, yes.

                15           Q.       Okay.

                16                    Okay.    So we're going to go to your

                17      next training, which is back to Exhibit 1 of

                18      your training matrix.       And I actually want to go

                19      to the first page because I didn't realize we

                20      didn't go over the general information about

                21      Exhibit 1.    But I want to make sure that you're

                22      in agreement that this pertains to your




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                                                                                Page 141
                 1      training.

                 2                    The first page has your full name on

                 3      there?

                 4           A.       Yes.

                 5           Q.       And it says, ACE ID: 1418.

                 6                    Do you know what that is?

                 7           A.       No idea.

                 8           Q.       What about the badge number, 1615,

                 9      about the middle of the page?           Was that your

                10      badge number, Mr. Curran?

                11           A.       No; that's actually my employee

                12      number --

                13           Q.       Oh, okay.

                14           A.       -- my badge number was 593.

                15           Q.       Okay.    So you would agree that

                16      this -- this is, in fact, your training matrix

                17      from the Virginia Beach Police Department?

                18           A.       Yes.

                19           Q.       Okay.    So we're going to go to

                20      Page 547.

                21           A.       Okay.

                22           Q.       This one indicates TASER X2,




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                                                                                       Page 142
                 1      certification date of March 21st, 2017.

                 2                    Do you see that?

                 3              A.    Yes.

                 4              Q.    And that would have been the last

                 5      training that you received as a user, right, on

                 6      CEWs?

                 7              A.    Yes, the next class was the

                 8      instructor course.

                 9              Q.    Okay.

                10                    MS. NGUYEN:       And so the next

                11           exhibit is Exhibit 17.            And the title of

                12           this is the Version 20, Training

                13           Materials, effective March 1, 2017.                 The

                14           first Bates number is AXON_CURRAN40.

                15                               -     -   -

                16                    (Deposition Exhibit Number 17,

                17                     Annual Conducted Electrical

                18                     Weapon (CEW) User Update Bates

                19                     stamped AXON_CURRAN000040,

                20                     AXON_CURRAN000042 through

                21                     AXON_CURRAN000044,

                22                     AXON_CURRAN000047,




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                                                                                 Page 143
                 1                     AXON_CURRAN000061,

                 2                     AXON_CURRAN000071, marked for

                 3                     identification, as of this date.)

                 4                               -     -    -

                 5                    MR. BUCCI:       It goes to 71?

                 6                    MS. NGUYEN:       Excuse me?

                 7                    MR. BUCCI:       It goes to 71 --

                 8           CURRAN40 to 70 --

                 9                    MS. NGUYEN:       Yes.

                10                    THE WITNESS:         Got it.

                11      BY MS. NGUYEN:

                12           Q.       Mr. Curran, looking at the date --

                13      effective date of March 1, 2017, would you agree

                14      that this would have been in effect during your

                15      training of March 21st, 2017?

                16           A.       I would assume it would be, yes.

                17           Q.       Okay.    On Page 42 of that document,

                18      it talks about the annual CEW user update

                19      contents, those being the recertification

                20      requirements, the warnings, the targeting and

                21      tactical considerations, the use guidelines and

                22      the medical overview.




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                                                                                Page 144
                 1                    Do you see that?

                 2           A.       Yes.

                 3           Q.       On the next page, Page 43, it talks

                 4      about the requirements, Review this PowerPoint,

                 5      Receive and review the law enforcement warnings

                 6      as well as the CEW study aid, pass the functional

                 7      test, and deploy two live CEW cartridges into the

                 8      preferred target zone.

                 9                    Is that consistent with your

                10      recollection of the requirements?

                11           A.       Yes.

                12           Q.       On the next page, which is Bates 44,

                13      we see the same slide with the warnings saying

                14      that TASER CEWs have risk and can cause serious

                15      injury.

                16                    Do you see that?

                17           A.       Yes.

                18           Q.       Then it says, Stop.       At this time,

                19      distribute, review and understand the current

                20      TASER product warnings.

                21                    Correct?

                22           A.       Yes.




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                                                                                Page 145
                 1           Q.       On the next page, Bates 47, it talks

                 2      about targeting and specifically to avoid

                 3      sensitive areas of the body, including the head.

                 4                    Do you agree with that?

                 5           A.       Yes.

                 6           Q.       On the next page, Bates 61, it talks

                 7      about CEW use guidelines.

                 8                    Do you see that?

                 9           A.       Yep.

                10           Q.       And it's kind of small on this page,

                11      but in the middle, it talks about probe targeting

                12      and to avoid targeting sensitive areas.

                13                    Do you see that?

                14           A.       I don't -- I can't read that,

                15      but . . .

                16           Q.       You would agree that you were taught

                17      in your TASER CEW training to avoid sensitive

                18      areas, which would include the eyes, correct?

                19           A.       Yes.

                20           Q.       And you were taught to do so because

                21      if -- if you have a probe in the eye, it can

                22      cause serious or permanent injury?




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                                                                                Page 146
                 1           A.       Yes.

                 2           Q.       Okay.    We can set that exhibit aside.

                 3      Then we're going to go back to -- to -- to

                 4      Exhibit 16, because these same warnings were

                 5      still in effect in March of 2017.

                 6                    And do you have any reason to

                 7      believe that you would not have received and

                 8      reviewed these warnings at the time of that

                 9      March 2017 training?

                10           A.       I have no reason not to believe that.

                11           Q.       Okay.    So, Mr. Curran, we've gone

                12      through, painstakingly, all of the training that

                13      you received with regard to TASER CEWs prior to

                14      the instructor training that you attended in

                15      December of 2017, correct?

                16           A.       Yes.

                17           Q.       And by my count, that was nine

                18      different training courses that were outlined in

                19      your training matrix.

                20                    And so if you're deploying at least

                21      two cartridges, you would have deployed at least

                22      18 cartridges in total during the training,




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                                                                                Page 147
                 1      correct?

                 2           A.       Yes.

                 3           Q.       And that does not include any

                 4      scenario-based training wherein you would have

                 5      deployed any cartridges.

                 6                    Is that also true?

                 7           A.       Yes, that is correct.

                 8           Q.       So if you deployed any cartridges in

                 9      scenario training, that would be above and beyond

                10      the two-cartridge requirement?

                11           A.       Yeah.    I don't recall deploying any

                12      cartridges in a scenario training on the

                13      department.

                14           Q.       Okay.    And that does not include the

                15      instructor training that you attended in

                16      December 2017, correct?

                17           A.       It does not include that, yes.

                18           Q.       And is there also the possibility

                19      that you could have deployed more than the two

                20      cartridges at the targets?

                21           A.       There could have been, yes, at static

                22      targets, correct, yes.




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                                                                                Page 148
                 1           Q.        While at the Virginia Beach Police

                 2      Department, did you ever deploy a TASER CEW in

                 3      the field?

                 4           A.        No, not that I can -- not that I can

                 5      recall -- oh, wait.      I take that back.       I did a

                 6      drive stun in the field but not an actual probe

                 7      deployment, as far as I can recall.

                 8           Q.        And that drive stun was to an

                 9      individual that was -- you were attempting to

                10      secure or arrest?

                11           A.        Yes.

                12           Q.        Can you tell me a little bit more

                13      about that incident?

                14           A.        It was a individual behind a wheel.

                15      His car was parked facing the wrong way on a

                16      one-way street, engine was off, and he was behind

                17      the driver seat passed out drunk.

                18                     So we went to extract him in the

                19      vehicle.     He held on, and I used a drive stun,

                20      not probes, to the -- his back to try to get him

                21      to come with us.

                22                     It was effective and got him out.




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                                                                                Page 149
                 1              Q.     And approximately when did this

                 2      occur?

                 3              A.     I -- between 2005 and 2017.        I'm not

                 4      really quite sure on what the date would be --

                 5              Q.     Okay.

                 6              A.     -- it was while I was on the SWAT

                 7      team.     So that's all I do remember.       It was when

                 8      I was on the SWAT team --

                 9              Q.     Okay.

                10           A.       -- I have to think back.        It was

                11      probably 2005 to 2013, I guess, somewhere in

                12      there.

                13           Q.       Is that the only time that you can

                14      recall using your CEW in the field?

                15           A.       Yes, that's the only time I can

                16      recall.

                17           Q.       So based upon all of this training

                18      that you received on TASER CEWs prior to December

                19      of 2017, you -- would you agree that you knew at

                20      the time that use of less lethal use-of-force

                21      tools carries some amount of risk of injury?

                22           A.       Yes.     They informed us that the




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                                                                                Page 150
                 1      TASER, as we were talking about in class, is a

                 2      dangerous weapon.

                 3           Q.       And that it could cause serious

                 4      and/or permanent injury, correct?

                 5           A.       Yes.

                 6           Q.       And you would agree that you knew at

                 7      the time it was important to follow safety

                 8      guidelines and use safety equipment when being

                 9      trained on TASER CEWs, correct?

                10           A.       Yes.

                11           Q.       And you would also agree that even if

                12      you follow those safety guidelines and use the

                13      safety equipment during that training, that you

                14      can't completely eliminate all risk of injury?

                15           A.       I'm sorry.       Could you say that again?

                16      You broke out a little bit on my end.

                17           Q.       Sure.

                18                    You would also agree that if you

                19      follow those safety guidelines and use the

                20      safety equipment, that when you are

                21      participating in that training, you cannot

                22      eliminate all risk of injury?




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                                                                                Page 151
                 1           A.       No, you -- 100 percent?        No, I don't

                 2      think you can risk that -- 100 percent.

                 3           Q.       You also knew at that time that CEWs

                 4      are weapons and they must be handled safely,

                 5      correct?

                 6           A.       Correct.

                 7           Q.       You knew that CEWs deployed probes,

                 8      correct?

                 9           A.       Yes.

                10           Q.       Is that a yes?

                11           A.       Yes.   I'm sorry.      Yes, ma'am.

                12           Q.       You knew that the probes were sharp

                13      and could -- and that they were meant to

                14      penetrate skin, correct?

                15           A.       Yes, ma'am.

                16           Q.       And that you knew the probes also

                17      carried the possibility of ricocheting?

                18           A.       Off of a static target, yes.

                19           Q.       Well, does it have to be static?

                20      Could it also be a target that was moving that

                21      they could bounce off of things and ricochet?

                22           A.       I was just going off what I




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                                                                                Page 152
                 1      remembered reading, their recommendations for the

                 2      target, which was a firm target, though I know

                 3      there was a question of it going through the

                 4      target or ricocheting off of a static firm

                 5      target.

                 6           Q.       Oh, you're -- you're referring to the

                 7      specific warning language that we reviewed?

                 8           A.       Yes, ma'am.

                 9           Q.       Okay.    And I'm -- and fair enough.

                10      I'm asking more generally, though.

                11                    Based upon these nine different

                12      certifications that you attended, you learned,

                13      did you not, that probes could certainly

                14      ricochet off of objects?

                15           A.       Yes, I learned in the training that

                16      probes could definitely ricochet off of a static

                17      target.

                18           Q.       So are you suggesting that probes

                19      could not ricochet off of a moving target?

                20           A.       Anything's possible.       You just asked

                21      me if that's what I learned in the class, and

                22      that's what I learned, is that on static targets,




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                                                                                Page 153
                 1      they could ricochet.      Anything else would just --

                 2      my be -- would be an assumption.

                 3           Q.       Okay.    You also learned that probes

                 4      could cause penetration injuries to both hands

                 5      and eyes, correct?

                 6           A.       Yes.

                 7           Q.       And that if a probe penetrated an

                 8      eye, it could cause permanent injury?

                 9           A.       Correct.

                10           Q.       And, in fact, that's probably just

                11      obvious by looking at the probes, correct?

                12           A.       One would think, yes.

                13           Q.       You also knew that by participating

                14      in TASER CEW training, there was, in fact, a risk

                15      of permanent injury?

                16           A.       Yes.

                17           Q.       And you knew that during CEW

                18      training, everyone acts as safety officers and

                19      anyone can call stop action if they see anything

                20      unsafe at any time?

                21           A.       They did state that, yes, you can

                22      call stop action; anyone can do it.




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                                                                                Page 154
                 1           Q.       And that was something that you

                 2      knew --

                 3           A.       Yes.

                 4           Q.       -- prior to December 2017, correct?

                 5           A.       Yes.

                 6           Q.       And you also knew prior to December

                 7      of 2017 that everyone had to wear protective eye

                 8      gear during practical training?

                 9           A.       Yes, while engaged in the scenarios,

                10      we were instructed to wear protective eye gear.

                11           Q.       And so you -- you conditioned that a

                12      little bit, saying while engaging in the

                13      scenarios, whereas the documentation says

                14      anywhere in the training area.

                15                    And so I want to hone in on that and

                16      find out is it -- is it your recollection that

                17      anytime you're in the practical training area,

                18      you have to wear protective eye gear?

                19           A.       Yes, it was during the -- if you're

                20      asking about the situation or the incident at

                21      hand, inside --

                22           Q.       I'm asking -- let me just interrupt




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                                                                                Page 155
                 1      you there so I can make sure you understand the

                 2      question --

                 3           A.       Okay.

                 4           Q.       -- I'm not yet asking about the

                 5      training in December 2017, rather, I'm trying to

                 6      find out, prior to that date, based upon these

                 7      nine certification courses that you completed,

                 8      what your understanding was prior to that date.

                 9                    Okay?

                10           A.       Okay.

                11                    Is that -- yes, you should be --

                12           Q.       To that knowledge -- I want to make

                13      sure you knew at that time that whenever you're

                14      in that training area for practical training,

                15      that everyone needed to wear protective eye gear.

                16                    That's what TASER instructed,

                17      correct?

                18           A.       Yes.

                19                    MS. NGUYEN:      Okay.    So with

                20           that -- we've been going for about an

                21           hour and a half now since our last break.

                22           So I'm going to move into the next




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                                                                                    Page 156
                 1              section of my outline, so we'll go ahead

                 2              and take about a five-minute break.

                 3                        Does that work for everyone?

                 4                        THE WITNESS:       Can I get 10,

                 5              please?

                 6                        MS. NGUYEN:       Ten?   Fair enough.

                 7                        We'll see you in 10.

                 8                        THE VIDEOGRAPHER:        Off the record

                 9              at 12:46 p.m.

                10                                  -   -    -

                11                    (Whereupon, a recess was taken from

                12                        12:46 p.m. EST to 1:00 p.m. EST.)

                13                                  -   -    -

                14                    THE VIDEOGRAPHER:            We're back on

                15           the record at 1:00 p.m.

                16      BY MS. NGUYEN:

                17           Q.       Mr. Curran, I'd now like to discuss

                18      the training that you attended in December of

                19      2017.

                20                    It's my understanding that that was

                21      a two-day instructor course, correct?

                22           A.       Yes, ma'am.




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                                                                                Page 157
                 1           Q.       How did you come to sign up for the

                 2      instructor course?

                 3           A.       I was informed by my training

                 4      lieutenant -- I'm sorry -- by the lieutenant in

                 5      charge of training that I would be attending the

                 6      course.

                 7           Q.       So did you have a choice as to

                 8      whether to become TASER CEW instructor certified

                 9      or not?

                10           A.       I don't -- to be honest, I don't

                11      recall.

                12           Q.       Is that something that you wanted to

                13      do is become a TASER CEW instructor?

                14           A.       It's in the realm of use of force,

                15      and I was considered the use-of-force expert.

                16      There was no reason why I wouldn't want to get

                17      all areas of use of force.

                18           Q.       Okay.    At that time in December 2017,

                19      do you -- did you know how many TASER CEW

                20      instructors were at the Virginia Beach Police

                21      Department?

                22           A.       No, ma'am.




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                                                                                Page 158
                 1           Q.       Do you receive any type of pay

                 2      increase if you become an instructor in a

                 3      particular area?

                 4           A.       Nope, there's no pay increase

                 5      whatsoever in Virginia Beach for taking on

                 6      different responsibilities.

                 7           Q.       Okay.     So who actually would register

                 8      you for that course?       Do you know?

                 9           A.       I believe I would -- you -- to

                10      register for any course, you would write a memo,

                11      and then the captain's secretary would make the

                12      payment and sign you up for the course --

                13           Q.       Okay.

                14           A.       -- or you would sign up, and then

                15      they would bill the department, and the

                16      department would pay them.

                17           Q.       Now, I know in -- for this particular

                18      training, there was also an online portion.

                19                    So can you describe to me how that

                20      worked as far as the online portion and the

                21      two-day course?       What part -- was it online and

                22      the other parts in person?




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                                                                                Page 159
                 1           A.       I'm not 100 percent, but I -- we

                 2      could have done an online portion prior to the

                 3      instructor actually -- the TASER instructor

                 4      coming from -- coming to the department.

                 5           Q.       Okay.    And the two days, then,

                 6      December 13th and 14th -- were both of those days

                 7      at the police department?

                 8           A.       Yes, it was.

                 9           Q.       Where the master instructor was

                10      present for both of those days?

                11           A.       Yes.

                12           Q.       And so how were those days broken up

                13      as far as what you did, either classroom portion

                14      or practical portion?

                15           A.       I believe -- it's a little fuzzy.

                16      It's been a little while -- but I believe it

                17      was -- the first day was in the classroom, and

                18      then maybe a little bit of classroom in the

                19      morning on the second day.           And then most of the

                20      second day, I believe, was spent in the

                21      gymnasium.

                22                    I can't recall 100 percent if there




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                                                                                  Page 160
                 1      was anything practical on the first day.

                 2           Q.       Okay.    So I'm going to show you

                 3      Exhibits 18 and 19.

                 4                    MS. NGUYEN:          And Exhibit --

                 5           Exhibit 18 is, like, an online module.

                 6           It's Bates AXON_CURRAN119 all the way

                 7           through 135.

                 8                               -     -     -

                 9                    (Deposition Exhibit Number 18,

                10                     Online Modules, Bates stamped

                11                     AXON_CURRAN000119 through

                12                     AXON_CURRAN000135, marked for

                13                     identification, as of this date.)

                14                               -     -    -

                15                    THE WITNESS:         Okay.    I have it.

                16                    MS. NGUYEN:       And then

                17           Exhibit 19 -- these kind of go hand in

                18           hand -- that's titled Version 20, New

                19           Instructor Certification Online Modules,

                20           and that's Bates AXON_CURRAN108 through

                21           118.

                22




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                                                                                 Page 161
                 1                               -     -    -

                 2                    (Deposition Exhibit Number 19,

                 3                     Version 20, New Instructor

                 4                     Certification Online Modules, Bates

                 5                     stamped AXON_CURRAN000108 through

                 6                     AXON_CURRAN000118, marked for

                 7                     identification, as of this date.)

                 8                               -     -    -

                 9                    MR. BUCCI:       Just one second.

                10                    (Pause.)

                11                    THE WITNESS:         Thanks.

                12                    Okay.    I have it.

                13      BY MS. NGUYEN:

                14           Q.       Okay.    And so we'll first go to

                15      Exhibit 19.    And as I said, the title there shows

                16      that this is Version 20, New Instructor

                17      Certification Online Modules.

                18                    And it shows that -- some

                19      screenshots of Axon Academy.

                20                    Do you recall receiving a link and

                21      instructions to go to Axon Academy and do this

                22      online portion?




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                                                                                Page 162
                 1              A.    Yes, I believe I did.

                 2              Q.    Okay.    And now, Exhibit 18 is a

                 3      document -- a spreadsheet that actually shows

                 4      what you logged in as the time and how much you

                 5      spent on each page for Axon Academy.

                 6                    Do you see that?

                 7              A.    Okay.    Yes, I do.

                 8              Q.    Okay.    On the first page -- just to

                 9      familiarize us with this document, it's

                10      AXON_CURRAN 119 -- it says, User e-mail:

                11      scurran@vbgov.com.

                12                    Was that your e-mail at the time?

                13           A.       Yes, it was.

                14           Q.       Okay.    And then your first and last

                15      name is shown as Shawn Curran.

                16                    Do you see that?

                17           A.       Yes.

                18           Q.       And then your TASER instructor course

                19      V.20 for First-Time/New Instructor is the course

                20      name.

                21                    Is --

                22           A.       Yes.




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                                                                                Page 163
                 1           Q.       -- that the course that you attended

                 2      in December 2017?

                 3           A.       I can't tell you that's exactly the

                 4      name of it, but it's -- that's the course I was

                 5      in, was an instructor course.

                 6           Q.       Okay.    And then over to the right, it

                 7      shows Module Completion Date, and it says the

                 8      date of December 4th, 2017, and then the time --

                 9           A.       Okay.

                10           Q.       -- does that date of December 4th

                11      sound about right if you were to complete the

                12      online portion prior to your training on

                13      December 13th and 14th?

                14           A.       It probably is.        I can't remember the

                15      exact date I filled out the online portion, but I

                16      know I had to do it prior to the actual class.

                17           Q.       Okay.    And I will say that on, like,

                18      Bates -- if you go to Bates 125, it also shows

                19      the date of December 5th.        So it looks like

                20      between December 4th and December 5th that you

                21      would have completed the online modules.

                22                    Does that sound correct to you?




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                                                                                Page 164
                 1           A.        That -- according to the dates, yes,

                 2      that's what it seems to be, yeah.

                 3           Q.        Okay.    You don't have any reason to

                 4      dispute those dates?

                 5           A.        No, ma'am.

                 6           Q.        Okay.    So let's just go -- we aren't

                 7      going to go through this entire thing, but I want

                 8      to go through a few of the modules that you

                 9      completed.

                10                    The first one shown here is titled

                11      Law Enforcement Warnings.

                12                    Do you see that?

                13           A.       Yes, ma'am.

                14           Q.       And so then I'm going to refer you to

                15      Exhibit 19.    And this is actually the screenshot

                16      of where you were asked to review the law

                17      enforcement warnings.       And it says, TASER

                18      Handheld CEW Warnings, Instructions, and

                19      Information:    Law Enforcement.         Download or read

                20      online.   And then it has a next button.

                21                    Do you recall something like this

                22      during your online training?




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                                                                                Page 165
                 1           A.       I'm sure it was.       I have no reason to

                 2      think it wasn't --

                 3           Q.       Okay.

                 4           A.       -- but the exact screenshot I can't

                 5      say was definitely it.         But there's no reason why

                 6      it shouldn't have been it.

                 7           Q.       Okay.    The next page is Bates 109.

                 8      This shows warnings that were in effect at the

                 9      time, which are dated March 1, 2013.

                10                    Do you see that?

                11           A.       Yes, ma'am.

                12           Q.       Okay.    And would you agree that you

                13      would have gone through these warnings during

                14      that online course?

                15           A.       More than likely, yes.

                16           Q.       And then on Bates Page 112, we have

                17      those same warning boxes that we have reviewed

                18      previously, the first one pertaining to eye

                19      injury hazard; the second one, probe or electrode

                20      injury, punctures, scarring or infection hazard;

                21      and the last one, penetration injury.

                22                    Do you see those?




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                                                                                Page 166
                 1           A.       Yes.

                 2           Q.       And then on Bates 114, in the box

                 3      with the orange warning box, it states, again,

                 4      the warning relating to probe, recoil or

                 5      ricochet.

                 6                    Do you see that as well?

                 7           A.       I -- I see the title.        It's a little

                 8      hard to read the rest of the words, though.

                 9           Q.       Yeah.    It's a little bit smaller.

                10                    But these are the same warnings that

                11      we would have gone over previously, which was

                12      Exhibit 16?

                13           A.       Yes.

                14           Q.       Okay.    And then if we can go to

                15      Bates 117 of that same exhibit, 19.

                16                    Here is the Law Enforcement Warnings

                17      — Verification.

                18                    Do you see that?

                19           A.       Yes.

                20           Q.       And it says, I hereby attest that I

                21      have opened, fully read and understand the TASER

                22      Handheld CEW Warnings, Instructions, and




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                                                                                Page 167
                 1      Information: Law Enforcement document dated

                 2      March 1, 2013.

                 3                    And there's a place to either accept

                 4      or decline, and then hit either Submit or Next.

                 5                    Do you see that?

                 6           A.       Yes.

                 7           Q.       Now, before I ask the next question,

                 8      I'm going to direct you to Exhibit 18 again.            And

                 9      the second line of Exhibit 18 is titled Law

                10      Enforcement Warnings — Verification.

                11                    Do you see that?

                12           A.       Yes.

                13           Q.       And it shows that you completed that

                14      page on December 4th, 2017 at approximately 1525.

                15                    Do you see that?

                16           A.       Yes.

                17           Q.       And so putting these two documents

                18      together, would you agree that you would have

                19      verified that you read and understood the law

                20      enforcement warnings?

                21           A.       Yes.

                22           Q.       And then the next line there on -- of




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                                                                                Page 168
                 1      Exhibit 18, Bates 119 is Warning, Risks and

                 2      Release Agreement.

                 3                    Do you see that?

                 4           A.       Yes.

                 5           Q.       And that is dated December 4th, 2017

                 6      with a time stamp of 15:25:50.

                 7           A.       Yes.

                 8           Q.       Do you see that there?

                 9           A.       Yes.

                10           Q.       And so that indicates that you would

                11      have seen this Warning, Risks and Release

                12      Agreement, which is on Exhibit 19, Bates 118.

                13                    Do you see that?

                14           A.       Did you say Page?

                15           Q.       Bates Page 118.

                16           A.       118.

                17                    I'm only up to 116.

                18                    THE WITNESS:      Scott, I only have

                19           116.

                20                    MR. BUCCI:      I'm sorry.    What --

                21           say that again, Amy?

                22                    MS. NGUYEN:     It's Exhibit 19, and




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                                                                                     Page 169
                 1           it should be Bates 108 through Bates 118.

                 2                     THE WITNESS:       Wait.   Hold on.      It

                 3           may have been trapped.

                 4                     Nope.     I got it.    Sorry.    It was

                 5           underneath some other papers.

                 6      BY MS. NGUYEN:

                 7           Q.        Okay.     No problem.

                 8           A.        Got it.

                 9           Q.        All right.       So Bates Number 118 would

                10      be where the Warning, Risks and Release Agreement

                11      is reviewed.    And there's an option to download,

                12      read online and click next.

                13                    Do you see that?

                14           A.       Yes.

                15           Q.       And then it says at the bottom there,

                16      Students May Review Instructor/User Release

                17      Online (form attached to this e-mail).

                18                    You see that there?

                19           A.       Yes.

                20                    MS. NGUYEN:       And that Warnings,

                21           Risks and Release Agreement is going to

                22           be Exhibit 20, and the Bates on that is




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                                                                                 Page 170
                 1           AXON_CURRAN37 and 38.

                 2                               -     -    -

                 3                    (Deposition Exhibit 20, Instructor

                 4                     and User, Warnings, Risks and

                 5                     Release Agreement, Bates stamped

                 6                     AXON_CURRAN00037 through

                 7                     AXON_CURRAN00038, marked for

                 8                     identification, as of this date.)

                 9                               -     -    -

                10                    THE WITNESS:         I have it.

                11      BY MS. NGUYEN:

                12           Q.       Okay.    Now, this document is titled

                13      Instructor and User, Warnings, Risk and Release

                14      Agreement.    And it states at the top there an

                15      effective date of January 23rd, 2015, and it goes

                16      over important safety and health information,

                17      training CEW exposures.

                18                    Do you see those headings there?

                19           A.       Yes.

                20           Q.       Okay.    And under Training CEW

                21      Exposures, it states, Eye protection is required

                22      for the CEW operator, observers, spotters and the




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                                                                                Page 171
                 1      person being exposed to any probe deployment.

                 2                    Do you see that?

                 3           A.       That -- which -- which part was that

                 4      on, again, ma'am?      Thirty-seven or 38?       It's very

                 5      small.

                 6           Q.       On -- it's on Page 37 --

                 7           A.       Okay.

                 8           Q.       -- and it's under the subheading

                 9      Training CEW Exposures --

                10           A.       Okay.    I gotcha.

                11           Q.       -- and it's the very last bold print

                12      there that states, Eye Protection.

                13           A.       Okay.    I see it.

                14           Q.       Okay?

                15                    And you see where it says, Eye

                16      protection is required for the CEW operator,

                17      observers, spotters and the person being exposed

                18      to any probe deployment.

                19                    Do you see that?

                20           A.       Yes, ma'am.

                21           Q.       Okay.    And then over in the

                22      right-hand column, there is a bold print that




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                                                                                Page 172
                 1      states, Avoid sensitive areas.

                 2                    Do you see that?

                 3           A.       Yes.

                 4           Q.       And it states, When practicable,

                 5      avoid intentionally targeting the CEW on

                 6      sensitive areas of the body, such as the face,

                 7      eyes, head, throat, chest area, breast, groin,

                 8      genitals or known preexisting injury areas.

                 9                    Do you see that as well, Mr. Curran?

                10           A.       Yes, ma'am.

                11           Q.       And then below that, it -- with an

                12      orange warning box, it says, Eye Injury Hazard.

                13                    Are you there?

                14           A.       Yes, ma'am, I'm here --

                15           Q.       Okay --

                16           A.       -- I see it.

                17           Q.       -- and there, it says, A TASER probe,

                18      electrode or electrical discharge that contacts

                19      or comes close to an eye can result in serious

                20      injury, including permanent vision loss.

                21                    You see that?

                22           A.       Yes, ma'am.




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                                                                                Page 173
                 1           Q.        And you would agree that that is of a

                 2      similar warning that we saw in the warnings that

                 3      we just reviewed, correct?

                 4           A.        Yes.

                 5           Q.        Also on this document, at the bottom

                 6      of Page 37, it has the same penetration injury

                 7      warning.

                 8                     Would you agree with that?

                 9           A.        Yes.

                10           Q.       Okay.    And then on the -- the next

                11      page, which is Bates 38, down below Safety

                12      Information:    General Precautions --

                13           A.       Okay.

                14           Q.       -- it has the bold print, Keep body

                15      parts away from front of CEW or cartridge.

                16      Always keep your hands and body parts away from

                17      the front of the CEW and cartridge.          If the CEW

                18      discharges unexpectedly, you could be injured.

                19                    Do you see that?

                20           A.       Yes.

                21           Q.       Okay.    And do you recall reviewing

                22      this during the online portion that you completed




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                                                                                Page 174
                 1      prior to your training?

                 2           A.       Verbatim, but there's no -- I

                 3      don't -- I can't recall verbatim, but there's no

                 4      reason to believe that I didn't.

                 5           Q.       Okay.

                 6                    This also asks for any preexisting

                 7      conditions on the second page there.

                 8                    Did you have any preexisting

                 9      conditions at that time, Mr. Curran, that you

                10      would have advised the master instructor of?

                11           A.       No, ma'am.

                12           Q.       Okay.    The next column -- it states,

                13      Liability and Release Agreement.

                14                    The second paragraph states, I have

                15      read, fully understand and accept the risks.            I

                16      have read, fully understand and accept the risks

                17      as stated in this document and TASER's current

                18      warnings and that these risks exist, whether or

                19      not I have preexisting injuries.         With full

                20      knowledge of the risks, I voluntarily agree to

                21      participate in this TASER CEW training course.

                22                    Mr. Curran, is that an accurate




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                                                                                  Page 175
                 1      statement of when you completed this on --

                 2      online module?

                 3           A.        Yes, I --

                 4                     MR. BUCCI:     Hold on.     I want to

                 5           object.

                 6                     You're asking is this statement as

                 7           it appeared on the document when he

                 8           filled the online module?           Is that the

                 9           question?

                10                    MS. NGUYEN:     Correct.

                11                    MR. BUCCI:      Okay.     In other words,

                12           he doesn't have any reason to think it's

                13           altered in any way.

                14                    Is that what you're getting at?

                15                    MS. NGUYEN:     That's my first

                16           question, yes.

                17                    MR. BUCCI:      All right.     That's

                18           fine.

                19      BY MS. NGUYEN:

                20           Q.       Mr. Curran, was that your

                21      understanding of my question as well?

                22           A.       I'm sorry.      I'm a little confused.




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                                                                                Page 176
                 1                    Can you back up and ask me the

                 2      question again?

                 3           Q.       Sure.

                 4                    So this statement -- you agree that

                 5      that statement is accurate as it's in this

                 6      document?    You don't have any reason to disagree

                 7      with this statement, correct?

                 8           A.       Yeah.    I don't remember the exact

                 9      statement when I read it back then, but I have no

                10      reason to believe that this has been changed.

                11           Q.       Right.    So as you sit here today, you

                12      believe that that's what you would have read at

                13      the time when you completed the online module?

                14           A.       At least -- I have no reason to

                15      believe I didn't.

                16           Q.       Okay.    And, in fact, then, when we

                17      read it, as applied, you would agree that you

                18      fully understood the risks as they were explained

                19      in the warnings to you and that you accepted

                20      those risks by participating in the instructor

                21      training on December 13th and 14th, correct?

                22                    MR. BUCCI:       I want to object on




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                                                                                Page 177
                 1           the grounds the word "risks" is unduly

                 2           vague and could encompass all sorts of

                 3           stuff.

                 4                    But go ahead and answer.

                 5                    THE WITNESS:     Due to -- yes,

                 6           the -- the -- what you're talking about

                 7           with the TASER being dangerous, yes,

                 8           there are -- there are risks.           I

                 9           understood that.

                10      BY MS. NGUYEN:

                11           Q.       Well -- and it's not just -- you

                12      know, I don't think we've ever talked about the

                13      TASER being dangerous, right?           We never saw that

                14      word in the warnings, right?

                15           A.       I -- I don't -- you know what?          I --

                16      I don't think so.      I can't say definitely, but it

                17      just talks about all the warnings, so . . .

                18           Q.       Let's just specifically go over the

                19      ones that we've reviewed today just so we make

                20      sure that we're clear.

                21                    You were told of the -- that CEWs

                22      carry a risk of injury, correct?




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                                                                                 Page 178
                 1           A.       Yes.

                 2           Q.       You understood that risk and you

                 3      accepted that risk by participating in this

                 4      training?

                 5           A.       Yes.

                 6           Q.       Okay.    You understood that TASER CEWs

                 7      also carried the risk of probe injuries and, in

                 8      particular, injuries to the eye which could

                 9      result in serious or permanent injury, correct?

                10           A.       Yes.

                11           Q.       Okay.    And you accepted that risk

                12      when you participated in this training on

                13      December 13th and 14th of 2017, correct?

                14                    MR. BUCCI:       Hold on.   I'm going to

                15           object here.      I mean, if what you're

                16           saying is that he accepted the risk of

                17           any injury ever occurring under any

                18           circumstances involved in the training,

                19           then I object.      That's an improper

                20           question.

                21                    If you -- that -- that -- that is

                22           not what these materials say.




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                                                                                  Page 179
                 1                    MS. NGUYEN:          I -- you can state

                 2           your objection, Scott.             I believe my

                 3           question was pretty straightforward.

                 4      BY MS. NGUYEN:

                 5           Q.       So go ahead, Mr. Curran, if you can

                 6      answer the question.

                 7           A.       Can you ask it again for me,

                 8      please -- with everything back and forth -- so I

                 9      know exactly what you're saying?

                10           Q.       Yeah.

                11                    MS. NGUYEN:       Cindy, can you please

                12           restate my question -- or read it back?

                13                               -     -    -

                14                    (Whereupon, the certified

                15                     stenographer read back the

                16                     pertinent part of the record.)

                17                               -     -    -

                18                    MS. NGUYEN:       You have to go back

                19           to the previous question, Cindy, where I

                20           outlined the specific risks.

                21                               -     -    -

                22                    (Whereupon, the certified




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                                                                                 Page 180
                 1                     stenographer read back the

                 2                     pertinent part of the record.)

                 3                               -     -    -

                 4                    MR. BUCCI:       I'm going to object --

                 5                    MS. NGUYEN:       Okay.    Note your

                 6           objection, Scott.

                 7      BY MS. NGUYEN:

                 8           Q.       And then, Mr. Curran --

                 9                    MR. BUCCI:       -- don't interrupt me,

                10           but I have a continuing objection to this

                11           line of questioning.

                12                    MS. NGUYEN:      Noted.

                13                    THE WITNESS:         Good to go?

                14      BY MS. NGUYEN:

                15           Q.       Yes.

                16           A.       Okay.    Yes, in regards to any risk

                17      coming from the TASER, there are risks from that

                18      TASER.    I understood that.         It does penetrate, go

                19      through the eye.      I understood that.

                20           Q.       And you opted to proceed with the

                21      training on December 13th and 14th knowing those

                22      risks, correct?




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                                                                                Page 181
                 1           A.        Yes.

                 2           Q.        The paragraph -- it has bold print.

                 3      I accept the risks.

                 4                     You see that there?

                 5           A.        Yes.

                 6           Q.        And it states, Understanding the

                 7      risks, I assume all risks inherent in CEW

                 8      training and the CEW exposure, whether known or

                 9      unknown, foreseen or unforeseen.

                10                    You see that?

                11           A.       Yes.

                12           Q.       And do you recall per -- let me --

                13      strike that.    Let me rephrase.

                14                    You agree that you assumed the

                15      specific risks that we have outlined today that

                16      are outlined in the warnings?

                17                    And if you need me to repeat those,

                18      I can.

                19           A.       Correct, I assumed the risks of the

                20      warnings that we've gone over numerous times

                21      about the penetration into the eye and that it

                22      does cause injury and that it's dangerous.




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                                                                                  Page 182
                 1           Q.       The next paragraph -- it states,

                 2      Release and hold harmless, in bold print.

                 3                    Do you see that?

                 4           A.       Yes.

                 5           Q.       And it states, I release and hold

                 6      harmless TASER, its agents, officers, directors,

                 7      employees and distributors, my instructor, my law

                 8      enforcement agency and the host agency from any

                 9      and all claims, including, but not limited to,

                10      claims for strict liability, breach of warranty,

                11      failure to warn or any other theory of liability

                12      whatsoever, even if due to the negligence or

                13      gross negligence of the released parties.             I

                14      specifically waive any statutory rights I may

                15      have regarding the release of unknown claims.

                16                    And, Mr. Curran, to you -- my

                17      question to you -- was that your understanding

                18      when you read this document as reflected in the

                19      online module?

                20                    MR. BUCCI:      I'm going --

                21                    (Connectivity issues.)

                22                    CERTIFIED STENOGRAPHER:        Excuse




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                                                                                Page 183
                 1           me, Counsel, you're a little low.           We

                 2           can't hear you.

                 3                     MR. BUCCI:      I need to state an

                 4           objection to the extent that it's Axon's

                 5           claim that this document somehow changes

                 6           the law of Virginia.        I object to that.

                 7                     But, otherwise, go ahead and

                 8           answer.

                 9                     THE WITNESS:      Was this -- just so

                10           I'm clear, was this the online portion --

                11      BY MS. NGUYEN:

                12           Q.       Correct.

                13           A.       -- or any part?

                14           Q.       Well, I'm just referring to the --

                15      going off of the documents.

                16                    So if you'll recall, we went over

                17      Exhibit 19.    And this is the last page of

                18      Exhibit 19.    And here, it says to download or

                19      read online --

                20           A.       Okay.

                21           Q.       -- you have to do one of those before

                22      you can go to the next.




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                                                                                 Page 184
                 1                    You see that?

                 2           A.       Got you.    Yes, ma'am.

                 3           Q.       So does that indicate to you that you

                 4      would have read it online?           Also, you can refer

                 5      to Exhibit 18, which is the third line down.             And

                 6      it says, Warning, Risks and Release Agreement,

                 7      with the date of December 4th, 2017, the time of

                 8      15:25:50.

                 9           A.       Yes.    And if it was on the online, I

                10      must have downloaded it or read it.            I would

                11      assume I did.

                12           Q.       Okay.    And this document, Exhibit --

                13      the last page of Exhibit 19, also indicates that

                14      the form was attached to an e-mail.

                15           A.       I can't recall that.

                16           Q.       That was going to be my next

                17      question.

                18                    Do you recall whether this document

                19      was sent to you via e-mail as well?

                20           A.       No, I do -- I don't recall that

                21      whatsoever.

                22           Q.       Okay.    So at least with regard to




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                                                                                Page 185
                 1      reading this online, the

                 2      release-and-hold-harmless statement, that is --

                 3      would have been included in the document that you

                 4      read online?

                 5           A.        According to this, yes, yes.

                 6           Q.        And then the last -- the next

                 7      paragraph of this document is the bold print, I

                 8      agree no one will sue released parties.

                 9                     Do you see that?

                10           A.       Yes, I do see that.

                11           Q.       And it says, I promise that neither I

                12      nor anyone on my behalf will ever sue or bring

                13      any other legal action or claim against the

                14      released parties for anything related to my TASER

                15      CEW training?

                16           A.       I see that, yes.

                17           Q.       And that document also -- or excuse

                18      me -- that statement also would have been

                19      included in the document that you reviewed

                20      online?

                21           A.       Okay.

                22           Q.       You agree with that?




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                                                                                Page 186
                 1           A.       I -- yes, I -- like I said numerous

                 2      times, it was a long document.          I have no reason

                 3      to believe it wasn't or that it has been altered.

                 4                    I don't recall verbatim yes, it was.

                 5      I don't recall that.

                 6           Q.       Okay.    Had you -- Mr. Curran, prior

                 7      to this training, had you completed any online

                 8      modules for TASER CEW certification?

                 9           A.       I think just the modules we just

                10      talked about.

                11           Q.       Okay.    So this was the first time you

                12      had a training where you first completed the

                13      online portion?

                14           A.       Yes, ma'am, as far as I can recall.

                15           Q.       Now, when you went to the in-person

                16      training on December 13th and 14th of 2017, do

                17      you recall receiving that same document,

                18      Exhibit 20, in person from the master instructor?

                19           A.       No, I don't recall receiving those

                20      documents at all.

                21                    The only thing I do recall about

                22      the -- any documents coming from TASER was that




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                                                                                Page 187
                 1      they were all lost.      We never got documents from

                 2      TASER.

                 3           Q.       What do -- what do you mean?

                 4           A.       According to the TASER instructor,

                 5      the documents never showed up.          So on the first

                 6      day of class, we didn't have documents; we didn't

                 7      have any waivers; we didn't have any PowerPoints;

                 8      he didn't have any booklets.

                 9           Q.       You mean to -- for each student to

                10      receive their own copy?

                11           A.       Yes.

                12           Q.       Okay.    But the PowerPoint -- the

                13      instructor still went over the PowerPoint

                14      presentation.

                15                    He just didn't have copies; is that

                16      accurate?

                17           A.       Yes.

                18           Q.       Okay.    And then the warnings -- you

                19      reviewed the warnings online, but you didn't have

                20      a copy of the warnings during the in-person

                21      training; is that also accurate?

                22           A.       I saw it online, yes.        Now -- yes; no




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                                                                                   Page 188
                 1      one had a copy of anything in the classroom.

                 2           Q.       Okay.     Now, is that different than

                 3      from prior trainings?       Did you receive copies of

                 4      the documents in previous trainings that you

                 5      attended?

                 6           A.       Yes.     I -- I'd probably say in

                 7      99 percent of the training, I've always received

                 8      some type of booklet or handout from the

                 9      instructor.    We were supposed to get one for this

                10      training.    Nothing showed up.          They were lost.

                11                    So we didn't get any -- any kind of

                12      material, course material or anything else, for

                13      two days -- actually -- excuse me -- at all.

                14           Q.       Okay.     And Mr. Nelson told you that

                15      they weren't available or didn't show up?

                16           A.       No.     Actually, Mr. Nelson -- since I

                17      was the only Virginia Beach police officer there,

                18      he had me out of the classroom most of the day

                19      running back and forth from the classroom to our

                20      head office with our TASER instructor trying to

                21      find the documents or get something for the class

                22      or find out where they were at the airport.




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                                                                                Page 189
                 1                    So Mr. Nelson had me going back and

                 2      forth pretty much most of the day trying to find

                 3      the material.

                 4           Q.       Now, these warnings that were in

                 5      place at the time of this training were the same

                 6      warnings that you would have received for your

                 7      training, which we've already reviewed -- for the

                 8      March 21st, 2017 training; the September 2nd,

                 9      2015 training; and the July 24th, 2013 training.

                10                    So we've gone over those warnings

                11      several times, and they were still the same ones

                12      that were in place in December of 2017.

                13                    Okay?

                14           A.       Okay.

                15           Q.       So my question to you is, You, then,

                16      would have received those warnings at those

                17      prior -- those three prior trainings that you

                18      attended, correct?

                19           A.       The warnings, but not this form that

                20      you are referring to.       I don't believe ever

                21      seeing the legal and release agreement before.

                22           Q.       In -- in its printed form, is what




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                                                                                Page 190
                 1      you're saying?

                 2           A.        Yes.

                 3           Q.        Right.    Because we've already

                 4      established you --

                 5           A.        Yeah.

                 6           Q.        -- saw it online, correct?

                 7           A.        Yeah -- actually in the training

                 8      itself; in the classroom, no.

                 9           Q.        Okay.    But the warnings -- you did

                10      receive copies of the warnings in your previous

                11      trainings?

                12           A.        Yes.

                13           Q.        Okay.

                14           A.        We may not have received a copy.         It

                15      was on a PowerPoint.       Because when you do a

                16      recert, you've already gone through the class, so

                17      they normally don't give you the PowerPoint every

                18      single time.

                19                     On a new user course, yeah, but on a

                20      recert department, not every time do you get a

                21      handout.     Mostly, but sometimes it may be

                22      missed.




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                                                                                Page 191
                 1           Q.       Okay.    Going back to Exhibit 18.

                 2                    And I'm just going to go through a

                 3      few of the slides.

                 4                    So if we look at the first page,

                 5      which is Bates 119, it shows that -- about

                 6      three-fourths of the way down, it says,

                 7      Introduction slides -- so it actually starts,

                 8      you know -- let's see -- one, two, three, four,

                 9      five -- the sixth line down.         It says,

                10      Introduction New Certification.

                11                    And then it goes all the way down to

                12      show several introduction slides down to the

                13      verification exam.

                14                    Do you see that?

                15           A.       Yes, ma'am.

                16           Q.       And if you just look at the times,

                17      you can see that it's documenting the times that

                18      you reviewed each of those slides --

                19           A.       Okay.

                20           Q.       -- do you see that?

                21           A.       Yes.

                22           Q.       Okay.    So then the next exhibit -- I




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                                                                                 Page 192
                 1      want to show you those slides, which is -- at

                 2      least some of those slides, which is Exhibit 21.

                 3                    MS. NGUYEN:         And, Scott, this is

                 4           Version 20, effective January 1 of 2016.

                 5                    MR. BUCCI:      The last page is 240?

                 6                                -   -     -

                 7                    (Deposition Exhibit Number 21,

                 8                     In-House Instructor Course,

                 9                     Instructor Certification Course,

                10                     Slides 1, 6, 13, 239 and 240, Bates

                11                     stamped AXON_CURRAN000039, marked

                12                     for identification, as of this

                13                     date.)

                14                                -   -    -

                15                    MS. NGUYEN:      Yes.

                16                    THE WITNESS:        Okay.    I have it.

                17      BY MS. NGUYEN:

                18           Q.       So Exhibit 21 -- the first page

                19      states, In-House Instructor Course.

                20                    Do you see that?

                21           A.       Yes.

                22           Q.       And this is the instructor course for




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                                                                                Page 193
                 1      the X26, the X26P and the X2 models --

                 2              A.    Yes.

                 3              Q.    -- and at that time, you had the X2,

                 4      correct?

                 5              A.    Yes.

                 6              Q.    Okay.    Effective date: January 1,

                 7      2016.

                 8                    Do you see that?

                 9              A.    Yes, ma'am.

                10           Q.       And this is Version 20, which is the

                11      same version -- if you look at eight --

                12      Exhibit 18, the same version that you completed

                13      online --

                14           A.       Okay.

                15           Q.       -- okay -- prior to your training.

                16           A.       Okay.

                17           Q.       Would you agree, then, that these

                18      slides would have been some of the slides that

                19      you reviewed in that online module?

                20           A.       I would assume they would be.

                21           Q.       Okay.    And then if we go to Page 2 of

                22      Exhibit 21, it goes over the program




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                                                                                Page 194
                 1      requirements.

                 2                    Do you see that?

                 3           A.       Yes, ma'am.

                 4           Q.       And it says, Each person must

                 5      complete, date, sign and return the release to

                 6      instructor.    The signed release must be returned

                 7      to TASER.

                 8                    Do you see that there?

                 9           A.       Yes, ma'am.

                10           Q.       But as you sit here today, you can't

                11      recall specifically seeing a printed version of

                12      the release that you reviewed online; is that

                13      right?

                14           A.       No, I can't -- I don't recall seeing

                15      one --

                16           Q.       Okay.

                17           A.       -- it was talked about being provided

                18      to us at the class, but it never was.

                19           Q.       You recall there being specific

                20      conversation about the release or just the

                21      printed materials in general?

                22           A.       The actual printed materials




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                                                                                Page 195
                 1      regarding all the PowerPoints and the release --

                 2      releases or the paperwork we needed to have

                 3      signed.

                 4           Q.        Okay.    Going to the next page of

                 5      Exhibit 21.    This is the same slide we've gone

                 6      over before about the safety rules, there being

                 7      no live firearms and that every participant is a

                 8      safety officer and -- and can call stop action.

                 9                     So you agree this would have been a

                10      slide that you reviewed during that online

                11      module, correct?

                12           A.       Yes.     I have no reason to believe it

                13      wouldn't be.

                14           Q.       Okay.     And then the next page of

                15      Exhibit 21 goes over the targeting and to avoid

                16      the sensitive areas.

                17                    You agree that's another slide you

                18      would have reviewed online, as indicated by

                19      Exhibit 18, correct?

                20           A.       Yes, ma'am.

                21           Q.       And then the last page of Exhibit 21

                22      is the photo we've gone over many times of an




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                                                                                Page 196
                 1      individual that was hit in the eye with a probe.

                 2                    And that slide would have been

                 3      included in that online training in December of

                 4      2017, correct?

                 5           A.       I believe so.

                 6           Q.       Okay.    And then if we go back to

                 7      Exhibit 18.

                 8                    It is -- starts on -- it's

                 9      Bates 124, and it shows that you were also --

                10      you also reviewed slides under Tactical

                11      Considerations.

                12                    Do you see that?

                13           A.       Yes, ma'am.

                14           Q.       Okay.    And I want to show you some of

                15      those slides.

                16                    We'll start with -- scratch that.

                17      We just went over some of those slides.

                18           A.       Okay.

                19           Q.       Okay.    So once you completed this

                20      online module, then you were able to attend the

                21      training in person on the 13th and 14th, correct?

                22           A.       Yes, ma'am.




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                                                                                     Page 197
                 1           Q.        Now, do you -- you said that you did

                 2      review the PowerPoint during the classroom

                 3      portion; is that right?

                 4           A.        I did not review the entire

                 5      PowerPoint during the classroom portion.              As I

                 6      stated, Mr. Nelson had me running back and forth

                 7      multiple times trying to locate the information

                 8      of where the documents were, because apparently

                 9      they were shipped from TASER/Axon and they never

                10      arrived.     And somehow they got lost at the

                11      airport or lost prior to.

                12                     So we were trying to put together

                13      something, but our master instructor didn't have

                14      the documents needed.

                15           Q.        Okay.    And -- and he -- you were

                16      under the impression that the documents were

                17      supposed to be sent from TASER and not provided

                18      by the master instructor?

                19           A.        That's what he said.      He literally

                20      said that they were coming from TASER.           And he,

                21      as far as I know, mentioned that he had to call

                22      somebody to find out where they were.




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                                                                                Page 198
                 1              Q.    Okay.     So -- but as far -- were you

                 2      in the classroom long enough to be able to say

                 3      whether the PowerPoint was shown during the

                 4      classroom portion?

                 5              A.    Oh, I -- yes, when I was in and out,

                 6      there was a -- a PowerPoint being shown, yes.

                 7              Q.    Okay.     And how many students would

                 8      you estimate were in attendance during this

                 9      training?

                10           A.       In the 20s, maybe -- maybe -- or late

                11      teens, high 20s, maybe -- something like that.

                12           Q.       So approximately -- somewhere --

                13      approximately 20 or so students?

                14           A.       Anywhere between 15 and 30.         So

                15      that's -- I can't give you an exact number or,

                16      you know, 20 or so, but somewhere in that

                17      ballpark.

                18           Q.       Okay.     And was there anyone else in

                19      attendance that you knew?

                20           A.       No.     Oh, I'm sorry.     I take that

                21      back.

                22                    Yes.    Pete Slovinsky from the




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                                                                                Page 199
                 1      Norfolk Airport, as far as I can recall, was the

                 2      only person I knew in that class.

                 3              Q.    And how did you know Mr. Slovinsky?

                 4              A.    He used to be a beach police officer.

                 5              Q.    And do you know approximately when he

                 6      left?

                 7              A.    Oh, I -- I have no idea.

                 8              Q.    Okay.    And when he worked at

                 9      Virginia Beach Police Department, in what

                10      capacity did you know him?

                11                    Did you work --

                12           A.       I think --

                13           Q.       -- together or --

                14           A.       -- I think he made the rank of

                15      sergeant, I think.      And I just knew him from the

                16      street.

                17           Q.       And was he ever your sergeant?

                18           A.       No.

                19           Q.       Before this date, did you have any

                20      prior interaction with the master instructor,

                21      Mr. Richard Nelson?

                22           A.       No, ma'am.




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                                                                                Page 200
                 1           Q.        So I think you said it was all

                 2      classroom that first day?

                 3           A.        I believe it was.         I -- I don't

                 4      recall if there was a -- a static portion in the

                 5      gym at -- in -- at the end of the first day.            I

                 6      don't recall.

                 7           Q.        So what else was done during the

                 8      first day other than reviewing the PowerPoint, to

                 9      your knowledge?

                10           A.        I don't recall anything else other

                11      than the PowerPoint.       I don't recall if we went

                12      to the gym at the end of the day.           I'm not

                13      positive.

                14           Q.        Okay.    On the second day, you

                15      mentioned that there may have been some classroom

                16      portion?

                17           A.        There may have been in the morning,

                18      yes, but what it was or how long it was, I don't

                19      recall.     I know we probably met there to get

                20      everyone, you know, together, but after that, I

                21      don't recall how long it was.

                22           Q.        And then it's my understanding that




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                                                                                        Page 201
                 1      you moved into the gym area for the practical

                 2      portion of the training; is that right?

                 3           A.        I believe so, yes.

                 4           Q.        And tell me how that worked.

                 5                     Did -- did the entire class go over

                 6      to the gym or only some people at a time?                 How

                 7      did that work?

                 8           A.        No.    I believe the entire class went

                 9      to the gym, and we were doing shooting on static

                10      targets.

                11           Q.       Okay.    And that was prior to the

                12      lunch break?

                13           A.       Yes, ma'am.

                14           Q.       Prior -- during the deployment of the

                15      static targets, did Instructor Nelson go through

                16      the safety protocols?

                17           A.       I can't tell you definitely.            I

                18      wasn't in the classroom each time.

                19           Q.       Well, do you recall -- I'm -- and I'm

                20      not saying what he did when you weren't there,

                21      obviously --

                22           A.       Yeah.




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                                                                                Page 202
                 1           Q.       -- I'm asking do you recall being

                 2      present when Mr. Nelson went over the safety

                 3      protocols?

                 4           A.       I do not recall that at all.

                 5           Q.       Do you recall there being an

                 6      individual who checked each person prior to going

                 7      into the gym for any weapons?

                 8           A.       No, not on the static training

                 9      portion.

                10           Q.       Okay.    Do you recall Instructor

                11      Nelson telling everybody they should be wearing

                12      protective eye gear and -- and providing that to

                13      the students?

                14           A.       I don't recall.        He -- he -- we had

                15      glasses, so I would assume that it was mentioned.

                16      I couldn't tell you it was mentioned right then

                17      when we got glasses, but everyone had to have --

                18      have glasses on.

                19           Q.       Okay.    So at some point, it was

                20      conveyed to you that everybody needed to wear

                21      protective eye gear, and it was provided to the

                22      students?




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                                                                                     Page 203
                 1              A.       It was conveyed to the class.           I

                 2      can't tell you exactly if I was in there when

                 3      that happened because I was running back and

                 4      forth.       But it -- every -- we had eye protection

                 5      on --

                 6              Q.       Okay --

                 7              A.       -- but I can't be 100 percent.

                 8              Q.       -- and -- and even before this

                 9      training, based upon all the TASER trainings you

                10      had attended previously, you knew that during the

                11      practical portion, protective eyewear was

                12      required, correct?

                13             A.       During the practical portion, inside

                14      the area, you need to have eye protection on,

                15      yes.

                16             Q.       And when you say "inside the area,"

                17      what are you referring to?

                18             A.       The designated area of the drill.

                19             Q.       Well -- but we're only shooting at

                20      static targets right now, right?

                21             A.       Yes.

                22             Q.       And was that taking place in a




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                                                                                Page 204
                 1      designated area, or was it kind of throughout the

                 2      gym?

                 3             A.       It was taking place throughout the

                 4      gym --

                 5             Q.       Okay.     And so --

                 6             A.       -- they were set up on either side,

                 7      left and right.         So the entire time at that

                 8      point, the gym was a designated area.

                 9             Q.       Right.     So anybody entering the gym

                10      needed to wear the protective eye gear --

                11             A.       Yes, ma'am.

                12             Q.       -- and that's what you understood,

                13      correct?

                14             A.       Yes.

                15             Q.       Okay.    So tell me a little bit about

                16      how the deployments to the static target worked.

                17             A.       As far as I can recall, it was --

                18      and I -- I might be messing up some of the other

                19      training, but as far as I recall, it was the

                20      shoot a target, reload, shoot a target -- or I'm

                21      sorry.      Take that back.      It was shoot a target,

                22      since it was the X2, transfer to the other probes




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                                                                                Page 205
                 1      and then shoot the target again.

                 2           Q.       Okay.     And did you also understand

                 3      that all of the students were also safety

                 4      officers and that anybody can call stop action at

                 5      any time that they saw anything unsafe?

                 6           A.       I -- I -- to be honest, it wasn't

                 7      really a thought of mine since we were doing

                 8      static drills.       That would just be an assumption.

                 9           Q.       I think my -- my question, though, is

                10      more specific.

                11           A.       Yes.

                12           Q.       At that time, you're participating in

                13      practical training, correct?

                14           A.       Yes.

                15           Q.       Okay.    And in practical training, you

                16      knew, based upon either that training or the

                17      prior TASER training, that at any time during

                18      practical training, all students or safety

                19      officers and anybody can call "stop action" at

                20      any time they don't -- they see something they

                21      believe is unsafe?

                22           A.       Correct.     Sorry.    I misunderstood




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                                                                                 Page 206
                 1      what you said the first time.

                 2           Q.       That's okay.

                 3                    Okay.     So did you -- tell me

                 4      how it -- how long the target deployments lasted

                 5      and then when you transitioned over to the

                 6      scenario-based training.

                 7           A.       Maybe it was an hour for the -- one

                 8      second.

                 9                    Maybe it was an hour for the --

                10      maybe it was an hour for the actual static

                11      training.    And then we went to lunch, and then

                12      we came back and did the actual scenarios.

                13           Q.       Okay.     And, Mr. Curran, are -- are

                14      you okay?    Do you need to take a break or

                15      anything?

                16           A.       No.     I was just getting -- I'm okay.

                17      I'm just getting a flash of pain.          That's all.

                18           Q.       Okay.     Just let me know if you -- if

                19      you need to take a break at any time.

                20           A.       I will.     Thank you.

                21           Q.       Okay.     So you went -- you finished

                22      the target training, you went to lunch, and you




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                                                                                Page 207
                 1      reconvened.

                 2                     And after lunch -- is that when the

                 3      scenario-based training started?

                 4           A.        Yes.    Prior to going to lunch,

                 5      Mr. Nelson asked me to be the -- told me to be

                 6      the role player -- be one of the two role

                 7      players.     So when we came back from lunch, I went

                 8      to the gym and set up --

                 9           Q.        Okay.

                10           A.       -- I started getting the gear out,

                11      not the actual setting up, just the gear.

                12           Q.       And the gear would -- included what?

                13           A.       He needed to use many of our

                14      department's TASER suits that the role players

                15      use and use some of the, like, rubber weapons of

                16      an axe or -- or what not.

                17           Q.       The -- the prop weapons?

                18           A.       Yeah, basically.

                19           Q.       And the TASER suit, are you referring

                20      to the -- what's called the "Sim Suit"?

                21           A.       Yes, I believe so.

                22           Q.       Okay.     And if I understand that




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                                                                                  Page 208
                 1      correctly, it's a thick black suit where, when

                 2      you're deploying the training cartridges, they

                 3      still have the -- the probes on them but that

                 4      they aren't going to deliver the electricity; is

                 5      that right?

                 6              A.    It is my understanding that they're

                 7      not supposed to deliver electricity, yes.             They

                 8      do pierce, but they don't -- they're not supposed

                 9      to deliver electricity --

                10           Q.       Right.

                11           A.       -- I don't -- I'm sorry.        Let me

                12      rephrase that.

                13                    I'm not sure if the suits are

                14      supposed to stop electric -- electricity coming

                15      from the TASER, so I can't say if they stop

                16      that.    They're supposed to limit the penetration

                17      of the probe.     I do know that.

                18           Q.       Right.    So you aren't sure if the

                19      actual training probes used delivered electricity

                20      or not?

                21           A.       Yeah, I'm not quite sure.         I don't

                22      believe they did, but I'm not 100 percent.




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                                                                                Page 209
                 1           Q.        Okay.     They're called "inert

                 2      cartridges."     Have you --

                 3           A.        Yeah --

                 4           Q.        -- heard of that term before?

                 5           A.        -- yes.     Normally, it should just be

                 6      a probe coming out --

                 7           Q.        Right.

                 8           A.        -- detached but no actual electrical

                 9      current.

                10           Q.       So the point being, I assume, that

                11      you can still experience hitting your target

                12      during the scenario-based training --

                13           A.       Yeah.

                14           Q.       -- and that the suits would then

                15      prevent the probe from penetrating the role

                16      player; is that right?

                17           A.       Well, it doesn't prevent it

                18      completely.    It just is supposed to limit it.

                19      Because it does go through the thigh area

                20      sometimes.

                21           Q.       Okay.     Had you experienced that

                22      before --




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                                                                                Page 210
                 1            A.      I did on that day.

                 2            Q.      -- seems like you had some experience

                 3      with that.

                 4            A.      Yeah, just that -- it got me a little

                 5      bit in the leg that day.         That was about it, but

                 6      nothing -- just a little prick, nothing bad.            It

                 7      didn't go through.

                 8            Q.      And when you were asked to be a role

                 9      player, did you agree to do so?

                10            A.      Yeah.     He said he needed me to be a

                11      role player, so I said okay.

                12            Q.      Okay.     And you said there was one

                13      other role player as well?

                14            A.      Yes.

                15            Q.      Did you know who that individual was?

                16            A.      No.     I don't think he did --

                17      Mr. Nelson decided at that time.         I don't believe

                18      so.   I'm not positive.        But I know it was some --

                19      a different person from a different department.

                20            Q.      Okay.     And then describe to me how

                21      the scenario training was set up.

                22                    How was it supposed to work?




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                                                                                 Page 211
                 1           A.        Well, we were -- Mr. Nelson informed

                 2      us that we were going to set it up this way using

                 3      the folding mats that you lay on the ground that

                 4      fold up to make, like, a square with an opening

                 5      on each end.     And then he informed us that the

                 6      scenarios that he wanted done were going to take

                 7      place inside of that box.

                 8           Q.        Okay.    And I'm going to show you

                 9      Exhibit 22, which are some photos that were

                10      taken -- taken of that training area.

                11                                -     -   -

                12                    (Deposition Exhibit Number 22,

                13                     Photos of Training, Bates stamped

                14                     AXON_CURRAN000104,

                15                     AXON_CURRAN000154 through

                16                     AXON_CURRAN000157, marked for

                17                     identification, as of this date.)

                18                                -     -   -

                19                    MS. NGUYEN:        Scott, it's

                20           Bates 104, and then 154 through 157.

                21                    THE WITNESS:          I have them.

                22




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                                                                                Page 212
                 1      BY MS. NGUYEN:

                 2           Q.       Okay.    Just going through each of

                 3      those -- these photos, is that -- would you agree

                 4      this is the gym where the training took place?

                 5           A.       Yes.

                 6           Q.       And that it -- these photos depict

                 7      the mats that you just described standing

                 8      upright?

                 9           A.       Yes.

                10           Q.       And in each of these photos -- well,

                11      in most of them, I should say, there are

                12      individuals wearing the black Sim Suit.

                13                    Would you agree with that?

                14           A.       Yes.

                15           Q.       And is that -- do these photos

                16      accurately portray the training area on

                17      December 14th, 2017?

                18           A.       I would say every -- every part of it

                19      except that the -- the bench -- the black bench

                20      with the white rubber baton on it is further out

                21      than what it was.

                22                    These -- these pictures were taken




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                                                                                Page 213
                 1      after I was injured.

                 2              Q.    Okay.    And -- and you're referring

                 3      to -- let's be specific with the photos --

                 4              A.    Okay.    104 --

                 5              Q.    Okay.

                 6              A.    -- 154, 155, 156 and 157.

                 7              Q.    So in all of those photos, there's a

                 8      black bench, and it looks like there's also kind

                 9      of a plastic axe prop that was used in the

                10      scenario I assume?

                11           A.       Yeah, it was a rubber -- yeah, rubber

                12      prop.

                13           Q.       Okay.    On top of the bench.

                14                    And you're saying the bench -- you

                15      believed the bench, at the time of the injury

                16      that you sustained, was closer to the mat?

                17           A.       Yes.    It was used as a -- it was much

                18      closer so we had more cover.

                19           Q.       Okay.    Anything else in these photos

                20      that were inconsistent with your recollection?

                21           A.       Not that I can think of.

                22           Q.       Can you identify anybody that is




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                                                                                   Page 214
                 1      depicted in these photos?

                 2                    Obviously not the persons with the

                 3      suits on, but there's some people depicted,

                 4      like, in 156 and 157 --

                 5            A.      The gentleman with the tan shirt, the

                 6      tall one -- that is Pete Slovinsky.           That was the

                 7      gentleman I referred to that I knew.

                 8            Q.      And that's on Bates 156?

                 9            A.      Yes, ma'am.

                10            Q.      Okay.

                11            A.      And after that, I don't -- facewise,

                12      I can't really see it.

                13            Q.      Okay.    What about the gentleman

                14      depicted in the blue shirt on Bates 157?               Do you

                15      know who that is?

                16            A.      I -- I'm sorry.        It's -- it's not a

                17      good photo, and it's -- it's kind of blurry to

                18      me.   I can't really make it out perfectly.

                19            Q.      No, that's okay.       If you can't depict

                20      them, that -- just let me know.

                21            A.      Yeah, I can't -- I can't see it --

                22            Q.      Okay.




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                                                                                Page 215
                 1              A.    -- not so far.

                 2              Q.    And so what is your understanding as

                 3      to why the mats were placed there, if you have

                 4      one?

                 5              A.    The reason for the mats being up

                 6      there was to -- as far as my understanding, was

                 7      to contain the scenario in that area.           And these

                 8      open areas was -- was where the role players were

                 9      going to come from.      Now, there was four

                10      scenarios, and the role players would come in

                11      from either of those corners.

                12                    And then the bench with the props on

                13      it was the designated safety area for role

                14      players.

                15             Q.     Okay.    Did Mr. Nelson actually say

                16      that the scenarios should not go outside the

                17      mats?

                18             A.     Yes.    He said they're supposed to

                19      stay inside of this area.

                20             Q.     And then you said -- you used the

                21      term "designated safety area."

                22             A.     Yes.




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                                                                                Page 216
                 1           Q.        Where would that be?

                 2           A.        That bench, the black one with the

                 3      props on it --

                 4           Q.        Okay.

                 5           A.        -- that is --

                 6           Q.        Did that -- did that go for all

                 7      benches or just that bench?          Because --

                 8           A.        No --

                 9           Q.        -- I noticed there was another bench

                10      in another photo -- in photo --

                11           A.       No.     Just that exact bench with those

                12      props was the area that was designated.

                13           Q.       And who designated that area as the

                14      safety area?

                15           A.       Mr. Nelson.

                16           Q.       Okay.     So go ahead and -- if you can

                17      just describe to me, as you started the

                18      scenarios, how they went up to the point of

                19      injury.

                20           A.       There was four scenarios.         I did the

                21      first one and the third one.         The other role

                22      player did the second and the fourth.




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                                                                                Page 217
                 1                     We would start from this area when

                 2      the student came in.      Acting as a role player,

                 3      we would try to come in or get their attention

                 4      from either of these areas, the open corners.

                 5                     So the first scenario was a gun

                 6      scenario.     So I would pull out a BB gun or a

                 7      pellet gun and try to get a -- elicit a response

                 8      from the student inside the box.

                 9                     And then the second scenario was

                10      supposed to be just a simple passerby, no threat

                11      whatsoever.    And then the third scenario that I

                12      did was supposed to be a verbally aggressive and

                13      threatening individual to get them to realize

                14      that it was an actual -- it was an assault

                15      situation.

                16                    And then the fourth scenario -- I

                17      believe that the other person -- the role player

                18      was doing was a deadly weapon, an axe or a pipe

                19      being swung at the officer to elicit another

                20      response.

                21           Q.       In each of these scenarios, it is --

                22      what you're looking for is the student's




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                                                                                   Page 218
                 1      response, whether they respond with use of force

                 2      or try to deescalate or whatever the scenario is?

                 3           A.       Yeah, that's what I believe

                 4      Mr. Nelson was looking for.

                 5           Q.       And was it -- what was the scenario

                 6      with the safety officer?        Was there a designated

                 7      safety officer for these scenarios, or was it

                 8      still all students, or both?

                 9           A.       Nelson.     That was the person in

                10      charge being the designated safety person.            He

                11      was overseeing all of it.

                12           Q.       Okay.    So, to your knowledge, was

                13      there another person designated as a safety

                14      officer for these particular scenarios?

                15           A.       Designated -- no, no.        Hum-um.

                16           Q.       Not to your knowledge?

                17           A.       No, ma'am.

                18           Q.       And was everybody in the gym area

                19      still wearing safety glasses at that time?

                20           A.       At which time, ma'am?

                21           Q.       During the scenario-based training.

                22           A.       I wasn't viewing everyone all the




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                                                                                Page 219
                 1      time.       When I was doing the scenarios, I had a

                 2      mask on and did my scenario and then went back to

                 3      the safety area.        So I can't really tell you what

                 4      all the other students were doing.

                 5              Q.       Fair enough.

                 6                       What was your understanding as to

                 7      whether or not safety glasses were required

                 8      anytime there was scenarios being ran in the

                 9      gym?

                10             A.       My understanding was that if you were

                11      in that particular area, you would be wearing --

                12      if you're outside the designated safety area,

                13      you're going to be wearing glasses.

                14             Q.       Okay.    So other than the bench

                15      area -- is that what you're referring

                16      to -- the -- the bench area, you didn't have to

                17      wear glasses, but all other areas in the gym, you

                18      had to wear the glasses?

                19             A.       Yes, the bench area -- during a

                20      scenario, you had to wear -- excuse me -- the --

                21      every place but the bench during a scenario, you

                22      had to wear glasses.        The bench was -- that one




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                                                                                Page 220
                 1      bench was our designated area to rest and recoup

                 2      due to the fatigue from doing the scenarios and

                 3      the heat from the helmet and the protective gear,

                 4      because it's kind of heavy.

                 5           Q.        Okay.    And so was it only you and the

                 6      other role player that could go into the

                 7      designated safety area, then?

                 8           A.        Yes, this was our designated safety

                 9      area for the role players, yes.

                10           Q.        Okay.    And because you were in the

                11      designated safety area, it was your understanding

                12      that you did not have to wear the safety glasses;

                13      is that right?

                14           A.        Well, I wouldn't be wearing safety

                15      glasses.     I have a helmet.        So we would take the

                16      helmet off right there and relax to the next

                17      scenarios because the scenarios unfold pretty

                18      quickly.

                19           Q.        Okay.    And were you -- did you ask

                20      whether you can take the helmet off during those

                21      breaks?

                22           A.        We were -- we were instructed that




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                                                                                Page 221
                 1      this is exactly where the safety area is for us

                 2      to relax, take our equipment off, get a breather

                 3      if need be before the next scenario --

                 4           Q.       Okay.

                 5           A.       -- that's what we were told.

                 6           Q.       And so did, then, Instructor Nelson

                 7      tell you that you could take your helmet off

                 8      during those breaks in the safety area?

                 9           A.       Yes, he said we could take the

                10      equipment off to get a breather but had to be in

                11      this area.

                12           Q.       Okay.     And did he indicate to you

                13      that you could take the helmet off and put the

                14      glasses on?

                15           A.       No.     That conversation never came up.

                16           Q.       Okay.     So it was your understanding

                17      that during the breaks, as long -- you can go

                18      into the safety area and remove your helmet --

                19           A.       Yes.

                20           Q.       -- but outside the safety area, you

                21      needed to put your helmet back on?

                22           A.       Yes.    The safety area was literally




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                                                                                Page 222
                 1      just that small spot below the barricades -- or

                 2      the -- the mats.

                 3            Q.       And then everyone else in the gym not

                 4      in that safety area was required to wear safety

                 5      goggles, correct?

                 6            A.       Yes, as far as I know, they were all

                 7      supposed to wear safety goggles, yes.

                 8            Q.       Okay.    So you were running these

                 9      scenarios.

                10                    How many scenarios, approximately,

                11      were ran before the subject incident occurred?

                12            A.      I would say maybe mid-40s.         I think

                13      we were around Number 11 -- the 11th student or

                14      so, I think.    So I think we were on Scenario 40.

                15            Q.      Okay.     And so for those 39 --

                16      approximately 39 scenarios prior to Scenario 40,

                17      did the scenario remain inside the mats?

                18            A.      As far as I recall, all my scenarios

                19      remained inside the mats.         I think we may have

                20      gone out a foot or two.         I can't say where the

                21      other role players' scenarios went -- ended up

                22      at.   I wasn't watching.        I was in that area.




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                                                                                  Page 223
                 1                    So I know -- I think one or two of

                 2      mine may have stepped out about a foot.             And

                 3      then as far as the other scenario -- the other

                 4      role player, I don't know where theirs ended.

                 5           Q.       Okay.    Because I presume at that

                 6      time, you were in -- behind the mat on the bench?

                 7           A.       Every time.

                 8           Q.       Okay.    And when you were behind the

                 9      mat on the bench, at any point other than the

                10      scenario where you were hit with the probe -- at

                11      any point, did you see either the student or role

                12      player go outside the mats?

                13           A.       When I was not role playing, no.            I

                14      would -- had my head down, getting -- getting air

                15      and looking straight down.           I wasn't watching the

                16      scenarios when I was --

                17           Q.       Okay.

                18           A.       -- when I had taken a break.

                19           Q.       Understood.      So when you are not in

                20      the scenarios, you never see anybody go outside

                21      the mats, and when you're in the scenarios, you

                22      may have gone outside the mats 1 or 2 feet; is




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                                                                                Page 224
                 1      that right?

                 2           A.       Yeah, yes, because I could not tell

                 3      where I was with those masks.           So --

                 4           Q.       Okay.

                 5           A.       -- after I got up, I recognized I

                 6      was -- may have been a foot or two out, but the

                 7      scenario already unfolded at that point.

                 8           Q.       Okay.    At any time, then, prior to

                 9      this incident, you could have called stop action

                10      if you saw anything unsafe, correct?

                11           A.       I'm sorry.       Can you say that again to

                12      me, ma'am?

                13           Q.       Sure.

                14                    At any time prior to the scenario

                15      where you were struck with the probe, you could

                16      have called -- well, including that scenario --

                17      let me just rephrase, then.

                18                    At any time during these scenarios,

                19      the 40-some scenarios that had occurred, you

                20      could have called stop action had you seen

                21      anything unsafe, correct?

                22           A.       Yes, if I saw something unsafe, I




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                                                                                    Page 225
                 1      could have called stop action, but that --

                 2           Q.       Okay.

                 3           A.       -- wasn't the case.

                 4           Q.       But you did not call stop action at

                 5      any point, correct?

                 6           A.       No.     I did not see anything.

                 7           Q.       Okay.     And do you recall any other

                 8      student calling stop action prior to the -- the

                 9      point that you were injured with the probe?

                10           A.       No.

                11           Q.       Okay.

                12                    MS. NGUYEN:       Okay.      We're going to

                13           go to the next exhibit.           This is

                14           Exhibit 23.      It's Bates 147 through 153.

                15                                -    -   -

                16                    (Deposition Exhibit Number 23,

                17                     Inter-Office Memorandum, Bates

                18                     stamped AXON_CURRAN000147 through

                19                     AXON_CURRAN000153, marked for

                20                     identification, as of this date.)

                21                                -    -   -

                22                    THE WITNESS:         Okay.    I have it.




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                                                                                Page 226
                 1      BY MS. NGUYEN:

                 2           Q.       Okay.    So this is the interoffice

                 3      memorandum drafted by Captain Jones, dated

                 4      February 20th, 2018 to Deputy Chief Zucaro.

                 5                    Have you seen this before,

                 6      Mr. Curran?

                 7           A.       Yes, a long time ago.

                 8           Q.       Okay.    And do -- do you -- did you

                 9      know Captain Jones while you were at the

                10      department?

                11           A.       Yes.    He was my -- he was my captain,

                12      and he was my sergeant on the SWAT team . . .

                13                    (Connectivity issues.)

                14                    CERTIFIED STENOGRAPHER:        I'm

                15           sorry?

                16                    THE WITNESS:      I said:    And, I

                17           think, my lieutenant.

                18      BY MS. NGUYEN:

                19           Q.       Sergeant, captain and lieutenant?

                20           A.       Possibly, yes.

                21           Q.       How long had you known him?

                22           A.       Since 2005.      When I first came on the




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                                                                                Page 227
                 1      SWAT team, he was the sergeant.

                 2           Q.        Were you aware that he conducted an

                 3      investigation into the incident giving rise to

                 4      this lawsuit?

                 5           A.        I heard of it, but no one was telling

                 6      me that they were actively doing anything -- or

                 7      doing one --

                 8           Q.        Okay.

                 9           A.        -- I normally -- as far as my

                10      understanding, any type of injury on the

                11      department, there's always some type of paperwork

                12      done or what happened, after accident report, you

                13      might say.

                14                    That's kind of standard.

                15           Q.       Okay.     And then reviewing this

                16      interoffice memorandum when you did, did you

                17      become aware that he actually conducted an

                18      investigation and put this memo together with his

                19      findings?

                20           A.       Yes, I heard that they had one, and

                21      they did give me a copy a little while

                22      afterwards.




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                                                                                Page 228
                 1           Q.       Okay.     So I'm going to refer you to

                 2      Page Bates 150 of this document.

                 3                    The third paragraph -- it states --

                 4      starts with The scenarios.

                 5           A.       Um-hum.

                 6           Q.       It says, The scenarios seem to always

                 7      start inside of the "hot zone" and conclude

                 8      outside of the accordion style mats.          The mats do

                 9      not designate what areas are in play, instead are

                10      used as obstacles or barriers for role players to

                11      use during this scenario --

                12           A.       Okay.

                13           Q.       -- do you agree with Captain Jones'

                14      statement?

                15           A.       No.

                16           Q.       And is that because you -- you

                17      thought that the mats were intended to contain

                18      the scenario as opposed to be using -- used as

                19      obstacles or barriers?

                20           A.       No.     We were informed that that's --

                21      we were informed that that is where the scenario

                22      is taking place, inside of that area.




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                                                                                Page 229
                 1              Q.     Meaning the mats should have

                 2      contained the scenario; is that -- that's what

                 3      you understand?

                 4              A.     That's -- as far as I knew, that was

                 5      their intention.

                 6              Q.     Okay.    And I -- I may have asked you

                 7      this.

                 8                     Do you recall each student being

                 9      checked for weapons when they entered the gym?

                10           A.        No, I don't recall them being checked

                11      or even seeing them being checked.          I was in the

                12      gym setting up when the other students were in

                13      the classroom, I assume, getting a brief or

                14      talking.     I'm not quite sure.

                15                     And when they came back into the

                16      gym, I did not see any weapons checks.           So when

                17      they went into the hallway to set up, I asked

                18      Pete Slovinsky to go do a weapons check on

                19      everyone just to make sure.

                20           Q.        And did you know from prior TASER

                21      training that they were supposed to be doing this

                22      weapons check?




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                                                                                 Page 230
                 1           A.       They did -- no; all training.

                 2           Q.       All training.

                 3           A.       Yeah.     I taught for 17 years.        And if

                 4      you're doing active roles -- role playing, you

                 5      should make sure no one has picked up a weapon.

                 6      Sometimes people have a tendency to come back

                 7      from lunch and forget they have a gun or go to

                 8      the bathroom and put their knife back in their

                 9      pocket.

                10                    So you should always do a weapons

                11      check directly prior to the scenario starting,

                12      not rooms away.       So . . .

                13           Q.       Okay.     I'm going to refer you to

                14      Page 148.

                15           A.       Okay.

                16           Q.       It's the paragraph that starts with

                17      The aggressor.

                18           A.       Um-hum.

                19           Q.       The aggressor was required to wear a

                20      full safety suit to prevent injuries associated

                21      with the probes contacting the skin.          All other

                22      persons in the gymnasium were required to wear




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                                              JA-675
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                                                                                Page 231
                 1      safety glasses at any time whether in the

                 2      designated hot zone or not.

                 3                    Do you agree with that statement?

                 4           A.       He -- Mr. Nelson didn't designate

                 5      that to me because I wasn't in the classroom

                 6      before this scenario started; I was in the gym

                 7      setting up.

                 8           Q.       Okay.    Well, even in the gym, at

                 9      no -- you're saying that at no point, you were

                10      not aware of the requirement to wear safety

                11      glasses at all times?

                12           A.       I was given the information on the

                13      other things that you have said or showed me

                14      throughout the course of the day, but in that

                15      instance, I knew that this was my safety area

                16      designated.

                17                    I wasn't in the classroom for that

                18      brief that he may have given to the class, so I

                19      can't say exactly what was said or what wasn't

                20      said in the classroom.

                21           Q.       But whether -- my question is gen --

                22      broader than that.




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                                              JA-676
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                                                                                Page 232
                 1                    Whether it's in the classroom or in

                 2      the gym, were you made aware that all persons in

                 3      the gym were required to wear safety glasses at

                 4      all times other than as outlined here, the

                 5      aggressor who was in the full safety suit?

                 6           A.       No.     It was my understanding that

                 7      everyone else watching the scenario would have to

                 8      wear safety glasses, but the role player's safety

                 9      area was the safe zone --

                10           Q.       Okay.     And did --

                11           A.       -- the role player --

                12           Q.       -- you -- oh, go ahead.          I'm sorry.

                13      I thought you were finished.

                14           A.       -- the role player itself would have

                15      to wear their mask while doing the role playing,

                16      but the safety area was the safety area.

                17           Q.       Okay.     And other than you and the

                18      other role player, did you observe everyone else

                19      in the gym wearing safety glasses?

                20           A.       No.     I -- I -- I think we covered

                21      this earlier.     I didn't see what everyone else

                22      was doing.    My mask is on.         So when I was doing




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                                                                                Page 233
                 1      the scenarios, you can't -- don't have very good

                 2      peripheral vision.

                 3                    And I'm not looking past the -- the

                 4      student or the person I'm trying to engage.            I'm

                 5      kind of -- I need to look at them to incite a

                 6      response, because it is fake training, you know,

                 7      a simulation.

                 8                    So I didn't see what all the other

                 9      students were doing at that time.

                10           Q.       Okay.    The statement goes on,

                11      Richard Nelson stated this was communicated to

                12      all participants as part of the safety brief

                13      before the class started.

                14                    I think we covered that.

                15                    You don't recall it being

                16      communicated to you by Mr. Nelson, correct?

                17           A.       No, not -- not prior to that -- not

                18      prior to that evolution starting or anything like

                19      that, no.    I wasn't there.

                20           Q.       Mr. Nelson also commented that all

                21      participants were safety officers during the

                22      training evolutions.




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                                                                                Page 234
                 1                     That, you agree with.

                 2                     I think we've acknowledged that you

                 3      knew everyone was safety officers, correct?

                 4              A.     I would say everyone would be safety

                 5      officers if you're not involved in the actual

                 6      scenario is what I'm trying to say.          If you're an

                 7      onlooker, absolutely.       You could call stop, cease

                 8      fire, end exercise, but when you're in the

                 9      scenario, you can't really do that.

                10           Q.       Well, if you're in a scenario and you

                11      see something unsafe in a scenario, are you

                12      saying that as a role player, you couldn't call

                13      stop action?

                14           A.       Your primary job is to facilitate the

                15      role.    You don't get to see every other safety

                16      violation.

                17                    If there was a safety violation off

                18      to my left that, say, a person took off their

                19      glasses, I'm not going to see that because I'm

                20      focusing on that.      If it's directly in front of

                21      me, sure.    And if the role player -- not the

                22      role player but the student that I'm trying to




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                                             JA-679
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                                                                                   Page 235
                 1      elicit a response from does something unsafe,

                 2      yes, I could do that.       But as a role player,

                 3      it's impossible to see everything going on.            I

                 4      have one job to do.

                 5           Q.       Right.    And I think my question was

                 6      specific to you and what you saw.          I'm not

                 7      suggesting that you have to -- you had a role to

                 8      see --

                 9           A.       Okay.    I'm sorry.

                10           Q.       -- everyone else or even an

                11      obligation.

                12                    My question simply was, Even if

                13      you're a role player and you're in the scenario,

                14      you are still a safety officer in that you can

                15      stay -- say stop action if you were to actually

                16      observe something unsafe --

                17           A.       Sure.

                18           Q.       -- isn't that correct?

                19           A.       Yes, that would be true.        If you're

                20      able to see it, you should -- you can call it.

                21           Q.       Right.

                22                    Okay.    The next paragraph says,




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                                                                                  Page 236
                 1      MPO Curran was participating as the aggressor

                 2      and was wearing the full safety suit just prior

                 3      to the injury.     After several evolutions, he was

                 4      replaced and given a chance to take a break.

                 5      The safety suit includes a full helmet that has

                 6      limited ventilation.      MPO Curran stepped outside

                 7      of the perimeter of the hot zone and sat on a

                 8      bench along the makeshift wall.         He appeared to

                 9      be far enough away from the next scenario that

                10      had begun.

                11                    Do you agree with everything up

                12      until that point?

                13           A.       I'm just reading it again.         Sorry.

                14      It takes me a little bit of time to read.

                15           Q.       Take your time.

                16                    (Whereupon, the witness reviews the

                17                     material provided.)

                18                    THE WITNESS:     Okay.    Yeah, it

                19           seems about right, I believe.

                20      BY MS. NGUYEN:

                21           Q.       Okay.    He goes on, As he was sitting

                22      on the bench, he removed the helmet to get fresh




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                                                                                Page 237
                 1      air.    The next scenario had begun, and the role

                 2      player officer stepped outside of the accordion

                 3      walls close to where MPO Curran was sitting.            The

                 4      officer discharged his TASER toward the

                 5      aggressor, who had also stepped outside of the

                 6      accordion walls.      One of the probes struck

                 7      MPO Curran in his right eye.         He had removed his

                 8      helmet and had not yet put on the safety glasses.

                 9                     Do you agree with all of those

                10      statements up until that point?

                11             A.     No, I do not.

                12             Q.     And what do you not agree with?

                13             A.     The portion about the safety glasses.

                14      Neither role players had safety glasses in our

                15      safety area.    That was our designated safety

                16      area.   So the part about not putting on glasses

                17      yet is not true.

                18             Q.     Okay.    You're saying that you didn't

                19      have any glasses to put on when you took your

                20      helmet off?

                21             A.     No, ma'am.       That was our designated

                22      safe area, so I didn't have glasses, and the




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                                                                                Page 238
                 1      other role player didn't have safety glasses

                 2      there.

                 3             Q.     Okay.    So I want to go to the

                 4      scenario where you were actually struck by the

                 5      probe.

                 6                    Were you actually watching that

                 7      scenario as you were sitting -- well, let me

                 8      back up.

                 9                    My understanding is you were behind

                10      the mat, sitting on the bench, correct?

                11             A.     Yes, I was behind the mat, sitting on

                12      the bench, head leaning forward as you -- like if

                13      you would just be leaning forward to stay

                14      underneath and taking some -- trying to get some

                15      air.

                16             Q.     Okay.    And so your helmet was off at

                17      that time?

                18             A.     Yes.

                19             Q.     And how long would you estimate that

                20      your helmet was off before you were actually

                21      struck by the probe?

                22             A.     From as long as you see me sit




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                                                                                      Page 239
                 1      down -- probably about two seconds after that to

                 2      the time the scenario ended.          I -- I don't know

                 3      how long -- it wasn't off for very long.               The

                 4      scenarios moved quickly, so . . .

                 5              Q.      And describe to me what you saw in

                 6      that scenario, if anything.

                 7              A.      The only thing I recall seeing is

                 8      looking up, seeing a flash and getting hit.                  That

                 9      was it.      I saw the weapon, I saw it pointed

                10      towards me, saw a flash.         That was it as far as

                11      the scenario goes.        Prior to that, I had my head

                12      down.

                13           Q.        Okay.     Did you actually observe

                14      either the student or the role player stepping

                15      outside of the mats?

                16           A.        No.     I heard noises, and when I

                17      looked up, they were already -- I don't know --

                18      15 or 20 feet outside of the hot zone into that

                19      safety area.     And that's when I saw the

                20      weapon -- the TASER being pointed in my direction

                21      and flashed.

                22           Q.        And did you actually see the probes




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                                                                                Page 240
                 1      deploy or come towards you at all?

                 2           A.       No.     I don't have -- that's --

                 3      they -- they move way too fast.

                 4           Q.       And what happened next?

                 5           A.       I got hit in the eye.

                 6           Q.       Did you know at the time that you

                 7      were hit what had happened or --

                 8           A.       Oh, yeah --

                 9           Q.       You knew --

                10           A.       -- I --

                11           Q.       -- right away?

                12           A.       -- I saw a flash and felt like

                13      someone hit me in the face with a sledgehammer.

                14      So I pretty much knew what happened.

                15           Q.       Okay.

                16                    MS. NGUYEN:      I want to go next to

                17           Exhibit 24, which is Bates 100 to 101.

                18                    THE WITNESS:      Yeah.    We take a --

                19           before we get started, can we take about

                20           10 minutes?

                21                    MS. NGUYEN:      Yes, we can.

                22                    THE WITNESS:      Thank you very much.




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                                                                                  Page 241
                 1                    MS. NGUYEN:          All right --

                 2                    THE VIDEOGRAPHER:          We --

                 3                    MS. NGUYEN:          -- we'll be back in

                 4           10.

                 5                    THE VIDEOGRAPHER:          -- we are off

                 6           the record at 2:21 p.m.

                 7                               -     -     -

                 8                    (Whereupon, a recess was taken from

                 9                     2:21 p.m. EST to 2:49 p.m. EST.)

                10                               -     -    -

                11                    THE VIDEOGRAPHER:          We're back on

                12           the record at 2:29 p.m. --

                13                    CERTIFIED STENOGRAPHER:            No; I

                14           think it's 2:49, I think.

                15                    THE VIDEOGRAPHER:          Oh, I'm sorry.

                16           You're right.

                17                    It's 2:49 p.m.

                18                    Back on the record at 2:49 p.m.

                19      BY MS. NGUYEN:

                20           Q.       Okay.    We'll go ahead and proceed.

                21                    Mr. Curran, where we left off, we

                22      were talking about the incident itself when you




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                                                                                  Page 242
                 1      were struck by the probe.           And I want to refer

                 2      to Exhibit 24, which is Bates 100 to 101.

                 3                               -     -    -

                 4                    (Deposition Exhibit Number 24,

                 5                      Employer's Accident Report, Bates

                 6                      stamped AXON_CURRAN000100 through

                 7                      AXON_CURRAN000101, marked for

                 8                      identification, as of this date.)

                 9                               -     -    -

                10      BY MS. NGUYEN:

                11           Q.       Can you hear me okay?

                12           A.       Yes, ma'am.

                13                    MR. BUCCI:       I was just marking it

                14           for him.

                15                    THE WITNESS:         Yeah, sorry.

                16                    MS. NGUYEN:      Oh, okay.       I wanted

                17           to make sure he wasn't freezing up.

                18                    THE WITNESS:         I got it.

                19      BY MS. NGUYEN:

                20           Q.       Okay.    So this was an employer's

                21      accident report completed by the police

                22      department.




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                                                                                  Page 243
                 1                    Have you seen this before,

                 2      Mr. Curran?

                 3           A.       I don't recall.         I -- I don't -- I

                 4      don't know.

                 5           Q.       Okay.    It has numbers for each box

                 6      indicated.    And I'm going to refer you to

                 7      Number 18, which says, Date of injury or illness

                 8      reported --

                 9           A.       Okay.

                10           Q.       -- and it shows a date of

                11      December 14th, 2017.

                12                    Do you see that?

                13           A.       Yes.

                14                    Oh, lost her.

                15                    (Connectivity issues.)

                16                    MR. BUCCI:       Amy?

                17                    CERTIFIED STENOGRAPHER:          It looks

                18           like her camera's out.

                19                    MR. CASEY:       Amy, you're muted.

                20                    MS. NGUYEN:      Can you guys hear me?

                21                    MR. BUCCI:       We can hear you but

                22           can't -- oh, there you go.




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                                                                                Page 244
                 1                    THE WITNESS:     Yeah, you're back.

                 2      BY MS. NGUYEN:

                 3           Q.       Okay.    Sorry about that.

                 4                    It had a date of injury or illness

                 5      reported of December 14th, 2017.

                 6                    Do you see that?

                 7           A.       Yes.

                 8           Q.       Okay.    And it has your name down in

                 9      Box 22?

                10           A.       Yes.

                11           Q.       And it says, Person to whom reported

                12      is Bryan Marshall.

                13                    Do you know who Bryan Marshall is?

                14           A.       That's -- he was the sergeant at the

                15      PDNT at training, down at Creeds Training Center.

                16           Q.       And is that the training center where

                17      the training took place?

                18           A.       No.    That was actually at the law

                19      enforcement training center.         We have an off-site

                20      training center in Creeds down in the county that

                21      does all the tactical stuff, the tactical

                22      fighting, shooting and everything.          He's the




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                                                                                Page 245
                 1      sergeant of that.

                 2                    So he would be my immediate sergeant

                 3      because I was working down there.

                 4           Q.       Oh.     So he -- I'm sorry.

                 5                    You said he -- he was your immediate

                 6      sergeant?

                 7           A.       Yes.

                 8           Q.       Okay.     And so did you actually report

                 9      this incident to him directly?

                10           A.       No.     I -- I -- I can't remember if he

                11      was there or not at the scene, but I didn't

                12      report anything to anybody.          I went to the

                13      hospital.

                14           Q.       Okay.     So how do you think that this

                15      was reported to him?       Do you have any information

                16      on that?

                17           A.       I'm sure somebody called him or told

                18      him that was on scene.

                19           Q.       Okay.     But you don't recall having

                20      any direct conversation with him either that day

                21      or subsequently?

                22           A.       He may have -- I think he came to the




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                                                                                Page 246
                 1      emergency room.

                 2           Q.       Okay.    That same day?

                 3           A.       Yes.    Whether it was the first

                 4      hospital or the second hospital, I'm not really

                 5      quite sure.

                 6           Q.       Okay.    And Box Number 42 -- it says,

                 7      Describe fully how injury or illness occurred.

                 8      And it states, IW was doing a scenario training

                 9      in his protective suit, and when he switched

                10      roles, he took his helmet off.          There was a TASER

                11      probe reflected off someone else's suit into his

                12      right eye.    IW was transported via ambulance.

                13                    So what I wanted to ask you about is

                14      where it says, A TASER probe reflected off

                15      someone else's suit -- did you have knowledge of

                16      it reflecting off the suit?

                17           A.       No, ma'am.

                18           Q.       Had you heard that from anyone who

                19      was present during the incident?

                20           A.       When I was on the ground, I heard

                21      someone say, Well, maybe it deflected.           And then

                22      someone went, Yeah, it deflected.          So it kind of




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                                                                                Page 247
                 1      was the pass-the-line-down information.           One guy

                 2      said it; everyone started to say it --

                 3             Q.     Okay?

                 4             A.     -- but I -- I did not see a

                 5      deflection; I just saw the TASER pointed directly

                 6      at me.

                 7             Q.     Right.     And you didn't see the probes

                 8      at all, so you would defer to whoever says that

                 9      they actually saw the probes?

                10             A.     I would -- no; I would probably defer

                11      to my doctor.

                12             Q.     Your doctor?

                13             A.     Yeah, I would refer to my doctor as

                14      being the one that would be able to say what they

                15      saw.    I wouldn't refer to anyone at the scene

                16      because I don't believe you can actually see a

                17      TASER moving.

                18                    They're coming out at how many feet

                19      per second?    So I don't know how anybody would

                20      see it deflect.       So I can't say that that's the

                21      right information.

                22             Q.     Okay.     Let me see if I understand




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                                                                                 Page 248
                 1      this.

                 2                    So you would not -- you would not

                 3      believe anybody who actually saw the incident or

                 4      claimed that they saw the probes, but you

                 5      would -- you would, instead, defer to your

                 6      doctor as being able to say whether the probe

                 7      deflected first before it hit your eye or not?

                 8              A.    Yeah, I would go with a medical

                 9      professional over the people in the classroom

                10      that were maybe 20, 30 feet away.          I can't say

                11      that those people did see it or didn't see it.             I

                12      don't know.    I don't know them.       I don't know how

                13      good their vision is.       I don't know any of that.

                14                    So I can't say that what that person

                15      said is correct.

                16           Q.       Or incorrect, right?       You can't say

                17      either way?

                18           A.       Yeah, I can't -- no, I can't say.

                19           Q.       Okay.    And then to your knowledge,

                20      have any of your doctors given an opinion on

                21      whether the probe deflected or not?

                22           A.       I asked my first doctor, Dr. Elkins,




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                                                                                       Page 249
                 1      if it was -- if it came deflected or -- or if it

                 2      was a straight shot, and she says, No, it was a

                 3      straight shot straight into your eyeball.

                 4              Q.      And that was Dr. Elkins, you said?

                 5              A.      Yes.   That was in a conversation a

                 6      while -- I think it was the -- after the second

                 7      surgery, maybe, or the first one.          I can't really

                 8      recall.      I had multiple.

                 9              Q.      So with regard to this statement by

                10      Bryan Marshall, you don't know where he obtained

                11      that information about it deflecting off of a

                12      suit?

                13           A.        Probably the same place I did, maybe

                14      one of the students that said it out loud.                 I

                15      don't know exactly where he got it from.               I

                16      didn't ask him when he wrote the report or

                17      afterwards.

                18           Q.        So the answer to that is no, you

                19      don't know where he got that information?

                20           A.        No, ma'am.

                21           Q.        Okay.    So with regard to the eye

                22      injury, I want to get some more information on




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                                                                                Page 250
                 1      that.

                 2                       How many surgeries have you had?

                 3              A.       Three, so far.

                 4              Q.       And can you give me the -- if you

                 5      know, the dates or the approximate times of those

                 6      surgeries?

                 7              A.       One was the day of or -- or just past

                 8      midnight of that day.        The other two I'm not

                 9      positive exactly what the dates are.            Maybe

                10      February, maybe January -- I don't really know.

                11           Q.          So early 2018?

                12           A.          Early and mid-2018, yes, I believe

                13      so -- late 2017, and the other ones were early

                14      2018, I believe, or mid.

                15           Q.          And first I want to talk about

                16      what -- what is the current diagnosis?

                17           A.          Medical term-wise?      I -- I couldn't

                18      give you the exact medical terminology, not all

                19      of it.       I know that I have an exploded iris.       My

                20      retina was detached and stuck outside my eyeball.

                21      That was pushed back in -- I'm sorry -- sewn back

                22      in twice.




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                                                                                    Page 251
                 1                    I'm developing band keratopathy,

                 2      which is the whiting of an eye.         So I'll develop

                 3      calcium deposits over the top of the surface of

                 4      the eye, kind of like you would see in the

                 5      walking dead or on a zombie.         The eye will white

                 6      out.   The only -- you have to have surgery, I

                 7      believe, to get that out.

                 8                    I have no usable actual vision in my

                 9      eye.   All I get is immense amount of light,

                10      because my iris has exploded and taken over

                11      about 99 percent of the color of my eye.

                12                    So the medical term for the actual

                13      eyeball, I guess, would be those things.              The

                14      other things are -- the other issues with it are

                15      different, but as far as the medical

                16      determination, I think that's about it.

                17                    I've got -- all my muscles were cut,

                18      I think, three times, and they actually put a

                19      band -- a belt -- a buckle around my eye to try

                20      to keep my retina from detaching again, but that

                21      was in the hope of getting some vision.           But

                22      I -- the cornea is too messed up and the retina




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                                                                                 Page 252
                 1      was too messed up to get anything.

                 2           Q.       You indicated that you had three

                 3      surgeries thus far.

                 4                    Is there any surgeries planned for

                 5      the future?

                 6           A.       Depending on the amount of increasing

                 7      pain, we might need to remove it.          And what comes

                 8      with that, I'm -- I'm not quite sure; or any

                 9      advancements they -- they might make in -- in the

                10      department of the eye, you know, I'm not really

                11      quite sure.

                12           Q.       And so what have they told you with

                13      regard to the pain management?

                14           A.       You can't really do much about it.

                15      It's -- the ocular system is a completely

                16      different set of nerve groups.          So your common

                17      medication, like oxycodone or all that other

                18      stuff -- it doesn't affect it.

                19                    So . . .

                20           Q.       So what -- what -- what is the

                21      factors that would determine whether or not you

                22      go on to have a surgery for the removal?




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                                                                                Page 253
                 1           A.       If I -- well, it would basically kind

                 2      of be my decision on whether or not -- how long I

                 3      can put up with the pain and constant feeling of

                 4      your eyeball.

                 5           Q.       And with regard to the pain, can you

                 6      describe how often you experience pain and -- and

                 7      the levels of the pain?

                 8           A.       I would say every day.        I can always

                 9      have -- I always have some type of -- it's called

                10      being aware of your eye, where you can actually

                11      feel your eyeball inside of your head.           So I can

                12      always feel it whenever it moves.

                13                    And then, every day, I'll get

                14      shooting pains in it.       And then some days, it's

                15      massive amount of shooting pain.         And then other

                16      times, it goes on for a couple seconds; other

                17      times, it goes on for, you know, half an hour,

                18      an hour.

                19           Q.       And so when you aren't experiencing

                20      the shooting pain, do you have pain otherwise

                21      without the shooting pain?

                22           A.       Yes.   I have constant headaches due




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                                                                                Page 254
                 1      to -- I believe the surgeries of cutting the

                 2      muscles around the eye could be one part of it,

                 3      the trauma to the eye and the -- the massive

                 4      amount of light that my eyeball sucks in.

                 5                    So even if you're wearing a patch or

                 6      sunglasses, it stills sucks in a massive amount

                 7      of light because the iris is exploded and

                 8      doesn't shut.

                 9                    So --

                10           Q.       I know that you mentioned, like,

                11      oxycodone not working, but is there any --

                12      anything that you are currently prescribed to

                13      attempt to address the pain?

                14           A.       No.   There's nothing I can take for

                15      the pain.

                16                    The only thing I can take is

                17      prednisone -- or prednisone, and that's just to

                18      try to keep the pressure up in my eye so it

                19      doesn't fall out of my head.

                20           Q.       And so at this point, is there --

                21      what is the prognosis as to the vision loss?            Is

                22      it -- is it permanent and there's no chance of




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                                                                                 Page 255
                 1      the vision ever returning?

                 2              A.     No.    The vision is completely

                 3      permanently damaged and will never return.

                 4              Q.     So we addressed the vision loss,

                 5      pain, headaches.

                 6                     What else -- I'm trying to get an

                 7      idea of what you've -- what you experience on a

                 8      daily basis as a result of this injury to the

                 9      eye.

                10             A.     Okay.    Well, besides of all the pain

                11      and whatnot that I have, I have massive dizzy

                12      spells; I have zero depth perception now; and my

                13      balance is shot.      Because you kind of need your

                14      eyes and your ears to control your balance, and I

                15      only got one of the other one.           So balance is

                16      shot.

                17                    As far as the dizziness, if I move

                18      my head too quickly, I'll get dizzy.           So if I

                19      look back and forth at someone in -- in casual

                20      conversation and I do it too fast, I'll get a

                21      dizzy spell.    If I stand up too quickly from,

                22      like, a crouching position -- like, if I pick




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                                                                                  Page 256
                 1      something up off the floor and I stand up too

                 2      fast, I'll get dizzy and have to hold on to

                 3      something.

                 4                    If I move my head too quickly --

                 5      say, you're, like, driving a car, just looking

                 6      left and right to cross the street or try to

                 7      look up behind you to back up -- if I do that

                 8      too fast, I'll get dizzy.

                 9                    As far as the balance, can't run

                10      outside anymore because I tend to fall over,

                11      kind of lean to the one side.           That, and also

                12      due to the amount of light coming in, it's

                13      impossible to run outside.           So I'll stick to a

                14      treadmill.    And even then, I can't really run on

                15      without holding on because I tend to lean just

                16      because I don't have that balance anymore.

                17                    The same thing with -- if I -- if I

                18      turn a corner too fast or if I lean my head too

                19      far to the right, I'll start to go that way.

                20                    As far as the depth perception, it

                21      pretty much kind of affects everything.             I

                22      literally don't have stemmed wine glasses in my




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                                                                                   Page 257
                 1      house anymore because I broke them trying to

                 2      hand a wine glass over, like, our bar area.            I

                 3      can't see how far away it is, so I busted off

                 4      every single one of our stems.          So we now have

                 5      plastic wine glasses.

                 6                    The depth perception also affects

                 7      anything trying to fix around the house -- just

                 8      trying to put a screwdriver into a screw, I

                 9      can't see where it is, or grabbing a door.            Or

                10      if someone has to hand me something, I just have

                11      to put my hand out, because if I go to grab it,

                12      I don't know how close or how far away they are.

                13                    I constantly walk into walls

                14      because -- especially corners, because on the

                15      right-hand side, I can't really judge how far my

                16      shoulder is from the doorway because I don't see

                17      on this side anymore.

                18                    The dizziness and all that things

                19      kind of affect every aspect of my life in

                20      regards to not just all the things I mentioned,

                21      but it really affects my daughter the most

                22      because she's 7, and I can't do all that fun




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                                                                                Page 258
                 1      stuff anymore.     Like, I can't jump on a

                 2      trampoline because of the dizziness.          I can't

                 3      spin her around because of the dizziness.

                 4                    I can't do a lot of things that I

                 5      used to be able to do with her.         Like, I can

                 6      never ride a roller coaster because the up and

                 7      down will get me dizzy.       So all those things I

                 8      used to be or wanted to do as a dad I can't do

                 9      anymore because I literally will fall over or

                10      drop her or get sick.

                11                    And the same thing goes with

                12      airplane rides.     The most -- I've been on an

                13      airplane twice now, and the longest I can be in

                14      the air is about an hour and 45 minutes.

                15      Anything longer than that, due to the air

                16      pressure and the eye, causes a massive headache.

                17                    It was so bad the other -- the last

                18      time I took a flight, it was about two and a

                19      half hours.    I -- once we got off the plane, I

                20      had to go lay down for the rest of the day

                21      because just the amount of pressure that's

                22      caused on the eye.




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                                                                                  Page 259
                 1                    I'm not sure if that's due --

                 2      because it's filled -- filled with oil or what

                 3      the actual reasoning is, but the amount of

                 4      pressure that gets put on it causes immense

                 5      amount of pain.

                 6           Q.       Thank you for that.

                 7                    What are the doctors saying with

                 8      regard to -- if you opt for the surgery to

                 9      remove the eye, what do they anticipate, you

                10      know -- the symptoms that you described, what

                11      would that remedy?

                12           A.       They don't know anything on that as

                13      far as the dizziness, balance and depth

                14      perception -- obviously, the depth perception is

                15      not going to come back because it -- you need two

                16      eyes for that --

                17           Q.       More so, you know, like, the

                18      headaches -- would that --

                19           A.       Yeah, I asked the doctor about that,

                20      and she cannot guarantee that it's gone.              You'll

                21      still have --

                22           Q.       Is that a hope with the surgery?




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                                                                                Page 260
                 1           A.        It would be a hope for the pain to

                 2      be -- subside a little bit.          But as she said she

                 3      can't guarantee that, because I might have some

                 4      other damage on nerve endings that she -- it's

                 5      not her field of expertise.          So that's why she's

                 6      trying to send me to a neurologist to find out

                 7      what's going on with everything else.

                 8           Q.        And is that something that you intend

                 9      to do in the near future, is to see a

                10      neurologist?

                11           A.       Oh, yes.    I've been trying to set the

                12      appointment up for six or seven months now.            It's

                13      just a question of getting it, someone who takes

                14      workmen's comp.

                15                    And then due to COVID, I've been

                16      trying to get the appointment -- I just got a

                17      letter about three weeks ago saying I can't even

                18      schedule an appointment until July.           And then I

                19      probably won't be able to get in until October

                20      or November.

                21                    So --

                22           Q.       Due to COVID-19?




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                                                                                Page 261
                 1            A.      Due to just them being booked.

                 2            Q.      Where are you leaning at this point

                 3      with regard to the surgery?

                 4            A.      I'm not quite sure yet.        It's kind of

                 5      one of those things where you weigh the pain

                 6      versus being even more disfigured, because the

                 7      eye on a glass eye doesn't move.

                 8                    So my eye, right now, moves, so I

                 9      don't look nearly as bad.        But once I take it

                10      out, obviously, there's no going back

                11      whatsoever.    It might be able to subside the

                12      amount of pain, but the dizziness, the depth

                13      perception and all the other stuff will still be

                14      there because it's -- it doesn't really affect

                15      it.   That's more of the nerve endings and

                16      possibly neuro -- neurologist line of work.

                17                    So I haven't committed either way to

                18      it, but it's also one of those things that if --

                19      what if they make advancements and I already cut

                20      it out.    There's nothing on the horizon

                21      according to the doctor, but I don't want to

                22      take it out of my body because there's kind of




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                                                                                Page 262
                 1      no going back from that, plus I don't want to

                 2      look any more disfigured than I already am.

                 3             Q.     When you talk about the

                 4      disfigurement, is -- I notice today, for the

                 5      deposition, you're wearing the patch over the

                 6      eye.

                 7                    Do you wear that patch on a regular

                 8      basis, or are there times where you will take it

                 9      off to where people can actually see the eye?

                10             A.     I'll take it off in a very dark room

                11      or very dim lighting.        Other than that, I'm

                12      always wearing sunglasses or a patch.

                13                    But if I'm with my girlfriend, or

                14      whatever the case may be, I'll take it off.            But

                15      for the most part, I'm wearing this thing

                16      90 percent of the day.

                17             Q.     And do you currently drive?

                18             A.     Yes.

                19             Q.     And so was there any type of test

                20      that you had to go through to ensure that you're

                21      still able to operate a motor vehicle safely?

                22             A.     Nope.    No.     According to DMV, you




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                                                                                   Page 263
                 1      only need one eyeball.

                 2            Q.      I'm sorry.       I didn't get your answer

                 3      first -- it cut out.

                 4            A.      No, there's no extra test to take in

                 5      order to drive.       The only thing you would have to

                 6      take is if you're -- I guess --

                 7            Q.      Can you hear me okay?

                 8            A.      Yes.

                 9                    Can you hear me?

                10            Q.      Sorry.     I still didn't get your

                11      answer.    If you can just repeat your answer for

                12      me.

                13            A.      Okay.

                14                    No, there's no additional test to

                15      drive a vehicle.

                16            Q.      Okay.    And so do -- do you feel that

                17      you're able to safely operate a motor vehicle?

                18            A.      It -- for the most part, yes.           At

                19      times, I won't drive if my head hurts too bad or

                20      I'm having a bad -- really bad pain day, because

                21      that requires me to move my eye a lot more.

                22                    So if I do have to go someplace,




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                                                                                 Page 264
                 1      I'll have my girlfriend drive me, and I'll just

                 2      kind of stare at the floor.          This way, I'm not

                 3      moving my eye too much -- eyes.

                 4            Q.       How -- how often would you say that

                 5      you feel like -- that you're able to drive versus

                 6      not able to?

                 7            A.       I would say more.        I was able to

                 8      drive more.    Some days -- you know, kind of

                 9      getting used to a lot of the pain.           It still

                10      hurts, but it's kind of a given I'm going to have

                11      it.   And then there's some days that are just, I

                12      would say, almost crippling after it starts to

                13      build.

                14                    So -- but more -- I would drive more

                15      than I would not drive.

                16            Q.      Have you sought any type of

                17      counseling since your injury?

                18            A.      Like mental counseling?

                19            Q.      Right.    Any type of counseling just

                20      to kind of help you deal with the changes and to

                21      get you through, you know, what you're dealing

                22      with with regard to your injury and loss of




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                                             JA-709
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                                                                                Page 265
                 1      vision in that eye.

                 2              A.       No.

                 3              Q.       Is that something that you intend to

                 4      do, or you don't really feel like you have the

                 5      need?

                 6              A.       I don't feel like it -- like I have

                 7      the need.

                 8              Q.       Are you still able to go on vacation

                 9      since this incident?        Obviously, most of us

                10      haven't done much of that in the past six months.

                11                       But other than the COVID-19

                12      situation, have you had an opportunity to go on

                13      vacations and still attend social events?

                14           A.          I can still do the social events, but

                15      as far as -- like I said, if it requires flying,

                16      we've kind of put it out of the -- out of the

                17      realm of possibilities because it just -- it

                18      hurts.       Driving isn't too bad.      I can drive for a

                19      little bit, about an hour or so, and then I'll

                20      have to switch off and take a break.

                21                       But I'm able to go places, like

                22      visit family if need be, if I have a second




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                                                                                Page 266
                 1      person with me.

                 2           Q.       I have some questions about your

                 3      employment.

                 4                    MS. NGUYEN:         So the -- the last

                 5           two exhibits that I'm going to be

                 6           referring to are 26 and 27.

                 7                    Twenty-six is Bates 137 to 1 --

                 8           excuse me, 136 to 137.

                 9                               -    -   -

                10                    (Deposition Exhibit Number 26,

                11                     Damages Summary, Bates stamped

                12                     AXON_CURRAN000136 through

                13                     AXON_CURRAN000137, marked for

                14                     identification, as of this date.)

                15                               -    -   -

                16                    MS. NGUYEN:      And then Exhibit 27

                17           is a memorandum from the City of

                18           Virginia Beach, Bates 462.

                19                               -    -   -

                20                    (Deposition Exhibit Number 27,

                21                     Inter-Office Memorandum, Bates

                22                     stamped AXON_CURRAN000462, marked




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                                                                                    Page 267
                 1                     for identification, as of this

                 2                     date.)

                 3                                -    -   -

                 4      BY MS. NGUYEN:

                 5              Q.    And so, first, with regard to

                 6      Exhibit 26, this is titled Damages Summary, with

                 7      your name and date of loss, 12/14/2017.

                 8                    Have you seen this before?

                 9              A.    I don't believe so.

                10           Q.       Do you know who actually compiled

                11      this information?

                12           A.       Yeah.    I would assume my attorney.           I

                13      mean --

                14           Q.       He's pointing to himself, so --

                15                    MR. BUCCI:       We did --

                16      BY MS. NGUYEN:

                17           Q.       -- Scott -- with Scott's admission,

                18      we --

                19                    MS. NGUYEN:      I'm sorry, Scott.        I

                20           can't hear you.

                21                    MR. BUCCI:       This is my paralegal.

                22




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                                                                                Page 268
                 1      BY MS. NGUYEN:

                 2           Q.        Okay.    So with that statement, we'll

                 3      say that this was prepared by your attorney's

                 4      office.     And it lists out into categories, it

                 5      looks like, by provider: the Sentara -- Sentara

                 6      Norfolk General Hospital; Virginia Center for Eye

                 7      Surgery; on the back, Virginia Beach Hospital

                 8      again; Emergency Physicians of Tidewater.

                 9                     And then on the very bottom, it

                10      states, Lost wages.

                11                     Do you see that?

                12           A.        Yes, ma'am.

                13           Q.        And it says, $71,634.68 in annual

                14      salary.     And then in parens, it says, Has not

                15      worked since date of incident.

                16                     You see that?

                17           A.        Yes, ma'am.

                18           Q.        And, first, is that a true statement,

                19      that you haven't worked since the date of the

                20      incident?

                21           A.        Well, no, I actually was on light

                22      duty -- limited light duty for a couple of




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                                                                                Page 269
                 1      months, and then I have not worked since this --

                 2      since the retirement.

                 3           Q.       And that's where my line of

                 4      questioning was going.         Because on Exhibit 27, we

                 5      have the interoffice memorandum dated

                 6      November 30th of 2018, and this is saying,

                 7      Congratulations and Best Wishes to our December

                 8      1, 2018 Retirees.

                 9                    And it has your name on there --

                10           A.       Um-hum.

                11           Q.       -- and so it looks like the -- your

                12      employment was not terminated or ended until that

                13      date; is that accurate?

                14           A.       That is true, that my deploy -- my

                15      employment with Virginia Beach department went

                16      until December 1st.

                17           Q.       Okay.     And so were you receiving

                18      regular pay from the date of this incident,

                19      December 14th, 2017, until your retirement,

                20      December 1, 2018?

                21           A.       Yes.    It was a -- I believe it was a

                22      mixture between from the City and workmen's comp




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                                                                                Page 270
                 1      or CorVel.     The only payment I didn't receive

                 2      would be, like, the side jobs that I used to work

                 3      as a police officer.       I wasn't able to work those

                 4      anymore.

                 5                     But other than that, yes, until

                 6      December 1st.

                 7              Q.     Okay.    So as far as from the

                 8      Virginia Beach Police Department, you received

                 9      that same -- your same salary up until that date,

                10      correct, December 1?

                11           A.       Yes --

                12           Q.       Okay.     And --

                13           A.       -- I'm sorry.      It wasn't the exact

                14      same salary.    It kind of works differently.          And

                15      I don't know the math equation behind workmen's

                16      comp when you're on limited light duty.           So

                17      whether it was six -- whether it was that number,

                18      I can't say it was because they have a different

                19      math equation without taxes.         So I don't know of

                20      exactly that number, but I was still getting

                21      paid.

                22           Q.       Okay.     And would you think it was




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                                                                                 Page 271
                 1      something comparable to -- to the annual salary?

                 2           A.       It was around that same -- maybe not

                 3      the annual salary, but it was, I would say,

                 4      comparable to after taxes.           Because they only

                 5      give you 66 and two-thirds.          They don't give you

                 6      your full salary.

                 7                    So after taxes, yes, but it's not

                 8      71,000.

                 9           Q.       Understood.

                10                    Okay.    So then that figure after

                11      that -- going back to Exhibit 26, where it says,

                12      Total Past Lost Wages of $154,290, that would

                13      not be accurate, then, correct?

                14                    MR. BUCCI:       Object.    That's not

                15           the law of Virginia.

                16                    But go ahead.

                17                    THE WITNESS:       Did you hear his

                18           portion?

                19                    MR. BUCCI:       I stated an objection

                20           for the record, but, I mean, that's a

                21           collateral source.

                22                    But go ahead and answer the




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                                                                                 Page 272
                 1              question.

                 2                     THE WITNESS:       Okay.

                 3                     Can you please repeat it so I make

                 4              sure I get exactly what you want?

                 5      BY MS. NGUYEN:

                 6              Q.     Right.     If we're looking at your

                 7      actual wages since the date of the incident,

                 8      here, it says, Lost wages, and it calculates it,

                 9      you know, given that you haven't worked --

                10      given -- from the date of the incident, right?

                11           A.       Correct.       I have not worked since

                12      this -- technically since December 1st for the

                13      City of Virginia Beach.          So it's been over a

                14      year.

                15           Q.       Right.      So it would be, you know, at

                16      this point, a year and a half of lost wages,

                17      correct -- approximately, if we're going from

                18      December 1, 2018?

                19           A.       Correct.

                20           Q.       And you mentioned that you had some

                21      side jobs while you were at Virginia Beach --

                22           A.       Um-hum.




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                                               JA-717
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                                                                                    Page 273
                 1           Q.        -- that you no longer perform?

                 2           A.        Yes, ma'am.      It was basically just,

                 3      like, working part-time at a bank, securitywise,

                 4      or working at a football game, securitywise,

                 5      stuff like that.

                 6           Q.        Okay.    And that would be contracted

                 7      on a one-off basis?

                 8           A.        Yes.

                 9           Q.        And could you estimate annually what

                10      you would receive in income from those side jobs?

                11           A.       Five or 6,000 a year, something like

                12      that, maybe.    Three to six, depending on the

                13      year, depending on the amount of jobs I was able

                14      to work.

                15           Q.       And then while you were -- can you

                16      tell me again if -- how long did you work light

                17      duty following the incident?

                18           A.       I guess, after I got done with all my

                19      surgeries, I think I came back for, like, maybe a

                20      week or two and then had another surgery.             And

                21      then after my final surgery where the doctor said

                22      she wasn't going to go in anymore -- I believe




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                                                                                Page 274
                 1      that was maybe May or June -- I worked from June

                 2      to December light duty -- limited duty.           It was

                 3      about five to four hours a day max.

                 4           Q.       And why did you continue doing that,

                 5      as opposed to retiring on December 1st?

                 6           A.       I was made to retire.        I didn't have

                 7      a choice.

                 8           Q.       What do you mean "made to retire"?

                 9           A.       The department said, You're retiring

                10      due to your medical condition and your injury.

                11           Q.       And so have you done any type of

                12      assessment to determine what jobs may be

                13      available to you given your condition?

                14           A.       No.     And until we -- I have not had

                15      an assessment yet due to the fact of all the --

                16           Q.       I'm sorry.       Mr. Curran, I can't -- I

                17      can't hear you --

                18           A.       Okay.

                19           Q.       -- for some reason.

                20           A.       No, I have no assessment done yet.

                21      I'm still on no work until the doctors can figure

                22      out how to solve the depth perception -- not the




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                                                                                 Page 275
                 1      depth perception but the dizziness and some of

                 2      the balance issues and the pain.

                 3                    So, at this point, I've had no

                 4      contact with a vocational expert, or anything

                 5      like that, until we try to get that sorted out.

                 6           Q.       And at this point, do you intend to

                 7      try to reenter the workforce at any point in the

                 8      future?

                 9           A.       Possibly, but it depends on if we can

                10      get the issue squared away.          Because if I'm still

                11      having these issues where I fall over or get

                12      massively dizzy, it's not really -- I'm kind of a

                13      danger to myself being anyplace.          So I have to

                14      get this stuff squared out.

                15                    It would be great, but it doesn't --

                16      I don't know if it's going to go that way.

                17           Q.       What about a job that you can work

                18      from home?    Have you thought or looked into any

                19      of that type of employment?

                20           A.       Yeah.    I can't stare at computer

                21      screens for very long --

                22           Q.       And what happens when you --




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                                                                                   Page 276
                 1             A.      -- I get massive headaches.         I have

                 2      been -- I've already taken ibuprofen twice now.

                 3      If you haven't noticed yet, I've been -- always

                 4      constantly -- almost look away from the screen,

                 5      because any type of -- the lights from the

                 6      computers or having to stare gives me massive

                 7      pain and headaches.

                 8                     So I'm unable to stand in front of a

                 9      computer for very long, plus I can't read it

                10      anymore because my vision in my left eye is now

                11      going.

                12             Q.      And -- and what -- what is -- what do

                13      the doctors say about the vision in your left

                14      eye?     Do they hope that it's going to even out at

                15      some point, or do they anticipate that it's going

                16      to continue to deteriorate?          What is the

                17      prognosis there, if any?

                18             A.      They do not know about that.            I went

                19      from 20/17 to 20/50 due -- according to the

                20      doctors, your eyes are supposed to be

                21      independent, and what -- your body has no idea

                22      you even have eyes.




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                                                                                Page 277
                 1                     So what ended up happening is that

                 2      when it does find out you have eyes, it does one

                 3      of two things: it either attacks it or tries to

                 4      heal it.

                 5                     My eye -- body is attacking mine.

                 6      So that's why I'm developing band keratopathy in

                 7      the right eye, and that's why I no longer

                 8      produce the fluid to keep the eye whole or

                 9      round.     So that's why I have to keep -- it was

                10      filled with oil, and I have to keep the drops in

                11      to keep the pressure up.

                12                     They don't really know -- there's

                13      no -- according to them, there's no actual

                14      medical thing to tell what's going to happen to

                15      the other eye.     It depends how much strain it

                16      gets put on by having this eye or what my body

                17      does to it.

                18                     So it's kind of like a -- the only

                19      thing we do know is that the band keratopathy

                20      will continue to develop.        At what rate, that's

                21      unknown.     It could take a year; it could take

                22      10 years.     With that stuff, they don't -- can't




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                                                                                Page 278
                 1      really put a time stamp on what's going to

                 2      happen.

                 3           Q.       What type of payments are you

                 4      receiving of right now?

                 5           A.       About $2,048, I believe, every two

                 6      weeks.

                 7           Q.       And who are you receiving that from?

                 8           A.       CorVel, which is -- is workmen's

                 9      comp, I believe.

                10           Q.       Any other payments that you're

                11      receiving?

                12           A.       No, ma'am.

                13                    MS. NGUYEN:     Okay.     I'm -- just

                14           give me one moment.       I'm going to see if

                15           I have any other questions before I pass

                16           it on to Mr. Casey.

                17                    (Pause.)

                18      BY MS. NGUYEN:

                19           Q.       Mr. Curran, have you spoken to any of

                20      the other students that were present during the

                21      training in December 2017 since the incident?

                22           A.       I have talked to Pete Slovinsky not




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                                                                                  Page 279
                 1      about the incident but just to try to facilitate

                 2      contact information between my attorney and their

                 3      depart -- their -- their department attorney.

                 4                    But other than that, that's the only

                 5      person I've talked to, as far as I can recall.

                 6           Q.       And what was the purpose of

                 7      facilitating between your counsel and -- and his

                 8      department's counsel?

                 9           A.       I believe that we were missing a

                10      piece of paperwork that one said they were

                11      sending to the other, but I'm not quite sure what

                12      it was.   I can't remember.          I just remember,

                13      like, I -- I offered to make contact with Pete to

                14      have him talk to his department attorney to have

                15      whatever paperwork Scott needed sent over.              But

                16      what it was, I -- I can't tell you.            That was a

                17      long time ago.

                18           Q.       Anybody else that you've spoken with?

                19           A.       Not that I can recall.

                20                    MS. NGUYEN:     That's all the

                21           questions I have for now.          I may have

                22           some follow-up after the other attorneys'




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                                             JA-724
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                                                                                    Page 280
                 1           questions.

                 2                    But I appreciate you answering all

                 3           of my questions, Mr. Curran.

                 4                    THE WITNESS:         Thank you.

                 5                                -    -   -

                 6             EXAMINATION BY COUNSEL FOR DEFENDANT

                 7                      RICHARD WILLIAM NELSON

                 8                                -    -   -

                 9      BY MR. CASEY:

                10           Q.       Mr. Curran, I'm Brian Casey.              I

                11      represent Mr. Nelson.         I just have a few

                12      questions for you to follow up on some of the

                13      testimony that you've given.

                14                    Can you hear me all right?

                15           A.       Yes, sir.

                16           Q.       Thank you.

                17                    Let me go back briefly to the --

                18      your testimony in response to Ms. Nguyen's

                19      questions about your certification and

                20      recertification on the TASER CEW before the

                21      December 2017 course.

                22           A.       Okay.




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                                              JA-725
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                                                                                  Page 281
                 1           Q.       In those -- in each of those

                 2      certifications and recertifications that occurred

                 3      before the December 2017 course, did you wear eye

                 4      protection at all times that you were in the

                 5      practical portion of those courses?

                 6           A.       I would probably say yes.         I can't

                 7      recall, but I would probably say yes.           I -- they

                 8      were all practical, so I'm going to -- I would

                 9      assume so.

                10           Q.       And in those certifications and

                11      recertifications, were you in a training area

                12      with other students?

                13           A.       Yes.

                14           Q.       And during the time that you were in

                15      the training area with other students, were you

                16      sometimes, for lack of a better term, observing

                17      as they deployed the CEW probes into a static

                18      target?

                19           A.       Yes.   Normally, you would form lines

                20      and kind of line up and wait your turn to go.             So

                21      you couldn't help but see other people shoot

                22      their targets.




                                     MAGNA.    LEGAL SERVICES


                                             JA-726
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                                                                                  Page 282
                 1           Q.       And during the time that you were in

                 2      line waiting for your turn to go, would you --

                 3      did you always wear eye protection?

                 4           A.       I would say that I had it on.           I

                 5      would say I may have rubbed my eye and take it

                 6      off for a time, maybe once ever.         I can't say I

                 7      did, but normally it would be -- it would be on

                 8      unless directed otherwise.

                 9           Q.       And what type of eye protection did

                10      you employ in those certifications and

                11      recertifications?

                12           A.       I believe it was normally glasses or

                13      sunglasses -- plastic glasses, whatever the case

                14      may be.

                15                    I couldn't tell you exact brand or

                16      anything like that.

                17           Q.       Was it -- was it -- were there --

                18      were those glasses or sunglasses ones that you

                19      owned, or the -- were they supplied in -- as part

                20      of the course?

                21           A.       I believe it might have been both.

                22      If I was wearing plastic glasses, more than




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                                             JA-727
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                                                                                Page 283
                 1      likely, the department had them.         If I was able

                 2      to wear my sunglasses, they would have been my

                 3      sunglasses.

                 4           Q.       Now I want to direct your attention

                 5      to the December 2017 course.         You mentioned that

                 6      on the first day of the course, that you spent

                 7      some time trying to locate some documents or

                 8      locate what happened to some documents.

                 9                    Do you remember that testimony?

                10           A.       Yes, sir.

                11           Q.       And I think you mentioned that you

                12      were doing that with somebody else; is that

                13      correct?

                14           A.       No.   I would go up -- well, I wasn't

                15      running back and forth with someone.          Mr. Nelson

                16      asked me to go up to -- we had a TASER

                17      instructor, like I said before.         Defensive

                18      tactics and TASER were two separate things.

                19                    So I was the DT guy, and there was

                20      another TASER guy who was in charge of the

                21      training and inventory.       I would go up to him to

                22      see if we could locate some paperwork that we --




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                                             JA-728
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                                                                                Page 284
                 1      that Mr. Nelson might need as far as the lesson

                 2      plans and stuff like that.

                 3           Q.       And who -- and who was that person?

                 4           A.       That was John Midgett.

                 5           Q.       And where was he located?

                 6           A.       He was located up at the Law

                 7      Enforcement Training Academy up in the main

                 8      office.

                 9           Q.       So -- so is that in the same facility

                10      where the -- where the certification course is

                11      being held?

                12           A.       Yes.   Our department is an old

                13      school.   So Mr. Midgett and the training staff is

                14      all the way up front, and our classroom was all

                15      the way on the other side of the school.

                16           Q.       All right.      What did Mr. Nelson ask

                17      you to do?

                18           A.       See if he could locate what happened

                19      to the lesson plans that were coming from TASER.

                20           Q.       And did he refer to -- did Mr. Nelson

                21      refer to them as "lesson plans"?

                22           A.       Yes, I believe it was "lesson plans"




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                                             JA-729
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                                                                                Page 285
                 1      in the paperwork, the exact wording -- I believe

                 2      it was lesson plans -- or the PowerPoints or the

                 3      handouts.     It could have been any of those, to be

                 4      honest, the amount of times we were looking for

                 5      stuff.     But we needed the paperwork to get

                 6      everyone to see the training material.

                 7            Q.       And -- and did he ask you to go talk

                 8      to Mr. Midgett about that?

                 9            A.       Yes.   He asked me to help him locate

                10      the paperwork.     I informed him that we have a

                11      TASER instructor -- or master TASER -- or the guy

                12      in charge of training right in this office.            He

                13      said, Okay, see if he can get some -- some --

                14      some course material for me or some paperwork for

                15      me.

                16                    And what -- we were unable to access

                17      it.   I forget why.     I don't know if Mr. Midgett

                18      had the -- access to all the stuff Mr. Nelson

                19      did, but as far as I could recall, we were not

                20      able to find the course material that was

                21      needed.

                22            Q.      Did you actually talk with




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                                              JA-730
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                                                                                Page 286
                 1      Mr. Midgett about this?

                 2           A.       Yeah.    And he even looked online.         I

                 3      believe we made a couple phone calls, and we were

                 4      not able to get anything sent to us.

                 5           Q.       And did you report that to

                 6      Mr. Nelson?

                 7           A.       Yes.

                 8           Q.       And what did you tell him?

                 9           A.       That I -- well, it went through the

                10      course of a -- I had to go multiple times back

                11      and forth to try to get updates and see if we

                12      could find anything.      So numerous times, I would

                13      inform him that we haven't got a phone call back

                14      or we didn't find the paperwork or no one knows

                15      what it is.

                16                    And I think, on breaks, he actually

                17      made phone calls.      I can't say 100 percent

                18      because I wasn't next to him when he did that,

                19      but I believe he was also trying to find the

                20      paperwork.

                21                    And as far as I could tell -- or as

                22      far as I remember, he determined or found out




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                                              JA-731
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                                                                                Page 287
                 1      that somehow they were either lost at the

                 2      airport or just never showed up from FedEx.

                 3           Q.       How did you -- did Mr. Nelson tell

                 4      you that --

                 5           A.       Yes.

                 6           Q.       -- that -- that the paperwork was

                 7      lost at the airport or didn't show up?

                 8           A.       Yeah, I believe it was one or the

                 9      other.    Somehow, it was lost in transition to the

                10      airport or lost at the airport, because no one

                11      could find out where it was.         I believe it says

                12      it was delivered.

                13                    Now, granted, this is a -- still I

                14      believe -- this was a while ago -- that he said

                15      it was delivered, and then they couldn't find it

                16      at the airport.      I think.

                17           Q.       Did Mr. Midgett give you any

                18      information about what -- about his efforts to

                19      locate whatever this material was?

                20           A.       I believe he -- he sent some e-mails.

                21      I'm not positive.      But he was -- made a few phone

                22      calls or tried to check a couple databases, I




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                                             JA-732
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                                                                                Page 288
                 1      believe, on TASER to get the information

                 2      Mr. Nelson wanted.

                 3           Q.       And did you speak to anyone else

                 4      about this subject at the time other than

                 5      Mr. Nelson and Mr. Midgett?

                 6           A.       We -- I might have said something to

                 7      the -- anyone that was there because the -- it's

                 8      cubicles.    So people may have overheard me, but I

                 9      don't believe I directed actually to anyone about

                10      what was going on.

                11                    But, again, that's my best

                12      recollection.     It was a while ago.

                13           Q.       The -- the second day, the day of

                14      the -- of the practical instruction, the day you

                15      were injured, were you issued any protective gear

                16      by somebody else for that day?

                17           A.       Issued?     I don't believe I was issued

                18      anything.    I think there was a box of glasses

                19      during our static drills.

                20                    I don't recall, though.

                21           Q.       Where was the box located?

                22           A.       It may have been in the gym or it may




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                                                                                Page 289
                 1      have been in the classroom.

                 2             Q.      And these are protective glasses --

                 3      protective eyewear?

                 4             A.      Yes, sir.

                 5             Q.      Did you see anybody else take some of

                 6      the protective eyewear?

                 7             A.      Take it as in?

                 8             Q.      Use it from the box.

                 9             A.      I might have grabbed it from the box.

                10      I don't -- I can't recall what everybody else

                11      did.    I -- I'd be lying if I said I saw people

                12      take it.     I don't recall that.

                13             Q.      When you did the static drill, you

                14      used protective eyewear, correct?

                15             A.      Yes.

                16             Q.      Did you use protective eyewear from

                17      that box, or did you have it from some other

                18      source?

                19             A.      I'm not really quite sure.

                20             Q.      Do you know who supplied the eyewear

                21      that was in the box?

                22             A.      I'm not 100 percent.      I know we have




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                                                                                Page 290
                 1      protective glasses that are in our little

                 2      equipment room that we were using, because that's

                 3      where we got our target stands and our other

                 4      stuff like that.     But I can't tell you exactly

                 5      where the glasses came from.

                 6                    It could have been from one of the

                 7      boxes in there or it could have been from a box

                 8      in the classroom.      I'm not really quite sure.

                 9              Q.    Do you recall receiving any verbal

                10      instructions about the use of protective eyewear

                11      during the practical portion of the course?

                12           A.       Which -- which -- you mean all in

                13      general or which practical portion, the morning

                14      or the afternoon, are you referring to?

                15           Q.       Well, let's -- let's start with the

                16      morning.

                17           A.       I don't recall anything being said

                18      about eyewear, but everyone was wearing it at the

                19      time.

                20                    So I -- I can't recall an exact

                21      instance where Mr. Nelson said, boom, boom,

                22      boom.




                                     MAGNA.    LEGAL SERVICES


                                             JA-735
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                                                                                Page 291
                 1              Q.     In other words, you don't recall

                 2      Mr. Nelson specifically addressing the subject of

                 3      the use of protective eyewear in the morning for

                 4      the practical portion of the course; is that

                 5      right?

                 6              A.     Not in the morning, I don't recall

                 7      that.

                 8              Q.     But everybody was using protective

                 9      eyewear in the morning?

                10           A.       Yes, sir.

                11           Q.       Do you recall any verbal instruction

                12      with regard to the use of protective eyewear in

                13      the portion of the practical course that occurred

                14      after lunch?

                15           A.       No, sir.    I wasn't in the classroom

                16      when he was briefing the students.          He had me in

                17      the gym getting -- it was all of our gear that we

                18      had to use, like our mats and our suits and our

                19      inert weapons.     So I was in there.

                20                    And I'm the one who had keys to it,

                21      since I was a DT coordinator and half of my

                22      plating gear is in there.        I had the keys, so he




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                                                                                Page 292
                 1      asked me to get everything out and start setting

                 2      things up.

                 3                    So we --

                 4              Q.    So were you -- I'm sorry --

                 5              A.    -- when he --

                 6              Q.    -- I'm sorry.      I interrupted.

                 7              A.    That's all right.

                 8                    -- when he was briefing the class, I

                 9      was not in the classroom; I was in the gym.

                10           Q.       And were you the only person in the

                11      gym at that time?

                12           A.       I think in the beginning, but I can't

                13      remember if I was the only person before the

                14      class came in.     I don't recall.

                15           Q.       Did you have any involvement in

                16      setting up the blue mats?

                17           A.       Yes, I believe I did help put the

                18      blue mats up or I was directed to.

                19           Q.       And did anyone assist you in doing

                20      that?

                21           A.       I believe there was other people in

                22      the gymnasium prior to assisting with it.




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                                             JA-737
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                                                                                Page 293
                 1           Q.       Do you remember who assisted you?

                 2           A.       It would be a guess.       I -- it was --

                 3      maybe one of them was Pete Slovinsky, since he

                 4      did help out with the rest of the course,

                 5      bringing people back and forth from the

                 6      classroom.

                 7                    I can't tell you definite if it was

                 8      him or not.    That would just be an assumption.

                 9           Q.       Do you recall if anybody told you

                10      where to put the -- put the blue mats?

                11           A.       Yes.   Mr. Nelson instructed us how he

                12      wanted it set up.

                13           Q.       In other words, he told you which --

                14      where -- where to locate each blue mat?

                15           A.       Yep.   This one goes here, and that

                16      one goes there, that one goes there.          Leave the

                17      spaces out for the corner and explained this is

                18      how it was set up.

                19           Q.       Where did you get the so-called

                20      Sim Suit?

                21           A.       From our training locker.

                22           Q.       That was a Virginia Beach Police




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                                                                                Page 294
                 1      Department suit?

                 2           A.       Yes, sir.     I asked the -- the TASER

                 3      coordinator if we could use them --

                 4      John Midgett -- and he said yes.

                 5           Q.       Did Mr. Nelson give you any

                 6      instructions about the use of the Sim Suit?

                 7           A.       Not that I can recall.

                 8           Q.       And the Sim Suit included a helmet

                 9      portion, correct?

                10           A.       Yes.    I believe it was pants, a top

                11      and a helmet.

                12           Q.       And the helmet portion had an eye

                13      protection that covered the face, correct?

                14           A.       It had a face shield, yes, sir.

                15           Q.       You testified a little bit earlier

                16      about a designated safety area.

                17                    Is that -- is that the correct

                18      designation -- the correct term for it?

                19           A.       Yes.

                20           Q.       I think that's what you -- I think

                21      that's how you described it.

                22           A.       Sure.    That's what I would call it,




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                                                                                Page 295
                 1      yeah, designated safety area.

                 2           Q.       I understood you to mean that the

                 3      designated safety area was the bench that's been

                 4      shown in some of the photographs that we looked

                 5      at earlier; is that right?

                 6           A.       Yes.   It would be from -- basically

                 7      sitting on the bench, not standing at the bench

                 8      but sitting down behind the cover of the mats.

                 9           Q.       And what did Mr. Nelson tell you --

                10           A.       That --

                11           Q.       -- specifically with regard to that?

                12           A.       -- that this was the safety area for

                13      the role players and that this is where we would

                14      come to and rest --

                15           Q.       And -- I'm sorry.

                16           A.       -- and take a breather if need be

                17      because of the -- the suits are extremely hot.

                18           Q.       And did -- and where did that

                19      conversation take place?

                20           A.       In the gym.

                21           Q.       Who else was present for that

                22      conversation?




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                                             JA-740
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                                                                                Page 296
                 1              A.     Maybe the other role player, I

                 2      believe.

                 3              Q.     Anybody else?

                 4              A.     I can't recall off the top of my

                 5      head, sir.     There was people moving back and

                 6      forth, so I couldn't tell you if someone was

                 7      directly involved in that conversation.

                 8              Q.     In that conversation, did Mr. Nelson

                 9      specifically say to you that you did not need to

                10      wear eye protection when you were on the bench?

                11           A.        He said we can take our helmets off

                12      to get -- or take our equipment off to get air if

                13      need be.     He did not -- as far as I can remember,

                14      did not use the word -- specific word "eye

                15      protection," but I believe it was I could take my

                16      helmet off if need be because I was in the safety

                17      area.

                18           Q.        So you recall Mr. Nelson telling you

                19      that you could take your helmet off?

                20           A.        Yes.

                21           Q.        Did he also tell you that after you

                22      took your helmet off, you did not need to wear




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                                                                                Page 297
                 1      eye protection?

                 2           A.       I don't recall him saying that part

                 3      either --

                 4           Q.       When you --

                 5           A.       -- that --

                 6           Q.       -- I'm sorry.

                 7           A.       -- I'm sorry.      Go ahead.

                 8           Q.       I -- I -- I want to make sure you're

                 9      finished.    I don't want to interrupt you.

                10           A.       Oh, yeah, yeah.        I was just saying I

                11      don't remember that specific item.

                12           Q.       When you took your helmet off while

                13      sitting -- seated on the bench, did you have the

                14      ability to put protective eyewear on?

                15           A.       No; there was none there.

                16           Q.       Did you have the ability to have

                17      protective eyewear on the bench with you?

                18           A.       I'm sure at some point, if -- if it

                19      was handed or taken, yeah, there -- there could

                20      have been underneath the bench, or something like

                21      that, possibly.

                22           Q.       And you had had such protective




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                                                                                Page 298
                 1      eyewear in the morning during the static portion

                 2      of the -- of the practical part of the course,

                 3      correct?

                 4              A.     Correct.

                 5              Q.     Did you have any communication with

                 6      Mr. Nelson after you were injured on that day?

                 7              A.     After I was injured -- I know he

                 8      talked to me.     I heard a couple of lines that he

                 9      said.     I don't know if it was directed at me.

                10      But I do remember looking up and seeing him and

                11      him telling someone to keep pressure on my eye.

                12           Q.       Do you remember anything else that he

                13      said in the -- in the gymnasium?

                14           A.       Yes, but I can't say that it was

                15      directed at me.

                16           Q.       What -- what do you remember hearing

                17      him say?

                18           A.       I remember him voice -- his voice and

                19      him saying, "Holy shit, he didn't sign a waiver."

                20       But, like I said, I don't know if it was

                21      directed at me.

                22           Q.       Do you remember anything else that




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                                                                                  Page 299
                 1      you heard him say?

                 2           A.       No.    That kind of stuck out.          I was

                 3      in immense amount of pain at that point, so I

                 4      can't tell you everything that was said.              There

                 5      was a lot of noises going around and kind of

                 6      being in shock of not being able to see out of

                 7      that, and the pain kind of superseded every -- a

                 8      lot of the stuff.

                 9           Q.       You were transported to the hospital

                10      in an ambulance, correct?

                11           A.       Yes.

                12           Q.       How did you get from the gymnasium to

                13      the ambulance?

                14           A.       Someone assisted me -- no, wait.           I

                15      believe a gurney.

                16           Q.       Did any of the people who were

                17      involved in the training accompany you to the

                18      ambulance?

                19           A.       To the ambulance?         Walking me out?       I

                20      -- I'm not really quite sure, sir.           They were

                21      bandaging my head up.

                22           Q.       Did you have any conversation with




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                                                                                 Page 300
                 1      Mr. Nelson at any time before the ambulance left?

                 2              A.     I don't really recall, sir.          He could

                 3      have said something to me.           I'm not positive.

                 4                     I remember bits and pieces of it.

                 5      Like, I remember somebody from the police

                 6      department telling me my eye was open when I

                 7      couldn't see, because I asked if my eye was

                 8      open.     I thought maybe it was stuck shut or

                 9      something.

                10                    That was one little tidbit, but as

                11      far as other -- I don't remember anything else.

                12           Q.       Do you remember saying anything to

                13      Mr. Nelson after you were injured?

                14           A.       I think I said -- I think I asked him

                15      what happened, possibly, because it's kind of

                16      like "what happened."       Because I had blood all

                17      over, and I asked if it was bleeding a lot, I

                18      believe, but -- I'm not 100 percent.

                19           Q.       Anything else -- did -- well, first

                20      of all, do you recall if he responded to you when

                21      you asked that?

                22           A.       No, I don't.




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                                             JA-745
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                                                                                 Page 301
                 1           Q.        Do you recall saying anything else to

                 2      him other than that?

                 3           A.        No, sir.       There was a lot of noises,

                 4      a lot of things going on.          I just kind of get --

                 5      remember bits and pieces.

                 6                     MR. CASEY:       All right.   Those are

                 7           really all the questions I have for you.

                 8           Thank you very much.

                 9                     THE WITNESS:        Thank you.

                10                    MR. BUCCI:       I have just a few

                11           on -- on redirect.

                12                    CERTIFIED STENOGRAPHER:           Excuse

                13           me, Counsel, you're a little low.             You

                14           may have to move a little closer.

                15                    MR. BUCCI:       How about now?

                16                    CERTIFIED STENOGRAPHER:           That's

                17           better.

                18                                -    -   -

                19              EXAMINATION BY COUNSEL FOR PLAINTIFF

                20                                -    -   -

                21      BY MR. BUCCI:

                22           Q.       Mr. Curran, we've talked a lot today




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                                                                                  Page 302
                 1      about the risk of injury with TASER CEWs.             I

                 2      think we've gone over potential injuries in

                 3      trainings with injuries to the hand, the head,

                 4      the throat, the groin, the fingers.

                 5                    In training with weapons, whether

                 6      they're TASER CEW or batons or guns, wouldn't

                 7      you agree that there are -- is always a risk of

                 8      injury?

                 9           A.       Yes, there is.

                10           Q.       If proper safety protocols are

                11      followed in your -- in the training in which

                12      you're injured, do you think there would be a

                13      risk of injury?

                14           A.       No.

                15           Q.       When you were in the designated

                16      safety area, where you were told to go to, did

                17      you believe you had a risk of injury there?

                18           A.       No.

                19           Q.       I think that you -- the video shows

                20      and you testified that there were 40 different

                21      scenarios before the scenario in which you were

                22      injured; is that correct?




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                                             JA-747
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                                                                                Page 303
                 1           A.       I think we were up to 44, maybe.

                 2           Q.       Okay.     And during those times, from

                 3      time to time, I think the video shows that both

                 4      you and the other role player would take their

                 5      helmets off; is that correct?

                 6           A.       It showed -- it would show me take my

                 7      helmet off between scenarios and then go to the

                 8      designated safety area.         The other role player

                 9      took it off multiple times during the scenarios.

                10           Q.       At any time, did Mr. Nelson advise

                11      either you or, to your knowledge, the other role

                12      player that they should not take their helmet off

                13      or put on any kind of safety goggles?

                14           A.       No.

                15           Q.       All right.       And, lastly, if you would

                16      turn to Number 24 -- Exhibit 24.

                17           A.       Got it.

                18           Q.       The second page.

                19           A.       Okay.

                20           Q.       The box titled, Describe clearly and

                21      in detail how the injury occurred, it says that

                22      MPO Shawn Curran was attending TASER instructor




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                                                                                  Page 304
                 1      training at LETA -- that's Law Enforcement

                 2      Training Academy, correct?

                 3           A.       Yes.

                 4           Q.       -- he was scenario role playing in

                 5      full protective gear.       He finished his scenario

                 6      and moved to the -- and had moved to the, quote,

                 7      safe area, at which time, he took off his

                 8      protective mask.     The next scenario went outside

                 9      of the established working perimeter, period.

                10                    Is that what happened?

                11           A.       Yes.

                12                    MR. BUCCI:      No further questions.

                13                    MS. NGUYEN:     I don't have any

                14           follow-up.

                15                    Do you, Brian, based upon Scott's

                16           questions?

                17                    MR. CASEY:      No.

                18                    MS. NGUYEN:     All right.     I think

                19           that concludes this deposition.

                20                    Scott, read and sign?

                21                    MR. BUCCI:      Yes, please.

                22                    THE VIDEOGRAPHER:         I wanted to ask




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                                                                                Page 305
                 1           if anybody besides our client's ordering

                 2           a video.     Then we can stay on the record

                 3           now so I have that.

                 4                    Nope?

                 5                    Okay.    We're off the record at

                 6           3:53 p.m.

                 7

                 8                    (Witness excused.)

                 9                    (Deposition concluded at 3:53 p.m.

                10                     EST.)

                11

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                                                                                Page 306
                 1                      C E R T I F I C A T E

                 2      STATE OF MARYLAND:

                 3      COUNTY OF PRINCE GEORGE'S:

                 4           I, Cindy L. Sebo, a Notary Public within and

                 5       for the Jurisdiction aforesaid, do hereby certify

                 6       that the foregoing deposition was taken before me,

                 7       remotely pursuant to notice, at the time and place

                 8       indicated; that said deponent was by me duly sworn

                 9       remotely to tell the truth, the whole truth, and

                10      nothing but the truth; that the testimony of said

                11      deponent was correctly recorded remotely in

                12      machine shorthand by me and thereafter

                13      transcribed under my supervision with

                14      computer-aided transcription; that the deposition

                15      is a true record of the testimony given by the

                16      witness and that I am neither of counsel nor kin

                17      to any party in said action, nor interested in

                18      the outcome thereof.

                19

                20                   _______________________________________

                21                    Cindy L. Sebo, RMR, CRR, RPR, CSR,

                                      CCR, CLR, RSA, Courtroom Connect

                22                    Court Reporter, LiveLitigation




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                                                                                Page 307
                 1                     INSTRUCTIONS TO WITNESS

                 2                    Please read your deposition over carefully

                 3      and make any necessary corrections.        You should state

                 4      the reason in the appropriate space on the errata sheet

                 5      for any corrections that are made.

                 6                    After doing so, please sign the errata

                 7      sheet and date it.

                 8                    You are signing same subject to the

                 9      changes you have noted on the errata sheet, which

                10      will be attached to your deposition.

                11                    It is imperative that you return the

                12      original errata sheet to the deposing attorney within

                13      thirty (30) days of receipt of the deposition

                14      transcript by you.    If you fail to do so, the

                15      deposition transcript may be deemed to be accurate

                16      and may be used in court.

                17

                18

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                20

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                                             JA-752
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                 1                              E R R A T A

                 2      WITNESS:       SHAWN MICHAEL CURRAN

                 3      DATE:          June 22, 2020

                 4      CAPTION:       Curran v. Axon Enterprise, et al.

                 5      PAGE    LINE    REASON FOR CHANGE:

                 6      ____    ____    _____________________________________

                 7      PAGE    LINE    REASON FOR CHANGE:

                 8      ____    ____    _____________________________________

                 9      PAGE    LINE    REASON FOR CHANGE:

                10      ____    ____   _____________________________________

                11      PAGE    LINE   REASON FOR CHANGE:

                12      ____    ____   _____________________________________

                13      PAGE    LINE   REASON FOR CHANGE:

                14      ____    ____   _____________________________________

                15      PAGE    LINE   REASON FOR CHANGE:

                16      ____    ____   _____________________________________

                17      PAGE    LINE   REASON FOR CHANGE:

                18      ____    ____   _____________________________________

                19      PAGE    LINE   REASON FOR CHANGE:

                20      ____    ____   _____________________________________

                21      PAGE    LINE   REASON FOR CHANGE:

                22      ____    ____   _____________________________________




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                                                                                Page 309
                 1      WITNESS:       SHAWN MICHAEL CURRAN

                 2      DATE:          June 22, 2020

                 3      CAPTION:       Curran v. Axon Enterprise, et al.

                 4      PAGE    LINE    REASON FOR CHANGE:

                 5      ____    ____    _____________________________________

                 6      PAGE    LINE    REASON FOR CHANGE:

                 7      ____    ____    _____________________________________

                 8      PAGE    LINE    REASON FOR CHANGE:

                 9      ____    ____    _____________________________________

                10      PAGE    LINE   REASON FOR CHANGE:

                11      ____    ____   _____________________________________

                12      PAGE    LINE   REASON FOR CHANGE:

                13      ____    ____   _____________________________________

                14      PAGE    LINE   REASON FOR CHANGE:

                15      ____    ____   _____________________________________

                16      PAGE    LINE   REASON FOR CHANGE:

                17      ____    ____   _____________________________________

                18      PAGE    LINE   REASON FOR CHANGE:

                19      ____    ____   _____________________________________

                20      PAGE    LINE   REASON FOR CHANGE:

                21      ____    ____   _____________________________________

                22




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                                                                                Page 310
                 1                    ACKNOWLEDGMENT OF DEPONENT

                 2

                 3                        I, _________________________ , do

                 4      hereby certify that I have read the foregoing

                 5      pages, 1 to 305, and that the same is a correct

                 6      transcription of the answers given by me remotely

                 7      to the questions therein propounded under penalty

                 8      of perjury, except for the corrections or changes

                 9      in form or substance, if any, noted in the attached

                10      errata sheet.

                11

                12      _________                   ____________________________

                13         DATE                                 SIGNATURE

                14

                15      Subscribed and sworn to before me

                16      this _____ day of____________, 20____.

                17

                18          My Commission expires:

                19

                        ____________________________

                20

                21

                        ____________________________

                22




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                                  Exhibit 3




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                                                               EXHIBIT

                                                             DEPOSITION 22   6.22.20
                                                                                       exhibitsticker.com




                                                                                                            AXON_CURRAN000104
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                                  Exhibit 4




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                                                                                            Filed: 12/21/2021




                  (videos on thumb drive,
                       filed by hand)
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                                    IN THE UNITED STATES DISCTRICT COURT
                                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                                Norfolk Division

           SHAWN CURRAN,

                            Plaintiff,

           v.                                      Case No. 2:19-cv-617

           AXON ENTERPRISE, INC., et al.

                            Defendants.


            EXHIBIT 4 TO PLAINTIFF’S REPLY IN OPPOSITION TO DEFENDANT NELSON’S
                              MOTION FOR SUMMARY JUDGMENT

                                          SURVEILANCE VIDEO AND CLIPS

                     Plaintiff has hand-delivered a thumb drive to the court, to be attached to his Reply in

           Opposition to Defendant Nelson’s Motion for Summary Judgment as Exhibit 4, which contains

           the following videos:


            File Name        Time Stamp                                  Description
            Full Video      0:0 – 48:23       Entire available surveillance video of Axon TASER instructor
                                              training box drills
            Clip 1          22:47 – 23:59     Two scenarios; first shows inactive role player without helmet
                                              on; second scenario goes far outside the box
            Clip 2          25:19 – 25:50     Two scenarios; first shows inactive role player without helmet
                                              on; second scenario goes outside the box with the inactive,
                                              unhelmeted role player behind the active role player when
                                              weapon discharged
            Clip 3          28:23 – 28:40     One scenario; weapon discharge occurs outside the box with
                                              observers behind the role player
            Clip 4          30:26 – 31:41     Two scenarios; first shows inactive role player without helmet
                                              on during active scenario; second shows weapon discharge
                                              outside box, in front of bench and Nelson, and end of scenario
                                              shows inactive role player without helmet
            Clip 5          32:10 – 32:36     One scenario; inactive role player without helmet standing near
                                              Nelson; weapon discharged with unhelmeted inactive role
                                              player behind active role player




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            Clip 6      33:09 – 33:38   One scenario; inactive role player without helmet on talking to
                                        Nelson while action goes outside the box
            Clip 7      33:47 – 34:35   Incident scenario; role player (Curran) finishes scenario,
                                        removes helmet and sits on bench in front of Nelson; next
                                        scenario goes far outside of box in front of Nelson, weapon
                                        discharged with Curran behind active role player and Curran is
                                        struck in eye by TASER probe




                                                   JA-801
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                                  Exhibit 5




                                             JA-802
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                                                                                   Page 1
                                   IN THE UNITED STATES DISTRICT COURT

                                  FOR THE EASTERN DISTRICT OF VIRGINIA

                                            (NORFOLK DIVISION)

                        - - - - - - - - - - - - - - - - x

                        SHAWN CURRAN,                             :

                                    Plaintiff,                    :

                        vs.                                       : Case No. 2:19-cv-617

                        AXON ENTERPRISE, INC., et al.,            :

                                    Defendants.                   :

                        - - - - - - - - - - - - - - - - x




                                 VIDEOTAPED DEPOSITION OF MATTHEW FAUBION

                              Conducted virtually via remote videoconference

                                                 July 10, 2020




                        Reported by:

                        Misty Klapper, RMR, CRR

                        Job No.: 599043




                                      MAGNA.     LEGAL SERVICES


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                                                                                   Page 2
                 1

                 2

                                               July 10, 2020

                 3                               4:03 p.m.

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                16             Taken pursuant to notice, before Misty Klapper,

                17      Registered Professional Reporter, Certified Realtime

                18      Reporter, and Notary Public.

                19

                20

                21

                22




                                      MAGNA.   LEGAL SERVICES


                                             JA-804
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                                                                                   Page 3
                 1      APPEARANCES:
                 2      (ALL APPEARANCES VIA REMOTE VIDEOCONFERENCE)
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                 7
                 8                    AMY L. NGUYEN, ESQUIRE
                                      PETER BROWN, ESQUIRE
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                13                    INC.
                14
                15                    BRIAN N. CASEY, ESQUIRE
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                17                    (757) 625-7300
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                18                    COUNSEL FOR THE DEFENDANT RICHARD NELSON
                19
                20      ALSO PRESENT:
                21                  SOL TRAN, VIDEO OPERATOR
                22




                                      MAGNA.   LEGAL SERVICES


                                             JA-805
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                                                                                   Page 4
                 1                            C O N T E N T S

                 2      WITNESS:                       EXAMINATION BY:             PAGE:

                 3      Matthew Faubion                Mr. Brown                  6, 87

                 4                                     Mr. Buckner               47, 92

                 5                                     Mr. Casey                      82

                 6

                 7

                 8                            E X H I B I T S

                 9      NO.:         DESCRIPTION:                                  PAGE:

                10      46           Handwritten statement of Matthew

                11                   Faubion dated 12-14-17                           28

                12

                13

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                                         MAGNA.LEGAL SERVICES


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                                                                                   Page 5
                 1                        P R O C E E D I N G S

                 2                     VIDEO OPERATOR:         We are now on the

                 3             record.    This begins videotape number 1 in

                 4             the deposition of Matthew Faubion in the

                 5             matter of Shawn Curran versus Axon

                 6             Enterprise, Inc. et al. in the United

                 7             States District Court for the Eastern

                 8             District of Virginia.

                 9                     Today is Friday, July 10, 2020 and

                10             the time is 4:03 p.m.          This deposition is

                11             being held remotely at the request of Axon

                12             Enterprise Corporation, Inc.

                13                     The videographer is Sol Tran and

                14             the court reporter is Misty Klapper, both

                15             of Magna Legal Services.          All counsel and

                16             parties present will be noted on the

                17             stenographic record.

                18                     Will the court reporter please

                19             swear in the witness.

                20                     MS. REPORTER:         Sir, would you hold

                21             up your driver's license for the camera or

                22             any form of identification.




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                                             JA-807
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                                                                                    Page 6
                 1                     (Witness did as requested.)

                 2                     MS. REPORTER:         Thank you, sir.

                 3                     Would you raise your right hand.

                 4      Whereupon:

                 5                          MATTHEW FAUBION,

                 6      was called for examination, and, after being

                 7      duly sworn, was examined and testified as follows:

                 8                     MS. REPORTER:         Thank you.    Please

                 9              proceed, Mr. Brown.

                10              EXAMINATION BY COUNSEL FOR DEFENDANT

                11                        AXON ENTERPRISE, INC.

                12                     BY MR. BROWN:

                13             Q.      Good afternoon.        Could you please

                14      state your name for the record, please, your full

                15      name?

                16             A.      Matthew Faubion.

                17             Q.      And have you been deposed before,

                18      Mr. Faubion?

                19             A.      I have not.

                20             Q.      Okay.    I'd like to cover a handful of

                21      rules at the outset then.

                22                     The first is that we ask that you




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                                                                                   Page 7
                 1      please answer out loud, verbally, rather than

                 2      just shaking your head yes or no.

                 3                     Does that make sense?

                 4              A.     It does.

                 5              Q.     Okay.    And please also wait for the

                 6      questioning attorney to state their entire

                 7      question and if there are objections for the --

                 8      from the other attorneys for their objections

                 9      before answering.       And if you don't understand a

                10      question, please let us know.

                11                     Does that make sense?

                12             A.      Okay.    It does.

                13             Q.      And if -- if you do answer a

                14      question, we'll assume that you understood it.

                15                     Is that fair?

                16             A.      That's fair.

                17             Q.      Okay.    And if we need to -- if you --

                18      if you'd like to take a break, please let us

                19      know.    Before taking the break, you will have to

                20      answer any questions that are pending before

                21      taking that break.       Okay?

                22             A.      Okay.




                                     MAGNA.    LEGAL SERVICES


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                                                                                   Page 8
                 1             Q.      Do you understand that you are here

                 2      today because you were a witness to an incident

                 3      on December 14, 2017 that occurred at a training

                 4      in Virginia Beach?

                 5             A.      I do.

                 6             Q.      Are you familiar with the acronym

                 7      CEW?

                 8             A.      I am.

                 9             Q.      And do you understand that that is

                10      shorthand for conducted electrical weapon?

                11             A.      That's correct.

                12             Q.      Okay.    I'll -- I -- I and the other

                13      attorneys will likely be using that acronym

                14      throughout, so I just wanted to confirm that our

                15      understanding was the same.

                16             A.      Okay.

                17             Q.      Do you also understand that

                18      Mr. Curran, Mr. Shawn Curran, has brought suit

                19      against Axon and Master Instructor Nelson?

                20             A.      Yes.

                21             Q.      Do you recall preparing a witness

                22      statement in relation to the incident on




                                     MAGNA.    LEGAL SERVICES


                                              JA-810
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                                                                                  Page 9
                1       December 14, 2017?

                2             A.       I do.

                3             Q.       Have you had the chance to review

                4       that statement prior to today?

                5             A.       I have.

                6             Q.       And did that -- did your review

                7       refresh your memory as to the incident on

                8       December 14, 2017?

                9             A.       It did.

               10             Q.       Okay.    And are you presently employed

               11       by the Suffolk Police Department?

               12             A.       I am.

               13             Q.       And what is your current position

               14       there?

               15             A.       I'm a sergeant.

               16             Q.       And how long have you been a sergeant

               17       at Suffolk Police Department?

               18             A.       Since September of 2019.

               19             Q.       And prior to being a sergeant there,

               20       what previous positions did you have at

               21       Suffolk PD?

               22             A.       I've been a detective and a street




                                     MAGNA.    LEGAL SERVICES


                                            JA-811
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                                                                                    Page 10
                1       officer.

                2             Q.       And approximately how long were you

                3       in each of those roles?

                4             A.       I was a street officer from May of

                5       2011 until 2014, the -- the end of 2014.              And

                6       then from 2014 until September of 2019 I was a

                7       detective.

                8             Q.       Okay.     And as a sergeant, is it

                9       accurate to say that you have a supervisory

               10       position at Suffolk Police Department?

               11             A.       That's correct.

               12             Q.       And have you -- in your time at

               13       Suffolk Police Department, have you served as an

               14       instructor in any capacity?

               15             A.       I have.

               16             Q.       And what -- what times did you

               17       participate as an instructor or with an

               18       instructive capacity?

               19             A.       I'm a general instructor and also a

               20       TASER instructor and a firearms instructor.

               21             Q.       And do you have special training or

               22       certifications?




                                     MAGNA.    LEGAL SERVICES


                                            JA-812
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                                                                                 Page 11
                1             A.       In reference to being an instructor?

                2             Q.       In -- in regards to being an

                3       instructor or any other special training or

                4       certification related to your roles at Suffolk

                5       Police Department.

                6             A.       I do.    Mainly my certifications are

                7       related to firearms and TASER, but I've

                8       attended --

                9             Q.       Okay.    Have you --

               10             A.       -- a specialty course while as a

               11       detective as well.

               12                      MS. REPORTER:         Sorry.   You were cut

               13             off.    Could you repeat that?

               14                      THE WITNESS:      I was just saying

               15             that I've also -- yes.           I've also attended

               16             specialized training in reference to being

               17             a detective, particularly focusing on

               18             white collar crimes.

               19                      BY MR. BROWN:

               20             Q.       Okay.    Have you had -- aside from

               21       your TASER instructor training and your firearms

               22       training, have you had other use of force




                                     MAGNA.    LEGAL SERVICES


                                            JA-813
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                                                                                 Page 12
                1       training?

                2             A.       Just generalized training, nothing

                3       specific, and a normal, like, in-service

                4       training.

                5             Q.       And -- and would that in-service

                6       training incorporate things like defensive

                7       tactics or close quarters combat?

                8             A.       It would.

                9             Q.       Would it also include training on

               10       using a baton?

               11             A.       Baton, an ASP, and deescalation

               12       techniques, things of that nature.

               13             Q.       Okay.    In practical training -- in

               14       any practical training, would you agree that

               15       there is a risk of injury?

               16             A.       That's correct.

               17                      MR. BUCKNER:      Object to the form of

               18             the question for practical.

               19                      But if you understood what he meant

               20       by practical, Sergeant -- I think you may have

               21       because you've already answered -- that's fine.

               22                      THE WITNESS:      I -- I would say that




                                     MAGNA.    LEGAL SERVICES


                                            JA-814
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                                                                                 Page 13
                1             in any training that involves dynamic

                2             movement, there is an inherent risk

                3             involved in that and you just -- as -- as

                4             an instructor you have to take steps to

                5             minimize that risk as much as possible.

                6                      BY MR. BROWN:

                7             Q.       Okay.    And would you characterize

                8       your TASER instructor training, your firearms

                9       training and the other trainings that you

               10       mentioned as qualifying as practical in that

               11       sense?

               12             A.       I would.

               13             Q.       Okay.    And when you're engaged in

               14       that type of practical training, do you agree

               15       that it's important to follow all safety

               16       protocols?

               17             A.       That's correct.

               18             Q.       And from your perspective, why is

               19       that important?

               20             A.       In order to minimize any risk that's

               21       involved with the training.

               22             Q.       Would you agree that when engaged




                                     MAGNA.    LEGAL SERVICES


                                            JA-815
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                                                                                 Page 14
                1       in -- in practical training that it's important

                2       to use safety equipment?

                3             A.       It is.

                4             Q.       Why is that?

                5             A.       Safety equipment is one part of the

                6       process that can help prevent injuries.

                7             Q.       Do you agree that participants in

                8       practical trainings are expected to follow safety

                9       protocols and use safety equipment?

               10             A.       If an instructor requires safety

               11       equipment or gives specialized instruction on how

               12       to be safe during an exercise, the students or

               13       participants should follow those instructions.

               14             Q.       And do you think that it's -- it's

               15       reasonable to follow those instructions as a

               16       participant in those practical trainings?

               17             A.       I do.

               18                      MR. BUCKNER:      Object to the form of

               19             the question, but I think you've already

               20             answered, Sergeant.

               21                      BY MR. BROWN:

               22             Q.       In regard to the December 14, 2017




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                                            JA-816
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                                                                                 Page 15
                1       training, do you recall how many days -- let me

                2       start over.

                3                      In regard to the December 2017

                4       training that you attended, do you recall how

                5       many days it was in total?

                6             A.       I do not recall.

                7             Q.       Do you recall that there was a

                8       classroom portion?

                9             A.       Yes.

               10             Q.       And do you recall that there was a --

               11       a separate portion not conducted in the classroom

               12       in -- that I would -- let me start over.

               13                      Do -- do you recall that there was a

               14       separate portion of the training that was not in

               15       the classroom?

               16             A.       I do.

               17             Q.       And where was that conducted, that

               18       second?

               19             A.       In the training academy there was a

               20       gymnasium that we did exercises in.

               21             Q.       Okay.    In terms of your attendance,

               22       did your department schedule your attendance for




                                     MAGNA.    LEGAL SERVICES


                                              JA-817
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                                                                                 Page 16
                1       you?

                2              A.      As far as signing up for the class,

                3       my --

                4              Q.      Yeah.    How was it that you --

                5              A.      -- have a training --

                6              Q.      -- came --

                7              A.      Yes.    We have a training coordinator

                8       that sets up our -- our attendance for us.             So if

                9       we were interested or required to attend certain

               10       training, we send the information to the training

               11       coordinator and they set it up for us unless

               12       there's --

               13              Q.      Okay.

               14              A.      -- a specific instance where they --

               15       they have occasionally required us to sign up for

               16       our own training.

               17              Q.      I'm sorry.      You cut off at the very

               18       end.    There have been occasions --

               19              A.      There have been occasions where they

               20       have requested that we fill out the application

               21       or, you know, if there's required paperwork,

               22       sometimes they do ask us to fill that out to




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                                              JA-818
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                                                                                 Page 17
                1       assist them.     But for the most part, the majority

                2       of the time training is done through a training

                3       coordinator.

                4             Q.       Okay.    And in terms of your CEW

                5       training historically, what was your initial

                6       certification?       When was that done?

                7             A.       I don't recall.       I -- I would think

                8       that it was probably done when I was going

                9       through the basic law enforcement academy.             And

               10       that would have been in 2011 and I would have

               11       just been as a CEW user.

               12             Q.       Okay.    And do you recall, was -- that

               13       law enforcement academy, that would have been at

               14       Suffolk Police Department, right?

               15             A.       No.   Suffolk is part of a -- a -- a

               16       joint academy, Hampton Roads Criminal Justice

               17       Training Academy.

               18             Q.       Okay.    And at that time in 2011, you

               19       were in basic law enforcement training to be

               20       employed at Suffolk Police Department?

               21             A.       That's correct.

               22             Q.       And do you recall what CEW -- what




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                                             JA-819
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                                                                                 Page 18
                1       TASER CEW you were initially certified to use?

                2             A.       I was initially certified on the X26.

                3             Q.       Okay.    And then since that, roughly,

                4       2011 certification, have you had subsequent

                5       recertifications?

                6             A.       I have.    Suffolk acquired X2s and I

                7       was recertified on using those.          And most

                8       recently I've also attended the TASER 7

                9       certification class as well.

               10             Q.       Okay.    And have you been recertified

               11       on the X26 as well?

               12             A.       Only as far as in the annual

               13       recertification requirements.

               14             Q.       Okay.    In -- in your certification

               15       and recertifications, do you recall them

               16       including both a classroom and a practical

               17       portion?

               18             A.       Yes.

               19             Q.       Okay.    Turning back to the December

               20       2017 training, this was -- was this the first

               21       instructor training that you had attended?

               22             A.       For TASER, yes, it was.




                                     MAGNA.    LEGAL SERVICES


                                              JA-820
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                                                                                   Page 19
                1             Q.        I should -- to clarify, then, I

                2       should say was this the first TASER CEW

                3       instructor training that you had attended on

                4       December -- in December 2017?

                5             A.        Yes, it was.

                6             Q.        Okay.    Why were you interested in

                7       becoming a -- a CEW instructor?

                8             A.        I like being an instructor.           I like

                9       teaching new people the proper techniques on --

               10       whether specifically to TASER or, you know, more

               11       generally, just law enforcement techniques that

               12       we use.      I want to make sure that specifically

               13       (remote transmission interference) the Suffolk

               14       Police Department that we can be the best that we

               15       can be, we have the best officers, and they have

               16       the most knowledge and training so that when they

               17       go out on the street and they're performing their

               18       duties they can do the best that they can.

               19             Q.       Okay.     In your TASER CEW

               20       certifications and recertifications, do you

               21       recall reviewing PowerPoint slides?

               22             A.       I do.




                                     MAGNA.     LEGAL SERVICES


                                            JA-821
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                                                                                 Page 20
                1             Q.       And do you recall reviewing slides

                2       that included warnings in relation to the TASER

                3       CEWs?

                4             A.       I do.

                5             Q.       Do you recall those warnings

                6       including addressing specifically the possibility

                7       of permanent vision loss and penetration

                8       injuries?

                9             A.       I do.

               10             Q.       Do you recall being instructed or

               11       viewing slides on the safety officer in these

               12       trainings?

               13             A.       Specifically to say I reviewed a

               14       slide on it, I do not recall; but I do know that

               15       in the training a safety officer was covered.

               16             Q.       Okay.    And what was your

               17       understanding of -- of the safety officer's role?

               18             A.       In addition to one person being

               19       designated a safety officer, all participants are

               20       also responsible for ensuring that there's a safe

               21       environment that's going on.            But the one

               22       specific person that was assigned that is




                                     MAGNA.    LEGAL SERVICES


                                            JA-822
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                                                                                 Page 21
                1       supposed to view the overall exercise and ensure

                2       that it is proceeding in a safe manner.

                3             Q.       Okay.    And during the -- you

                4       mentioned earlier that you recalled having a

                5       classroom portion during the December 2017

                6       training; is that accurate?

                7             A.       Yes.

                8             Q.       And do you recall about how many

                9       students were in attendance during the classroom

               10       portion?

               11             A.       Specific number, no, I do not recall.

               12       I would definitely say that it was more than 10,

               13       but probably less than 30.

               14             Q.       Okay.    Did you know -- was there

               15       anyone else there from the Suffolk Police

               16       Department?

               17             A.       Yes, Officer Grayson Craun.

               18             Q.       Okay.    And did you know

               19       Officer Grayson Craun?         Had you met him prior to

               20       this classroom portion on December 13, 2017?

               21             A.       Yes, I had.

               22             Q.       And how would you come to know




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                                              JA-823
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                                                                                 Page 22
                1       Officer Grayson Craun prior to that classroom

                2       portion?

                3             A.       Suffolk is not that large of a

                4       department.     So I know everyone pretty much that

                5       works there.     But also, because of

                6       Officer Craun's position as a member of the

                7       neighborhood enforcement team, when I was a

                8       detective we worked closely with the neighborhood

                9       enforcement team, whether it be trying to

               10       apprehend suspects for cases or just general

               11       neighborhood canvasses and things of that nature.

               12       So we worked closely together.

               13             Q.       Okay.    So is it fair to say that you

               14       had a professional relationship with Grayson

               15       Craun prior to the classroom portion?

               16             A.       That's correct.

               17             Q.       Had you interacted prior to the

               18       classroom portion with Master Instructor Richard

               19       Nelson?

               20             A.       Not that I recall, no.

               21             Q.       During that classroom portion, do you

               22       recall reviewing PowerPoint slides in general?




                                     MAGNA.    LEGAL SERVICES


                                            JA-824
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                                                                                 Page 23
                1               A.     Yes.

                2               Q.     And is it accurate to say that those

                3       slides covered topics such as the safety officer

                4       and warnings relating to TASER CEWs?

                5               A.     So going back to a previous statement

                6       that I made specific to the safety officer, I

                7       don't recall if there was a slide on it or if it

                8       was just something that was generally discussed.

                9       But, yes, warnings in general were covered on the

               10       PowerPoint slides.

               11             Q.       Okay.    Once the classroom segment had

               12       concluded, is it accurate to say that there was

               13       subsequently a practical portion that followed

               14       that?

               15             A.       Yes, that's correct.

               16             Q.       And that practical portion took place

               17       the day after the classroom session?

               18             A.       I don't recall if it was a one-day or

               19       two-day class, but it took place after the

               20       classroom portion.

               21             Q.       Okay.    And before -- after the -- the

               22       classroom portion had concluded and before




                                     MAGNA.    LEGAL SERVICES


                                              JA-825
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                                                                                 Page 24
                1       beginning the practical portion, was it your

                2       understanding that CEW use, including CEW use

                3       during training, carries some risk of injury?

                4             A.       Yes.

                5             Q.       Was it also your understanding at

                6       that time that CEWs are weapons that must be

                7       handled safely?

                8             A.       Yes.

                9             Q.       Was it your understanding at that

               10       time that CEWs deployed probes?

               11             A.       Yes.

               12             Q.       And you understood at that time that

               13       the probes are sharp and meant to penetrate skin?

               14             A.       Yes.

               15             Q.       And you understood that -- at that

               16       time that the probes could cause penetration

               17       injuries?

               18             A.       Yes.

               19             Q.       Were you aware at that time that

               20       during CEW training, every participant is able to

               21       call stop action anytime they see something

               22       unsafe?




                                     MAGNA.    LEGAL SERVICES


                                              JA-826
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                                                                                 Page 25
                1             A.       Whether the command be stop action or

                2       a similar command like index, yes, anyone could

                3       call that.

                4             Q.       What was the second command that you

                5       mentioned?

                6             A.       Index, short -- it's typically

                7       referred to as end exercise, but index is the

                8       shortened version of that.

                9             Q.       Understood.     Was there a distinction

               10       to you between when stop action would be called

               11       versus when end exercise would be called?

               12             A.       No, there was no distinction.          They

               13       both mean the same thing.

               14             Q.       Okay.    And -- and what was your

               15       understanding of what they would mean?

               16             A.       If anyone were to call out stop

               17       action or end exercise, all movement should stop.

               18       Any CEWs should be placed on safe and everyone

               19       will maintain their position, to include

               20       continuing to wear their safety equipment.

               21             Q.       Okay.    And in terms of safety

               22       equipment during that practical portion or just




                                     MAGNA.    LEGAL SERVICES


                                            JA-827
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                                                                                 Page 26
                1       prior to beginning that practical portion, was it

                2       your understanding that the attendees had to wear

                3       protective eye gear at all times?

                4             A.       That's correct.

                5             Q.       Turning to the -- the incident

                6       involving Mr. Curran specifically, do you recall

                7       what sort of location the practical training took

                8       place in?

                9             A.       It was similar to a gymnasium.

               10             Q.       Okay.    I'm going to share my screen

               11       here for a moment, so bear with me.

               12                      Does this picture look familiar to

               13       you or does the location -- let me restate.

               14                      Does the location depicted in this

               15       picture look familiar to you?

               16             A.       Yes, that is representative of what

               17       the training space looked like.

               18             Q.       Okay.    I'm going to scroll down to

               19       the next one.

               20                      And does this also fit with your

               21       recollection of the training space?

               22             A.       It does.




                                     MAGNA.    LEGAL SERVICES


                                            JA-828
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                                                                                 Page 27
                1             Q.       Okay.    As does this one?

                2             A.       It does.

                3             Q.       And this one as well?

                4             A.       It does.

                5             Q.       Okay.    And finally, this one too?

                6             A.       It does.

                7             Q.       Do these images, from your

                8       recollection, accurately depict the area where

                9       the scenarios were conducted?

               10             A.       It does.

               11             Q.       What did you consider to be the

               12       training area during the practical portion?

               13             A.       The training area was everything in

               14       this room, and I considered it to be that due to

               15       the fact that in addition to CEWs, we were also

               16       using airsoft pistols to simulate our lethal

               17       weapon -- weapon options.

               18                      So the student instructors that were

               19       not participating were supposed to be staged back

               20       in a hallway, but even then, those in the staging

               21       area were still able to be struck by the BBs.             So

               22       even in that staging area, people were still




                                     MAGNA.    LEGAL SERVICES


                                            JA-829
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                                                                                 Page 28
                1       wearing eye protection.

                2             Q.       Okay.    And you mentioned what types

                3       of devices were in your possession.           You

                4       mentioned a -- a -- an -- an -- an airsoft

                5       pistol, as well as the CEWs; is that true?

                6             A.       That's correct.

                7             Q.       And aside from those items, is it

                8       accurate to say that any other weapons were

                9       prohibited in the entire gym?

               10             A.       That's correct.

               11             Q.       And similarly, as you had mentioned,

               12       the safety glasses were required in the entirety

               13       of the training area, not just within the blue

               14       mat area; is that accurate?

               15             A.       That's correct.

               16             Q.       Okay.    I'd like to turn now to a

               17       different document.       This will be Exhibit 46.

               18                              (Thereupon, Deposition Exhibit

               19                    Number 46 was marked for

               20                    identification.)

               21                      BY MR. BROWN:

               22             Q.       Mr. Faubion, do you recognize this




                                     MAGNA.    LEGAL SERVICES


                                            JA-830
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                                                                                 Page 29
                1       document?     Let me zoom in a little bit.

                2               A.     I do.    That's the statement that I

                3       wrote on the date of the incident.

                4               Q.     Okay.    And was this statement

                5       something that you prepared voluntarily?

                6               A.     I was requested to provide a

                7       statement, but I was not forced or told that I

                8       must require -- provide a statement.

                9               Q.     Okay.    Who -- who instructed you

               10       about the preparation of this statement?

               11             A.       I do not recall who specifically

               12       requested a statement to be done.

               13             Q.       Okay.    So I want to begin with the

               14       first full paragraph here.           Actually, before I do

               15       so, I want to call your attention to where it

               16       says date and then there's a colon.

               17                      Do you see that?

               18             A.       I do.

               19             Q.       And you see the -- the following --

               20       the continuation of that line says December 14,

               21       2017?

               22             A.       Yes.




                                     MAGNA.    LEGAL SERVICES


                                              JA-831
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                                                                                 Page 30
                1               Q.     Would it be accurate to say that that

                2       date is the date on which this practical portion

                3       that you are recounting in your statement was

                4       conducted?

                5               A.     That's correct.

                6               Q.     Okay.    And the -- the first line in

                7       that main -- that first paragraph there says, On

                8       12-14-2017, I was in the gymnasium at VBLETA for

                9       TASER instructor practicals.

               10                      Did I read that correctly?

               11             A.       Yes.

               12             Q.       Okay.    And bear with me for a moment

               13       here.    I'm going to scroll through.

               14                      This is actually the final page of

               15       your written statement and this last paragraph

               16       states -- let me know if I read this correctly --

               17       I went first and provided instruction to

               18       Officer Craun.      After he went, we stood off to

               19       the side to watch the next students go through.

               20                      Did I read that correctly?

               21             A.       That's correct.

               22             Q.       Okay.    And in terms of what you're




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                                              JA-832
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                                                                                 Page 31
                1       describing there, when you say you went first,

                2       what do you mean by that?

                3             A.       So I was first told how to go through

                4       the scenario.     I went through the scenario first

                5       and then we were instructed to then teach the

                6       next student how to go through the scenario.

                7             Q.       Okay.    And -- and as your -- your

                8       statement says in the final paragraph here, after

                9       you had done your -- after you had gone through

               10       the scenario, then you were -- you -- your role

               11       next was to instruct Officer Craun.

               12             A.       That's correct.

               13             Q.       And after Officer Craun's scenarios

               14       were concluded, you recount that both of you

               15       stood off to the side to watch the next students.

               16                      Is it accurate to say that you then

               17       observed the rest of the scenarios that followed

               18       yours and Officer Craun's?

               19             A.       We have the opportunity to do so.          I

               20       do not recall if we stood there the entire time

               21       and watched all the students.           Once we were

               22       completed -- once we had completed what we were




                                     MAGNA.    LEGAL SERVICES


                                            JA-833
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                                                                                 Page 32
                1       supposed to do as far as instructing and

                2       participating, then we were free to move about in

                3       the gymnasium.       But for the most part, yes, we --

                4       we stood there.        And I know that at least myself,

                5       if not also Officer Craun, we also recorded some

                6       of the scenarios so that we could use them as

                7       training aids when we went back to Suffolk.

                8             Q.       I see.     Okay.      You -- your video cut

                9       out there for a moment.           Are you still there,

               10       Mr. Faubion?

               11             A.       Yes, I'm still here.

               12             Q.       Okay.     Just wanted to -- to confirm.

               13                      Do you recall the -- in general

               14       the -- the questions I asked you previously about

               15       stop action?

               16             A.       I do.

               17             Q.       And during the scenario that you went

               18       through, do you recall calling stop action?

               19             A.       No.

               20             Q.       Do you recall anyone else calling

               21       stop action during your scenario?

               22             A.       No.




                                     MAGNA.     LEGAL SERVICES


                                             JA-834
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                                                                                 Page 33
                1               Q.     And when you provided instruction to

                2       Officer Craun after the conclusion of your

                3       scenarios, do you recall anyone calling stop

                4       action during his scenarios?

                5               A.     No.

                6               Q.     And to your recollection, while you

                7       were present in the gymnasium while the

                8       subsequent scenarios were being conducted, do you

                9       recall stop action being called during any of

               10       those?

               11             A.       I do not.

               12             Q.       Do you recall being told that the

               13       scenarios could never go outside the blue mat

               14       area?

               15             A.       No.

               16             Q.       What was your understanding of the

               17       blue mats and their role in the scenarios?

               18             A.       They serve multiple purposes.          They

               19       were placed behind which one of the role players

               20       could stage so that the person participating in

               21       the scenario could not see what they were doing,

               22       whether it be if they were coming out with a




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                                             JA-835
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                                                                                 Page 34
                1       weapon or if they were coming out with no weapon,

                2       and it also was a guideline, if you would.             You

                3       would try to stay in those areas, but they were

                4       left open with knowing the fact that it's

                5       possible that the action may spill out from those

                6       areas.

                7             Q.       Okay.    Going back to your statements

                8       a moment ago, is it accurate to say that you do

                9       not recall calling stop action yourself --

               10             A.       Correct.

               11             Q.       -- at any point during the training?

               12                      And you don't recall anyone else

               13       calling stop action at any point during the

               14       training?

               15             A.       I do not.

               16             Q.       Okay.    Is the reason for that due to

               17       your impression that these trainings would be

               18       conducted in a safe manner?

               19                      MR. BUCKNER:      Object to leading.

               20                      Go ahead, Sergeant.

               21                      BY MR. BROWN:

               22             Q.       You may answer, Sergeant Faubion.




                                     MAGNA.    LEGAL SERVICES


                                            JA-836
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                                                                                 Page 35
                1               A.     I would say that there were no

                2       incidents that required the use of the command

                3       stop action.     Up until the point with the

                4       incident involving Officer Curran everything was

                5       flowing as it should, so there was no need for

                6       those commands.

                7               Q.     Okay.    Do you recall Master

                8       Instructor Nelson stating that the area outside

                9       of the blue mats was a safe zone?

               10             A.       I do not recall.

               11             Q.       Do you recall Master Instructor

               12       Nelson stating that inside the mats was a hot

               13       zone?

               14             A.       I do not recall that.

               15             Q.       Okay.    Let me turn back to your

               16       statement, so I'm going to share my screen again.

               17                      Okay.    So looking at the first page

               18       of your statement here, you recount about right

               19       in the middle of this first paragraph that --

               20       well, let me back up.

               21                      Your second sentence states that

               22       Around 1315 a practical scenario was being




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                                            JA-837
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                                                                                 Page 36
                1       conducted during which time a student was using a

                2       TASER CEW against a role player in a black

                3       protective suit.

                4                      Did I read that correctly?

                5               A.     That's correct.

                6               Q.     And then the next sentence in the

                7       first paragraph of your statement says, Another

                8       role player, Shawn Curran, was not participating

                9       during this scenario and was seated behind a blue

               10       mat, which was set up as a barrier.

               11                      Is that accurate?

               12             A.       That's correct.

               13             Q.       This mat was one of four being used,

               14       true?

               15             A.       That's correct.

               16             Q.       Okay.    And as you mentioned earlier,

               17       your -- your statement states that The role

               18       players would hide behind the mats while not

               19       participating and while beginning the scenario.

               20                      Is that accurate?

               21             A.       That's correct.

               22             Q.       So while you are observing -- at this




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                                            JA-838
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                                                                                 Page 37
                1       point in time while you're observing you've

                2       completed your scenario and can you estimate

                3       approximately how many scenarios had been

                4       completed prior to reaching the one involving

                5       Shawn Curran?

                6             A.       No, I do not recall how many there

                7       were.

                8             Q.       Okay.     Is it accurate to say that you

                9       had observed more than four or five scenarios run

               10       through prior to this?

               11             A.       I would say that that is fair.

               12             Q.       Okay.     And during the time of your

               13       observation, were you wearing protective glasses?

               14             A.       I was.

               15             Q.       And were -- do you recall the

               16       presence of other observers nearby while you were

               17       also observing yourself?

               18             A.       I do.

               19             Q.       And do you recall whether they were

               20       wearing protective glasses or other eye

               21       protection?

               22             A.       They were.




                                     MAGNA.     LEGAL SERVICES


                                            JA-839
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                                                                                 Page 38
                1             Q.       And was this in accordance with the

                2       safety protocols that Master Instructor Nelson

                3       had established?

                4             A.       That's correct.

                5                      MR. BUCKNER:      Object to foundation.

                6                      Go ahead.

                7                      BY MR. BROWN:

                8             Q.       During your classroom training prior

                9       you mentioned earlier that you had gone over

               10       various warnings in relation to TASER CEWs; is

               11       that true?

               12             A.       That's correct.

               13             Q.       And do you recall what that classroom

               14       component covered in terms of the safety -- the

               15       protective equipment?

               16             A.       At a minimum, it was eye protection

               17       for observers, and if you were -- if you were in

               18       a role play scenario where you had the potential

               19       to be struck by a CEW probe, then you were also

               20       supposed to be wearing a protective suit as well,

               21       which included a -- a full head covering with a

               22       face shield.




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                                            JA-840
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                                                                                 Page 39
                1             Q.       Okay.    And -- and this requirement

                2       that you recounted applied whether or not you

                3       were in the blue mat area?

                4             A.       The requirement for eye protection

                5       was for everyone inside the gym and the staging

                6       area in the hallway.

                7             Q.       Okay.    Do you recall who provided the

                8       glasses, the safety glasses?

                9             A.       The master instructor provided the

               10       safety glasses.

               11             Q.       Okay.    Turning back to your statement

               12       again, we're looking at the first page and the --

               13       the second paragraph here.           It states that, I

               14       observed the student fire his TASER CEW at the

               15       participating role player; is that correct?

               16             A.       That's correct.

               17             Q.       And then it continues, I then heard

               18       Officer Curran yell out and fall to the floor to

               19       the right, from my position of the mat he was

               20       behind.

               21                      Is -- did I read that correctly?

               22             A.       That's correct.




                                     MAGNA.    LEGAL SERVICES


                                            JA-841
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                                                                                  Page 40
                1               Q.     And you describe your statement here

                2       on -- the second paragraph of the first page then

                3       recounts Officer Curran lying on the ground,

                4       grabbing his face and then, after you walk over

                5       to him and observe the situation, you state that,

                6       I began looking for a first aid kit in the

                7       equipment room connected to the gymnasium,

                8       correct?

                9               A.     That's correct.

               10             Q.       Do you recall receiving direction

               11       from anyone to do this or you -- you decided to

               12       do that yourself?

               13             A.       I did not receive any direction to do

               14       that.    I did it on my own with Officer Craun.

               15             Q.       Okay.    And around this time that

               16       you're describing in the second paragraph, do you

               17       recall anyone calling stop action?

               18             A.       I do not recall.

               19             Q.       Okay.    I'm looking now at the -- the

               20       final page of your statement.           First paragraph

               21       here states that We were instructed to have eye

               22       protection in the form of safety glasses provided




                                     MAGNA.    LEGAL SERVICES


                                            JA-842
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                                                                                 Page 41
                1       by Instructor Nelson or our personal eyeglasses.

                2                      Did I read that correctly?

                3             A.       That's correct.

                4             Q.       Looking now at the -- the final

                5       paragraph again, we reviewed already the -- the

                6       first sentence there about you going first and

                7       instructing Officer Craun and then standing off

                8       to the side.

                9                      The last sentence there that you have

               10       states that No problems occurred with the other

               11       students until the incident with Officer Curran.

               12                      And when you state that there were no

               13       problems, what -- what do you mean by that?

               14             A.       I would mean that there were no major

               15       safety incidents that required a stop action or

               16       an end scenario to be called.

               17             Q.       Okay.    And you mentioned earlier that

               18       during your scenario, there was no call for stop

               19       action, correct?

               20             A.       Correct.

               21             Q.       Is it accurate to say that the only

               22       stop action -- let me restart.




                                     MAGNA.    LEGAL SERVICES


                                            JA-843
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                                                                                 Page 42
                1                      You don't recall stop action being

                2       called at -- at any point during this training on

                3       December 14, 2017?

                4             A.       I don't recall, no.

                5             Q.       Okay.    Prior to the incident with

                6       Officer Curran, do you recall seeing any

                7       scenarios going outside of the blue mat area?

                8             A.       I do.

                9             Q.       And, as I believe you've indicated

               10       previously, you don't recall anyone calling stop

               11       action at any point during this December 14, 2017

               12       training, correct?

               13             A.       That's correct.

               14             Q.       Prior to the incident with

               15       Officer Curran, did you observe anyone removing

               16       their protective helmet as a role player?

               17             A.       Yes.

               18             Q.       And can you describe that occurrence

               19       for me?

               20             A.       I recall that it was hot inside the

               21       gymnasium, so when there would be downtime when

               22       we were just discussing ways to improve the




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                                              JA-844
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                                                                                 Page 43
                1       techniques that were being used, oftentimes the

                2       role players would -- who were wearing the full

                3       body suits would take off their helmets or their

                4       head coverings.

                5             Q.       Okay.    And you stated that there's --

                6       from your testimony it sounds as though there's a

                7       time period between scenarios.

                8                      Is that accurate, where no -- let me

                9       rephrase.

               10                      There's a time period between

               11       scenarios in which there is not an active

               12       scenario being conducted?

               13             A.       Correct.    There were time periods

               14       when there was an active scenario going on.

               15       After -- after each active scenario there was

               16       also a time to discuss what had occurred.

               17             Q.       Okay.    And it was at the conclusion

               18       of the active scenario and before the beginning

               19       of the next scenario that you witnessed other

               20       role players removing their protective headgear?

               21             A.       That's correct.

               22             Q.       And is it accurate to say, then, that




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                                                                                 Page 44
                1       you did not call stop action then because you did

                2       not perceive a safety issue?

                3             A.       That's correct.

                4             Q.       When participating in your scenario,

                5       was it your impression that it was conducted

                6       safely?

                7             A.       Yes.

                8             Q.       Do you recall whether the scenario

                9       that you participated in went outside the blue

               10       mat area?

               11             A.       I do not recall.

               12             Q.       Do you recall seeing other scenarios

               13       going outside the blue mat area?

               14             A.       I do recall that, yes.

               15             Q.       And at those times you did not call

               16       stop action; is that accurate?

               17             A.       That's correct.

               18             Q.       Is it accurate, then, to say that you

               19       did not see anything unsafe?

               20             A.       That's correct.

               21             Q.       While you were going through your own

               22       scenario, as well as subsequently, when you




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                                              JA-846
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                                                                                  Page 45
                1       instructed Officer Craun and observed the later

                2       scenarios, did you have confidence that Master

                3       Instructor Nelson was conducting this training in

                4       a safe manner?

                5             A.       As a whole, yes.         Obviously, with any

                6       scenario and any training, there are obviously

                7       things that can be improved upon.            But, yes, on

                8       the whole I felt that it was conducted in a safe

                9       manner.

               10             Q.       And would those instances worthy of

               11       discussion be something that was raised in the

               12       time period between the scenarios that we

               13       discussed earlier?

               14             A.       If it was something that was more

               15       urgent, yes, it would have been something that

               16       was brought up during that time.           Other -- for

               17       other instances it was mostly myself and

               18       Officer Craun talking to each other in terms of

               19       how would -- how we would improve those

               20       situations for when we were conducting training

               21       back at our agency.

               22             Q.       Okay.    Just give me a few moments




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                                            JA-847
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                                                                                 Page 46
                1       here, please.

                2                      Okay.    Thank you, Sergeant Faubion.

                3       I -- i may have additional followup after

                4       Mr. Buckner.

                5                      MR. BROWN:     But Mr. Buckner, your

                6             questions.

                7

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                                     MAGNA.    LEGAL SERVICES


                                            JA-848
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                                                                                  Page 47
                1                      EVENING SESSION            (5:00 p.m.)

                2              EXAMINATION BY COUNSEL FOR PLAINTIFF

                3                      BY MR. BUCKNER:

                4             Q.       Sergeant Faubion, good afternoon.

                5       And am I pronouncing that correctly?           Is it

                6       Faubion?

                7             A.       Yes, sir.

                8             Q.       Sergeant Faubion, my name is Elliott

                9       Buckner and I represent Officer Curran in this

               10       matter that he's brought related to the injuries

               11       he sustained on December 14, 2017.           I know you

               12       understand that's why you're here, because you

               13       were there that day and you're one of the

               14       witnesses, right?

               15             A.       That's correct.

               16             Q.       Okay.    Let me start with you today

               17       asking a question about some of your testimony

               18       that you provided when Mr. Brown was asking you

               19       questions.

               20                      I think you said -- there it is.           I

               21       think you said that everybody in the gym had to

               22       wear protective eyewear, but if you were in an




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                                            JA-849
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                                                                                   Page 48
                1       area where you could be struck by CEW, you were

                2       required to be in a protective suit.

                3                      Is that correct?

                4             A.       Not entirely.         The protective suit

                5       was only for the role player in the scenario.              No

                6       one else was wearing a protective suit.

                7             Q.       Right.     And -- and is that because no

                8       one else -- it -- it wasn't anticipated that

                9       anyone else would be struck by a CEW?

               10             A.       That was correct.

               11             Q.       And I assume that the reason for that

               12       is because, consistent with the warnings that

               13       Axon gave, in addition to injuries to the eye if

               14       you're struck with a TASER probe, you could also

               15       be struck in other areas of your body, sensitive

               16       areas that could cause serious injury or damage

               17       or even death; is that right?

               18             A.       That's correct.

               19             Q.       And those include head, neck, heart,

               20       areas like that?

               21             A.       That's correct.

               22             Q.       And TASERs are dangerous, they're




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                                            JA-850
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                                                                                 Page 49
                1       weapons, aren't they?

                2             A.       That's correct.

                3             Q.       And as weapons, they can cause

                4       serious injury, harm, death and you've got to

                5       take special precautions when you're using them

                6       to try to minimize the risk of that harm, injury,

                7       death, correct?

                8                      MR. BROWN:     Object to the form.

                9             (Remote transmission interference.)

               10                      I'm sorry.

               11                      BY MR. BUCKNER:

               12             Q.       Sergeant Faubion, did you hear my

               13       question?

               14             A.       That we have to take special

               15       precautions to avoid injuries or potential death

               16       that comes throughout the use of a TASER?

               17             Q.       Yes, sir.

               18                      MR. BROWN:     I'm going to object to

               19             that question --

               20                      BY MR. BUCKNER:

               21             Q.       But you?

               22                      MR. BROWN:     -- on foundation and




                                     MAGNA.   LEGAL SERVICES


                                            JA-851
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                                                                                 Page 50
                1             form.

                2                      You may answer, Sergeant Faubion.

                3                      THE WITNESS:      Yes.   I would say

                4             that whenever we're using any type of

                5             weapon, we need to take precautions to

                6             ensure that we are not causing undue

                7             injury or death.

                8                      BY MR. BUCKNER:

                9             Q.       And when you're using a TASER even in

               10       training, if you don't use those -- take those

               11       special precautions, you increase the risk of

               12       harm, injury or death, fair?

               13             A.       That's correct.

               14             Q.       Did I hear you correctly that you

               15       are -- in addition to being TASER certified,

               16       you're also an instructor for firearms?

               17             A.       That's correct.

               18             Q.       So as part of your -- let me ask, are

               19       you certified as a firearms instructor?

               20             A.       I am.

               21             Q.       And is -- in your role as a firearms

               22       instructor, do you train other police officers on




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                                                                                 Page 51
                1       the use and safe use of firearms?

                2             A.       I do.

                3             Q.       And does that include live firing

                4       weapons?

                5             A.       It does.

                6             Q.       And does that include live firing

                7       weapons at both indoor ranges and outdoor ranges?

                8             A.       When it comes to Suffolk, we don't

                9       have any indoor ranges that we used, so all of my

               10       experience in both instructing and qualifying has

               11       been on outdoor ranges.

               12             Q.       Okay.    I -- even though you haven't

               13       been at an indoor range, I bet you can still

               14       answer my next question, which is:

               15                      When participants in firearm training

               16       are actively engaged in firing their weapons,

               17       other people are not permitted to be down range

               18       of the firing line; is that right?

               19             A.       That's correct.

               20             Q.       And they're not permitted to be down

               21       range of the firing line when the line is hot.

               22       And do you know what I mean when I say when the




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                                                                                  Page 52
                1       line is hot?

                2             A.       I do.    It's when the weapons that

                3       are -- you're using have the ability to fire

                4       projectile because they're -- they are loaded, or

                5       their magazines are -- have been inserted inside

                6       of them.

                7             Q.       Individuals are not permitted to be

                8       down range when the weapons are hot because they

                9       are at risk of being struck by that projectile

               10       and injured, harmed or killed, correct?

               11             A.       That's correct.

               12             Q.       And individuals are not permitted to

               13       stand near, adjacent to or behind a target during

               14       a live fire exercise, correct?

               15                      MS. REPORTER:         Sorry.   Could you

               16             repeat that?

               17                      BY MR. BUCKNER:

               18             Q.       Individuals are not permitted to

               19       stand near, adjacent to or behind a target during

               20       a live fire exercise; is that correct?

               21             A.       That's correct, other than there are

               22       specialty firearms ranges that have positions




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                                            JA-854
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                                                                                   Page 53
                1       near the targets where it's required to make

                2       quick changes to targets.            But, yes, generally

                3       speaking, no one should be down range or near a

                4       target.

                5               Q.     But -- but when those individuals

                6       make those changes to those targets on the

                7       specialized range, the -- the range isn't hot at

                8       that point, correct?

                9               A.     Correct.

               10             Q.       Sergeant, were you the very first

               11       person to go through practical training that day?

               12             A.       I was.

               13             Q.       And did you remain in the gym and

               14       observe the remainder of the training when the

               15       rest of the participants go through their

               16       training?

               17             A.       I believe I was there the whole time.

               18       I -- I may have walked back to the staging area

               19       at some point, but I was -- I was in the

               20       gymnasium for, like I say, at least most of the

               21       time.

               22             Q.       Were you in the gym the entire time




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                                                                                 Page 54
                1       from when you finished your scenario, finished

                2       your training, finished serving as a safety

                3       officer through the incident involving

                4       Officer Curran?

                5             A.       Yes, unless -- like I said, unless

                6       there was a time that I had walked back to the

                7       staging area, yes, I was in the gymnasium the

                8       entire time between me finishing up as the safety

                9       officer and the incident involving

               10       Officer Curran.

               11             Q.       Okay.    And I know you've already

               12       testified that at no time did anyone call stop

               13       action at all that day; is that correct?

               14             A.       That's correct.

               15             Q.       All right.     Sergeant, I want to show

               16       you a video taken of that day.          I'm going to

               17       share my screen with you in just a second.             Okay?

               18                      All right.     Do you see a still of

               19       the -- the video?

               20             A.       I do.

               21             Q.       All right.     And is this the -- is

               22       this the box drill, the practical drill that you




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                                            JA-856
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                                                                                 Page 55
                1       all were going through on that day of training?

                2             A.       That's correct.

                3             Q.       And I -- I know it's not HD quality,

                4       but do you know which of these people in this

                5       gym -- and I -- I'm not -- I suspect it was this

                6       gentleman here, but do you know which one was

                7       Mr. Nelson?     Are you able to pick him out?

                8             A.       No, I'm not able to pick out

                9       Mr. Nelson.

               10             Q.       Do you have any recollection what

               11       Mr. Nelson was wearing that day?

               12             A.       I -- I don't.         I know -- in -- in my

               13       head, thinking back on it, I would say that it

               14       was either a red or a black shirt, but I don't

               15       recall which one.

               16             Q.       Okay.    All right.       Sergeant, I'm

               17       going to play the video for you now.             And would

               18       you please let me know if you have any problems

               19       seeing the video in motion?

               20             A.       Okay.

               21             Q.       We've had some issues with it

               22       transmitting, so hold on one second.




                                     MAGNA.    LEGAL SERVICES


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                                                                                 Page 56
                1                      Is the video moving for you?

                2             A.       It is.

                3             Q.       All right.      I just paused it.

                4                      Do you see my cursor on the screen?

                5             A.       Your cursor is to the right over the

                6       person in the black protective suit?

                7             Q.       Yes, it is.      All right.    So the

                8       timestamp on the video is 28:27.          Do you see that

                9       in the lower left-hand corner of my screen?

               10             A.       I do.

               11             Q.       Okay.     At 28:27 is it fair to say

               12       that the role player, the aggressor, had just

               13       come out from behind the blue mat and was getting

               14       ready to enter the box created by those mats?

               15             A.       That's correct.

               16             Q.       And that was typical of the scenarios

               17       that were run that day; is that right?

               18             A.       That's correct.

               19             Q.       All right.      Let me hit play again.

               20                      Okay.     I've paused it and e paused it

               21       at 28:32.     My cursor now is on the role player,

               22       correct, the aggressor?




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                                                                                  Page 57
                1             A.       That's correct.

                2             Q.       And the gentleman in what appears to

                3       be a gray-colored shirt right behind the

                4       gentleman with the red shirt, he's the

                5       participant that's -- actually has the TASER in

                6       his hand; is that right?

                7             A.       I can't see what is in his hands, but

                8       he would be the person participating in the

                9       scenario that either has a TASER, the airsoft

               10       pistol or, if it was no force needed, no weapon

               11       in their hand.

               12             Q.       Okay.    All right.      Let me hit play

               13       again.

               14                      All right.     So it's 28:35 now and

               15       from the last time I've paused it to this time,

               16       did we see the participant and the role player

               17       exit the box created by the mats?

               18             A.       That's correct.

               19             Q.       And did we see the participant

               20       discharge a TASER into the role player consistent

               21       with the scenario that was being run?

               22             A.       From my screen I can't see it being a




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                                            JA-859
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                                                                                 Page 58
                1       TASER, but it -- the actions of the role player

                2       are consistent with being a TASER.

                3             Q.       All right.     Where my cursor is is the

                4       participant that has the weapon, correct?

                5             A.       Correct.

                6             Q.       Would you consider the people

                7       standing here that are in the path of the --

                8       where he's pointing his weapon to be down range

                9       of that weapon?

               10             A.       I would.

               11             Q.       And way -- the way the participant

               12       and the role player are configured at this

               13       present time when the weapon was discharged, if

               14       he missed the role player, he risks hitting the

               15       individuals that are off of the mat; is that

               16       correct?

               17             A.       If the probe was to come loose from

               18       the wires, yes.

               19             Q.       And that -- and that is a known risk

               20       of those probes.      It's part of the training,

               21       correct?

               22             A.       That's correct.




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                                            JA-860
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                                                                                 Page 59
                1             Q.       And these individuals, let's just

                2       assume that each one of them has eye protection

                3       on.   They are still at risk of that probe because

                4       they're not wearing the same suit that the role

                5       players were wearing, correct?

                6             A.       That's correct.

                7             Q.       They were at risk of being struck in

                8       sensitive areas like their head, their neck or

                9       their heart?

               10             A.       That's correct.

               11             Q.       Sergeant Faubion, with all of that,

               12       do you believe that a stop action should have

               13       been called as soon as the participant came out

               14       of the box, turned and pointed his weapon in a

               15       direction that caused the other individuals

               16       observing the drill to be down range from his

               17       weapon?

               18                      MR. BROWN:     Object to form and

               19             foundation.

               20                      BY MR. BUCKNER:

               21             Q.       You can answer, sir.

               22                      MR. BROWN:     You may answer,




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                                            JA-861
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                                                                                 Page 60
                1             Sergeant Faubion.

                2                      THE WITNESS:      Based on this being

                3             me being taught how to be an instructor, I

                4             did not know whether or not that would

                5             qualify as something that would cause a

                6             stop action.     I can say that this is

                7             not -- not necessarily saying this

                8             specific incident that we're looking at on

                9             the video, but of people coming outside of

               10             the blue mat areas where there are -- or

               11             where there are observers outside, that

               12             was something that Officer Craun and

               13             myself were discussing that we should not

               14             have that present during scenarios that we

               15             were running back at Suffolk.

               16                      BY MR. BUCKNER:

               17             Q.       And why is that?

               18             A.       Due to the risk of those individuals

               19       being struck by either TASER probes or the

               20       airsoft BBs.

               21             Q.       And to your knowledge, did

               22       Instructor Nelson at any time provide any




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                                                                                 Page 61
                1       remedial training to any participants in the

                2       class regarding participants coming outside of

                3       the box and pointing their weapon in the

                4       direction of someone who may not have adequate

                5       protection?

                6                      MR. CASEY:     Objection to form.

                7                      MR. BROWN:     Object to foundation.

                8                      Form.

                9                      BY MR. BUCKNER:

               10             Q.       You can answer, Sergeant.

               11             A.       No, I do not recall.

               12             Q.       All right.     Sergeant, bear with me

               13       for just a second.

               14                      Okay.    Sorry about that.

               15                      All right.     Sergeant, I've jumped

               16       ahead now to 29:29 in the video.          Do you see that

               17       on your screen?

               18             A.       I do.

               19             Q.       Okay.    And it looks like we've got

               20       the next participant coming into the box to go

               21       through their scenarios.         This person I presume

               22       to be the student instructor in training and then




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                                                                                     Page 62
                1       we've got one of the role players back here.

                2                      Is that all accurate?       And I -- and I

                3       tell you what, Sergeant, let me do this.              Let me

                4       play a little bit so I can put it in context for

                5       you.    It's hard to do that with a still.            Hold

                6       on.

                7                      Okay.    Do -- does that look to be --

                8       the gentleman in the red at 29:36 inside the box,

                9       does he look like he's going to be the

               10       participant in the scenario based on where he's

               11       standing?

               12              A.      Yes, either the participant or the

               13       instructor.

               14              Q.      All right.     And this would be the

               15       student instructor if the gentleman in the red is

               16       the participant in the scenario?

               17              A.      Correct.

               18              Q.      And do you know whether this is

               19       Mr. Nelson standing off to the side?           Did he --

               20       and let me ask you a different question first.

               21                      Did Mr. Nelson observe all of the

               22       scenarios?




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                                                                                 Page 63
                1             A.       I believe so.

                2                      MR. BROWN:     Object to foundation.

                3                      BY MR. BUCKNER:

                4             Q.       Was there any time that you noted

                5       that Mr. Nelson was not present in the gym when

                6       scenarios were going on?

                7             A.       Not that I recall.

                8             Q.       All right.     And this is one of the

                9       role players standing off to the side; is that

               10       correct?

               11             A.       That does appear to be someone

               12       wearing one of the black protective suits, yes.

               13             Q.       Okay.    Let me play a little bit more.

               14                      All right.     So I've stopped at 29:46.

               15       And the last time I stopped it it looks like the

               16       other role player came up from behind the blue

               17       mat where they had that bench setup that you saw

               18       in the pictures that Mr. Brown asked you about;

               19       is that correct?

               20             A.       That's correct.

               21             Q.       And that second role player now has

               22       walked behind the mats and it appears that he's




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                                                                                 Page 64
                1       getting ready to enter the box to proceed with

                2       the scenario, correct?

                3             A.       That's correct.

                4             Q.       And the other role player, who we've

                5       already identified and I've got my cursor on,

                6       he's not wearing his helmet right there, correct?

                7             A.       Correct.     It does not appear that he

                8       is wearing a helmet.

                9             Q.       Okay.    Let me run it a little

               10       further.

               11                      Okay.    So that's -- I just stopped it

               12       at 29:53 and that's the end of the scenario,

               13       correct?

               14             A.       It appears so, because the role

               15       player is on the ground.

               16             Q.       All right.     During the pendency of

               17       that scenario, while it was being run, did the

               18       inactive role player ever put his helmet on?

               19             A.       Not that I could see.

               20             Q.       All right.     So a -- a scenario was

               21       run without the role player who wasn't actively

               22       participating having a helmet on.




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                                                                                 Page 65
                1                      Do you know whether he had glasses

                2       on?

                3              A.      No, I don't know if he did have

                4       glasses on or not.

                5              Q.      And based on his proximity to where

                6       the simulation took place, should he be fully

                7       protected?     In other words, if he's going to be

                8       standing up there, should he have both his suit

                9       and his helmet on to protect him because he's

               10       close to the -- where a TASER discharge could go

               11       off?

               12              A.      I would say that he should at least

               13       have some form of eye protection on.

               14              Q.      Okay.    Do you know whether any

               15       corrective action was taken following this

               16       simulation to talk to him about having his helmet

               17       or glasses on?

               18              A.      Not that I recall.

               19              Q.      Okay.    So did -- did seeing the video

               20       refresh your recollection at all, Sergeant,

               21       because I think you said that you don't recall

               22       any of them having their helmets off during an




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                                                                                 Page 66
                1       actual live simulation.         We've just seen that one

                2       did, in fact happen.

                3                      So is it possible that there were

                4       times during training that day when the role

                5       players did not have their helmet on when there

                6       was an actual live scenario taking place?

                7                      MR. BROWN:      Object to foundation.

                8                      BY MR. BUCKNER:

                9             Q.       You can answer, Sergeant.

               10             A.       Yes.     And I can say that I was

               11       present during this incident because at the

               12       bottom part of the screen there's an individual

               13       in a white or a tan shirt.           I'm the person

               14       immediately to the left of him.           And immediately

               15       to the left of me is Officer Craun.

               16             Q.       Right.     So the gentleman that I've

               17       got my cursor on right now, dark pants,

               18       light-colored shirt, at least a bald spot, then

               19       is that -- is that the person you were talking

               20       about that you used as a reference point?

               21             A.       I did.

               22             Q.       And then as we're looking at the




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                                              JA-868
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                                                                                 Page 67
                1       video to that gentleman's left, the next person

                2       closest to him on his left is you?

                3             A.       That's correct.

                4             Q.       And that's Officer Craun that you're

                5       talking to?

                6             A.       That's correct.

                7             Q.       And Sergeant Faubion, is it fair to

                8       say that -- let -- well, actually, let me take a

                9       step back.

               10                      I think you had mentioned before that

               11       there was an instruction that everybody in the

               12       class is a safety officer, if they see something

               13       they're supposed to say something; is that right?

               14             A.       That's correct.

               15             Q.       There was also a designated safety

               16       officer for each -- each scenario, correct?

               17             A.       That's correct.

               18             Q.       And that person was supposed to be

               19       actively observing the scenario and the

               20       surroundings to see if there was anything done

               21       unsafely, correct?

               22             A.       That's correct.




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                                                                                     Page 68
                1             Q.       And was the master instructor also

                2       observing and responsible for ensuring that the

                3       training was conducted safely?

                4                      MR. CASEY:     Objection to form and

                5             foundation.

                6                      BY MR. BUCKNER:

                7             Q.       Sergeant, you can answer.

                8             A.       That's correct.

                9             Q.       And is it safe to say that while

               10       everyone is a safety officer and should say

               11       something if they see something, the primary

               12       responsibility during the -- during these

               13       scenarios is with the designated safety officer

               14       and the master instructor conducting the

               15       training?

               16                      MR. CASEY:     Objection to form.

               17                      MR. BROWN:     Object to foundation.

               18                      MS. REPORTER:         I'm sorry?

               19                      MR. BROWN:     It -- I was -- I was

               20             objecting to Mr. Buckner's question.              It

               21             calls for a legal conclusion.

               22




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                                            JA-870
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                                                                                 Page 69
                1                      BY MR. BUCKNER:

                2             Q.       Sergeant Faubion, you can go ahead.

                3             A.       Yes, the primary parties responsible

                4       are the instructor and the safety officer.

                5             Q.       At any time -- at any time during

                6       your training over that two-day period -- excuse

                7       me one moment.

                8                      At any time during your training over

                9       that two-day period, did Mr. Nelson ever provide

               10       training to you or, to your knowledge, anyone

               11       else regarding specific safety violations to be

               12       on the lookout for when you were the designated

               13       safety officer for a simulation?

               14             A.       I do not recall any specific thing

               15       that we were supposed to look for, no.

               16             Q.       Okay.    Sergeant, I think you also

               17       testified -- I'll pop it -- pop this off of

               18       there.     So that was -- the final one we ended up

               19       on was 29:35 on the video, just in case I didn't

               20       say it.

               21                      Sergeant, I think you also testified

               22       that you and Officer Craun recorded some of the




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                                                                                 Page 70
                1       scenarios to use as -- as training aids back in

                2       Suffolk; is that correct?

                3             A.       That's correct.

                4             Q.       Do you both still have those videos?

                5             A.       I know that I have some of them, like

                6       around three, I think.

                7             Q.       Okay.    If -- if I provide you with my

                8       contact information, is that something that you'd

                9       be able to get to me that I could then share with

               10       the other attorneys?

               11             A.       Yes.

               12             Q.       All right.      What would be the best

               13       way for me to get my contact information to you?

               14             A.       If you would just send me an E-mail.

               15             Q.       All right.      What is your E-mail, sir?

               16             A.       M as in Mary, F as in Frank, A-U, B

               17       as in boy, I-O, N as in November at Suffolk VA,

               18       like the abbreviation for Virginia, dot U.S.             So

               19       that's first initial, last name at suffolkva.us.

               20             Q.       Terrific.       I'll -- I'll send you an

               21       E-mail with all my contact information and

               22       whenever I receive it I'll share it with the




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                                                                                 Page 71
                1       others.      And would you mind checking with

                2       Officer Craun to see if he has any that he'd be

                3       willing to share with us?

                4             A.       I can do that, yes.

                5             Q.       Terrific.     Thank you.

                6                      Sergeant Faubion, have you ever

                7       participated in a box drill before December 14,

                8       2017?

                9             A.       A box drill being that we were inside

               10       of the standing blue mats?

               11             Q.       Yeah.    And I probably should have

               12       started that a little bit differently and I

               13       apologize.     I kind of jumped ahead.        You're not

               14       the first deposition we've taken.          And when we

               15       took some other depositions, including that of

               16       Mr. Nelson, he referred to this as a box drill

               17       where you set up the mats to create a confined

               18       space, a box, with openings for the role players

               19       to come into.

               20                      And so when I say box drill, it's --

               21       it's the one that you participated in on

               22       December 14, 2017.




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                                                                                 Page 72
                1                      Is that fair?

                2             A.       Okay.     I do not recall any other

                3       trainings that I've been in that have involved

                4       standing mats with spaces in between them.

                5             Q.       Have you ever participated in any

                6       training that simulated a box drill like this

                7       using any other materials?

                8             A.       No.     The only -- the closest thing

                9       that I've been in is just being in a small room.

               10             Q.       Do you know who set up this drill

               11       like this with the mats and the placement of the

               12       bench that you saw in the prior pictures that

               13       Mr. Brown went through with you?

               14             A.       No, I don't know who did that.

               15             Q.       You didn't participate in setting it

               16       up at all, did you?

               17             A.       Not that I recall, no.

               18             Q.       Okay.     Do you recall what you were

               19       told about this drill in advance?

               20             A.       I mean, there were several different

               21       drills, but specifically to how we were supposed

               22       to interact?     Is that what your question is?




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                                                                                 Page 73
                1              Q.      Yes.

                2              A.      The -- the main scenario was supposed

                3       to take place inside of the blue mats and you

                4       would typically start out a -- a lot of times

                5       with your eyes closed if you were the participant

                6       and then you would open your eyes at the command

                7       of the instructor and you would then react based

                8       on what you then observed and what the role

                9       player was presenting.

               10              Q.      So was it your understanding before

               11       you went into the gym that day that the scenario

               12       was intended to be played out inside the confines

               13       of the four mats?

               14              A.      Whenever it was possible to do so,

               15       yes.

               16              Q.      Did -- did Mr. Nelson ever instruct

               17       you or, to your knowledge, anyone else about how

               18       far outside the mats was permissible or how far

               19       outside the mats you could go during a scenario?

               20              A.      No, he did not.

               21              Q.      And in your statement that you've

               22       already reviewed at length with Mr. Brown -- I'm




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                                                                                 Page 74
                1       not going to go through it all with you again,

                2       but you did reference that -- the mats, which

                3       were set up as a barrier.            By that did you mean

                4       that the mats were intended to contain the action

                5       of the scenario?

                6               A.     It was designed to hide from view

                7       what the role players were doing to start out the

                8       scenarios.     And ideally, you would want to stay

                9       inside those.     But I don't recall any specific

               10       direction saying that if we were to spill outside

               11       of the barriers that anything was supposed to

               12       stop.

               13             Q.       And when you say ideally it was

               14       supposed to stay inside the barriers, what do you

               15       mean by that?

               16             A.       So if you could take action, whether

               17       it be -- if it was just verbal or using a -- your

               18       CEW or your pistol that you were provided, if you

               19       could conclude what you needed to inside of that,

               20       then we should have -- you know, again, not

               21       saying specifically that we were told that, but

               22       that was my understanding, we would want to keep




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                                            JA-876
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                                                                                  Page 75
                1       as much as we could inside of the mats.

                2             Q.       And part of the reason for that is

                3       safety, right?

                4             A.       Part of it is safety and part of it

                5       is to force a response if -- if there was no

                6       limit, there are no confines to our movement, it

                7       would open us up to other use of force options

                8       that weren't necessarily what we were trying to

                9       do in that mode of instruction.

               10             Q.       And were those the two reasons why,

               11       when you and Officer Crown were -- Craun were

               12       talking about it, you said that when you

               13       implemented it back in Suffolk, you were going to

               14       keep the action within the confines of the box?

               15             A.       Well, one of the things that we

               16       discussed was not using a box generally.              But if

               17       we were going to do something where we were

               18       limiting the size, yes, we would want to keep

               19       everything inside the box.

               20             Q.       Okay.    Do you recall Mr. Nelson

               21       discussing with Mr. Curran anything about what he

               22       was supposed to do when he wasn't actively




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                                                                                 Page 76
                1       engaged in a scenario?

                2             A.       No, I do not recall.

                3             Q.       Do you recall any discussions that

                4       Mr. Nelson had with Mr. Curran about what he was

                5       supposed to do when he was back in by -- behind

                6       the mat where the bench was?

                7             A.       No, I do not.

                8             Q.       Did you hear Mr. Nelson say anything

                9       to either of the role players, Mr. Curran or the

               10       other one, about whether they could take their

               11       helmets off at any time?

               12             A.       No, I do not recall.

               13             Q.       All right.     So as you sit here today,

               14       you have no knowledge of what, if anything, if

               15       anything at all, was said by Mr. Nelson to the

               16       two role players about where they were supposed

               17       to be located, what they were supposed to do when

               18       they weren't actively participating in the

               19       scenario or what they were supposed to do

               20       regarding taking their helmet off during the

               21       training?

               22             A.       That's correct.




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                                                                                 Page 77
                1             Q.       Do you recall Mr. Nelson ever telling

                2       you or anyone else in the training that the

                3       entire gym was a hot area, an action area in

                4       play, that the entire gym was -- was permissible

                5       for the action to take place when the scenarios

                6       were playing out?

                7             A.       I don't specifically recall any

                8       specific terms like a hot area.          I -- like I

                9       previously stated, I do recall that we were

               10       supposed to have eye protection on both inside

               11       the gym area and inside the staging area.

               12             Q.       This -- well, the staging area, was

               13       that the hallway?

               14             A.       That's correct.

               15             Q.       Was there risk of getting an injury

               16       to the eye while you were out in the hallway?

               17       Was that open to the gym somehow?          I'm

               18       envisioning a closed-off hallway with a door.

               19             A.       I believe that there were doors, but

               20       I know that people -- and in my memory of it that

               21       people were going in and out of those doors.             So

               22       if you were standing there, you did have to have




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                                                                                   Page 78
                1       eye protection on as well.

                2             Q.       Okay.    You had referenced in between

                3       scenarios there was some downtime.

                4                      During that downtime did people take

                5       their eyeglasses off, their safety glasses?

                6             A.       Individuals wearing safety glasses, I

                7       do not recall anybody doing that, but I do recall

                8       the role players taking off their helmets.

                9             Q.       And we know now that they took off

               10       their helmets not only during the downtime, but

               11       also during at least one live scenario.

               12             A.       That's correct.

               13             Q.       And Sergeant Faubion, I appreciate

               14       your patience here.       Mr. Brown did a good job of

               15       covering a lot of ground.            I'm trying not to be

               16       duplicative of those efforts late on a Friday

               17       afternoon, so bear with me.            I'll see if I can

               18       skip through a few things.

               19                      So I think you've already testified

               20       that, to your knowledge, there was never a time

               21       when Mr. Nelson wasn't present during this -- the

               22       active scenarios; is that right?




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                                            JA-880
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                                                                                 Page 79
                1             A.       I believe so, yes.

                2             Q.       I think you also testified that there

                3       wasn't ever a time, to your knowledge, when

                4       Mr. Nelson wasn't actively observing the conduct

                5       of those scenarios; is that right?

                6             A.       That's correct.

                7             Q.       And to your knowledge, was there ever

                8       a time when Mr. Nelson couldn't have called stop

                9       action during one of the scenarios, anything that

               10       would have prevented him from doing that?

               11             A.       I know -- I can't say that it was

               12       specific to during scenarios.           I know that there

               13       were times when he got phone calls that he had to

               14       answer, but I can't specifically say whether or

               15       not it was during an active scenario or if it was

               16       during one of the downtimes.            But I do know there

               17       were times that we were in the gym that he

               18       received phone calls.

               19             Q.       Okay.    Was there ever a time when

               20       Mr. Nelson wasn't the lead instructor in charge

               21       of the scenarios?

               22             A.       As we were all -- this was a




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                                            JA-881
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                                                                                 Page 80
                1       instructor class.      We were supposed to take on

                2       the role of the instructor during the scenarios.

                3       So in that aspect, as far as the ones that were

                4       giving the commands, each time a new student came

                5       up they were, quote/unquote, the lead instructor

                6       providing the instruction.           But, again, to my

                7       knowledge, Mr. Nelson was present during those

                8       times.

                9             Q.       And -- and that's an important

               10       distinction, so let me try to rephrase that a

               11       little bit.

               12                      Understanding that each of the

               13       students participating in the class rotated

               14       through four scenarios where they were the

               15       student instructor for the scenario, right?

               16             A.       Correct.

               17             Q.       But there was only one actual

               18       instructor for all of the class, and that was

               19       Mr. Nelson, not a student instructor, but the

               20       instructor for the class?

               21             A.       To my knowledge, yes.

               22             Q.       To your knowledge, did anyone else




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                                                                                      Page 81
                1       ever come in and relieve him of his instructor

                2       duties while the scenarios were going on?               Did

                3       anybody else come in and say all right, this guy

                4       is in charge while I go to the bathroom or go

                5       take a lunch break or anything like that?               Did

                6       that ever happen?

                7             A.       Not that I recall, no.

                8             Q.       All right.     Sergeant, that's all I've

                9       got for you for right now.            I'm not sure if

               10       Mr. Casey has anything for you.

               11             A.       Okay.

               12             Q.       Thank you.

               13                      MS. REPORTER:         Could we take a

               14             short break?      I'm sorry.

               15                      MR. CASEY:     Yeah, that's fine.

               16                      MR. BUCKNER:      Sure.

               17                      THE WITNESS:      Okay.

               18                      VIDEO OPERATOR:         It's 5:38 p.m. --

               19                      MR. BROWN:     A five-minute break?

               20                      MR. BUCKNER:      Does -- does five

               21             minutes work?

               22                      THE WITNESS:      Yes, that's fine for




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                                                                                       Page 82
                1              me.

                2                       MR. BUCKNER:      All right.      Why don't

                3              we be ready to go in five minutes.               It's

                4              getting late for all of us on the East

                5              Coast.

                6                       MS. REPORTER:        Thank you.

                7                       (Thereupon, a brief recess was

                8                        taken.)

                9                       VIDEO OPERATOR:       The time is

               10              5:42 p.m.    We're back on the record.

               11       EXAMINATION BY COUNSEL FOR DEFENDANT RICHARD NELSON

               12                       BY MR. CASEY:

               13              Q.       Sergeant Faubion, good afternoon.

               14         I'm Brian Casey.       I represent Richard Nelson.

               15         And I'll have a few questions for you, but not

               16         very many.

               17                       Are -- can you hear me okay?

               18              A.       I can.

               19              Q.       Good.     I want to talk a little bit

               20         about the scenarios.

               21                       Did the scenarios help train students

               22         to assess whether the role player posed a threat




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                                                                                 Page 83
                1       and to respond accordingly?

                2             A.       They did.

                3             Q.       And did the scenarios help train the

                4       students to act quickly after they encountered

                5       the role player?

                6             A.       They did.

                7             Q.       And why is learning to act quickly

                8       after encountering the role player part of the

                9       scenario training, to your understanding?

               10             A.       Because every time as law enforcement

               11       officers when we're dealing with a situation,

               12       there's going to be something unexpected that

               13       happens and we need to be able to act in a quick

               14       and appropriate manner so that we can have the

               15       safest outcome possible for all those involved.

               16             Q.       And is it generally safer to -- a --

               17       a safer outcome when the officer in the field

               18       acts quickly to address the situation?

               19             A.       I mean, I would say that depends on

               20       the situation.      There -- there are some

               21       situations where being patient may be better, but

               22       generally when faced with a -- an immediate use




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                                                                                 Page 84
                1       of force situation, then yes, you would want the

                2       officer to react quicker rather than slower.

                3             Q.       And going back to the scenarios, did

                4       the scenarios then end when the student -- after

                5       the student had assessed the situation and

                6       responded?

                7             A.       That's correct.

                8             Q.       And about how long did the scenarios

                9       take from the time the student first encountered

               10       the role player, assess the situation and

               11       responded for the scenario to then end?

               12             A.       I would have said maybe around

               13       30 seconds.     They're not very long at all.

               14             Q.       All right.     And during those seconds

               15       that the scenario was occurring, did the student

               16       and the role player sometimes move around or did

               17       they stay stationary?

               18             A.       They moved around.

               19             Q.       And what -- what prompted them to

               20       move around, as you observed?

               21             A.       Most of the movement was based on the

               22       student reacting to the movements of the role




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                                                                                 Page 85
                1       player.

                2             Q.       Can you describe that?

                3             A.       So if the role player entered the

                4       scenario area and had some sort of weapon, we are

                5       taught as police officers to create distance

                6       between us and the threat, so the student would

                7       then back away from the role player to create

                8       distance.

                9             Q.       And in some of those scenarios where

               10       the student backed away from the role player to

               11       create distance because the role player had a

               12       weapon, in some of those scenarios the student

               13       backed out of the four corners of the box,

               14       correct?

               15             A.       That's correct.

               16             Q.       And did the role player sometimes

               17       follow the students, the ones who were acting as

               18       aggressors with weapons?

               19             A.       That's correct.

               20             Q.       And is that a situation where both

               21       the student and the role player would end up

               22       outside of the box before the scenario ended?




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                                                                                 Page 86
                1             A.       That's correct.

                2             Q.       But regardless of where the student

                3       and the role player moved or ended up when the

                4       scenario ended, the scenario generally ended

                5       quickly; is that right?

                6             A.       That's correct.

                7             Q.       And that's because one of the points

                8       of the scenarios is to train students to quickly

                9       assess the possible threats and respond?

               10             A.       That's correct.

               11             Q.       Now, you mentioned earlier in your

               12       testimony that you -- that you observed that

               13       Instructor Nelson on the whole conducted the

               14       training in a safe manner.

               15                      Do you remember that testimony?

               16             A.       That's correct.

               17             Q.       Do you agree that even when an

               18       instructor on the whole conducts training in a

               19       safe manner, a participant or a student can still

               20       do something that is not safe?

               21             A.       That's correct.

               22             Q.       And do you agree that an instructor




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                                            JA-888
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                                                                                 Page 87
                1       cannot control all of the actions or conduct of a

                2       participant or a student during training?

                3             A.        That's correct.

                4             Q.        And in this particular case or this

                5       particular training that we're talking about on

                6       December 14, 2017, if someone in the gymnasium in

                7       Virginia Beach did not wear eye protection during

                8       an active scenario, that person is doing

                9       something that's not safe.

               10                      Do you agree with that?

               11             A.       That's correct.

               12             Q.       And that person would not have been

               13       following the safety protocol or rules, correct?

               14             A.       That's correct.

               15             Q.       Sergeant, I think those are all the

               16       questions I have.       Thank you.

               17             A.       Okay.

               18                FURTHER EXAMINATION BY COUNSEL FOR

               19                    DEFENDANT AXON ENTERPRISE, INC.

               20                      BY MR. BROWN:

               21             Q.       Sergeant, I have some additional

               22       questions for you in relation to the cartridges




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                                                                                 Page 88
                1       that you were allowed to bring into the training

                2       room on December 14, 2017.

                3                      Can you describe whether those were

                4       the ordinary cartridges that you would carry if

                5       you were holding your CEW in the field or not?

                6             A.       They were not.

                7             Q.       And how were they different from the

                8       cartridges that you would carry in the field

                9       ordinarily?

               10             A.       The training cartridges do not

               11       include electric -- electric -- excuse me.

               12                      The -- the wires don't conduct

               13       electricity.

               14             Q.       Okay.    So it's your understanding of

               15       those training cartridges that they are not able

               16       to deliver charge to a subject?

               17             A.       The particular ones that we were

               18       using that day, correct, they do not deliver a

               19       charge.

               20             Q.       Okay.    And is their purpose, then, to

               21       assist the participants with targeting so they

               22       get a sense of how the darts are propelled out of




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                                                                                      Page 89
                1       the cartridge?        Is that accurate?

                2             A.       I'm sorry.      Could you rephrase the

                3       question?

                4             Q.       Yes.     Is it accurate to say that the

                5       training cartridges that you were using on

                6       December 14, 2017 during the -- the practical

                7       portion, these cartridges were for the purpose of

                8       the trainees to understand how the darts would be

                9       propelled out of a TASER CEW cartridge; in other

               10       words, to assist them with targeting, to

               11       understand how to -- to aim their device?

               12             A.       Yes, that's correct.

               13             Q.       Okay.     Are you aware of an area other

               14       than the eyes that could be struck by a dart and

               15       suffer permanent injury in the absence of

               16       electrical current being delivered?

               17             A.       I know that we are training to avoid

               18       when you're on the -- when you're looking at the

               19       front of a person, you're trained to avoid the

               20       genitals, the breasts, the neck, the face and the

               21       head, and then on the rear of a person you're

               22       trained to avoid the neck and the head.               Those




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                                                                                  Page 90
                1       are all areas that have increased danger involved

                2       with them.

                3               Q.     Okay.    And do you think that the --

                4       the increased risk for those areas is equal for

                5       the training cartridges, as compared to the

                6       traditional cartridges that you would carry for

                7       your CEW on duty?

                8               A.     I think when there's electricity

                9       involved, there's more risk.            But in terms of

               10       probe strike, those are equally as dangerous just

               11       in terms of the probes striking that area.

               12             Q.       Okay.    In regard to the probes, you

               13       understand that those -- they're attached to

               14       wire.    You mentioned the -- the wire earlier,

               15       correct?

               16             A.       Correct.

               17             Q.       And do you know whether that -- the

               18       wire in those training cartridges was

               19       sufficiently long to enable a dart to strike an

               20       observer?

               21             A.       I know that when -- it's -- it's

               22       dependent on the -- the placement of the




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                                                                                 Page 91
                1       observer.     When we were learning how to be the

                2       instructor, oftentimes the observers were closer

                3       than -- for -- for instance in the video that we

                4       watched where I identified myself, at that point

                5       we were standing far away, but there were times

                6       where someone was closer to the area.            So it

                7       would have been possible for one of them to have

                8       been struck.

                9                      But generally, no.       Everybody else

               10       was farther away.       So unless the probe broke off

               11       of the wire, they would not have been struck.

               12             Q.       Okay.    And one of the reasons for the

               13       safety glasses is in case there is such an

               14       incident where the -- the probe becomes

               15       untethered from the wire, in your understanding;

               16       is that accurate?

               17             A.       That's correct.

               18             Q.       Okay.    Is it accurate to say that in

               19       comparison to the other sensitive areas that you

               20       identified a moment ago, probes striking eyes can

               21       cause permanent injury?

               22             A.       That's correct.




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                                                                                 Page 92
                1             Q.       Okay.

                2                      MR. BROWN:     Mr. Buckner, do you

                3             have additional questions?

                4                      MR. BUCKNER:      I -- I do.    Very,

                5             very quickly.

                6         FURTHER EXAMINATION BY COUNSEL FOR PLAINTIFF

                7                      BY MR. BUCKNER:

                8             Q.       Sergeant Faubion, you were just

                9       talking about the -- whether the wire in the

               10       cartridge is sufficiently long to strike an

               11       observer and you said that it's possible some of

               12       them were close enough that they could have been

               13       struck, others could have been struck if the

               14       probe broke off the wire.

               15                      Is that correct?

               16             A.       That's correct.

               17             Q.       And you were then asked is that the

               18       reason why the glasses were required in this

               19       case, in case it broke and becomes untethered

               20       from the wire.

               21                      I think you said yes to that, right?

               22             A.       That's a part of it, yes.




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                                                                                 Page 93
                1             Q.       And that was my question to you,

                2       that's only part of it.        I mean, you -- that's --

                3       the glasses is one protective measure.            You also

                4       want to make sure -- that's one of the reasons

                5       why you don't point the loaded TASER even with a

                6       practice round at somebody that doesn't have full

                7       body protection, correct?

                8             A.       That's correct.

                9             Q.       Mr. Casey was asking you some

               10       questions about the speed at which the training

               11       occurs, the training scenarios occur.

               12                      Do you recall that line of

               13       questioning?

               14             A.       I do.

               15             Q.       And the speed of the scenario is only

               16       the active scenario, that is, when the role

               17       player comes into the box and the participant is

               18       required to engage with the role player until

               19       that scenario is concluded.          That piece occurs

               20       quickly, correct?

               21             A.       That's correct.

               22             Q.       But once the scenario is ended, that




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                                                                                 Page 94
                1       specific scenario is ended, there's nothing that

                2       has to occur quickly, right?            Between the end of

                3       one scenario to the start of the next scenario,

                4       there's nothing that requires speed?

                5                      MR. BROWN:      Sergeant Faubion, your

                6             video went out.

                7                      THE WITNESS:      Yeah, my phone just

                8             cut off.

                9                      Can you see me again?

               10                      BY MR. BUCKNER:

               11             Q.       Yes.

               12             A.       Okay.    So yes, your question was

               13       after the scenario was done, that was the only

               14       part that required speed after that and the

               15       breakdowns and then setting up for the next

               16       scenario, no, there was nothing else that

               17       required speed.

               18             Q.       So if something occurred during an

               19       actual active scenario, it shouldn't have

               20       happened.     Whether it's a safety issue or

               21       something else, there was time for Mr. Nelson to

               22       issue corrective instructions to discuss the




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                                                                                 Page 95
                1       problem; to -- to correct safety issues or

                2       whatever it may have been, he had time to do

                3       that, correct?

                4                      MR. CASEY:     Objection to form and

                5             foundation.

                6                      THE WITNESS:      That's correct.

                7                      BY MR. BUCKNER:

                8             Q.       And to your knowledge, that was never

                9       done during the entirety of the training on

               10       December 14th that in between the end of a

               11       scenario and the start of the next scenario that

               12       Mr. Nelson provided safety corrective

               13       instructions?

               14                      MR. CASEY:     Object to foundation.

               15                      MR. BROWN:     Same objection.

               16                      THE WITNESS:      I can't say that that

               17             never happened, no.

               18                      BY MR. BUCKNER:

               19             Q.       Well, and my question was to your

               20       knowledge did it ever happen.

               21             A.       Not that I recall, no.

               22             Q.       Okay.




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                                                                                  Page 96
                1                      MR. BUCKNER:      That's all I have.

                2                      MS. REPORTER:         Signature?

                3                      MR. BUCKNER:      Brian, did that

                4             prompt anything for you?

                5                      MR. CASEY:     You want me to keep

                6             asking questions?

                7                      MR. BUCKNER:      I really don't, but I

                8             feel an obligation to at least ask, be a

                9             nice guy and ask.

               10                      MR. CASEY:     Appreciate the ask.

               11             I'm done.     Thanks.

               12                      MR. BUCKNER:      And, Sergeant,

               13             none -- none of us represent you, but I

               14             will tell you that in Virginia you've got

               15             the right after you've been deposed to

               16             review the transcript and see if there's

               17             any errors in the transcript and you can

               18             make corrections to those errors.             The

               19             court reporter would send it to you, you'd

               20             have to read it, you'd write on an errata

               21             sheet what those corrections are, you send

               22             it back to The court Reporter or you can




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                                                                                   Page 97
                1             waive that and the court reporter will

                2             type up the transcript exactly as it's

                3             been taken today and you're done with your

                4             deposition.

                5                       And you just have to advise the

                6             court reporter whether you would like to

                7             read and sign or whether you would like to

                8             waive that.

                9                       THE WITNESS:     I will waive.

               10                      MR. BUCKNER:      All right.      That's an

               11             excellent choice late on a Friday as well.

               12                      All right.     Sergeant, I will send

               13             you that E-mail so that you have my

               14             contact information so that you can

               15             provide the videos and I will share that

               16             with counsel once I receive them.

               17                      Thank you for your time late on a

               18             Friday.    Very much appreciated.

               19                      THE WITNESS:      Okay.

               20                      MR. CASEY:     Thank you, Sergeant.

               21                      MR. BUCKNER:      Thanks.

               22                      MS. REPORTER:         Please don't leave.




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                                                                                 Page 98
                1                      MR. BROWN:     Thank you, Sergeant.

                2                      VIDEO OPERATOR:       It's 5:59 p.m.

                3                      This concludes the deposition of

                4             Sergeant Matthew Faubion.         We're off the

                5             record.

                6                      (Thereupon, signature having been

                7                       waived, at 5:59 p.m. the deposition

                8                       was concluded.)

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                                                                                  Page 99
                 1                        CERTIFICATE OF NOTARY

                 2                     I, MISTY KLAPPER, the officer

                 3             before whom the foregoing deposition was

                 4             taken, do hereby certify that the witness

                 5             whose testimony appears in the foregoing

                 6             deposition was duly sworn by me; that the

                 7             testimony of said witness was taken by me

                 8             in shorthand and thereafter reduced to

                 9             typewriting by me; that said deposition is

                10             a true record of the testimony given by

                11             said witness; that I am neither counsel

                12             for, related to, nor employed by any of

                13             the parties to the action in which this

                14             deposition was taken; and, further, that I

                15             am not a relative or employee of any

                16             attorney or counsel employed by the

                17             parties hereto, nor financially or

                18             otherwise interested in the outcome of

                19             this action.

                20

                                                      _________________________

                21                                    Misty Klapper

                                                      Notary Public

                22




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                 3:16,16 5:8 8:4
                 70:18 87:7     wearing 28:1       x 1:4,10 4:8       23451 3:16          92 4:4
                 96:14           37:13,20 38:20    X2s 18:6           28 4:11
               virtually 1:14    43:2 48:6 55:11   X26 18:2,11        28:27 56:8,11
               vision 20:7       59:4,5 63:12                         28:32 56:21
                                 64:6,8 78:6                Y         28:35 57:14
               voluntarily 29:5                    Yeah 16:4 71:11
               vs 1:7           went 30:17,18                         29:29 61:16
                                 31:1,4 32:7,17      81:15 94:7       29:35 69:19
                       W         44:9 72:13        yell 39:18         29:36 62:8
               wait 7:5          73:11 94:6                           29:46 63:14
                                                           Z          29:53 64:12
               waive 97:1,8,9   weren't 75:8
                                                   zone 35:9,13
               waived 98:7       76:18
                                                   zoom 29:1                  3
               walk 40:4        we'll 7:14
               walked 53:18     we're 39:12 50:4                      30 21:13 84:13
                                                           1          326-6016 3:10
                54:6 63:22       60:8 66:22        1 5:3
               want 19:12 29:13  82:10 83:11       10 1:15 2:2 5:9            4
                29:15 54:15      87:5 98:4           21:12            4:03 2:3 5:10
                74:8,22 75:18   we've  55:21




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                                     Exhibit 6




                                             JA-914
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                                                                                   Page 1
                                 IN THE UNITED STATES DISTRICT COURT

                                FOR THE EASTERN DISTRICT OF VIRGINIA

                                           (NORFOLK DIVISION)

                        - - - - - - - - - - - - - - - - x

                        SHAWN CURRAN,                           :

                                  Plaintiff,                    :

                        vs.                                     : Case No. 2:19-cv-617

                        AXON ENTERPRISE, INC., et al.,          :

                                  Defendants.                   :

                        - - - - - - - - - - - - - - - - x




                               VIDEOTAPED DEPOSITION OF JERRY SANDERS

                           Conducted virtually via remote videoconference

                                               July 10, 2020




                        Reported by:

                        Misty Klapper, RMR, CRR

                        Job No.: 599043




                                      MAGNA.   LEGAL SERVICES


                                             JA-915
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                                                                                   Page 2
                 1

                 2

                                               July 10, 2020

                 3                               1:07 p.m.

                 4

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                15

                16             Taken pursuant to notice, before Misty Klapper,

                17      Registered Professional Reporter, Certified Realtime

                18      Reporter, and Notary Public.

                19

                20

                21

                22




                                      MAGNA.   LEGAL SERVICES


                                             JA-916
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                                                                                   Page 3
                 1      APPEARANCES:
                 2      (ALL APPEARANCES VIA REMOTE VIDEOCONFERENCE)
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                17                    COUNSEL FOR THE DEFENDANT RICHARD NELSON
                18
                19      ALSO PRESENT:
                20                  SHARON PANDAK, ESQUIRE
                21                  SOL TRAN, VIDEO OPERATOR
                22




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                                             JA-917
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                                                                                   Page 4
                 1                            C O N T E N T S

                 2      WITNESS:                       EXAMINATION BY:             PAGE:

                 3      Jerry Sanders                  Mr. Brown                  6, 96

                 4                                     Mr. Buckner              51, 105

                 5                                     Mr. Casey                      92

                 6

                 7

                 8

                 9                            E X H I B I T S

                10      NO.:         DESCRIPTION:                                  PAGE:

                11      45           Written statement of Jerry A. Sanders            32

                12

                13      Note:     Exhibits marked and attached to original.

                14

                15      EXHIBITS REFERRED TO:                                      PAGE:

                16      Deposition Exhibit No. 22                                     24

                17      Deposition Exhibit No. 41                                     53

                18

                19

                20

                21

                22




                                         MAGNA.LEGAL SERVICES


                                             JA-918
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                                                                                   Page 5
                 1                        P R O C E E D I N G S

                 2                     VIDEO OPERATOR:         We are now on the

                 3             record.    This begins media number 1 in the

                 4             deposition of Officer -- Officer Jerry

                 5             Sanders in the matter of Shawn Curran

                 6             versus Axon Enterprise, Inc., et al. in

                 7             the United States District Court for the

                 8             Eastern District of Virginia.

                 9                     Today is Friday, July 10, 2020 and

                10             the time is 1:07 p.m.          This deposition is

                11             being held remotely at the request of Axon

                12             Enterprise Corporation, Inc.

                13                     The videographer is Sol Tran and

                14             the court reporter is Misty Klapper, both

                15             of Magna Legal Services.

                16                     All counsel and parties present

                17             will be noted on the stenographic record.

                18             Will the court reporter please swear in

                19             the witness.

                20                     MS. REPORTER:         Sir, would you hold

                21             up your ID for the camera?

                22                     THE WITNESS:      Yes, ma'am.




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                                             JA-919
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                                                                                     Page 6
                 1                     MS. REPORTER:         Thank you, sir.

                 2                     Would you raise your right hand.

                 3      Whereupon:

                 4                             JERRY SANDERS,

                 5      was called for examination, and, after being

                 6      duly sworn, was examined and testified as follows:

                 7                     MS. REPORTER:         You may proceed,

                 8             Mr. Brown.

                 9              EXAMINATION BY COUNSEL FOR DEFENDANT

                10                        AXON ENTERPRISE, INC.

                11                     BY MR. BROWN:

                12             Q.      Good afternoon.

                13             A.      Good afternoon, sir.

                14             Q.      Could you state your name, please,

                15       for the record?

                16             A.      Jerry Sanders.

                17             Q.      And, Mr. Sanders, have you been

                18       deposed before?

                19             A.      Couple decades ago, sir.          It's been

                20       quite a while.

                21             Q.      Okay.     So I want to run through some

                22       rules that you may be familiar with before we get




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                                             JA-920
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                                                                                   Page 7
                 1      started.

                 2                     The first is that we'd please ask you

                 3      to answer aloud, rather than just nodding your

                 4      head or shaking your head, so that we all have a

                 5      clear answer and so the court reporter has a -- a

                 6      clear answer as well.

                 7                     And please also wait for the

                 8      questioning attorney to get out the entire

                 9      question and any objections from the other

                10      attorneys.     If you don't understand a question,

                11      please let us know.        And if you do answer a

                12      question, we will assume that you've understood

                13      it.

                14                     Does that make sense?

                15             A.      Yes, sir.

                16             Q.      Okay.    And -- and if you do need a

                17      break at any point, please just let us know.              The

                18      only request is that you first answer any

                19      question before you -- before we take that break.

                20                     Is that fair to you?

                21             A.      Yes, sir.

                22             Q.      Okay.    And do you understand that the




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                                             JA-921
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                                                                                   Page 8
                 1      purpose of this deposition today is due to you

                 2      being a witness to an incident on December 14,

                 3      2017 that occurred at a training in Virginia

                 4      Beach?

                 5             A.      Yes.

                 6             Q.      And are you familiar with the acronym

                 7      CEW?

                 8             A.      Yes, sir.

                 9             Q.      What does that stand for to you?

                10             A.      Conducted electrical weapon.

                11             Q.      Okay.    I will likely be using that

                12      acronym throughout, so when I say CEW, you

                13      understand that's -- I'll be referring to

                14      conducted electrical weapon?

                15             A.      Absolutely.     Yes, sir.

                16             Q.      Okay.    And are you aware that

                17      Mr. Shawn Curran has brought suit against Axon

                18      and Master Instructor Nelson arising out of that

                19      December 14, 2017 incident?

                20             A.      I was aware he was -- brought suit

                21      against Axon.      I was not aware he brought suit

                22      against Mr. Nelson until now.




                                     MAGNA.    LEGAL SERVICES


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                                                                                  Page 9
                1             Q.       Okay.    Do you recall that you

                2       prepared a witness statement in relation to this

                3       incident?

                4             A.       I do recall, sir.        I wrote a

                5       statement that day.        I did not retain a copy of

                6       that statement.

                7             Q.       Okay.    Have you had a -- a chance to

                8       review that statement prior to today, but after

                9       the day of the incident?

               10             A.       No, sir.

               11             Q.       Okay.    I want to get into a little

               12       bit of your background and work.

               13                      Are you still with the Prince William

               14       RADC in Virginia?

               15             A.       Yes, sir.

               16             Q.       And just so -- to make sure I

               17       understand, can you tell me what RADC stands for?

               18             A.       Regional Adult Detention Center.

               19             Q.       Okay.    And what is your current

               20       position there?

               21             A.       I am the first sergeant over human

               22       resources and training.




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                                            JA-923
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                                                                                 Page 10
                1             Q.       And how long have you held that

                2       position?

                3             A.       I've been in this position between

                4       two and three years.

                5             Q.       Prior to that you were -- you were

                6       occupying some other positions at -- at RADC.

                7       Can you tell me what those were?

                8             A.       Yes.    There for the better part of

                9       the last 13 years I have been an officer, master

               10       jail officer and sergeant and most recently now

               11       first sergeant in training.

               12             Q.       Okay.    And when you say in training,

               13       can you help me understand what that means?             Is

               14       there a -- a -- an equivalent that's not in

               15       training?

               16             A.       We have a training division here at

               17       our jail that provides in-service training to the

               18       veteran staff and provides basic training to new

               19       recruits.

               20                      I'm a permanent member, if you will,

               21       of the training team here at the ADC.

               22             Q.       Understood.     And in your various




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                                                                                 Page 11
                1       positions at -- you refer to it as the ADC?

                2             A.       Yes, sir.     Adult Detention Center.

                3       Excuse me.

                4             Q.       Okay.    I just -- I was used to see

                5       the RADC, so I wanted to make sure I -- I was

                6       using consistent terminology.

                7                      Have you ever had a supervisory

                8       position at the ADC?

                9             A.       Yes, sir, for approximately the last

               10       seven years.

               11             Q.       And that would -- what position gave

               12       you those responsibilities or positions?

               13             A.       Training sergeant and human resources

               14       in training first sergeant.

               15             Q.       Okay.    And -- and did those also

               16       include instructor-type positions or oversight?

               17             A.       Yes, sir.

               18             Q.       And have you received any special

               19       training or certifications while at ADC?

               20             A.       Yes, sir.     I've received TASER

               21       instructor certification.

               22             Q.       And aside from that, were there any




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                                                                                 Page 12
                1       others or just that one?

                2             A.       Here at the ADC, sir, that's the only

                3       certification I've received.

                4             Q.       Okay.    Prior to, you -- you said

                5       about 13 years ago -- or, excuse me -- about

                6       13 years you've been at the ADC.          Prior to that

                7       where were you employed?

                8             A.       I was employed for seven years at the

                9       Rappahannock Regional Criminal Justice Training

               10       Academy.

               11             Q.       And while you were there, did you

               12       receive special training or certifications?

               13             A.       Yes, sir.     I --

               14             Q.       Which -- which special training or

               15       certifications did you receive there?

               16             A.       I received chemical agent instructor

               17       certification and driver's training instructor

               18       certification.

               19             Q.       Okay.    Now, you mentioned your TASER

               20       instructor training.

               21                      Prior to 2017, had you received any

               22       CEW training?




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                                                                                 Page 13
                1              A.      Yes, sir.

                2              Q.      Do you recall when your very first

                3       initial certification on a CEW would have been?

                4              A.      Approximately 2009.

                5              Q.      Do you recall where that was?

                6              A.      I believe that was at Andrews Air

                7       Force Base.     I do not recall who the instructor

                8       was.

                9              Q.      Okay.    And do you remember which

               10       TASER CEW you received training on?

               11              A.      At that time, sir, it was the X26

               12       version.

               13              Q.      Okay.    And since 2009 have you

               14       received any additional certifications or

               15       recertifications on CEWs?

               16              A.      Yes, sir.     Per Axon's policy, every

               17       other year I have recertified.

               18              Q.      Okay.    And so in your trainings,

               19       whether it was your driver's training or chemical

               20       agent training or CEW training, you agree that --

               21       that like all training, it involves a risk of

               22       injury?




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                                                                                 Page 14
                1             A.       Yes, sir.

                2             Q.       And that when engaged in practical

                3       training such as those, it's important to follow

                4       all safety protocols?

                5             A.       Yes, sir.

                6             Q.       Why is that important?

                7             A.       Well, to reduce the risk of injury to

                8       all persons involved.

                9             Q.       When engaged in practical training,

               10       you agree it's important to use safety equipment?

               11             A.       Yes, sir.

               12             Q.       And why is that?

               13             A.       Again, to protect the person

               14       involved, be it role playing -- depending on the

               15       type of training, of course, would mandate the

               16       safety equipment required.           But to keep all

               17       participants safe to be able to conduct realistic

               18       training, as realistic as possible, without -- or

               19       minimizing real world injury.

               20             Q.       Do you also agree that participants

               21       in practical use of force trainings are expected

               22       to follow safety protocols and use safety




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                                                                                 Page 15
                1       equipment?

                2              A.      Yes, sir.

                3              Q.      And do you think that's a reasonable

                4       expectation?

                5              A.      I do, yes, sir.

                6                      MR. BUCKNER:      Object to the form of

                7              the question, but go ahead, Officer

                8              Sanders, you -- you can answer that.

                9                      THE WITNESS:      I do believe it is a

               10              reasonable expectation that participants

               11              follow the established safety rules and

               12              utilize the established or the provided or

               13              necessary safety equipment.

               14                      BY MR. BROWN:

               15              Q.      Okay.    Now, in terms of the training

               16       you received in December 2017, this was

               17       instructor training, correct?

               18              A.      Yes, sir.

               19              Q.      And how many days -- did it take

               20       place over several days?

               21              A.      I believe it was a two-day course,

               22       sir.    I only attended one day, as I was




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                                            JA-929
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                                                                                  Page 16
                1       recertifying.

                2             Q.       Okay.    Because you were recertifying

                3       on your TASER CEW training?

                4             A.       Yes, sir.

                5             Q.       Were you attending to become a CEW

                6       instructor?

                7             A.       I was attending to continue being a

                8       CEW instructor.

                9             Q.       I understand.         Okay.   And do you

               10       recall which date you attended the training in

               11       December 2017?

               12             A.       It was December 14th, sir.

               13             Q.       Okay.    How did you end up signing up

               14       for this particular training on December 14,

               15       2017?

               16             A.       We searched the Axon or TASER website

               17       for available classes to recertify our

               18       instructorships, myself and another from this

               19       agency.      And Virginia Beach worked out best for

               20       our schedule as far as our training schedule here

               21       at RADC and distance from our agency.

               22             Q.       Okay.    And in terms of why you signed




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                                                                                 Page 17
                1       up, this was to obtain your -- your

                2       recertification as a TASER instructor.

                3                      Was that something that you were

                4       interested in doing or that the department

                5       required?

                6             A.       Well, both, sir.

                7             Q.       Okay.    Why did you initially want to

                8       become a CEW instructor?

                9             A.       I am a -- a use of force instructor

               10       in the Commonwealth of Virginia, a firearms

               11       instructor as well, and a CEW being used in the

               12       continuum of force.       It -- it made sense.

               13             Q.       Okay.    And so you testified that you

               14       did not attend the -- the December 13th portion

               15       of the training; is that accurate?

               16             A.       That is correct.         I did not attend.

               17             Q.       Okay.    Prior to -- to your attendance

               18       on December 14th, did you perform any sort of

               19       online work for this training?

               20             A.       Yes, sir.     There is -- there is

               21       online training that is required to -- to

               22       complete in order to attend that day of training




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                                            JA-931
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                                                                                 Page 18
                1       on December 14th.

                2             Q.        Okay.    And in your experience from --

                3       starting in 2009 doing various -- first your

                4       certification and then your recertifications, do

                5       you recall reviewing PowerPoint slides and

                6       warnings during those trainings?

                7             A.        Yes, sir.

                8             Q.        And do you recall what types of

                9       things the PowerPoint slides and warnings

               10       addressed?

               11             A.       Well, sir, as I'm sure you understand

               12       and likely know, the Axon -- the warnings in the

               13       TASER presentation is -- is very extensive

               14       chapter.

               15                      But in general, sir, it is a

               16       conducted electrical weapon.             There is a risk of

               17       shock.     There is a risk of the probe striking

               18       something you do not want them to strike.             Treat

               19       the CEW as if it were a firearm to maintain

               20       safety.      Do not fire the CEW in the area of the

               21       heart.

               22                      Sir, it is very extensive, if you're




                                     MAGNA.     LEGAL SERVICES


                                            JA-932
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                                                                                 Page 19
                1       looking for something specific.

                2             Q.       Yes.    Do you recall warnings in -- in

                3       your various certifications and recertifications

                4       about eye injury?

                5             A.       Yes, sir.       The warning is there is a

                6       risk of eye injury and all involved in practical

                7       exercises should wear eye protection.

                8             Q.       Okay.    And you -- you recall those

                9       sorts of warnings both in -- in the PowerPoint

               10       slides and in the classroom portion and the --

               11       the online review as well?

               12             A.       Yes, sir.

               13             Q.       Okay.    So when you attended the --

               14       the December 14, 2017 training at Virginia Beach,

               15       you understood, then, that -- that CEW use,

               16       whether in the field or in training, carries some

               17       risk of injury?

               18             A.       Yes, sir.

               19             Q.       Is it accurate to say that you

               20       understood CEWs are -- are weapons and must be

               21       handled safely?

               22             A.       Absolutely.      Yes, sir.




                                     MAGNA.    LEGAL SERVICES


                                              JA-933
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                                                                                 Page 20
                1               Q.     And at that time you understood that

                2       CEWs deployed probes?

                3               A.     Correct.

                4               Q.     And you also understood that the

                5       probes are sharp and meant to penetrate skin?

                6               A.     Yes, sir.

                7               Q.     Those probes being sharp means that

                8       they carried a risk of penetration injury as

                9       well; is that correct?

               10             A.       That is correct, sir.

               11             Q.       During CEW training -- let me start

               12       over.

               13                      Were you aware that during CEW

               14       training, a -- every participant is able to call

               15       stop action?

               16             A.       Yes, sir.     That is made very clear.

               17             Q.       And what was your understanding of

               18       when stop action is called?

               19             A.       At any time any participant notices

               20       something potentially unsafe.

               21             Q.       Okay.    And you also understood that

               22       the participants in trainings had to wear




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                                            JA-934
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                                                                                 Page 21
                1       protective gear, particularly eye -- eyeglasses,

                2       at all times?

                3              A.      Yes, sir.

                4              Q.      Specifically with regard to

                5       December 14, 2017, do you recall, over the course

                6       of the scenarios, whether your participation was

                7       towards the beginning or not?

                8              A.      Sir, the best I could recall I was in

                9       the middle of the pack, if you will.

               10              Q.      Okay.    I didn't mean to interrupt

               11       you.

               12              A.      No, sir, I'm finished.

               13              Q.      Okay.    Saying that you were in the

               14       middle of the pack, you had the opportunity to

               15       observe both -- before your actual scenario

               16       others going through similar scenarios?

               17              A.      No, sir.    We were behind a -- a

               18       closed door in a hallway and we were led into the

               19       room one at a time.

               20                      Part of the scenario was our judgment

               21       on which level of force would be appropriate for

               22       the scenario presented to us.           So the first time




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                                            JA-935
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                                                                                 Page 22
                1       I saw the scenario was when I was the

                2       participant.

                3             Q.       Okay.    And subsequent your

                4       participation, were you able to remain where the

                5       training was conducted to observe subsequent

                6       scenarios?

                7             A.       Yes, sir.

                8             Q.       And you -- you did, in fact, observe

                9       subsequent scenarios; is that correct?

               10             A.       Yes, sir.

               11             Q.       Okay.    And during your observation --

               12       during your scenario and your observation of the

               13       subsequent scenarios, do you recall calling stop

               14       action?

               15             A.       No, sir.

               16             Q.       Do you recall other participants,

               17       trainees or observers, calling stop action?

               18             A.       No, sir.

               19             Q.       Okay.    Was -- do you recall the --

               20       the particular area in which the practical

               21       training was conducted?

               22             A.       It was in the middle of a gymnasium




                                     MAGNA.    LEGAL SERVICES


                                            JA-936
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                                                                                 Page 23
                1       floor.     Maybe not the exact center of the

                2       gymnasium, but in the center area of the

                3       gymnasium floor.

                4             Q.       Okay.    And can you describe your --

                5       your recollection of how it was set up?

                6             A.       Yes, sir.     There was a -- a open box,

                7       if you will, set up with -- I call them DT mats,

                8       but basically gymnastic-types [sic] mats stood up

                9       on their edge to create walls.

               10             Q.       Okay.    I'm going to share my screen

               11       for a moment, so bear with me.

               12                      Okay.    Can you see what this depicts,

               13       Mr. Sanders?

               14             A.       Yes, sir.     Yes, sir.    That is --

               15             Q.       And can you -- please go ahead.

               16             A.       That looks very similar to -- to this

               17       setup.

               18             Q.       And when you say setup, you mean

               19       the -- the training on December 14th that you

               20       attended?

               21             A.       Yes, sir.

               22             Q.       Okay.    I'm going to scroll through




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                                            JA-937
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                                                                                 Page 24
                1       some of the -- this is also -- this -- this

                2       picture of Exhibit 22 is also consistent with

                3       what you recall about the gymnasium?

                4              A.      Yes, sir.       It is very similar.

                5                               (Thereupon, Deposition Exhibit

                6                    Number 22, previously marked for

                7                    identification, was referred to.)

                8                      BY MR. BROWN:

                9              Q.      Okay.     Is that also true of this one?

               10              A.      I don't want to say with certainty at

               11       that angle, sir.        I presume these are pictures of

               12       the Virginia Beach gymnasium.

               13              Q.      Yes.     And -- and one final one for

               14       you.    This is Exhibit --

               15              A.      Yes, sir.

               16              Q.      -- 22.

               17              A.      That view looks familiar, yes, sir.

               18              Q.      Okay.     And so you mentioned the blue

               19       mats earlier, this picture, this one.            You -- you

               20       mentioned the familiarity of the -- the -- the

               21       blue mats.     What was your understanding of their

               22       function?




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                                              JA-938
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                                                                                 Page 25
                1               A.     Well, sir, each participant started

                2       off in the boundaries of those mats and we were

                3       instructed to close our eyes and when we were

                4       instructed to open our eyes, we were to respond

                5       appropriately to the situation we were faced with

                6       by a role-playing offender.

                7               Q.     Okay.    And would the -- would the

                8       role players, let's call them, emerge from some

                9       of these blue -- from behind one of these blue

               10       mats?

               11             A.       Yes, sir.     They would enter the

               12       box -- I don't want to misspeak, but yes, sir,

               13       they would enter the box with the participant and

               14       then the participant reacted to what they were

               15       faced with.

               16             Q.       Okay.    And when you say box, what --

               17       what are you referring to when you use that word?

               18             A.       Well, I recall this being identified

               19       as a box exercise.       It is the only time I've ever

               20       participated in such an exercise, but I'm

               21       presuming box was what they referred to with the

               22       mats set up as such.




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                                            JA-939
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                                                                                 Page 26
                1             Q.       Okay.    Was it your understanding that

                2       the practical training was permitted to move

                3       outside the blue mat area?

                4             A.       It was my perception, yes, sir.

                5             Q.       And while you were in the gymnasium

                6       or the training area, were you -- let me start

                7       over.

                8                      Were you checked for weapons prior to

                9       entering the gymnasium?

               10             A.       Yes, sir.

               11             Q.       And you were prohibited from having

               12       weapons anywhere in the gym; is that accurate?

               13             A.       That is correct, sir, obviously not

               14       including the CEW.       We had a CEW and we had a --

               15       a mock firearm, if you will, a training firearm,

               16       but no -- not real --

               17             Q.       Okay.

               18             A.       -- weapons otherwise.

               19             Q.       Okay.    And so aside from those, you

               20       and the other participants were prohibited from

               21       having those -- anything else in -- in the gym,

               22       not just within the blue mat area?




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                                                                                 Page 27
                1             A.       That is correct, yes, sir.

                2             Q.       Was it also true that you were

                3       required to wear safety glasses in the gymnasium?

                4             A.       Yes, sir.

                5             Q.       And that was true anywhere in the

                6       gymnasium?

                7             A.       Yes, sir.

                8             Q.       And going back to one of your -- your

                9       earlier statements, you mentioned that you had

               10       not done a box drill prior to December 14, 2017;

               11       is that accurate?

               12             A.       That is accurate.         That is the first

               13       time I learned of it.

               14                      MS. REPORTER:         One second, sir.

               15             One second, sir.

               16                      Could we go off the record?

               17                      MR. BROWN:     Yes.

               18                      VIDEO OPERATOR:         The time is

               19             1:36 p.m.     We're going off the record.

               20                      (Thereupon, a discussion was had off

               21                       the record.)

               22




                                     MAGNA.   LEGAL SERVICES


                                            JA-941
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                                                                                 Page 28
                1                      (Thereupon, a brief recess was taken

                2                       due to technical difficulties.)

                3                      VIDEO OPERATOR:       The time is

                4             1:40 p.m.     We're back on the record.

                5                      BY MR. BROWN:

                6             Q.       Welcome back, Mr. Sanders.         We

                7       encountered a -- a few technical difficulties

                8       there, but I recall we were discussing box

                9       drills.

               10                      Do you recall that discussion

               11       generally?

               12             A.       Yes, sir.

               13             Q.       Okay.    And you had mentioned that

               14       December 14, 2017 was the first time you had --

               15       you had participated in a box drill.

               16             A.       Yes, sir.

               17             Q.       Is it accurate to say, then, that you

               18       did not participate in a box drill the first time

               19       you were certified --

               20             A.       That is correct.

               21             Q.       -- on CEWs?

               22             A.       I did not.




                                     MAGNA.    LEGAL SERVICES


                                            JA-942
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                                                                                 Page 29
                1               Q.     And was that first certification that

                2       you did also conducted by a master instructor?

                3               A.     Yes, sir.

                4               Q.     And that -- that training did not

                5       include a box drill?

                6               A.     No, sir.

                7               Q.     And when you were first certifying as

                8       an instructor, did that training include a box

                9       drill?

               10             A.       No, sir.

               11             Q.       Okay.    And do you recall the -- the

               12       master instructor who was designated at the

               13       December 14, 2017 training you attended?

               14             A.       Yes, sir.     That was Richard Nelson.

               15             Q.       And did -- did Master Instructor

               16       Nelson, do you recall him telling you or other

               17       participants that the area outside those blue

               18       mats was a safe zone?

               19             A.       I do not recall that, no, sir.

               20             Q.       Do you recall him telling you or the

               21       other participants that inside the mats was a hot

               22       zone?




                                     MAGNA.    LEGAL SERVICES


                                            JA-943
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                                                                                 Page 30
                1             A.       I do not recall that terminology.

                2             Q.       Okay.    I'd like to share my screen

                3       again here.

                4                      Can you make this document out okay,

                5       Mr. Sanders?

                6             A.       Yes, sir.

                7             Q.       And do you recognize what it is?          Let

                8       me scroll down a little bit.

                9             A.       Yes, sir.     This is the written

               10       statement I provided on December 14th.

               11             Q.       Okay.    And at -- as we discussed a

               12       little bit earlier, you stated that you had done

               13       your scenario kind of in the middle of the pack;

               14       is that accurate?

               15             A.       Yes, sir.

               16             Q.       So prior to the incident involving

               17       Mr. Curran, you had completed your scenario and

               18       you were inside the gymnasium observing the

               19       remaining scenarios being carried out?

               20             A.       Yes, sir.

               21             Q.       Okay.    And at that time while you

               22       were observing after completing your scenario,




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                                            JA-944
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                                                                                 Page 31
                1       you were wearing your safety glasses?

                2             A.       Yes, sir.

                3             Q.       Had it been communicated to you

                4       that -- by Master Instructor Nelson that everyone

                5       in the training area had to wear safety glasses,

                6       whether they were inside the blue mats or not?

                7             A.       That was my understanding, yes, sir.

                8             Q.       Was it also your understanding that

                9       the observers and the role players were

               10       considered safety officers?

               11             A.       Yes, sir.

               12             Q.       And as safety officers, anyone could

               13       call stop action at any time?

               14             A.       That is correct.

               15             Q.       Do you recall who provided the safety

               16       glasses that you wore?

               17             A.       They -- we were each provided a -- a

               18       pair by Axon.

               19             Q.       Okay.    When you say by Axon, how did

               20       you actually pick up your pair of glasses?

               21             A.       They were sitting at my table in the

               22       classroom when I reported to class.




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                                            JA-945
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                                                                                 Page 32
                1              Q.      Okay.    And so at each seat, glasses

                2       were made available?

                3              A.      Yes, sir.

                4              Q.      Okay.    But you -- you don't -- do you

                5       know who actually provided them and -- and placed

                6       them there or whose glasses they were?

                7              A.      I cannot speak to certainty on that,

                8       sir.

                9              Q.      Okay.    Turning more specifically to

               10       your written statement, which I would like to add

               11       as an exhibit, which would make it Exhibit 45, if

               12       our -- our counting last time was accurate.

               13                              (Thereupon, Deposition Exhibit

               14                    Number 45 was marked for

               15                    identification.)

               16                      BY MR. BROWN:

               17              Q.      On the first line you state that On

               18       December 14, 2017 at about 1315 hours, I was

               19       observing the practical exercises for the TASER

               20       instructor course.

               21                      Is that correct?

               22              A.      Yes, sir.




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                                            JA-946
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                                                                                 Page 33
                1             Q.       Okay.    And the next sentence says, As

                2       one of the participants was appropriately firing

                3       the CEW at a role player.

                4                      Did I read that correctly?

                5             A.       You did, yes, sir.

                6             Q.       And what -- can you explain to me

                7       about what you mean by appropriately?

                8             A.       Based on our training in use of

                9       force, the actions the role player was providing

               10       to the participant warranted the use of a CEW to

               11       bring into control and compliance.

               12             Q.       Understood.     Then looking at -- at

               13       lines four through five, after appropriately

               14       firing a CEW at a role player, your statement

               15       continues, one of the darts either missed or

               16       bounced off of the role player's protective suit

               17       and traveled beyond the role player.

               18                      Did I read that correctly?

               19             A.       Yes, sir.

               20             Q.       What was it that made you offer those

               21       possibilities, that either the dart had missed or

               22       bounced off of the role player's protective suit?




                                     MAGNA.    LEGAL SERVICES


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                                                                                 Page 34
                1             A.       Well, I was close to the participant.

                2       Everybody was designated as a safety officer, but

                3       the participant that had just completed their

                4       scenarios was, I suppose, at a greater level of a

                5       safety officer for the next participant.

                6                      So whereas participants that have

                7       fulfilled both roles were -- were back at a safe

                8       distance, I was -- the very next participant

                9       after I did my exercises was -- was the

               10       participant involved when this incident occurred

               11       with Mr. Curran.

               12             Q.       I see.     Do you happen to know who

               13       that participant was?

               14             A.       Yes, sir.

               15             Q.       Can you tell me more about that

               16       participant?

               17             A.       That --

               18                      MS. PANDAK:      Objection to the form

               19             of the question.       Do you want to know the

               20             name or what?

               21                      MR. BROWN:      Yes.      The name is

               22             sufficient.




                                     MAGNA.     LEGAL SERVICES


                                            JA-948
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                                                                                 Page 35
                1                      THE WITNESS:      Shawn Pickard.

                2                      BY MR. BROWN:

                3              Q.      Okay.    And so you were describing a

                4       kind of distinction between safety officers in

                5       that everyone is considered a safety officer, but

                6       that in the scenario -- is it accurate to state

                7       that in the scenario immediately following a

                8       given participant's scenario, that first

                9       participant is the safety officer for the next

               10       scenario?

               11              A.      Yes, sir, that is correct.

               12              Q.      And what was your -- can you tell me

               13       more about your understanding of the -- the --

               14       what that more specific safety officer's role

               15       was?

               16              A.      My understanding of that role was

               17       being up closer, having a better field of vision

               18       of the scenario, the area of the scenario was

               19       occurring, and to stop action if I observed

               20       anything that appeared was going to be or was

               21       unsafe.

               22              Q.      Okay.    Turning back to your




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                                                                                 Page 36
                1       statement, several lines down do you see where

                2       the sentence begins At that time?

                3             A.       Yes, sir.

                4             Q.       Okay.    And it says that At that time,

                5       the second role player, Shawn Curran of the

                6       Virginia Beach Police Department, began moaning

                7       in pain and holding his face in his hands.

                8                      Do you see -- did I read that

                9       correctly?

               10             A.       Yes, sir.

               11             Q.       The next sentence states that Curran

               12       had removed his protective headgear.

               13                      Is that accurate?

               14             A.       Yes, sir.

               15             Q.       Okay.    So is it accurate to say that

               16       while everyone was a -- a safety officer, you

               17       were the safety officer in regard to this

               18       specific scenario?

               19             A.       It is, sir, yes.

               20             Q.       In addition to everyone else who

               21       was -- who was also a safety officer and,

               22       therefore, able to call stop action at any time?




                                     MAGNA.    LEGAL SERVICES


                                            JA-950
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                                                                                 Page 37
                1             A.       Correct.    Yes, sir.

                2             Q.       Okay.    And so when you state that

                3       Curran had removed his protective headgear, were

                4       you only able to perceive that subsequent

                5       Mr. Pickard discharging his CEW?

                6             A.       Yes, sir.       Correct.

                7             Q.       So prior to Mr. Pickard discharging

                8       his CEW, you had not witnessed Mr. Curran

                9       removing his protective headgear?

               10             A.       I did not, sir.

               11             Q.       And was that due to where you were

               12       positioned in the training area?

               13             A.       Yes.

               14             Q.       Okay.    And continuing on with your

               15       statement, there's what looks like I'd say two

               16       primary paragraphs here.         The -- the second one

               17       beginning with When this occurred, do you see

               18       where that is?

               19             A.       Yes, sir.

               20             Q.       Okay.    You state that When this

               21       occurred, Master Instructor Nelson immediately

               22       stopped action, evaluated the situation and




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                                              JA-951
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                                                                                 Page 38
                1       delegated students to acquire a first aid kit and

                2       call for a medic.

                3                      Did I read that accurately?

                4             A.       Yes, you did.         Yes, sir.

                5             Q.       Okay.     So it was Master Instructor

                6       Nelson who called the stop action.

                7                      And then do you know who he

                8       instructed to obtain a first aid kit?

                9             A.       I don't know that he instructed

               10       anybody in particular or whether he -- he did

               11       designate specific individuals.             I believe it was

               12       just we need a first aid kit, we need to call a

               13       medic, something of that nature.

               14             Q.       I see.     Okay.      Now, since -- is it --

               15       is it accurate to say that your scenario had been

               16       the one just prior to this incident involving

               17       Mr. Curran?

               18             A.       That is correct.          Yes, sir.

               19             Q.       So you would not have had an

               20       opportunity to observe those scenarios preceding

               21       Mr. Curran's because you were not within the

               22       training area?




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                                            JA-952
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                                                                                    Page 39
                1             A.       Correct.

                2                      Sir, could you -- could you please

                3       restate what I just answered?            I want to make

                4       sure I provided you a proper response.

                5                      MR. BROWN:      Court Reporter --

                6             Misty, do you mind rereading my last

                7             question?

                8                      MS. REPORTER:         Of course.    Just a

                9             moment.

               10                      (Thereupon, the record was read back

               11                       as follows):

               12                         "Q.     So you would not have

               13                  had an opportunity to observe those

               14                  scenarios preceding Mr. Curran's

               15                  because you were not within the

               16                  training area?"

               17                         Answer, "Correct."

               18                      THE WITNESS:      I must say I don't

               19             understand the way the question is

               20             phrased, sir.       I apologize.

               21                      BY MR. BROWN:

               22             Q.       Okay.     Let me -- let me try putting




                                     MAGNA.     LEGAL SERVICES


                                            JA-953
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                                                                                 Page 40
                1       it another way.

                2                      You described earlier -- you

                3       described earlier that there was a -- let me

                4       start over.

                5                      Before you conduct a scenario in the

                6       training room with the blue mats, where would you

                7       be positioned?

                8             A.       We were positioned in a hallway off

                9       of the gymnasium.       We were lined up waiting our

               10       turn to enter.

               11             Q.       Okay.    From that position were you

               12       able to see the scenarios being conducted inside?

               13             A.       No, sir.

               14             Q.       Okay.    So you would not have an

               15       opportunity from your position in the hallway to

               16       see the scenarios that were occurring before

               17       yours?

               18             A.       That is correct.         I did not have that

               19       opportunity.

               20             Q.       Okay.    While you were in the hallway,

               21       did you hear anyone call stop action?

               22             A.       I did not, no, sir.




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                                                                                  Page 41
                1             Q.       And after conducting -- well, let me

                2       start over.

                3                      During your -- your own scenario, did

                4       you call stop action?

                5             A.       No, sir.

                6             Q.       Did anyone else call stop action?

                7             A.       No, sir.

                8             Q.       And then after your scenario, the

                9       next one was Officer Curran's, correct?

               10             A.       Shawn Pickard's.

               11             Q.       Excuse me.     You're correct.

               12                      And in Shawn Pickard's scenario, it

               13       was Shawn Curran who was a role player?

               14             A.       No, sir.    There were two role players

               15       that took turns, if you will.           One would be on

               16       break, if you would, while the other was

               17       participating in the exercises.

               18             Q.       Okay.    And Mr. Curran -- excuse me --

               19       was on break during Mr. Pickard's scenario?

               20             A.       Yes, sir.

               21             Q.       And when you described Mr. Curran on

               22       break, what do you mean by that?




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                                            JA-955
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                                                                                 Page 42
                1             A.       They're wearing heavy and hot

                2       protective gear, so they -- they take turns.             One

                3       would -- well, it -- speaking generically from my

                4       use of force training experience, one role player

                5       goes in to -- to evaluate a few participants and

                6       then they will step out.         The other will step in.

                7       It gives the first role player a chance to cool

                8       down a bit and take a break.

                9             Q.       Okay.    And while taking a break, is

               10       it accurate to say that the -- the role players

               11       are still within the gymnasium?

               12                      MS. PANDAK:     Objection,

               13             speculation.

               14                      BY MR. BROWN:

               15             Q.       You may answer, Mr. Sanders.

               16             A.       In this instance they were.

               17             Q.       Have you participated in -- in

               18       scenarios in the past in which the role players

               19       would leave the building in which trainings were

               20       being conducted?

               21             A.       No, sir.    They would generally stay

               22       in -- in -- at a safe distance, but at a --




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                                                                                 Page 43
                1       reasonably close to the training area.

                2              Q.      Okay.    And -- and they -- is it

                3       accurate to say that they stay close because

                4       these scenarios are relatively brief and they

                5       need to be prepared to participate in the next

                6       one?

                7              A.      I would say that's a fair assumption,

                8       yes, sir.

                9              Q.      Can you -- do you know who the role

               10       player who was participating in Mr. Pickard's

               11       scenario was?

               12              A.      I do not, no, sir.

               13              Q.      During your particular scenario, was

               14       it your impression that yours was conducted

               15       safely?

               16              A.      It is, yes, sir.

               17              Q.      Do you recall whether your scenario

               18       went outside the blue mat area?

               19              A.      Yes, sir, it did go outside the blue

               20       mat area.

               21              Q.      Okay.    And you did not call stop

               22       action during your scenario?




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                                            JA-957
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                                                                                   Page 44
                1               A.     No, sir.

                2               Q.     And no one else called stop action

                3       during your scenario?

                4               A.     No, sir.

                5               Q.     Were you told by Master Instructor

                6       Nelson that the scenarios must stay within the

                7       blue mat area?

                8               A.     I do not, sir.

                9               Q.     And you described a little bit

               10       earlier about the -- the purpose of the mats, the

               11       blue mats, in order to contain the scenario; is

               12       that accurate?

               13             A.       Sir, I don't --

               14             Q.       Let me -- let me rephrase.         Before

               15       you -- before you answer, let me -- let me

               16       rephrase.

               17                      Your understanding of the -- the blue

               18       mats, is it accurate to say that they are to

               19       carry out -- let me start over.

               20                      The name of the -- the drill that you

               21       were participating in was box drill; is that

               22       true?




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                                                                                 Page 45
                1             A.       Yes, sir.

                2             Q.       Okay.    And what would you say is

                3       the -- the purpose of carrying out a box drill in

                4       CEW training?

                5             A.       May I mute for a moment and speak

                6       with this attorney, my -- my agency's attorney?

                7             Q.       Yes.

                8             A.       I'll be right back, sir.        Thank you.

                9                      MR. BROWN:      Can we go off the

               10             record for a moment, please.

               11                      VIDEO OPERATOR:       The time is

               12             2:05 p.m.     We're going off the record.

               13                      MR. BUCKNER:      Is there -- hold on.

               14             Is there an open question?         Is there a

               15             pending question?

               16                      MR. BROWN:      I believe there is, but

               17             the --

               18                      MR. BUCKNER:      You've a pending

               19             question to him now, right?

               20                      MR. BROWN:      If he's concerned about

               21             revealing privileged or -- or confidential

               22             communications, I think he's entitled to




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                                                                                 Page 46
                1             speak with his attorney first.

                2                      MR. BUCKNER:      That -- that's fine.

                3                      (Thereupon, a discussion was had off

                4                       the record.)

                5                      (Thereupon, a brief recess was

                6                       taken.)

                7                      VIDEO OPERATOR:       The time is

                8             2:10 p.m.     We're back on the record.

                9                      BY MR. BROWN:

               10             Q.       Mr. Sanders, before we went off the

               11       record there was a -- a question pending.

               12                      Is it true that today you have an

               13       attorney present with you?

               14             A.       It is, yes, sir.

               15             Q.       Is it also true that you are not a

               16       named defendant in the lawsuit between Mr. Curran

               17       and Axon and Master Instructor Nelson?

               18             A.       That is true.

               19             Q.       And you are here today as a fact

               20       witness in this case; is that accurate?

               21             A.       Yes, sir.

               22             Q.       And before our break you declined to




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                                                                                    Page 47
                1       answer the question that I had posed to you.

                2             A.       To clarify, sir, I was not declining

                3       to answer.     I -- before I answered, I wanted to

                4       inquire something from the attorney.

                5             Q.       Okay.     And you, in fact, did speak --

                6       you -- you, in fact, spoke with your attorney?

                7             A.       Yes, sir.

                8                      MR. BROWN:      Misty, can you read

                9             back the question posed prior to going off

               10             the record?

               11                      MS. REPORTER:         Yes.   Just a moment

               12             and let me find it.

               13                      (Thereupon, the record was read back

               14                       as follows):

               15                         "Q.     And what would you say

               16                  is the -- the purpose of carrying

               17                  out a box drill in CEW training?"

               18                      BY MR. BROWN:

               19             Q.       Before you answer, Mr. Sanders, let

               20       me frame it this way:

               21                      What was your understanding of the

               22       purpose of the blue mats?




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                                                                                 Page 48
                1             A.       Thank you for that rephrasing, sir.

                2                      My understanding was each scenario

                3       would initiate within that box and that you would

                4       respond appropriately with the scenario as it

                5       unfolded.

                6             Q.       And that is to say the scenarios

                7       would unfold in a variety of ways?

                8             A.       Yes, sir.

                9             Q.       And the trainee participating in a

               10       given scenario would not know how theirs was

               11       going to unfold?

               12             A.       That is correct.        Yes, sir.

               13             Q.       So to make sure that I understand,

               14       you explained earlier that your -- the scenario

               15       that you participated in went outside the mats,

               16       the blue mat area?

               17             A.       It did, yes, sir.

               18             Q.       And the scenario that involved the

               19       incident with Mr. Curran also went outside the

               20       blue mat area?

               21             A.       Yes, sir.

               22             Q.       And that you and the other observers




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                                                                                 Page 49
                1       of Mr. -- the scenario involving the incident

                2       with Mr. Curran were safety officers?

                3             A.       Yes, sir.

                4             Q.       And you were able to call stop action

                5       if you saw something unsafe during the scenario?

                6             A.       That is correct.

                7             Q.       Was it your understanding that there

                8       was a requirement that the scenario stay within

                9       the blue mat area?

               10             A.       It was not my understanding, sir.

               11             Q.       In fact, when your scenario went

               12       outside the blue mats, you didn't call stop

               13       action; is that true?

               14                      MR. BUCKNER:      Objection.

               15                      THE WITNESS:      That is true.

               16                      BY MR. BROWN:

               17             Q.       Is it accurate to say that you did

               18       not see anything unsafe in your own scenario?

               19             A.       I did not.

               20             Q.       And is it accurate to say that you

               21       did not see anything unsafe in the scenario

               22       involving the incident with Officer Curran?




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                                                                                 Page 50
                1              A.      Unfortunately, I did not, sir.

                2              Q.      Now, prior to the incident with

                3       Officer Curran but -- but during that particular

                4       scenario, had you witnessed any of the role

                5       players removing protective headgear?

                6              A.      I did not, sir.

                7              Q.      Was it your understanding that if

                8       they had removed their protective headgear that

                9       they would have had to put on safety glasses?

               10              A.      I would be presuming.       But, yes, sir,

               11       they were in the gymnasium and everyone was to

               12       have eye protection on in the gymnasium, yes,

               13       sir.

               14              Q.      Okay.    During your time at the

               15       training on December 14, 2017, did you have

               16       confidence that Master Instructor Nelson was

               17       conducting the training in a safe manner?

               18              A.      During that time I felt so, yes, sir.

               19              Q.      And if you had seen Mr. Curran -- let

               20       me start over.

               21                      If you had seen Mr. Curran remove his

               22       protective helmet and not put on safety glasses,




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                                                                                   Page 51
                1       would you have called stop action?

                2                      MS. PANDAK:     Just a minute.         I -- I

                3             do have to interject that that's

                4             speculation.

                5                      You may answer.

                6                      BY MR. BROWN:

                7             Q.       Mr. Sanders, you may answer.

                8             A.       Yes, sir.

                9             Q.       Okay.    Those are my questions for now

               10       until followup.

               11             A.       All right, sir.

               12              EXAMINATION BY COUNSEL FOR PLAINTIFF

               13                      BY MR. BUCKNER:

               14             Q.       Sergeant Sanders, I've got some

               15       questions for you.       My name is Elliott Buckner

               16       and I represent Shawn Curran in this matter.

               17             A.       Good afternoon, sir.

               18             Q.       Good afternoon.       Let me just start

               19       First Sergeant Sanders -- do -- do you -- you

               20       understand that you are not a party to this suit,

               21       correct?

               22             A.       I understand that, yes, sir.




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                                                                                 Page 52
                1             Q.       And do you understand that in

                2       Virginia there's a two-year statute of

                3       limitations to bring a claim against someone for

                4       personal injury?

                5             A.       I do, yes, sir.

                6             Q.       And do you understand that that

                7       two-year statute of limitations has run on this

                8       case and you have not been sued by anyone?

                9             A.       Yes, sir.

               10             Q.       So do you understand, then, that

               11       Mr. Curran can't bring you in as a party to this

               12       suit and can't sue you?

               13             A.       I understand that, yes, sir.

               14             Q.       Okay.    Very good.

               15                      First Sergeant Sanders, how long do

               16       you think you were in that gym prior to the

               17       incident when the probe struck Officer Curran?

               18             A.       I would have to guess -- I can only

               19       offer you a guess -- 10 to 15 minutes at most.

               20             Q.       Okay.    Long enough for you to go

               21       through your four scenarios and then start the

               22       scenarios for Officer -- it starts with a P.




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                                                                                 Page 53
                1             A.       Pickard.

                2             Q.       Pickard.     Thank you.

                3             A.       Yes, sir.

                4             Q.       All right.     So 10 to 15 minutes.

                5                      Let me pull something up First

                6       Sergeant Sanders.      Hold on and bear with me for

                7       just a second.

                8                      All right.     First Sergeant Sanders,

                9       can you see that?

               10             A.       Yes, sir.

               11             Q.       All right.     This is a video from the

               12       day of the training taken of inside the gym and

               13       you can see it's got the VBL -- the initials for

               14       the Virginia Beach Law Enforcement Training

               15       Academy on the side there.           And this is where the

               16       training was being conducted that day; is that

               17       right?

               18             A.       Yes, sir.

               19                             (Thereupon, Deposition Exhibit

               20                    Number 41, previously marked for

               21                    identification, was referred to.)

               22




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                                                                                 Page 54
                1                      BY MR. BUCKNER:

                2             Q.       Right.     And the timestamp on this is

                3       31:49.     Do you see that in the lower left-hand

                4       corner?

                5             A.       Yes, sir.

                6             Q.       All right.      And I will share with you

                7       First Sergeant Sanders, that the incident

                8       involving Mr. Curran took place at approximately

                9       34:10.     So we're talking about two and a half

               10       minutes after the point in time of this

               11       particular freeze frame on the video.

               12                      Does that math sound correct to you?

               13             A.       I understand what you're telling me,

               14       yes, sir.

               15             Q.       Okay.     So you are in the gym then at

               16       this point in time, is that right, about two and

               17       a half minutes before the incident involving

               18       Officer Curran?

               19             A.       Yes, sir.     Yes, sir.

               20             Q.       Okay.     And about two and a half

               21       minutes before the incident involving

               22       Officer Curran, are you still the player involved




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                                                                                  Page 55
                1       in the scenarios or have you now rotated out,

                2       completed your scenarios and you are acting as

                3       that higher level safety officer that you

                4       described before?

                5               A.     I'm not positive, sir.        I would say

                6       I'm likely in the safety officer capacity, but I

                7       cannot say with certainty.

                8               Q.     Okay.     Let's -- let's watch a little

                9       bit of this.     And I'm going to hit play.           And if

               10       you don't see the video play, would you please

               11       let me know?

               12             A.       Yes, sir.

               13             Q.       All right.      Let me hit play.

               14                      Sir, is the video playing for you?

               15             A.       Yes, sir.

               16             Q.       Right.     I just paused it so I'm going

               17       to play it again -- or hit play again.

               18                      Unfortunately, it's not playing on

               19       mine.    It's just frozen.

               20             A.       It's froze here as well now.

               21             Q.       Well, I just hit pause, so it should

               22       be --




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                                                                                 Page 56
                1             A.       Okay.

                2             Q.       -- it should be frozen there.          Let me

                3       come back a little bit.

                4                      All right.     So now it's at 31:45,

                5       about four seconds before I previously started

                6       it.   Let's try it again and see what happens.

                7                      Do you see it playing?

                8             A.       Yes, sir.

                9             Q.       All right.     Let me pause it right

               10       here for a second.

               11                      Where are you in this picture?

               12             A.       Sir, I'm trying to figure that out

               13       myself.

               14             Q.       Okay.    Do you know, is -- is this

               15       Mr. Nelson with the black shirt and the khaki

               16       pants?     Do you recall him wearing an outfit like

               17       that that day?

               18             A.       I would be speculating to say that is

               19       him, sir.     It -- it -- I cannot say with

               20       certainty.

               21             Q.       Okay.    But you are somewhere in this

               22       gym while this is going on and you believe that




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                                                                                 Page 57
                1       you're acting in the capacity as the heightened

                2       safety officer, fair?

                3             A.       Yes, sir, or just completing my -- my

                4       practical portion, one or the other.

                5             Q.       Okay.    All right.      So do you see the

                6       role player up here where my cursor is?

                7             A.       Yes, sir.

                8             Q.       Do you see that the role player has

                9       his helmet off, it's in his hand and his bare

               10       head is there?

               11             A.       Yes, sir.

               12             Q.       All right.     During that time does he

               13       have safety glasses on?

               14             A.       I'm not able to tell.

               15             Q.       Okay.    But there certainly was a time

               16       when he was bare-headed without his helmet on.

               17                      Do you recall anybody saying anything

               18       to him about him not having his helmet on?

               19             A.       No, sir.

               20             Q.       Is there anything about his

               21       positioning in the gym that would prevent

               22       Mr. Nelson, you or anybody else from seeing him




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                                                                                 Page 58
                1       at that point?       He's not behind any walls or

                2       anything, correct?

                3                        MS. PANDAK:    Objection,

                4              speculation.

                5                        BY MR. BUCKNER:

                6              Q.        To your knowledge, was there anything

                7       that would have prevent -- prevented Mr. Nelson,

                8       you or anyone else in the gym from seeing him at

                9       that time?

               10              A.      Where he is standing at this time,

               11       had we been looking at him, there's -- there's

               12       nothing, no, sir.

               13              Q.      Okay.    I'll just hit play again.        And

               14       if you recognize yourself in any of these, please

               15       let me know.      Okay?

               16              A.      Yes, sir.

               17              Q.      All right.      First Sergeant Sanders,

               18       can you tell me what's going on here inside the

               19       box?

               20                      MS. PANDAK:      Can you see well

               21              enough?

               22                      THE WITNESS:       I can barely see.




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                                                                                 Page 59
                1                      MS. PANDAK:     Yeah, this -- it --

                2             pardon.    It's a little hard to see it on

                3             the screen.

                4                      MR. BUCKNER:      Sure, and -- and

                5             I'm --

                6                      MS. PANDAK:     The video itself.       I'm

                7             not just talking about individual things.

                8                      MR. BUCKNER:      Yeah.

                9                      BY MR. BUCKNER:

               10             Q.       And I will -- I will tell you,

               11       Mr. Sanders, it's hard on everybody's screen

               12       because this is not an HD quality picture.             Okay?

               13       So I don't --

               14             A.       Yes, sir.

               15             Q.       I don't want you to think your eyes

               16       are getting buggy on you or something.            It's hard

               17       for everybody to see.        But let me back it up just

               18       a little bit to help you kind of put it in

               19       context and you can see people going in and out

               20       of the box and that might help.

               21                      Okay.    So you saw that one person

               22       walked over to this position?




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                                                                                      Page 60
                1             A.       Yes, sir.

                2             Q.       And we've got someone here.            Is this

                3       Mr. Nelson?

                4             A.       This appears to be Shawn Pickard

                5       entering the box from the outside.

                6             Q.       Okay.    Let me put it on pause.          So

                7       you believe this person who just came from off

                8       screen, onto screen and into the box, you think

                9       that's Shawn Pickard?

               10             A.       Yes, sir.

               11             Q.       And is that -- is that where he, sir,

               12       has got his eyes closed and his back turned as

               13       you described the participants started the

               14       scenario?

               15             A.       Yes, sir.     That's where the scenario

               16       would begin.

               17             Q.       All right.     And so was this -- who

               18       was this giving instruction to him?

               19             A.       I believe that may be me, sir.

               20             Q.       Okay.

               21             A.       This has been three years ago, but I

               22       believe -- I don't want to misspeak.           I know we




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                                                                                 Page 61
                1       were checked for weapons prior to entering the

                2       gym, were issued the training firearm.

                3               Q.     Okay.

                4               A.     That may be -- well be me in -- in

                5       front of him doing a double-check for weapons.

                6               Q.     Okay.    And for the record, we're

                7       looking at 32:10 on the video; is that correct?

                8               A.     32:10, yes, sir.

                9               Q.     All right.     And this raised -- you --

               10       you kind of leap-frogged a few questions, but

               11       let's go there now.

               12                      You had testified that you performed

               13       your scenario.      You went through your scenario

               14       and then you rotated to the higher level safety

               15       officer role.     And that's just a little different

               16       than my understanding of how this worked and I

               17       just want to make sure we're all on the same

               18       page.

               19                      As I understood how these worked, you

               20       would come in from the hallway and you would be

               21       the active scenario participant.          You would be

               22       the one that would be responding to the role




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                                                                                 Page 62
                1       player who came into the box.          That's your first

                2       role when you came into the gym; is that right?

                3             A.       Yes, sir.

                4             Q.       And then when your scenarios were

                5       done, you would now rotate to be the instructor,

                6       the -- the teacher instructor student -- I mean,

                7       you're there learning how to teach the teachers.

                8                      So your next role after being the

                9       active participant with the CEW would be to

               10       rotate into the instructor position; is that

               11       right?

               12             A.       Sir, I certainly don't recall it

               13       being put to me that way.

               14             Q.       All right.     And I'm not -- I'm not

               15       trying to play hide the ball, so what -- the way

               16       I understood this entire course to be is to teach

               17       all of you or to recertify all of you to teach

               18       other people how to use the CEW.

               19             A.       Yes, sir.

               20                      MR. BROWN:     Object to form and

               21             foundation.

               22




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                                                                                  Page 63
                1                      BY MR. BUCKNER:

                2             Q.       And so --

                3                      MS. REPORTER:         I'm sorry.    Who said

                4             that?

                5                      MR. BROWN:     That was Peter Brown.

                6                      MS. REPORTER:         Okay.

                7                      BY MR. BUCKNER:

                8             Q.       And so Mr. Sanders, it's my

                9       understanding that -- that what would happen is

               10       you would come in from the hallway and you would

               11       participate in the four different scenarios,

               12       which involves reacting to the different role

               13       players; is that correct?

               14             A.       Yes, sir.

               15             Q.       And then the second active role you'd

               16       have after you've completed your scenario is now

               17       you're going to pretend to be the instructor

               18       teaching a student while Mr. Nelson, the actual

               19       instructor of the class, supervises you engaging

               20       in that instruction to make sure that you're

               21       doing it correctly?       Is that the second role you

               22       performed?




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                                                                                 Page 64
                1              A.      Sir, again, this has been three years

                2       ago.    It would appear to my positioning in the

                3       video for that to be correct.           My job would have

                4       been simply to brief him to ensure he did not

                5       have any weapons on him, a double-check there,

                6       but yes, sir.

                7              Q.      Okay.    And then the -- the third

                8       role, after you're done instructing the active

                9       participant who's going to be responding to the

               10       role player, is your third role would be you

               11       rotate over to be the heightened level safety

               12       officer; is that right?

               13              A.      That makes sense, yes, sir.

               14              Q.      Okay.    So in this particular scenario

               15       where Officer Pickard is in here, he's going to

               16       be the one responding to the role player -- do

               17       you see my cursor pointing to him?

               18              A.      Yes, sir.

               19              Q.      And I'm still on 32:10 of the video.

               20                      And then the person facing him that

               21       my cursor is on now, looks like a light-colored

               22       shirt and khaki pants, you believe that's you?




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                                                                                 Page 65
                1             A.       I do.

                2             Q.       Okay.    And then the person over here

                3       that I pointed out before who's observing, is

                4       that the safety officer or is that

                5       Officer Nelson?

                6             A.       Sir, I can't say with certainty who

                7       that is.

                8             Q.       Okay.    While you were engaged with

                9       Officer Pickard during that time, we still see

               10       the role player off here to the side holding his

               11       helmet with nothing on his head; is that correct?

               12             A.       Yes, sir.

               13             Q.       Okay.    Let's play it a little bit

               14       further and maybe help put it in additional

               15       context for you.

               16                      Okay.    I've paused it again, sir,

               17       at -- at 32:22.      Is this where we see the active

               18       role player who's going to be coming in running

               19       the scenario with Officer Pickard get up and

               20       start to move towards the box?

               21             A.       It appears so, yes, sir.

               22             Q.       And during that clip that I played,




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                                                                                  Page 66
                1       did you see that the other nonactive role player

                2       continues to have his helmet off and his bare

                3       head?

                4             A.       I see that in the video, yes, sir.

                5             Q.       Okay.    Do you recall while you were

                6       engaged with this with Officer Pickard whether at

                7       any time anyone in the gym called a stop action?

                8             A.       Before Mr. Nelson called the stop

                9       action after Mr. Curran received injury, that was

               10       the only stop action I heard.

               11             Q.       And -- and that might be helpful and

               12       help us speed along.       Was that the only stop

               13       action that was called the entire day while you

               14       were inside the gym?

               15             A.       While I was inside the gym, yes.

               16             Q.       Okay.    All right.      Let's play it a

               17       little bit further.

               18                      Okay.    Sir, I've stopped it at 32:35.

               19       At any time during that playing of that last

               20       little clip have you seen that inactive role

               21       player place his helmet back on his head?

               22             A.       I was watching the scenario, sir, but




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                                                                                 Page 67
                1       no, I did not.

                2             Q.       Okay.    And the gentleman that I

                3       pointed out a couple times with my clicker that

                4       appears he has khaki pants and a dark-colored

                5       shirt on has now entered the box at 32:35.             That

                6       gentleman walked right next to that inactive role

                7       player with his helmet off, correct?

                8             A.       Yes, sir.

                9             Q.       Okay.    And I -- I did note that

               10       during the course of this, you were engaged in

               11       the conduct of the -- of the scenario inside the

               12       box, right?

               13             A.       That is correct, sir.

               14             Q.       When you're engaged in that, is it

               15       fair to say that that is supposed to be the focus

               16       of your attention and activity, what's occurring

               17       inside the box?

               18             A.       Yes, sir, to watch the officers'

               19       response and also, oddly enough, to prevent

               20       physical force from occurring through adrenaline

               21       and whatnot.

               22             Q.       To -- to prevent them from fighting




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                                                                                  Page 68
                1       one another?

                2             A.       We get wrapped up in role play

                3       sometimes, sir.

                4             Q.       Understood.     I -- I get it.         I

                5       understand.

                6                      All right.     Let's watch a little bit

                7       further.

                8             A.       Yes, sir.

                9             Q.       All right.     So I've stopped it at

               10       33:10 and we just watched a scenario play out and

               11       you exited the box during that scenario to let

               12       the scenario play out; is that correct?

               13             A.       Yes, sir.

               14             Q.       All right.     And then we see when the

               15       scenario is concluded, the role player takes his

               16       helmet off and is heading back over to that bench

               17       area that was shown to you by Mr. Brown in the

               18       pictures; is that right?

               19             A.       Yes, sir.

               20             Q.       And the person that I've got my

               21       cursor on right now, the person I've pointed out

               22       a few different times with the dark-colored shirt




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                                                                                 Page 69
                1       and the khaki-colored pants, from his position at

                2       this screen capture, 33:10 in the video, is he

                3       able to see behind that blue mat where the bench

                4       is?

                5                      MR. CASEY:     Objection to form,

                6             calls for speculation.

                7                      BY MR. BUCKNER:

                8             Q.       Okay.

                9                      MR. BROWN:     Join.

               10                      BY MR. BUCKNER:

               11             Q.       All right.     So Mr. Sanders, you --

               12       you were present.       That's my cursor pointing at

               13       you right there, correct?

               14             A.       Yes, sir.

               15             Q.       And you had an opportunity to observe

               16       the layout of the box, the mats, prior to this

               17       point in the video, 33:10, right?

               18             A.       Yes, sir.

               19             Q.       And so from your experience in

               20       observing where the mats are, the layout of the

               21       gym and having walked around the different places

               22       during the pendency of your scenarios and as




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                                                                                 Page 70
                1       you're now the instructor for the other officer

                2       scenarios did you have an opportunity to observe

                3       where people might be able to see from different

                4       positions within the gym and specifically the

                5       gentleman with the dark shirt and the

                6       khaki-colored pants?

                7                      MR. BROWN:     Object to foundation.

                8                      BY MR. BUCKNER:

                9             Q.       You can answer, Mr. -- First

               10       Sergeant Sanders.

               11             A.       From this view of your video, sir, it

               12       would appear that if he was looking up, he would

               13       be able to see the role players over near the

               14       bench.

               15             Q.       Okay.    And not -- not only from this

               16       video, but, First Sergeant Sanders, from your own

               17       experience having been in this gym and walked

               18       around and observed things, you know that from

               19       his perspective where he's standing there he can

               20       see behind that bench, right?

               21             A.       Yes, sir.

               22                      MR. CASEY:     Objection to form and




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                                                                                 Page 71
                1             foundation.

                2                      MR. BROWN:     Object to foundation.

                3                      BY MR. BUCKNER:

                4             Q.       Okay.    Let's watch --

                5                      MR. BROWN:     Join.

                6                      BY MR. BUCKNER:

                7             Q.       Let's watch a little further.

                8                      Okay.    I've stopped it at 33:20.        The

                9       active role player has now left his position

               10       behind the mat where the bench is located,

               11       correct?

               12             A.       Yes, sir.

               13             Q.       And he circled back behind the --

               14       another one of the mats while Officer Pickard is

               15       ready for the scenario to commence, correct?

               16             A.       Yes, sir.

               17             Q.       And you remain facing Officer Pickard

               18       in your -- in your role as the student instructor

               19       during this scenario, correct?

               20             A.       Yes, sir.

               21             Q.       All right.     So the scenario is

               22       beginning to start.       And did you see that the




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                                                                                 Page 72
                1       other role player, the nonactive role player, is

                2       standing off to the side, again, not far from the

                3       individual with the dark shirt and the khaki

                4       pants, holding the helmet in his hand with a bare

                5       head?

                6             A.       I do.

                7             Q.       Okay.    Let's watch a little further.

                8                      All right.     Let's stop it at 33:30.

                9       Sir, from the last time I stopped it until this

               10       time at 33:30, does the inactive role player

               11       continue to hold his helmet in his hand with his

               12       bare head exposed?

               13             A.       It appears so, yes, sir.

               14             Q.       And also now is he talking to,

               15       physically -- I -- let me rephrase that.

               16                      Is he physically standing next to the

               17       individual with the dark top and the khaki pants

               18       that I've referenced several times before?

               19             A.       Yes, sir.

               20             Q.       And from your perspective, you

               21       continued to monitor the actual scenario in your

               22       role as student instructor?




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                                                                                   Page 73
                1             A.       Correct.

                2             Q.       Let's go a little further.

                3                      I've stopped it at 33:46.         Just to

                4       ask, First Sergeant Sanders, do you know who

                5       these two gentlemen are where my cursor is now,

                6       the gentleman in the red-colored shirt and the

                7       person standing next to him?

                8             A.       I am not positive, sir.        I do not

                9       recall.

               10             Q.       Okay.    Fair enough.     Let's continue

               11       forward.

               12                      All right.     Sir, I've just stopped it

               13       at 33:54.     Did you see that the role player that

               14       was just engaged as the aggressor left the box

               15       area and, prior to moving behind the mat where

               16       the bench is located, he removed his helmet?

               17             A.       Yes, sir.

               18             Q.       And from his position, the gentleman

               19       with the dark shirt and the khaki-colored pants

               20       is clearly able to observe him doing so, correct?

               21                      MR. CASEY:     Objection to form and

               22             foundation.




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                                                                                 Page 74
                1                      MR. BROWN:     Object to form and

                2             foundation.

                3                      BY MR. BUCKNER:

                4             Q.       Mr. -- Officer Sanders, you can

                5       answer that.

                6             A.       The gentleman in the black jacket and

                7       khaki pants, if he were looking in that

                8       direction, he would be able to see those role

                9       players.

               10             Q.       Okay.    There's nothing between where

               11       he's located and where that bench is located that

               12       would prevent him from seeing someone -- one of

               13       the role players take their helmet off if they

               14       were positioned by the bench?

               15             A.       No, there is not.

               16             Q.       Okay.    All right.      Let's go a little

               17       further.

               18                      All right.     Let's stop it here at

               19       34:08.     First Sergeant Sanders, this is you,

               20       where my cursor is pointing, closer to the camera

               21       than where the two active participants are

               22       standing; is that right?




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                                                                                 Page 75
                1             A.       Yes, sir.

                2             Q.       And from that perspective, you're

                3       continuing to observe the scenario as it plays

                4       out, right?

                5             A.       Correct.    Yes, sir.

                6             Q.       And the gentleman that we've talked

                7       about several times with the dark top and the

                8       khaki pants now is moving closer to that open

                9       corner of the box, correct?

               10             A.       Yes, sir.

               11             Q.       And the portion of the video clip

               12       that we just showed while the two participants,

               13       Officer Pickard and the role player, exited the

               14       box, they did so right in front of the gentleman

               15       with the dark top and the khaki pants, correct?

               16             A.       Yes, sir.

               17             Q.       Okay.    And from your perspective

               18       where you were standing in this video clip at

               19       34:08, you can't see the other role player who's

               20       on the bench area, correct?

               21             A.       I cannot.

               22             Q.       Okay.    The prior clip that we showed




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                                                                                 Page 76
                1       showed the role player -- the prior role player

                2       exiting the box coming over to sit down and

                3       removing his helmet I believe you've already

                4       testified to, correct?

                5             A.       Yes, sir.

                6             Q.       Right.     So we don't know from this

                7       video clip, and you don't know from your vantage

                8       point here, whether that role player who is

                9       behind this mat has his helmet on or off,

               10       correct?

               11             A.       Correct, sir.

               12             Q.       All right.      What we do know, though,

               13       is where my cursor is now, that's the aggressor

               14       role player, correct?

               15             A.       Yes, sir.

               16             Q.       And where my cursor is now, that's

               17       the active participant in the scenario?

               18             A.       Yes, sir.

               19             Q.       And based on the positioning of those

               20       two people, the active participant in the

               21       scenario who's got his TASER drawn, the TASER is

               22       actually pointed in the direction of the




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                                                                                 Page 77
                1       nonactive role player behind the mat, correct?

                2             A.       Yes, sir.

                3             Q.       So if that nonactive role player

                4       continues to have his helmet off and if this

                5       active participant discharges his TASER and

                6       misses, the nonactive role player is actually

                7       down range from the discharge of that TASER,

                8       correct?

                9             A.       Yes, sir.

               10                      MR. BROWN:     Object.    Speculation.

               11                      BY MR. BUCKNER:

               12             Q.       And if that active participant

               13       misses, he may strike the nonactive role player

               14       who's down range from his TASER, correct?

               15             A.       Yes, sir.

               16             Q.       Under this situation where the

               17       nonactive role player took his helmet off and sat

               18       down, did so within clear view of and able to be

               19       seen by the gentleman with the black top and the

               20       khaki pants, would that role player that I just

               21       described behind the mat in the bench area being

               22       down range of the person with the TASER, such




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                                                                                 Page 78
                1       that if the TASER misses, it could strike that

                2       nonactive role player, isn't this a dangerous

                3       situation where stop action should have been

                4       called by someone?

                5                      MR. CASEY:     Objection to form and

                6             foundation.

                7                      MR. BROWN:     Object to foundation.

                8             ** Join.

                9                      BY MR. BUCKNER:

               10             Q.       And if you can answer.

               11             A.       Yes, sir.

               12             Q.       Okay.    All right.      Sir, do you recall

               13       how you paid for the course?            And when I -- and I

               14       guess let me be a little bit more specific.             I'm

               15       not saying that to suggest you pulled cash out of

               16       your pocket and paid for it.

               17                      Do you recall how your registration

               18       for the course was paid for?

               19             A.       I believe it was paid for by agency

               20       credit card, sir.

               21             Q.       Okay.    And do you know whether that

               22       payment was made to Axon or was it made to




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                                                                                 Page 79
                1       Mr. Nelson?

                2             A.       That would have been made to Axon

                3       through their website.

                4             Q.       And prior to December 14, 2017, which

                5       was the one day that you were present for

                6       training, had you ever met Mr. Nelson before?

                7             A.       Yes, sir.

                8             Q.       Okay.    When did -- when had you met

                9       him -- when did you meet him previously?

               10             A.       He was my instructor for two of my

               11       previous CEW recertifications.

               12             Q.       Did you and Mr. Nelson ever

               13       communicate outside of those prior CEW

               14       certifications?

               15             A.       No, sir.

               16             Q.       Did you consider Mr. Nelson to be a

               17       friend?

               18             A.       A friend?     No, sir.

               19             Q.       Was Mr. Nelson a nice guy in your

               20       previous encounters with him?

               21             A.       He was, yes, sir.

               22             Q.       And -- and I will be happy to put on




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                                                                                 Page 80
                1       the record he struck me as a nice guy in my

                2       encounter with him during his deposition.

                3                      Have you had any communications with

                4       Mr. Nelson since December 14, 2017?

                5             A.       No, sir.

                6             Q.       All right.     The box drill that we've

                7       been looking at in all those video clips that

                8       you've described being set up with the mats

                9       inside the gym, who set that box drill up?

               10             A.       I do not know, sir.

               11             Q.       Did you have any role in setting that

               12       up?

               13             A.       No, sir.

               14             Q.       Do you have any knowledge of any

               15       statements that were made by Mr. Nelson to

               16       Officer Curran that weren't made to the class

               17       generally?

               18             A.       I would have no knowledge of any

               19       statements, no, sir.

               20             Q.       Okay.    To your knowledge, did

               21       Mr. Nelson ever make any statement to

               22       Officer Curran regarding how he was supposed to




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                                                                                 Page 81
                1       conduct himself as an inactive role player?

                2             A.       I was not privy if such conversation

                3       occurred.

                4             Q.       Okay.    You had testified before when

                5       Mr. Brown was asking you questions about everyone

                6       in the gym being a safety officer, but that when

                7       one person rotated off of their scenarios, they

                8       became, for the next scenario, the higher level

                9       safety officer.

               10                      Is that a fair characterization of

               11       your testimony?

               12             A.       Yes, sir.

               13             Q.       In that role as the higher level

               14       safety officer, what specific instructions did

               15       Mr. Nelson provide to you or to others that

               16       you're aware of as to what you were supposed to

               17       look out for, for safety infractions?

               18             A.       I don't recall any specifics we

               19       discussed one way or the other, sir.           (Remote

               20       transmission interference.)

               21             Q.       And I'm -- I'm sorry.       I don't --

               22       something broke up or somebody coughed or




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                                            JA-995
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                                                                                 Page 82
                1       something.     Did you -- did you say that you don't

                2       recall any specific instructions being provided

                3       by Mr. Nelson to you or anyone else that you're

                4       aware of regarding how to conduct yourself as the

                5       higher level safety officer?

                6             A.       Correct.     Now, we all bring our

                7       experience -- that is correct, sir.           I cannot say

                8       he did not, but I do not recall that.

                9             Q.       All right.     And I think you were

               10       getting ready to say that you all bring your

               11       experiences with you that day.          And I'm assuming

               12       you're talking about your safety experiences and

               13       how you conduct training of other people with

               14       dangerous weapons?

               15             A.       Yes, sir.

               16             Q.       But that day was the first time, if I

               17       remember your testimony correctly, that you had

               18       ever encountered the box drills; is that correct?

               19             A.       That is correct.

               20             Q.       All right.     So your experience

               21       regarding how to safely conduct a ** (remote

               22       transmission interference) weapon didn't involve




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                                            JA-996
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                                                                                 Page 83
                1       a box drill previously, it's just general

                2       safety -- general things that you need to do to

                3       be safe when you're conducting training involving

                4       a dangerous weapon; is that fair?

                5               A.     Would you say that again, please,

                6       sir?

                7               Q.     I'm -- I'd be happy to.         Is my -- is

                8       my audio with you breaking up, First Sergeant

                9       Sanders?

               10              A.      It is clear now.         There was a moment

               11       it --

               12              Q.      Okay.

               13              A.      -- went out a little bit.

               14              Q.      Good.    Okay.

               15                      So the -- you -- you testified before

               16       that everyone there that day brought with them

               17       their experience and past training regarding

               18       safety and how to safely conduct training

               19       involving dangerous weapons, right?

               20              A.      Correct.

               21              Q.      Okay.    Your knowledge that you

               22       brought with you that day did not include how to




                                     MAGNA.    LEGAL SERVICES


                                            JA-997
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                                                                                 Page 84
                1       safely conduct a box drill because you had never

                2       permitted -- you had never participated in a box

                3       drill before?

                4               A.     Correct.

                5               Q.     And the information you had with how

                6       to safely conduct training involving a dangerous

                7       weapon was just related to general principles

                8       regarding training with a dangerous weapon?

                9               A.     Yes, sir.

               10             Q.       You had testified that when asked

               11       about whether the action inside the box, that

               12       starts inside the box, the box being those blue

               13       mats, could go outside of the box.           And I think

               14       you actually testified a couple of times that it

               15       was your perception that it could go outside of

               16       the box.

               17                      Were you ever specifically told by

               18       Mr. Nelson that the action could go outside of

               19       the box?

               20             A.       I cannot -- no, sir, I cannot say

               21       that.

               22             Q.       All right.     Was it your perception




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                                                                                 Page 85
                1       that it could go outside of the box because

                2       during your time in the gym and your personal

                3       observations it did, in fact, go outside of the

                4       box?

                5              A.      No, sir.

                6              Q.      Then why was it your perception,

                7       having not participated in the box drill before,

                8       that the action could -- which started inside the

                9       box could then leave the box?

               10              A.      During the course of me participating

               11       in the scenarios, maintaining a -- a distance of

               12       officer safety and -- and flowing, if you will,

               13       with the scenario, we -- we leave the box in the

               14       real world.     I left the box.         I was not stopped.

               15              Q.      Okay.    So you -- so your belief that

               16       you could leave the box ** row was based solely

               17       on not being stopped when you were engaged in

               18       your own scenario?

               19                      MS. PANDAK:     That's not what --

               20              that was not an accurate statement of what

               21              his response was.

               22                      MR. CASEY:     Object to form.




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                                            JA-999
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                                                                                 Page 86
                1                      MR. BROWN:     ** Join in that.

                2                      BY MR. BUCKNER:

                3             Q.       Okay.    So First Sergeant Sanders, I

                4       had asked what was your perception that you could

                5       leave the box during a training scenario, what

                6       was that based on.       And I believe you testified

                7       that it was because when you were engaged in the

                8       scenarios as the participant, you left the box

                9       and no one stopped you.

               10             A.       Those were my words, sir.         I did not

               11       mean that to sound as I dipped my toes in the

               12       water to see if I could get away with something.

               13       I -- I flowed with the scenario.          And for me to

               14       properly handle that scenario required me to

               15       leave the box, in my opinion.

               16             Q.       And -- and First Sergeant Sanders, I

               17       wasn't suggesting by that question that you did

               18       anything wrong, because I believe your prior

               19       testimony to my asking you that question was that

               20       you were never instructed one way or the other

               21       whether you could leave the box, correct?

               22             A.       That is correct.




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                                            JA-1000
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                                                                                 Page 87
                1             Q.       First Sergeant Sanders, were you ever

                2       told what the scope of the training area was for

                3       the scenarios that were going to be conducted

                4       inside the gym?

                5             A.       No, sir.

                6             Q.       Do you recall anybody ever telling

                7       you the entire gym is the training area?

                8             A.       No, sir.    Obviously, the training was

                9       held within the gymnasium.

               10             Q.       Sure.    And First Sergeant Sanders, I

               11       think you testified also that not only are you a

               12       certified TASER instructor or CEW instructor, but

               13       that you're also a -- a Virginia certified

               14       firearms instructor?

               15             A.       Yes, sir.

               16             Q.       And a use of force instructor,

               17       correct?

               18             A.       Yes, sir.

               19             Q.       When you do firearms training, when

               20       you're conducting the firearms training, I

               21       presume that that is at some firing range; is

               22       that correct?




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                                            JA-1001
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                                                                                 Page 88
                1             A.       That is correct.

                2             Q.       And at the -- do you do those at both

                3       indoor and outdoor ranges?

                4             A.       We do.

                5             Q.       And wherever you are, whether it's

                6       indoor or outdoor, whatever that facility is,

                7       that entire facility is the training area,

                8       correct?

                9             A.       Yes, sir.

               10             Q.       But within that training area, you've

               11       got specific areas that are the danger areas or

               12       the action areas or the hot areas or the at-risk

               13       areas.     And, for example, at an outdoor gun

               14       range, everything from the firing line down range

               15       is the hot/active/danger zone; is that correct?

               16             A.       That is correct.

               17                      MR. BROWN:      Object to form and

               18             foundation.

               19                      BY MR. BUCKNER:

               20             Q.       And did the same hold true for the

               21       TASER training, that the gym was the training

               22       area, but the entire gym might not be the hot,




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                                            JA-1002
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                                                                                 Page 89
                1       active or danger area?

                2                      MR. BROWN:     Same objection.

                3                      BY MR. BUCKNER:

                4             Q.       You can answer, First Sergeant

                5       Sanders.

                6             A.       I was -- I do not recall being

                7       provided boundaries to keep the training within.

                8             Q.       Okay.    Fair enough.

                9                      First Sergeant Sanders, I'm -- if you

               10       would give me just a minute or two, I might be

               11       close to wrapping up.        Would you like to take

               12       a -- a break for a short time -- we've been going

               13       for a while -- while I look at my notes or do you

               14       want to just keep plugging?

               15                      MS. REPORTER:         I would like to take

               16             a break.

               17                      MR. BUCKNER:      We can't work without

               18             you.    So if you'd like to take a break,

               19             Misty, that's fine.        So why don't -- why

               20             don't we take -- is five minutes

               21             satisfactory or do we need a little longer

               22             than that?




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                                            JA-1003
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                                                                                 Page 90
                1                      MS. PANDAK:     I think five will be

                2             fine for us.

                3                      MR. BUCKNER:      Okay.   Very good.

                4             Thank you.     We'll see everybody back in

                5             five.

                6                      VIDEO OPERATOR:       The time is

                7             2:55 p.m.     We're going off the record.

                8                      (Thereupon, a brief recess was

                9                       taken.)

               10                      VIDEO OPERATOR:       The time is

               11             3:05 p.m.     We're back on the record.

               12                      BY MR. BUCKNER:

               13             Q.       First Sergeant Sanders, I believe

               14       that you testified previously when Mr. Brown was

               15       asking you questions that on each occasion when

               16       you were certified or recertified as a CEW user

               17       or trainer by Axon that you were provided

               18       warnings of the dangerous nature of the TASER

               19       CEWs; is that correct?

               20                      MR. CASEY:     Objection.

               21                      MR. BROWN:     Object to form and

               22             foundation.




                                     MAGNA.   LEGAL SERVICES


                                            JA-1004
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                                                                                 Page 91
                1                      BY MR. BUCKNER:

                2               Q.     I'm -- I'm sorry, Mr. Sanders.

                3       You'll have to give that answer again.

                4               A.     Yes, sir.

                5               Q.     And those warnings, did you receive

                6       those each time you went through the training and

                7       the written materials?

                8               A.     Yes, sir.

                9               Q.     So over a period of years were you

               10       provided similar warnings, if not the same

               11       identical warnings, of -- of the risks of a TASER

               12       CEW to the extent it hits a sensitive area of the

               13       body: head, eyes, neck, heart, things like that?

               14             A.       Yes, sir.

               15             Q.       So each time you went through these

               16       training -- this training, every two years as

               17       required by Axon that you testified to earlier,

               18       it sounds like Axon was aware that their CEWs

               19       were dangerous and they were warning users or

               20       participants in their training class of that

               21       fact?

               22             A.       Yes, sir.




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                                                                                  Page 92
                1              Q.       And it sounds like they wanted people

                2         to be advised that there was a risk of physical

                3         harm unless special precautions were taken during

                4         the course of the training; is that right?

                5              A.       Yes, sir.

                6                       MR. BUCKNER:      I have --

                7                       MR. BROWN:     I'd like to insert a --

                8              a -- a tardy objection on that question to

                9              form and foundation.

               10                       MR. BUCKNER:      Okay.

               11                       I -- and I -- I have nothing

               12              further.    I don't know if you heard that,

               13              Peter, or not.

               14       EXAMINATION BY COUNSEL FOR DEFENDANT RICHARD NELSON

               15                       BY MR. CASEY:

               16              Q.       First Sergeant Sanders, I'm Brian

               17         Casey.    I represent Richard Nelson.

               18                       Can you hear me all right?

               19              A.       Yes, sir.     Good afternoon.

               20              Q.       Good afternoon.       I just have a few

               21         questions for you.

               22                       Do you know whether or not Officer




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                                                                                 Page 93
                1       Curran was a role player during any of the

                2       scenarios in which you participated in as a

                3       student?

                4             A.       I am not aware, sir.

                5             Q.       Okay.    In other words, you don't know

                6       the identity of the person in -- who -- who

                7       played the -- the roles in the -- in the black

                8       suit when -- when you were the student; is that

                9       right?

               10             A.       That is correct.

               11             Q.       I'm going to ask you a question about

               12       Mr. Nelson.

               13                      Do you recall Mr. Nelson ever

               14       designating a particular area within the

               15       gymnasium as a safety area or safety zone where

               16       protective eyewear was not required to be worn

               17       during the scenarios?

               18             A.       There was one wall in the gymnasium

               19       where nonparticipants could stand, and that was a

               20       safe area out of the way of the scenarios.             I do

               21       not recall with certainty the requirement of eye

               22       protection.     I do (remote transmission




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                                                                                 Page 94
                1       interference) in the gymnasium.

                2                      MS. REPORTER:         I'm sorry, sir?

                3                      THE WITNESS:      Everyone in the

                4             gymnasium was required to wear eye

                5             protection, as I recall.

                6                      BY MR. CASEY:

                7             Q.       And that was an instruction that was

                8       given to you by Mr. Nelson?

                9             A.       As close as I can recall, yes, sir.

               10             Q.       In some of the questioning

               11       Mr. Buckner used the phrase higher level safety

               12       officer.

               13                      Do you recall that?

               14             A.       Yes, I do.

               15             Q.       Do you recall seeing that phrase,

               16       higher level safety officer, used in any of the

               17       written Axon training materials?

               18             A.       Not at all, sir.         I believe I

               19       assigned that terminology to that role.

               20             Q.       Okay.    Do you -- do you recall

               21       Mr. Nelson using the phrase higher level safety

               22       officer during the instruction on December 14,




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                                            JA-1008
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                                                                                 Page 95
                1       2017?

                2             A.       No, sir.

                3             Q.       Do you agree, Sergeant Sanders, that

                4       even if an instructor does what he can to make

                5       sure that overall training is safe that a

                6       participant or a student can still do something

                7       that's not safe?

                8             A.       Yes, sir.

                9             Q.       And do you agree that an instructor

               10       cannot control all of the actions or all of the

               11       conduct of a participant or student in training?

               12             A.       Yes, sir.

               13             Q.       And in this particular case, on

               14       December 14, 2017, if someone in the gymnasium

               15       removes their eye protection during scenario

               16       training, that person is doing something that is

               17       not safe, correct?

               18             A.       Yes, sir.

               19             Q.       And that person is not following the

               20       safety rules, correct?

               21             A.       Yes, sir.

               22             Q.       Thank you.     Those are all the




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                                                                                 Page 96
                1       questions I have.

                2                  FURTHER EXAMINATION BY COUNSEL FOR

                3                    DEFENDANT AXON ENTERPRISE, INC.

                4                       BY MR. BROWN:

                5             Q.        Mr. Sanders, I have some -- some

                6       follow-up questions for you.

                7             A.        Yes, sir.

                8             Q.        You reviewed a variety of clips,

                9       video clips, with Mr. Buckner.

               10                      Do you recall doing that?

               11             A.       Yes, sir.

               12             Q.       And he questioned you about your

               13       participation and presence in the -- in the

               14       gymnasium during those periods of time that were

               15       reviewed with you.

               16             A.       Yes, sir.

               17             Q.       And I'm going to go through a handful

               18       of -- of factors and -- and then ask a -- a

               19       broader question.

               20                      So the first is would you agree that

               21       the scenarios tend to evolve rapidly?

               22             A.       Yes, sir.




                                     MAGNA.   LEGAL SERVICES


                                            JA-1010
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                                                                                 Page 97
                1             Q.       Would you agree that they are

                2       relatively short in duration?

                3             A.       Yes, sir.

                4             Q.       Would you also agree that the

                5       perspective of the video that you reviewed with

                6       Mr. Buckner is different from your own

                7       perspective on that day, on December 14, 2017?

                8             A.       Yes, sir.

                9             Q.       Would you agree that it's difficult

               10       to keep track of exactly what everyone is doing

               11       at all times during a scenario that is evolving

               12       rapidly of short duration?

               13             A.       Yes, sir.

               14             Q.       You also were -- were questioned

               15       about your experience in previous CEW

               16       certifications and recertifications.

               17                      Do you recall those questions?

               18             A.       I recall discussing it, yes, sir.          I

               19       don't remember the specific questions.

               20             Q.       Okay.    And do you recall a -- a

               21       distinction being drawn between your -- let me

               22       start over.




                                     MAGNA.    LEGAL SERVICES


                                            JA-1011
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                                                                                 Page 98
                1                      Do you recall being asked about this

                2       being your first box drill that you had

                3       participated in on December 14, 2017?

                4             A.       Yes, sir.

                5             Q.       And prior to this December 14, 2017

                6       training, while you had not participated in a box

                7       drill, you had participated in several previous

                8       CEW certifications and recertifications, correct?

                9             A.       Yes, sir.

               10             Q.       And those certifications and

               11       recertifications prior to December 14, 2017

               12       included the types of warnings about wearing

               13       safety gear, for example, in the training area;

               14       is that correct?

               15             A.       Absolutely.     Yes, sir.

               16             Q.       Including, in particular, eye

               17       protection?

               18             A.       Safety glasses required, yes, sir.

               19             Q.       Okay.    And is it also accurate to say

               20       that these training scenarios are trying to

               21       replicate to the extent possible real --

               22       potential real life interactions that -- that




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                                                                                  Page 99
                 1      officers and the trainees may encounter?

                 2             A.      Absolutely.     Yes, sir.

                 3             Q.      Turning to the method in which

                 4      different scenarios -- the -- the way in which

                 5      the instruction transferred between different

                 6      scenarios, do you recall terms being used to

                 7      indicate when a particular scenario was going to

                 8      be begun?

                 9             A.      To begin, sir?

                10             Q.      Yes.    Did -- let me -- let me

                11      rephrase.

                12                     Do you -- do you recall hearing or

                13      being instructed about the use of specific terms

                14      to begin or end a scenario?

                15             A.      I do not recall that, no, sir.          No,

                16      sir.

                17             Q.      Do you recall being -- start or stop

                18      scenario being called?

                19             A.      Stop scenario, certainly.

                20             Q.      Okay.    And what was your

                21      understanding of the meaning of when stop

                22      scenario would be called?




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                                                                                Page 100
                 1             A.      Stop scenario is not necessarily

                 2      called for a safety issue, but scenario was over,

                 3      stop further action.

                 4             Q.      Okay.    And when you say further

                 5      action, would that include refraining from

                 6      discharging a CEW?

                 7             A.      That would include that, yes, sir.

                 8             Q.      And stop action, is it accurate to

                 9      state that the call for stop action is a

                10      different command -- excuse me.

                11                     Is it accurate to state that a call

                12      for end scenario is a different call than stop

                13      action?

                14             A.      Correct.     Yes, sir.

                15             Q.      And so when -- when a call for end

                16      scenario is made, what does that mean as compared

                17      to a call for stop action?

                18             A.      An end of scenario, sir, would mean

                19      either an officer had bumbled up a scenario so

                20      badly it was not going to -- to end well for them

                21      or they had taken the proper actions,

                22      demonstrated that their role playing offender




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                                                                                Page 101
                 1      would have been subdued and, you know, we stop

                 2      action before they go in and take physical

                 3      control, handcuff, things of that nature.

                 4                     In other words, stop scenario

                 5      would -- would be simply you're done, good job,

                 6      bad job, whatever, this role play is -- is over,

                 7      as opposed to stop action being an emergency sort

                 8      of command to prevent a bad thing from occurring.

                 9              Q.     Okay.     And when you stated that end

                10      scenario may be called if it's not going to end

                11      well for the trainee, does that mean that the

                12      role player, had this been a real life

                13      interaction, would have not been subdued or

                14      subdued in a way that was less than safe?

                15              A.     Yes, sir, less than safe or poor

                16      choices made on the participant -- the officer's

                17      part.

                18              Q.     I see.     So after a call for end

                19      scenario is made, was it your understanding that

                20      there was anything prohibiting the participants

                21      from removing their protective helmets during

                22      that time after end scenario was called, but




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                                                                                Page 102
                 1      before the next scenario began?

                 2             A.      I am not sure how the role players

                 3      were briefed.      But once a scenario was ended,

                 4      that would certainly be a safe time for that to

                 5      occur.

                 6             Q.      And it would be safe at that time

                 7      because with the call of end scenario, that would

                 8      mean that no CEWs were to be discharged and that

                 9      things would be prepared for the next scenario?

                10                     MR. BUCKNER:       I'm going to object

                11             to leading.

                12                     But go ahead, First Sergeant

                13             Sanders.    You can answer that.

                14                     THE WITNESS:       Yes, sir, or there

                15             was no scenario occurring at that time, no

                16             CEWs out, the area was safe.

                17                     BY MR. BROWN:

                18             Q.      Okay.    Let me try to phrase it this

                19      way:

                20                     After end scenario is called, you --

                21      you stated that that was a time that it would be

                22      safe; is that accurate?




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                                            JA-1016
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                                                                                Page 103
                 1             A.      Yes, sir, once the -- the scenario

                 2      had, in fact, ended.

                 3             Q.      Okay.    And once the scenario had, in

                 4      fact, ended after a call for end scenario, why

                 5      would it be safe to remove a helmet as a role

                 6      player?

                 7             A.      There would be no active role play

                 8      occurring.     CEWs or any other training weapons

                 9      would be secure.       There was -- be nobody on edge

                10      to respond to -- to a scenario.          Things are on

                11      downtime at that moment, if you will.

                12             Q.      Okay.    Give me one moment.       I'm --

                13      I'm reviewing here.

                14                     Once end scenario -- once end

                15      scenario has been called, is it your

                16      understanding that the expectation -- let me

                17      start over.

                18                     End scenario has -- has been called.

                19      How do the participants know when it's time for

                20      the next scenario to begin?

                21             A.      On this particular day, they would be

                22      taken back to the box and instructed to stand by




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                                                                                Page 104
                 1      until the next scenario presented itself.

                 2             Q.       Okay.    And once the next scenario has

                 3      presented itself, the expectation is that the

                 4      role players have put on their protective

                 5      headgear; is that correct?

                 6                      MR. BUCKNER:     Object to the form of

                 7             the question.      Expectation is my

                 8             particular objection.

                 9                      BY MR. BROWN:

                10             Q.       You may answer, Mr. Sanders.

                11             A.       Yes, sir.    Before action started

                12      again, certainly.

                13             Q.       So to -- to put it slightly

                14      differently, was it your understanding that the

                15      expectation would be for the role playing

                16      participants to put on their protective

                17      headgear --

                18                      MR. BUCKNER:     And same --

                19                      BY MR. BROWN:

                20             Q.       -- at that time?

                21                      MR. BUCKNER:     I'm -- I'm sorry,

                22             Peter.    I thought you were done.




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                                                                                Page 105
                 1                     It's the same objection for the

                 2             same reason.

                 3                     But go ahead, First Sergeant Sanders.

                 4                     THE WITNESS:      Yes, sir.

                 5                     BY MR. BROWN:

                 6             Q.      Okay.

                 7                     Okay.    That -- that concludes my

                 8      questioning.      Thank you.

                 9                     MR. BUCKNER:      All right.

                10         FURTHER EXAMINATION BY COUNSEL FOR PLAINTIFF

                11                     BY MR. BUCKNER:

                12             Q.      First Sergeant Sanders, that actually

                13      prompted some of my end here, but I'll -- I

                14      promise I'll be quick.

                15                     Mr. Brown, at the beginning of his

                16      redirect with you just a little while ago, went

                17      through a bunch of questions where he asked you

                18      to agree with things, agree that scenarios evolve

                19      rapidly, agree that scenarios happen quickly,

                20      things like that.

                21                     Do you recall that?

                22             A.      Yes, sir.




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                                                                                Page 106
                 1             Q.      And I -- I think the point of that

                 2      was to get you to agree that when the scenarios

                 3      occur, things happen fast during the performance

                 4      of that scenario.

                 5                     Is that -- was that your

                 6      understanding of that line of questioning?

                 7             A.      My understanding, yes, sir.

                 8                     MR. BROWN:     Object to form and

                 9             foundation.

                10                     BY MR. BUCKNER:

                11             Q.      And then recently here towards the

                12      end we've been talking about end scenario and --

                13      and at the conclusion of the scenario, not just

                14      the calling of end scenario, but when the

                15      scenario truly has ended, there's downtime, it's

                16      safe, people can take helmets off, presumably

                17      they can take eyewear off; is that correct?

                18             A.      That is correct.         There is no

                19      activity occurring.       It's -- yes, sir.

                20             Q.      Okay.    So it's not that all of the

                21      training occurs rapidly, quickly, rapidly

                22      evolving, it's just the specific point in time




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                                                                                Page 107
                 1      when the scenario is active that is evolving

                 2      rapidly and happening quickly, correct?

                 3             A.      Yes, sir.

                 4             Q.      And so if something unsafe happens

                 5      during that quick, rapid, evolving scenario and

                 6      it can't be corrected in real time because it's

                 7      happening quickly, as soon as the scenario has

                 8      ended, there's downtime and corrective action can

                 9      be taken, correct?

                10             A.      Yes, sir.

                11             Q.      And do you recall at any time when

                12      you were in that gym that day Mr. Nelson or

                13      anyone else talking to either of the role players

                14      and taking any corrective action regarding their

                15      removal of their headgear during that downtime

                16      following the end of a scenario?

                17                     MR. BROWN:     Object to form and

                18             foundation.

                19                     BY MR. BUCKNER:

                20             Q.      Go ahead, First Sergeant Sanders.

                21                    (Indiscernible remote transmission.)

                22                     THE WITNESS:      I was not privy to




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                                                                                   Page 108
                 1             any of those conversations between

                 2             Mr. Nelson and the role players, but I --

                 3             I certainly did not hear that conversation

                 4             occur for corrective action.

                 5                     BY MR. BUCKNER:

                 6             Q.      But there certainly was an

                 7      opportunity for that to have occurred during that

                 8      downtime following the end of each scenario?

                 9             A.      Yes, sir.

                10                     MR. BUCKNER:       I've got nothing

                11             further.

                12                     Brian, prompt anything?             You're on

                13             mute.   Oh, there we go.

                14                     MR. CASEY:      No further questions.

                15                     MS. REPORTER:          Signature?

                16                     MS. PANDAK:      I have no questions

                17             and we'll waive signature.

                18                     MR. BUCKNER:       Very good.       Thank

                19             you.

                20                     First Sergeant Sanders, appreciate

                21             it.

                22                     THE WITNESS:       Thank you.




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                                                                                Page 109
                 1                     VIDEO OPERATOR:       The time is

                 2             3:27 p.m.    This concludes the deposition

                 3             of Jerry Sanders.

                 4                     We're off the record.

                 5                     (Thereupon, signature having been

                 6                      waived, at 3:27 p.m. the deposition

                 7                      was concluded.)

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                                                                                Page 110
                 1                        CERTIFICATE OF NOTARY

                 2                     I, MISTY KLAPPER, the officer

                 3             before whom the foregoing deposition was

                 4             taken, do hereby certify that the witness

                 5             whose testimony appears in the foregoing

                 6             deposition was duly sworn by me; that the

                 7             testimony of said witness was taken by me

                 8             in shorthand and thereafter reduced to

                 9             typewriting by me; that said deposition is

                10             a true record of the testimony given by

                11             said witness; that I am neither counsel

                12             for, related to, nor employed by any of

                13             the parties to the action in which this

                14             deposition was taken; and, further, that I

                15             am not a relative or employee of any

                16             attorney or counsel employed by the

                17             parties hereto, nor financially or

                18             otherwise interested in the outcome of

                19             this action.

                20

                                                      _________________________

                21                                    Misty Klapper

                                                      Notary Public

                22




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